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                                              INTERNATIONAL                                                  ISO/IEC
                                              STANDARD                                                      23009-1

                                                                                                                   Fourth edition
                                                                                                                        2019-12




                                              Information technology — Dynamic
                                              adaptive streaming over HTTP
                                              (DASH) —
                                              Part 1:
                                              Media presentation description and
                                              segment formats
                                              Technologies de l'information — Diffusion en flux adaptatif
                                              dynamique sur HTTP (DASH) —
                                              Partie 1: Description de la présentation et formats de remise des médias




                                                                                                              Reference number
                                                                                                       ISO/IEC 23009-1:2019(E)


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Foreword

ISO (the International Organization for Standardization) and IEC (the International Electrotechnical
Commission) form the specialized system for worldwide standardization. National bodies that are
members of ISO or IEC participate in the development of International Standards through technical
committees established by the respective organization to deal with particular fields of technical activity.
ISO and IEC technical committees collaborate in fields of mutual interest. Other international
organizations, governmental and non-governmental, in liaison with ISO and IEC, also take part in the
work.

The procedures used to develop this document and those intended for its further maintenance are
described in the ISO/IEC Directives, Part 1. In particular, the different approval criteria needed for the
different types of document should be noted. This document was drafted in accordance with the editorial
rules of the ISO/IEC Directives, Part 2 (see www.iso.org/directives).

Attention is drawn to the possibility that some of the elements of this document may be the subject of
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on the ISO list of patent declarations received (see www.iso.org/patents) or the IEC list of patent
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Any trade name used in this document is information given for the convenience of users and does not
constitute an endorsement.

For an explanation of the voluntary nature of standards, the meaning of ISO specific terms and
expressions related to conformity assessment, as well as information about ISO's adherence to the World
Trade Organization (WTO) principles in the Technical Barriers to Trade (TBT)
see www.iso.org/iso/foreword.html.

This document was prepared by Joint Technical Committee ISO/IEC JTC 1, Information technology,
Subcommittee SC 29, Coding of audio, picture, multimedia and hypermedia information.

This fourth edition cancels and replaces the third edition (ISO/IEC 23009-1:2019), which has been
technically revised. The main changes compared to the previous edition are as follows:

— the concept Service Description was added in order to enable signalling by the service provider on
  how the service is expected to be consumed;

— Initialization Sets, Groups and Presentations were added in order to simplify playback of Media
  Presentations across Period boundaries;

— leap second information was added to support the DASH Client in timing calculations when leap
  seconds occur;

— the producer reference time was added in order to allow signalling and mapping of media time to
  wall-clock time including the time of capture, encoding or other application defined context;

— the content popularity rate was added to indicate a level of popularity of the containing entity (i.e.,
  the Adaptation Set, Representation or Preselection) within the Media Presentation;

— exact signalling and placement of content in a Period was added in order to simplify client operation
  in case of gaps and overlaps at Period boundaries;




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— the concept of failover content was added in order to signal time sections in the Media Presentation
  or specific Representations that are not representing the main content, but a failover version for
  example in error cases;

— the support of the use of the Segment Timeline for low-latency DASH content was enabled;

— the concept of Preselections was extended in order to define conformance and playback rules for
  Representations from different Adaptation Sets within one Preselection; other clarifications on
  events were added;

— the ability to signal forced subtitles, easyreader and karaoke in the DASH Role scheme was added;

— a descriptor to indicate that the quality ranking associated to Representations is equivalent and
  comparable across Adaptation Sets was added;

— the ability that DASH inband events can be added to a Period with a presentation time offset avoiding
  the necessity to rewrite the event times in the media stream was added, as well as other clarifications
  on Events;

— a segment type that permits to signal that content is missing, but also provides sufficient information
  the media duration of the missing content was added;

— detailed recommendations and guidelines on how location and reference resolution for DASH
  resources, i.e. MPDs and Segments, can be performed based on information in the MPD and HTTP
  headers were added;

— DASH metrics were updated to support device information and to support specific keys for start and
  stop reasons.

A list of all parts in the ISO/IEC 23009 series can be found on the ISO website.

Any feedback or questions on this document should be directed to the user’s national standards body. A
complete listing of these bodies can be found at www.iso.org/members.html.




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Introduction

Dynamic adaptive streaming over HTTP (DASH) is intended to support a media-streaming model for
delivery of media content in which control lies primarily with the client. Clients may request data using
the HTTP protocol from standard web servers that have no DASH-specific capabilities. Consequently, this
document focuses not on client or server procedures but on the data formats used to provide a DASH
Media Presentation.
The International Organization for Standardization (ISO) and International Electrotechnical Commission
(IEC) draw attention to the fact that it is claimed that compliance with this document may involve the use
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INTERNATIONAL STANDARD                                                                            ISO/IEC 23009-1:2019(E)




Information technology — Dynamic adaptive streaming over
HTTP (DASH) — Part 1: Media presentation description and
segment formats



1 Scope
This document primarily specifies formats for the Media Presentation Description and Segments for
dynamic adaptive streaming delivery of MPEG media over HTTP. It is applicable to streaming services
over the Internet.

2 Normative references
The following documents are referred to in the text in such a way that some or all of their content
constitutes requirements of this document. For dated references, only the edition cited applies. For
undated references, the latest edition of the referenced document (including any amendments) applies.
ISO/IEC 13818-1, Information technology — Generic coding of moving pictures and associated audio
information — Part 1: Systems

ISO/IEC 14496-12:— 1 , Information technology — Coding of audio-visual objects — Part 12: ISO base
media file format

ISO/IEC 23091-3, Information technology — Coding-independent code points — Part 3: Audio

IETF RFC 1738, Uniform Resource Locators

IETF RFC 2397, The “data” URL scheme

IETF RFC 3629, UTF-8, a transformation format of ISO 10646

IETF RFC 3986:2005, Uniform Resource Identifier (URI): Generic Syntax

IETF RFC 4122, A Universally Unique IDentifier (UUID) URN Namespace

IETF RFC 4337, MIME Type Registration for MPEG-4

IETF RFC 4648, The Base16, Base32, and Base64 Data Encodings

IETF RFC 5234, Augmented BNF for Syntax Specifications: ABNF

IETF RFC 5261, An Extensible Markup Language (XML) Patch Operations Framework Utilizing XML Path
Language (XPath) Selectors



1 6th edition under preparation. Stage at time of publication: ISO/IEC FDIS 14496-12:2019.




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IETF RFC 5646, Tags for Identifying Languages

IETF RFC 6381:2011, The #Codecs# and #Profiles# Parameters for “Bucket” Media Types

IETF RFC 6838:2013, Media Type Specifications and Registration Procedures

IETF RFC 7231:2014, Hypertext Transfer Protocol (HTTP/1.1): Semantics and Content

IETF RFC 7233:2014, Hypertext Transfer Protocol (HTTP/1.1): Range Requests

IETF RFC 8141:2017, URN Syntax

HTML 4.01 Specification, W3C Recommendation, 24 December 1999

W3C XML, Extensible Markup Language (XML) 1.0 (Fifth Edition), W3C Recommendation, 26 November
2008

W3C XLINK, XML Linking Language (XLink) Version 1.1, W3C Recommendation, 06 May 2010

W3C Media Fragments URI 1.0 (basic), W3C Recommendation, 25 September 2012

United States Code Title 47 CFR 79.103, Electronic Code of Federal Regulations: Closed caption decoder
requirements for apparatus, https://www.ecfr.gov/cgi-bin/text-idx?node=se47.4.79_1103

SMPTE ST 2067-2, SMPTE Standard — Interoperable Master Format — Core Constraints


3 Terms, definitions, abbreviated terms and conventions

3.1Terms and definitions

For the purposes of this document, the following terms and definitions apply.
ISO and IEC maintain terminological databases for use in standardization at the following addresses:
— ISO Online browsing platform: available at https://www.iso.org/obp

— IEC Electropedia: available at http://www.electropedia.org/

3.1.1
access unit
unit of a media stream (3.1.29) with an assigned Media Presentation time

3.1.2
accessibility
degree to which a media content or certain media content components (3.1.22) are available to as many
people as possible

3.1.3
Adaptation Set
set of interchangeable encoded versions of one or several media content components (3.1.22)

3.1.4
asset
content including media and metadata together with the rights to use the content by the content
provider


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3.1.5
associated Representation
Representation (3.1.38) which provides supplemental or descriptive information for at least one other
Representation

3.1.6
available Segment
Segment (3.1.39) that is accessible at its assigned HTTP-URL (3.1.17) and a possibly assigned byte range
that is the request with an HTTP GET results in a reply of the Segment and 2xx status code

3.1.7
Bitstream Switching Segment
Segment (3.1.39) that if present contains essential data to switch to the Representation (3.1.38) it is
assigned to

3.1.8
complementary Representation
Representation (3.1.38) which complements at least one dependent Representation (3.1.12)

3.1.9
continuous media
media with an inherent notion of time

EXAMPLES          Speech, audio, video, timed text or timed metadata.

3.1.10
DASH metric
metric computed by the DASH Client and uniquely identified by a key

3.1.11
data URL
URL with a fixed scheme “data”

3.1.12
dependent Representation
Representation (3.1.38) for which Segments (3.1.39) from its complementary Representations (3.1.8) are
necessary for presentation and/or decoding of the contained media content components (3.1.22)

3.1.13
earliest presentation time
smallest presentation time (3.1.36) of any access unit (3.1.1) of a Media Segment (3.1.28) or Subsegment
(3.1.49) for a media stream (3.1.29)

3.1.14
event
aperiodic sparse media-time related auxiliary information to the DASH Client or to an application

3.1.15
event stream
sequence of related events (3.1.14)

3.1.16
group
collection of Adaptation Sets (3.1.3) that are not expected to be presented simultaneously




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3.1.17
HTTP-URL
URL with a fixed scheme of “http” or “https”

3.1.18
Index Segment
Segment (3.1.39) that primarily contains indexing information for Media Segments (3.1.28)

3.1.19
Initialization Segment
Segment (3.1.39) containing metadata that is necessary to present the media streams (3.1.29)
encapsulated in Media Segments (3.1.28)

3.1.20
Main Adaptation Set
Adaptation Set (3.1.3) in a Preselection (3.1.35) that contains the Initialization Segment (3.1.19) for the
complete experience

3.1.21
media content
single media content period (3.1.24) or contiguous sequence of media content periods

3.1.22
media content component
single continuous component of the media content (3.1.21) with an assigned media content component
type (3.1.23)

3.1.23
media content component type
single type of media content (3.1.21)

EXAMPLES        Audio, video, or text.

3.1.24
media content period
set of media content components (3.1.22) that have a common timeline as well as relationships on how
they can be presented

3.1.25
Media Presentation
collection of data that establishes a bounded or unbounded presentation of media content (3.1.21)

3.1.26
Media Presentation Description
MPD
formalized description for a Media Presentation (3.1.25) for the purpose of providing a streaming
service

3.1.27
Media Presentation timeline
concatenation of the timeline of all Periods (3.1.34) which itself is common to all Representations
(3.1.38) in the Period




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3.1.28
Media Segment
Segment (3.1.39) that complies with media format in use and enables playback when combined with
zero or more preceding Segments and an Initialization Segment (3.1.19) (if any)

3.1.29
media stream
encoded version of a media content component (3.1.22)

3.1.30
Media Subsegment
Subsegment (3.1.49) that only contains media data but no Segment Index (3.1.43)

3.1.31
message
part of an event (3.1.14) containing information that is exclusively handled by the event handler

3.1.32
MPD start time
approximate presentation start time of a Media Segment (3.1.28) signalled in MPD (3.1.26)

3.1.33
MPD duration
approximate presentation duration of a Media Segment (3.1.28) signalled in MPD (3.1.26)

3.1.34
Period
interval of the Media Presentation (3.1.24), where a contiguous sequence of all Periods constitutes the
Media Presentation

3.1.35
Preselection
set of media content components (3.1.22) that are intended to be consumed jointly

3.1.36
presentation time
time associated to an access unit (3.1.1) that maps it to the Media Presentation timeline (3.1.27)

3.1.37
remote element entity
entity that contains one or more elements and is referenced in the MPD (3.1.26) with an HTTP-URL
(3.1.17) contained in an @xlink:href attribute, referred to as "remote resource" by XLink

3.1.38
Representation
collection and encapsulation of one or more media streams (3.1.29) in a delivery format and associated
with descriptive metadata

3.1.39
Segment
unit of data associated with an HTTP-URL (3.1.17) and optionally a byte range that are specified by an
MPD (3.1.26), or with a data URL (3.1.11)




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3.1.40
Segment availability start time
latest time instant in wall-clock time (3.1.52) at which a Segment (3.1.39) becomes an available Segment
(3.1.6)

3.1.41
adjusted Segment availability start time
time instant in wall-clock time (3.1.52) at which a Segment (3.1.39) becomes an available Segment
(3.1.6)

3.1.42
Segment availability end time
time instant in wall-clock time (3.1.52) at which a Segment (3.1.39) ceases to be an available Segment
(3.1.6)

3.1.43
Segment Index
compact index of the time range to byte range mapping within a Media Segment (3.1.28) separately
from the MPD (3.1.26)

3.1.44
Segment Sequence
sequence of Segments (3.1.39) that are sharing a common number address

3.1.45
Segment Track
concatenation of Segments (3.1.39) forming a track with potential conformance properties

3.1.46
Spatial Object
media content component (3.1.22) corresponding to a region in a coordinate system associated to this
media content component

3.1.47
stream access point
SAP
position in a Representation (3.1.38) enabling playback of a media stream (3.1.29) to be started using
only the information contained in Representation data starting from that position onwards [preceded
by initializing data in the Initialization Segment (3.1.19), if any]

3.1.48
sub-asset
media content component (3.1.22) (or part thereof) identified as corresponding to a part of an asset
(3.1.4)

3.1.49
Sub-Representation
part of a Representation (3.1.38) described in the MPD (3.1.26) that is present in the entire Period
(3.1.34)

3.1.50
Subsegment
unit within Media Segments (3.1.28) that is indexed by a Segment Index (3.1.43)




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3.1.51
valid Segment URL
HTTP-URL (3.1.17) that is promised to reference a Segment (3.1.39) during its Segment availability
period

3.1.52
wall-clock time
time as stated by UTC

3.2Abbreviated terms

       4CC              four character code
       ABNF             augmented Backus-Naur form
       ACK              acknowledgement message in TCP
       AVC              advanced video coding
       CAT              conditional access table
       CDN              content delivery network
       DASH             dynamic adaptive streaming over HTTP
       DM               DASH metrics
       DRM              digital rights management
       ECM              entitlement control message
       EMM              entitlement management message
       EPT              earliest presentation time
       GAA              generic authentication architecture
       GBA              generic bootstrapping architecture
       GDR              gradual decoder refresh
       GMT              Greenwich Mean Time
       GOP              group of pictures
       GPS              global positioning system
       HEVC             high efficiency video coding
       HTML             hypertext markup language
       HTTP             hypertext transfer protocol
       HTTPS            secure hypertext transfer protocol
       IAB              interactive advertising bureau
       IDR              instantaneous decoding refresh
       IP               internet protocol
       ISO BMFF         ISO base media file format
       MBT              minimum buffer time
       MPD              media presentation description
       MVC              multi-view video coding



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    NGA             next generation audio
    NTP             network time protocol
    OATC            open authentication technical committee
    OAuth           open standard for authorization
    OMAP            online multimedia authorization protocol
    PAT             program association table
    PCR             program clock reference
    PES             packetized elementary stream
    PID             packet identifier
    PMT             program map table
    PSI             program specific information
    PTS             presentation time stamp
    RAP             random access point
    SAML            security assertion markup language
    SAP             stream access point
    SEI             supplementary enhancement information
    SNTP            simple NTP
    SRD             spatial relationship description
    SVC             scalable video coding
    TCP             transmission control protocol
    TLS             transport layer security
    TS              transport stream
    URI             uniform resource identifier
    URL             uniform resource locator
    URN             uniform resource name
    UTC             coordinated universal time
    UUID            universally unique identifier
    VAST            video ad serving template
    VOD             video-on-demand
    XML             extensible mark-up language




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3.3Conventions

— Elements in an XML document are identified by an upper-case first letter and in bold face as
  Element. To express that an element Element1 is contained in another element Element2, the
  following format is used: Element2.Element1. If an element's name consists of two or more
  combined words, camel-casing is typically used, e.g. ImportantElement. Elements may be present
  either exactly once, or the minimum and maximum occurrence is defined by <minOccurs> ...
  <maxOccurs>.

— Attributes in an XML document are identified by a lower-case first letter as well as they are preceded
  by an '@'-sign, e.g. @attribute. To point to a specific attribute @attribute contained in an
  element Element, one may write Element@attribute. If an attribute's name consists of two or
  more combined words, camel-casing is typically used after the first word, e.g.
  @veryImportantAttribute. Attributes may have assigned a status in the XML as mandatory
  (M), optional (O), optional with default value (OD) and conditionally mandatory (CM).

— Namespace qualification of elements and attributes is used as per XML standards, in the form of
  namespace:Element or @namespace:attribute. The fully qualified namespace is provided in
  the schema fragment associated with the declaration. External specifications extending the
  namespace of DASH are expected to document the element name in the semantic table with an
  extension namespace prefix.

— Variables defined in the context of this document are specifically highlighted with italics, e.g.
  InternalVariable.

— Structures that are defined as part of the hierarchical data model are identified by an upper-case first
  letter, e.g. Period, Adaptation Set, Representation, Segment, etc.

— The term "this clause" refers to the entire clause included within the same first heading number. The
  term "this subclause" refers to all text contained in the subclause with the lowest hierarchy heading.

— For improved interoperability, this document uses ABNF notation according to IETF RFC 5234 to
  specify certain underdefined values of XML attributes and elements.


4 Overview

4.1System description

Dynamic adaptive streaming over HTTP (DASH) specifies XML and binary formats that enable delivery
of continuous media content from standard HTTP servers to HTTP clients and enable caching of content
by standard HTTP caches.
This document primarily defines two formats:
— The Media Presentation Description (MPD) describes a Media Presentation, i.e. a bounded or
  unbounded presentation of continuous media content. In particular, it defines formats to announce
  resource identifiers for Segments and to provide the context for these identified resources within a
  Media Presentation. These resource identifiers are HTTP-URLs possibly combined with a byte range,
  or with a data URL.




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— The Segment formats specify the formats of the entity body of the HTTP response to an HTTP GET
  request or a partial HTTP GET with the indicated byte range using HTTP/1.1 as defined in
  IETF RFC 7233 to a resource identified in the MPD. Segments typically contain efficiently coded
  media data and metadata conforming to or at least closely aligned with common media formats.

The MPD provides sufficient information for a client to provide a streaming service to the user by
accessing the Segments through the protocol specified in the scheme of the defined resources. In the
context of this document, the assumed protocol is HTTP/1.1. Such a client is referred to as a DASH Client
in the remainder of this document. However, this document does not provide a normative specification
for such a client.
Figure 1 shows a possible deployment architecture in which the formats defined in this document may
be used. Boxes with solid lines indicate devices that are mentioned in this document as they host or
process the formats defined in this document whereas dashed boxes are conceptual or transparent. This
document deals with the definition of formats that are accessible on the interface to the DASH Client,
indicated by the solid lines. Any other formats or interfaces are outside the scope of this document. In the
considered deployment scenario, it is assumed that the DASH Client has access to an MPD. The MPD
provides sufficient information for the DASH Client to provide a streaming service to the user by
requesting Segments from an HTTP server and demultiplexing, decoding and rendering the included
media streams.




                                  Figure 1 — Example system for DASH formats
Although the formats are initially designed to be used in the above deployment scenario, their application
is obviously not restricted to this scenario. The particular aspect on "HTTP" in DASH is the usage of HTTP-
URLs in the MPD for the purpose to refer to Segments. The usage of HTTP-URLs enables unique location
information and it provides well-defined methods to access the resources, in particular HTTP GET and
HTTP partial GET.
4.2DASH Client model

The design of the formats defined in this document is based on the informative client model as shown in
Figure 2. The figure illustrates the logical components of a conceptual DASH Client model and the relation
to other components in a media streaming application. In this figure, the DASH access engine receives the
Media Presentation Description (MPD), constructs and issues requests and receives Segments or parts of
Segments. The DASH Client may use metadata provided in the MPD for the selection of media components
by communication with the media streaming application. Such metadata may for example include codec
capability information, language codes, accessibility information and other information for the selection
of media components. In the context of this document, the output of the DASH access engine consists of



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media in MPEG container formats (ISO/IEC 14496-12 ISO base media file format or ISO/IEC 13818-1
MPEG-2 Transport Stream), or parts thereof, together with timing information that maps the internal
timing of the continuous media to the timeline of the Media Presentation. In Annex F, guidance on
enabling the use of this document with other container formats is provided. In addition, the DASH access
engine may also receive and extract Events that are related to the media time. The events may be
processed in the DASH Client or may be forwarded to an event processing application in the execution
environment of the DASH Client.




                                              Figure 2 — DASH Client model

Furthermore, Annex K defines the Service Description to support and guide DASH Client operations.

4.3DASH data model overview

DASH is intended to support a media-streaming model for delivery of continuous media content in which
control lies primarily with the client. Clients may request data using the HTTP protocol from standard
web servers that have no DASH-specific capabilities. Consequently, this document focuses not on client
or server procedures but on the data formats used to provide a DASH Media Presentation.
The collection of encoded and deliverable versions of continuous media content and the appropriate
description of these form a Media Presentation. Media content is composed of a single or multiple
contiguous media content periods in time. Content in different media content periods may be completely
independent or certain periods of a Media Presentation may belong to the same Asset, for example a
Media Presentation is a collection of main program composed of multiple periods, each assigned to the
same Asset, and interleaved with inserted advertisement periods. Each media content period is
composed of one or multiple media content components, for example audio components in various
languages, different video components providing different views of the same program, subtitles in
different languages, etc. Each media content component has an assigned media content component
type, for example audio or video. The same asset over multiple periods may be identified by a DASH
descriptor enabling DASH Clients to maintain the continuity across periods' boundaries. Furthermore,
sub-assets composing the same asset may also be identified using a similar method. For instance, if an
asset is composed of multiple video components, sub-assets enable selecting the previously selected
video component after an ad insertion.




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Each media content component may have several encoded versions, referred to as media streams. Each
media stream inherits the properties of the media content, the media content period, the media content
component from which it was encoded and, in addition, it gets assigned the properties of the encoding
process such as sub-sampling, codec parameters, encoding bitrate, etc. This descriptive metadata is
relevant for static and dynamic selection of media content components and media streams.




                                      Figure 3 — DASH High-Level Data Model

DASH is based on a hierarchical data model aligned with the presentation in Figure 3. In the horizontal
domain, this shows the sequence in time of the Media Presentation, and in the vertical domain it shows
the choices offered in a Media Presentation, to be selected by the DASH Client in a static and dynamic
manner. A DASH Media Presentation is described by a Media Presentation Description document. This
describes the sequence of Periods (see subclause 5.3.2) in time that make up the Media Presentation. A
Period typically represents a media content period during which a consistent set of encoded versions of
the media content is available i.e. the set of available bitrates, languages, captions, subtitles etc. does not
change during a Period.
Within a Period, material is arranged into Adaptation Sets (see subclause 5.3.3). An Adaptation Set
represents a set of interchangeable encoded versions of one or several media content components (see
subclause 5.3.4). For example, there may be one Adaptation Set for the main video component and a
separate one for the main audio component. If there is other material available, for example captions or
audio descriptions, then these may each have a separate Adaptation Set. Material may also be provided
in multiplexed form, in which case interchangeable versions of the multiplex may be described as a single
Adaptation Set, for example an Adaptation Set containing both the main audio and main video for a


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Period. Each of the multiplexed components may be described individually by a media content
component description. In the third edition, the concept of Preselections (see subclause 5.3.11) was
added in order to enable the combination of different Adaptation Sets into a single decoding instance and
user experience.
An Adaptation Set contains a set of Representations (see subclause 5.3.5). A Representation describes a
deliverable encoded version of one or several media content components. A Representation includes one
or more media streams (one for each media content component in the multiplex). Any single
Representation within an Adaptation Set is sufficient to render the contained media content components.
By collecting different Representations in one Adaptation Set, the Media Presentation author expresses
that the Representations represent perceptually equivalent content. Typically, this means that clients
may switch dynamically from Representation to Representation within an Adaptation Set in order to
adapt to network conditions or other factors. Switching refers to the presentation of decoded data up to
a certain time t, and presentation of decoded data of another Representation from time t onwards. If
Representations are included in one Adaptation Set, and the client switches properly, the Media
Presentation is expected to be perceived seamless across the switch. DASH Clients may ignore
Representations containing unsupported codecs or rendering technologies, or that are otherwise
unsuitable.
Within a Representation, the content may be divided in time into Segments (see subclause 5.3.9 and
Clause 6) for proper accessibility and delivery. In order to access a Segment, a URL is provided for each
Segment. Consequently, a Segment is the largest unit of data that can be retrieved with a single HTTP
request. For segmented Representations, two types of Segments are differentiated: Initialization
Segments contain static metadata for the Representation, Media Segments contain media samples and
the advanced timeline. Representations may also be organized by a single self-initialitizing Segment
which contains both initialization information as well as media data.
     NOTE       This is not strictly true, since the MPD can also include a byte range with the URL, meaning that the
     Segment is contained in the provided byte range of some larger resource. An intelligent client can in principle
     construct a single request for multiple Segments, but this is not the typical case.

DASH defines different timelines. One of the key features in DASH is that encoded versions of different
media content components share a common timeline. The presentation time of each access unit within
the media content is mapped to the global common presentation timeline for synchronization of different
media components and to enable seamless switching of different coded versions of the same media
components. This timeline is referred as Media Presentation timeline. The Media Segments themselves
contain accurate Media Presentation timing information enabling synchronization of components and
seamless switching.
A second timeline is used to signal to clients the availability time of Segments at the specified HTTP-URLs.
These times are referred to as Segment availability times and are provided in wall-clock time. Clients
typically compare the wall-clock time to Segment availability times before accessing the Segments at the
specified HTTP-URLs in order to avoid erroneous HTTP request responses. For static Media
Presentations, the availability times of all Segments are identical. For dynamic Media Presentations, the
availability times of segments depend on the position of the Segment in the Media Presentation timeline,
i.e. the Segments get available over time. Whereas static Media Presentations are suitable to offer On-
Demand content, dynamic Media Presentations are mostly suitable to offer live services.
Segments are assigned a duration, which is the duration of the media contained in the Segment when
presented at normal speed. Typically, all Segments in a Representation have the same or a roughly similar
duration. However, Segment duration may differ from Representation to Representation. A DASH
presentation can be constructed with relative short segments (for example a few seconds), or longer
Segments including a single Segment for the whole Representation.
Short Segments are usually required in the case of live content, where there are restrictions on end-to-
end latency. The duration of a Segment is typically a lower bound on the end-to-end latency. DASH does
not support the possibility for Segments to be extended over time: a Segment is treated as an object as a


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complete and discrete unit that is made available in its entirety. However, this does not prevent from
applying advanced HTTP transfer modes such as chunked transfer to optimize deployments and reduce
end-to-end latency.
In particular, self-initializing Segments may be further subdivided into Subsegments each of which
contains a whole number of complete access units. There may also be media-format-specific restrictions
on Subsegment boundaries; for example, in the ISO base media file format, a Subsegment contains a
whole number of complete movie fragments. If a Segment is divided into Subsegments, they are described
by a compact Segment index, which provides the presentation time range in the Representation and
corresponding byte range in the Segment occupied by each Subsegment. Clients may download this index
in advance and then issue requests for individual Subsegments.
Clients may switch from Representation to Representation within an Adaptation Set at any point in the
media. However, switching at arbitrary positions can be complex because of coding dependencies within
Representations and other factors, potentially requiring parallel download and decoding in the DASH
Client. It is also desirable to avoid downloading 'overlapping' data i.e. media for the same time period
from multiple Representations. Usually, switching is simplest at a stream access point (SAP) in the new
stream. In order to formalize requirements related to switching, DASH defines a codec-independent
concept of stream access points and identifies various types of stream access points.
Segmentation and Subsegmentation may be performed in ways that make switching simpler. For
example, in the very simplest cases, each Segment or Subsegment begins with a SAP and the boundaries
of Segments or Subsegments are aligned across the Representations of one Adaptation Set. In this case,
switching Representation involves playing to the end of a (Sub)Segment of one Representation and then
playing from the beginning of the next (Sub)Segment of the new Representation. The Media Presentation
Description and Segment Index provide various indications, which describe properties of the
Representations that may make switching simpler. Profiles of this document can then require these
indicators to be set in certain ways, making implementation of clients for those profiles simpler at the
cost of requiring the media data to obey the indicated constraints.
For On-Demand services, the Media Presentation Description is typically a static document describing
the various aspects of the Media Presentation. All Segments of the Media Presentation are available on
the server once any Segment is available. For live services, however, Segments become available with
time as the content is produced and therefore, dynamic Media Presentations are suitable. The Media
Presentation Description may be updated regularly to reflect changes in the presentation over time, for
example Segment URLs for new segments may be added to the MPD and those for old, no longer available
Segments may be removed. However, if Segment URLs are described using a template, this updating may
not be necessary except for some redundancy/failover cases.
Events may be provided in the MPD or within a Representation in order to signal aperiodic information
to the DASH Client or to an application. Events are timed, i.e. each event starts at a specific media
presentation time and typically has a duration. Events include DASH-specific signalling or application-
specific events. Examples for events are indication of MPD updates on the server, possibly providing the
detailed update as part of the messages. The event mechanisms may also be used to deliver media time
related application events, for example information about ad insertion opportunities, etc.
4.4Protocols

This document may be deployed in a system according to Figure 1 for which
— the DASH Client includes a client as specified in IETF RFC 7230[22], IETF RFC 7231, IETF RFC 7232[23],
  IETF RFC 7233, IETF RFC 7234[24] and IETF RFC 7235[25], and

— the HTTP Server hosting the DASH Segments complies with a server as specified in IETF RFC 7230,
  IETF RFC 7231, IETF RFC 7232, IETF RFC 7233, IETF RFC 7234 and IETF RFC 7235.




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DASH Clients typically use the HTTP GET method or the HTTP partial GET method, as specified in
IETF RFC 7231:2014, subclause 4.3, to access Segments or parts thereof.
The use of HTTP as a transport protocol inherently provides many advanced features such as caching
(IETF RFC 7233), redirection (IETF RFC 7231) or authentication (IETF RFC 7235). As another example,
transport security in HTTP-based delivery may be achieved by using HTTP over TLS as specified in
IETF RFC 2818. Yet another example is the use of HTTP state management mechanisms (also known as
Cookies) as defined in IETF RFC 6265[21].
However, the formats defined in this document may also be used with other protocols. In particular, the
objects may be delivered with any object delivery protocol that provides a binding between an HTTP-
URL and the delivered object.
4.5Media stream and Representation properties

4.5.1 Switching and Random Access Support

The formats defined in this document are designed to provide a good user experience even in cases where
the access bandwidth between the DASH segment delivery function or the cache varies. A key
functionality is the ability of the DASH Client to seamlessly switch across different Representations of the
same media component without severely impacting the user experience.
Assume two Representations A and B. A switch from Representation A to Representation B at media time
t is considered seamless, if the result of the presentation after this switch is applied is the same as if
Representation A was decoded from the beginning and presented up to time t and Representation B is
decoded from the beginning and presented from time t onwards.
Media Presentations may provide different Representations in one Adaptation Set representing the same
media component. If such Representations are properly time-aligned (as expected by the Media
Presentation), then DASH Clients may apply seamless switching across different Representations
provided in one Adaptation Set at any time t to obtain a perceptually continuous experience.
However, in practical implementations, the operation of seamless switching can be complex, as switching
at time t can require parallel download and decoding of two Representations. Therefore, providing
suitable switching opportunities in regular time intervals simplifies client implementations. This
document provides means for providing suitable switching opportunities and in addition provides
abilities to signal the position and media time of the switching opportunities.
For this purpose, this subclause defines three relevant concepts to support seamless switching:
— Media stream access points in subclause 4.5.2 to signal positions where to easily switch to a
  Representation, and in addition where to suitable access a Representation at start-up or seek.

— Non-overlapping Segments and Subsegments in subclause 4.5.3 to signal that, at the signalled stream
  access points, no overlap decoding of Representations is necessary in order to provide a continuous
  switch.

— Segment concatenation in subclause 4.5.4 to signal that the concatenation of two Representations at
  a switch point results in a conforming bitstream.

These three properties are neither sufficient nor necessary for seamless switching, but certain
implementation or profiles may use these properties in order to simplify practical implementations.
4.5.2 Media stream access points

To be able to access a Representation, each of the media streams that are contained in the Representation
requires media stream access points (SAPs). SAPs in the context of this document refer to the SAP
definition in ISO/IEC 14496-12, Annex I. ISO/IEC 14496-12, Annex I.3 defines different types of SAPs that


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provide a relationship between the position where a stream can be accessed, relative to the start of a
Segment or Subsegment, its presentation time and the presentation times and position of other access
unit in the stream. The same SAP type definitions shall apply for this document.
A SAP is a position in a Representation that enables playback of a media stream to be started using only
the information contained in Representation data starting from that position onwards (preceded by
initializing data in the Initialization Segment, if any).
For each SAP, the properties, ISAP, TSAP, ISAU, TDEC, TEPT, and TPTF, are identified and defined in
ISO/IEC 14496-12, Annex I.2.
In particular, TSAP is defined to be the earliest presentation time of any access unit of the media stream
such that all access units of the media stream with presentation time greater than or equal to TSAP can be
correctly decoded using data in the Representation starting at byte position ISAP and no data before ISAP.
NOTE       The type of SAP is dependent only on which access units are correctly decodable and their arrangement
in presentation order. The types informally correspond with some common terms:

—    Type 1 corresponds to what is known in some coding schemes as a “Closed GoP random access point” (in
     which all access units, in decoding order, starting from ISAP can be correctly decoded, resulting in a continuous
     time sequence of correctly decoded access units with no gaps) and in addition the access unit in decoding
     order is also the first access unit in presentation order.

—    Type 2 corresponds to what is known in some coding schemes as a “Closed GoP random access point”, for
     which the first access unit in decoding order in the media stream starting from ISAU is not the first access unit
     in presentation order.

—    Type 3 corresponds to what is known in some coding schemes as an “Open GoP random access point”, in
     which there are some access units in decoding order following ISAU that cannot be correctly decoded and have
     presentation times less than TSAP.

—    Type 4 corresponds to what is known in some coding schemes as a "gradual decoder refresh (GDR) random
     access point”, in which there are some access units in decoding order starting from and following ISAU that
     cannot be correctly decoded and have presentation times less than TSAP.

—    Type 5 corresponds to the case for which there is at least one access unit in decoding order starting from ISAP
     that cannot be correctly decoded and has presentation time greater than TDEC and where TDEC is the earliest
     presentation time of any access unit starting from ISAU.

—    Type 6 corresponds to the case for which there is at least one access unit in decoding order starting from ISAP
     that cannot be correctly decoded and has presentation time greater than TDEC and where TDEC is not the
     earliest presentation time of any access unit starting from ISAU.

SAPs are mostly relevant for two purposes in this document:
1) For randomly accessing a Media Presentation, for example at the startup of the Media Presentation,
   after a seeking operation or after an error event especially in live cases.

2) To permit switching between two Representations whereby for seamless switching each media
   stream i in the switch-from Representation is presented up to TSAP(i) and each media stream i in the
   switch-to Representation is presented from the media stream access point starting from TSAP(i).

There are obvious benefits for the client to be able to identify SAPs and one or several of their properties,
in particular ISAP and TSAP for each media stream without requiring to access data at positions following
ISAP. DASH provides functionalities to explicitly signal such information by using signals in the MPD or the
Segment Index or combinations of the two.




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4.5.3 Non-overlapping Segments and Subsegments

Segments and Subsegments represent units for which the client has an exact map on how to access and
download the unit using HTTP GET or HTTP partial GET methods.
Segments (respectively Subsegments) are typically generated by segmenting encoded media streams into
appropriate units. If the generation of Segments (respectively Subsegments) adheres to certain rules,
then the sequential decoding and presentation of Media Segments (respectively Subsegments) results in
a correct presentation of all contained media streams. To define such rules the notion of “non-
overlapping” segments (respectively Subsegments) is defined as follows.
Let
— TE(S,i) be the earliest presentation time of any access unit in stream i of a Segment or Subsegment S,
  and

— TL(S,i) be the latest presentation time of any access unit in stream i of a Segment or Subsegment S.

Then two segments (respectively Subsegments), A and B, which may or may not be of different
Representations, are non-overlapping if TL(A,i) < TE(B,i) for all media streams i in A and B or if
TL(B,i) < TE(A,i) for all streams i in A and B where i refers to the same media component.
The property of “non-overlapping” segments (respectively Subsegments) is used to define the terms
Segment alignment and Subsegment alignment.
4.5.4 Conforming Segment track

A sequence of Segments (respectively Subsegments) is a “conforming Segment (respectively
Subsegment) track” if the concatenation of all Segments (respectively Subsegments) in the sequence of
Segments (respectively Subsegments) results in a bitstream that conforms to the media formats in use
(including container and codecs).
NOTE         This implies that a player conforming to the media format can play the resulting bitstream.

4.6Brands

The ISO base media file format, ISO/IEC 14496-12, defines the concept of brands; brand values identify
specifications or conformance points. This document specifies several brands, as listed in Table 1.

                                     Table 1 — Brands defined in this document

  Brand identifier         Clause in this document                               Informative description
 emsg                                 5.10.3.3               Event message box.
 miss                                  6.2.6                 Missing content segment.
 msdh                                 6.3.4.2                Media Segment conforming to the general format type for
                                                             ISO base media file format.
 msix                                 6.3.4.4                Media Segment conforming to the Indexed Media Segment
                                                             format type for ISO base media file format.
 dsms                                 6.3.5.1                Media Segment conforming to the DASH Self-Initializing
                                                             Media Segment format type for ISO base media file format.
 dash                                 6.3.5.2                ISO base media file format file specifically designed for DASH
                                                             including movie fragments and Segment Index.
 sims                                 6.3.4.5                Media Segment conforming to the Sub-Indexed Media
                                                             Segment format type for ISO base media file format.



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  Brand identifier         Clause in this document                                  Informative description
 sisx                                  6.4.6.2                Single Index Segment used to index MPEG-2 TS based Media
                                                              Segments.
 risx                                  6.4.6.3                Representation Index Segment used to index MPEG-2 TS
                                                              based Media Segments.
 ssss                                  6.4.6.4                Subsegment Index Segment used to index MPEG-2 TS based
                                                              Media Segments.
 lmsg                                   7.3.1                 Last Media Segment indicator for ISO base media file format.
 dums                             6.3.4.2, 8.11.3             Segment sequence indicator in ISO base media file format
                                                              broadcast TV profile.
4.7Schemes

This document specifies several schemes as listed in Table 2.

                                    Table 2 — Schemes defined in this document

                      Scheme identifier                                Clause in                Informative description
                                                                          this
                                                                       document
 urn:mpeg:dash:schema:mpd:2011                                           Annex B        The namespace of the XML schema for
                                                                                        the MPD.
 urn:mpeg:dash:period-continuity:2015                                     5.3.2.4       Period continuity signalling.
 urn:mpeg:dash:period-connectivity:2015                                   5.3.2.4       Period connectivity signalling.
 urn:mpeg:dash:adaptation-set-                                            5.3.3.5       Scheme Identifier for switching across
 switching:2016                                                                         Adaptation Sets.
 urn:mpeg:dash:preselection:2016                                         5.3.11.2       Preselection descriptor.
 urn:mpeg:dash:reset:2016                                                  5.4.2        MPD reset indicator.
 urn:mpeg:dash:resolve-to-zero:2013                                        5.5.3        xlink resolution to zero element.
 urn:mpeg:dash:mp4protection:2011                                         5.8.5.2       Protection schemes identified by the
                                                                                        Scheme Type within the Scheme Type
                                                                                        Box of the Protection Scheme
                                                                                        Information Box of ISO/IEC14496-12.
 urn:mpeg:dash:13818:1:CA_descriptor:201                                  5.8.5.2       Conditional Access System used for
 1                                                                                      ISO/IEC 13818-1 (MPEG-2 Transport
                                                                                        Stream).
 urn:mpeg:dash:14496:10:frame_packing_ar                                  5.8.5.3       Frame-packing arrangement.
 rangement_type:2011
 urn:mpeg:dash:13818:1:stereo_video_form                                  5.8.5.3       Frame-packing arrangement.
 at_type:2011
 urn:mpeg:dash:23003:3:audio_channel_con                                  5.8.5.4       Channel configuration.
 figuration:2011
                                                                                        Legacy format for backward-
                                                                                        compatibility, it is recommended to use
                                                                                        the signalling as defined in ISO/IEC
                                                                                        23091-3 instead.




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                       Scheme identifier                             Clause in               Informative description
                                                                        this
                                                                     document
 urn:mpeg:dash:outputChannelPositionList                                5.8.5.4      A list of output channel position to
 :2012                                                                               signal individual speaker positions as
                                                                                     defined in ISO/IEC 23091-3.
                                                                                     Legacy format for backward-
                                                                                     compatibility, it is recommended to use
                                                                                     the signalling as defined in ISO/IEC
                                                                                     23091-3 instead.
 urn:mpeg:dash:role:2011                                                5.8.5.5      DASH role scheme.
 urn:mpeg:dash:stereoid:2011                                            5.8.5.6      Scheme for multiple views media
                                                                                     content description.
 urn:mpeg:dash:utc:ntp:2014                                             5.8.5.7      UTC Timing scheme for NTP servers.
 urn:mpeg:dash:utc:sntp:2014                                            5.8.5.7      UTC Timing scheme for SNTP servers.
 urn:mpeg:dash:utc:http-head:2014                                       5.8.5.7      UTC Timing scheme for HTTP date
                                                                                     headers.
 urn:mpeg:dash:utc:http-xsdate:2014                                     5.8.5.7      UTC Timing scheme for HTTP server
                                                                                     with xsdate format.
 urn:mpeg:dash:utc:http-iso:2014                                        5.8.5.7      UTC Timing scheme for HTTP server
                                                                                     with ISO timing format.
 urn:mpeg:dash:utc:http-ntp:2014                                        5.8.5.7      UTC Timing scheme for HTTP server
                                                                                     with NTP format.
 urn:mpeg:dash:utc:direct:2014                                          5.8.5.7      UTC Timing scheme for direct inclusion
                                                                                     of time.
 urn:mpeg:dash:audio-receiver-mix:2014                                  5.8.5.8      Scheme identifier for receiver mix.
 urn:mpeg:dash:mpd-as-linking:2015                                      5.8.5.9      MPD Adaptation Set Linking scheme.
 urn:mpeg:dash:sai:2015                                                5.8.5.10      Sub-Asset Scheme Identifier.
 urn:mpeg:dash:client-                                                 5.8.5.11      Client Authentication scheme.
 authentication:2015
 urn:mpeg:dash:content-                                                5.8.5.11      Content Access Authorization scheme.
 authorization:2015
 urn:mpeg:dash:audio-interactivity:2016                                5.8.5.12      Scheme to indicate content
                                                                                     interactivity.
 urn:mpeg:dash:qr-equivalence:2019                                     5.8.5.13      Quality Equivalence Descriptor
 urn:mpeg:dash:event:2012                                               5.10.4       DASH event signalling scheme.
 urn:mpeg:dash:event:callback:2015                                     5.10.4.5      DASH call back event.
 urn:mpeg:dash:event:ttfn:2016                                         5.10.4.6      Presentation Termination Event.
 urn:mpeg:dash:mpd-chaining:2016                                        5.11.1       MPD chaining descriptor.
 urn:mpeg:dash:fallback:2016                                            5.11.2       MPD fallback descriptor.
 urn:mpeg:dash:profile:full:2011                                          8.2        Identifier for Full profile.
 urn:mpeg:dash:profile:isoff-on-                                          8.3        Identifier for ISO Base media file format
 demand:2011                                                                         On Demand profile.




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                     Scheme identifier                                Clause in                Informative description
                                                                         this
                                                                      document
 urn:mpeg:dash:profile:isoff-live:2011                                     8.4         Identifier for ISO Base media file format
                                                                                       live profile.
 urn:mpeg:dash:profile:isoff-main:2011                                     8.5         Identifier for ISO Base media file format
                                                                                       main profile.
 urn:mpeg:dash:profile:mp2t-main:2011                                      8.6         Identifier for MPEG-2 TS main profile.
 urn:mpeg:dash:profile:mp2t-simple:2011                                    8.7         Identifier for MPEG-2 TS simple profile.
 urn:mpeg:dash:profile:isoff-ext-                                          8.8         Identifier for ISO Base media file format
 live:2014                                                                             extended live profile.
 urn:mpeg:dash:profile:isoff-ext-on-                                       8.9         Identifier for ISO Base media file format
 demand:2014                                                                           extended On Demand profile.
 urn:mpeg:dash:profile:isoff-common:2014                                  8.10         Identifier for ISO Base media file format
                                                                                       common profile.
 urn:mpeg:dash:profile:isoff-                                             8.11         Identifier for ISO Base media file format
 broadcast:2015                                                                        broadcast TV profile
 urn:mpeg:dash:srd:2014                                                    H.1         Scheme identifier for Spatial
                                                                                       Relationship Description. If signalled in
                                                                                       an Adaptation Set, the Adaptation Set
                                                                                       shall follow the description in Annex H.
 urn:mpeg:dash:srd:dynamic:2016                                            H.1         Scheme to signal dynamic SRD. If
                                                                                       signalled in an Adaptation Set, the
                                                                                       Adaptation Set shall follow the
                                                                                       description in Annex H.
 urn:mpeg:dash:urlparam:2014                                               I.2         Scheme identifier for indicating usage
                                                                                       of the flexible insertion of URL query
                                                                                       parameters. If signalled in an
                                                                                       Adaptation Set, the Adaptation Set shall
                                                                                       follow the description in Annex I.
 urn:mpeg:dash:urlparam:2016                                               I.3         Scheme identifier for indicating usage
                                                                                       of the extended parameterization
                                                                                       scheme. If signalled in an Adaptation
                                                                                       Set, the Adaptation Set shall follow the
                                                                                       description in Annex I.
 urn:mpeg:dash:resolutionSwitching:2016                                 Annex J        Descriptor for Open GOP resolution
                                                                                       change


5 Media Presentation

5.1General

A Media Presentation is a collection of data that is accessible to a DASH Client to provide a streaming
service to the user.
A Media Presentation is described by an MPD including possible updates of the MPD. The MPD is defined
in subclause 5.2 and the MPD update mechanism is defined in subclause 5.4. Assembly of a fragmented
MPD is defined in subclause 5.5. The data model that constitutes a Media Presentation is defined in
subclause 5.3. In subclause 5.6, the formats and processing of URLs in the MPD is introduced. Program



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information is defined in subclause 5.7. Descriptors associated to Representations or collections thereof
are provided in subclause 5.8. DASH metric collection description is specified in subclause 5.9. Subclause
5.10 defines Events and Event Streams. Subclause 5.11 defines MPD chaining. Subclause 5.12 defines the
Producer Reference Time. Subclause 5.13 defines how to deal with leap seconds. Subclause 5.14 defines
content popularity rates.
5.2Media Presentation Description

5.2.1 General

The Media Presentation Description (MPD) is a document that contains metadata required by a DASH
Client to construct appropriate HTTP-URLs to access Segments and to provide the streaming service to
the user.
     NOTE 1    Actual playback of the media streams included in the Representations is not controlled by the MPD
     information. Playback is controlled by the media engine operating on the media streams contained in the
     Representations in the usual way.

The format of URLs in the MPD and the process to generate HTTP GET and partial GET requests from
URLs provided in the MPD is defined in subclause 5.6.
The MPD is an XML document that shall be formatted according to the XML schema provided in Annex B.
Some context on the schema is provided in subclause 5.2.2.
The extension of the DASH XML schema (as provided in Annex B), in particular the addition of XML
attributes or elements in the DASH namespace, is reserved to ISO/IEC. Elements and attributes that have
been added to the namespace compared to earlier revisions of this document are documented in
subclause 5.2.3.
The MPD shall be authored such that, after XML attributes or elements in the DASH namespace but not in
the XML schema documented in Annex B are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
In addition, the MPD shall be authored such that, after XML attributes or elements in the other
namespaces than the DASH namespace are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
     NOTE 2     Based on the last two paragraphs, if DASH Clients remove all XML attributes and elements from the
     MPD in the DASH namespace and in other namespaces that are not in the XML schema documented in Annex B,
     the MPD results in a valid XML document which complies with this document. The DASH Client can use such a
     resulting MPD for presentation of a conforming Media Presentation.

In addition, rules for authoring of MPDs conforming to a specific profile are provided in Clause 8. Certain
profiles as defined in Clause 8 may permit ignoring certain elements and attributes. However, this has no
effect on the general MPD conformance rules defined in this subclause.
Following XML rules, the MPD document shall contain exactly one MPD element as specified in subclause
5.3.
The MIME type of the MPD document is defined in Annex C.
The encoding of the MPD shall be UTF-8 as defined in IETF RFC 3629. All data provided in extension
namespaces shall be UTF-8 as defined in IETF RFC 3629. If binary data needs to be added, it shall be
included in Base64 as described in IETF RFC 4648 within a UTF-8 encoded element with a proper name
space or identifier, such that an XML parser knows how to process or ignore it.
The delivery of the MPD is outside the scope of this document. However, if the MPD is delivered over
HTTP, then the MPD document may be transfer encoded for transport, as described in IETF RFC 7230.
     NOTE 3       As an example, the GZip algorithm as defined in IETF RFC 1952[3] can be used for Transfer-encoding.



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     NOTE 4     MPD encryption is not a normative part of this document. However, if operating in an insecure
     environment and required by the content/service provider, elements and attributes of MPD can be encrypted
     to protect their confidentiality by using the syntax and processing rules specified in the “XML Encryption
     Syntax and Processing” by W3C[8].

     NOTE 5     MPD integrity protection is not a normative part of this document. However, if operating in an
     insecure environment and required by the content/service provider, the digital signing and verification
     procedures specified in the “XML Signature Syntax and Processing” by W3C[9] can be used to protect data origin
     authenticity and integrity of the MPD.

Selected MPD examples are provided in Annex G.
5.2.2 Schema

The initial part of the XML schema of the MPD is provided below, including namespace and other
definitions. Specific types, elements and attributes are introduced in the remainder of this subclause. The
complete normative MPD schema is provided in Annex B. In case of inconsistencies, the schema in
Annex B takes precedence both over the XML syntax snippets provided in this clause and all prose text in
this document.
Implementors are supported by files available at: https://standards.iso.org/iso-iec/23009/-1/ed-4/en.
These files include the schema as well as all examples provided in Annex G.
 <?xml version="1.0" encoding="UTF-8"?><xs:schema xmlns:xs="http://www.w3.org/2001/XMLSchema"
 xmlns:xlink="http://www.w3.org/1999/xlink" xmlns="urn:mpeg:dash:schema:mpd:2011"
 targetNamespace="urn:mpeg:dash:schema:mpd:2011" elementFormDefault="qualified"
 attributeFormDefault="unqualified">
     <xs:import namespace="http://www.w3.org/1999/xlink" schemaLocation="
 http://www.w3.org/1999/xlink.xsd"/>
      <xs:annotation>
           <xs:appinfo>Media Presentation Description</xs:appinfo>
           <xs:documentation xml:lang="en">
           This Schema defines the Media Presentation Description for MPEG-DASH.
           </xs:documentation>
      </xs:annotation>
      <!-- MPD: main element -->
      <xs:element name="MPD" type="MPDtype"/>
           …
 </xs:schema>
5.2.3 Elements and Attributes added in revisions and amendments

5.2.3.1 Overview

In amendments and revisions of this document, the schema defined in Annex B may have been extended.
In order to track this, subclause 5.2.3 tracks the addition of elements and attributes.
By following the rules in subclause 5.2.1, a single MPD can be authored for clients that implement
different versions of this document.
5.2.3.2 Elements and Attributes added in the second edition of this document (ISO/IEC 23009-
1:2014)

ISO/IEC 23009-1:2014 added the following elements and attributes to the schema defined in Annex B
compared to the 2012 edition (ISO/IEC 23009-1:2012/Cor 1:2013):


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— MPD@publishTime

— MPD.EssentialProperty

— MPD.SupplementalProperty

— Period.AssetIdentifier

— Period.EventStream

— Period.SupplementalProperty

— RepresentationBase.InbandEventStream

— SegmentBase@availabilityTimeOffset

— SegmentBase@availabilityTimeComplete

— BaseURL@availabilityTimeOffset

— BaseURL@availabilityTimeComplete

— Subset@id

— SegmentTimeline.S@n

5.2.3.3 Elements and Attributes added in the third edition of this document (ISO/IEC 23009-
1:2019)

ISO/IEC 23009-1:2019 added the following elements and attributes to the schema defined in Annex B
compared to the 2014 revision (ISO/IEC 23009-1:2014) of this document:
— MPD.UTCTiming

— Period.GroupLabel

— Period.Preselection

— Period.EmptyAdaptationSet

— RepresentationBase.Switching

— RepresentationBase.RandomAccess

— RepresentationBase.GroupLabel

— RepresentationBase.Label

— RepresentationBase@selectionPriority

— Representation@tag

— Representation@associationId



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— Representation@associationType

— SegmentBase@presentationDuration

— SegmentBase@timeShiftBufferDepth

— SegmentTimeline.S@n

— SegmentTimeline.S@k

5.2.3.4 Elements and Attributes added in this fourth edition (ISO/IEC 23009-1:2019)

This fourth edition adds the following elements and attributes to the schema defined in Annex B
compared to the third edition of this document:
— MPD.ServiceDescription

— MPD.InitializationSet

— MPD.InitializationGroup

— MPD.InitializationPresentation

— MPD.LeapSecondInformation

— Period.ServiceDescription

— EventStream@presentationTimeOffset

— Event@contentEncoding

— AdaptationSet@initializationSetRef

— RepresentationBase.ProducerReferenceTime

— RepresentationBase.ContentPopularityRate

— Preselection@order

— SegmentBase.FailoverContent

— SegmentBase@eptDelta

— MultiSegmentBase@endNumber

— BaseURL@timeShiftBufferDepth




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5.3Hierarchical data model

5.3.1 General

5.3.1.1      Overview

A Media Presentation as described in the MPD consists of a sequence of one or more Periods as described
in subclause 5.3.2.
— Each Period contains one or more Adaptation Sets as described in subclause 5.3.3. In case an
  Adaptation Set contains multiple media content components, then each media content component is
  described individually as defined in subclause 5.3.4.

— Each Adaptation Set contains one or more Representations as described in subclause 5.3.5.

— Adaptation Sets, Representations and Sub-Representations share common attributes and elements
  that are described in subclause 5.3.7.

— Preselections may be used to select experiences as defined in clause 5.3.11. Each Preselection
  references to one or more media content components within one or multiple Adaptation Sets.

— Each Period may contain one or more Subsets that restrict combination of Adaptation Sets for
  presentation. Subsets are described in subclause 5.3.8.

— Each Representation consists of one or more Segments described in Clause 6. Segment Information
  is introduced in subclause 5.3.9. Segments contain media data and/or metadata to access, decode
  and present the included media content. Representations may also include Sub-Representations as
  defined in subclause 5.3.6 to describe and extract partial information from a Representation.

— Each Segment consists of one or more Subsegments. Subsegments are described in subclause 6.2.3.2.

— Labels for annotation of different hierarchies are defined in subclause 5.3.10.

The summary of the semantics of the attributes and elements within an MPD element are provided in
Table 3, subclause 5.3.1.2. The XML syntax of the MPD element is provided in subclause 5.3.1.3.
5.3.1.2      Semantics

                                         Table 3 — Semantics of MPD element

            Element or Attribute Name                        Use                              Description
    MPD                                                                   The root element that carries the Media
                                                                          Presentation Description for a Media
                                                                          Presentation.
        @id                                                    O          specifies an identifier for the Media
                                                                          Presentation. It is recommended to use an
                                                                          identifier that is unique within the scope in
                                                                          which the Media Presentation is published.
                                                                          If not specified, no MPD-internal identifier is
                                                                          provided. However, for example the URL to the
                                                                          MPD may be used as an identifier for the Media
                                                                          Presentation.




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        Element or Attribute Name                           Use                               Description
     @profiles                                               M           specifies a list of Media Presentation profiles as
                                                                         described in Clause 8.
                                                                         The contents of this attribute shall conform to
                                                                         either the pro-simple or pro-fancy
                                                                         productions of IETF RFC 6381:2011, Section
                                                                         4.5, without the enclosing DQUOTE characters,
                                                                         i.e. including only the unencodedv or
                                                                         encodedv elements respectively.
                                                                         As profile identifier a restricted URI format as
                                                                         defined in 8.1 shall be used.
     @type                                                  OD           specifies the type of the Media Presentation.
                                                                         For static Media Presentations
                                                         default:
                                                         static          (@type="static"), all Segments are
                                                                         available between the
                                                                         @availabilityStartTime and the
                                                                         @availabilityEndTime. For dynamic
                                                                         Media Presentations (@type="dynamic"),
                                                                         Segments typically have different availability
                                                                         times. For details, refer to subclause 5.3.9.5.3.
                                                                         In addition, the Media Presentation
                                                                         Description may be updated in dynamic Media
                                                                         Presentations, i.e. the
                                                                         @minimumUpdatePeriod may be present.
                                                                               NOTE Static Media Presentations are
                                                                               typically used for On-Demand services,
                                                                               whereas dynamic Media Presentations are
                                                                               used for live services.

     @availabilityStartTime                                 CM           For @type='dynamic', this attribute shall
                                                                         be present. In this case, it specifies the anchor
                                                        shall be
                                                                         for the computation of the earliest availability
                                                       present for
                                                                         time (in UTC) for any Segment in the Media
                                                       @type='dy
                                                        namic'           Presentation.
                                                                         For @type=static” if present, it specifies
                                                                         the Segment availability start time for all
                                                                         Segments referred to in this MPD. If not
                                                                         present, all Segments described in the MPD
                                                                         shall become available at the time the MPD
                                                                         becomes available.
     @publishTime                                           OD           specifies the wall-clock time when the MPD
                                                                         was generated and published at the origin
                                                        shall be
                                                                         server. MPDs with a later value of
                                                       present for
                                                                         @publishTime shall be an update as defined
                                                       @type=#d
                                                                         in subclause 5.4 to MPDs with earlier
                                                       ynamic#
                                                                         @publishTime.
     @availabilityEndTime                                    O           specifies the latest Segment availability end
                                                                         time for any Segment in the Media
                                                                         Presentation. When not present, the value is
                                                                         unknown.




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            Element or Attribute Name                        Use                              Description
        @mediaPresentationDuration                             O          specifies the duration of the entire Media
                                                                          Presentation. If the attribute is not present, the
                                                                          duration of the Media Presentation is
                                                                          unknown.
                                                                          This attribute shall be present when neither
                                                                          the attribute MPD@minimumUpdatePeriod
                                                                          nor the Period@duration of the last Period
                                                                          are present.
        @minimumUpdatePeriod                                   O          If this attribute is present, it specifies the
                                                                          smallest period between potential changes to
                                                                          the MPD. This can be useful to control the
                                                                          frequency at which a client checks for updates.
                                                                          From a client perspective, after a client fetches
                                                                          an MPD, it specifies the minimum period
                                                                          during which the MPD remains valid. Validity
                                                                          is defined in subclause 5.4.
                                                                          If this attribute is not present, it indicates that
                                                                          the MPD does not change.
                                                                          If MPD@type is not 'dynamic',
                                                                          @minimumUpdatePeriod shall not be
                                                                          present.
                                                                          Details on the use of the value of this attribute
                                                                          are specified in subclause 5.4.
        @minBufferTime                                         M          specifies a common duration used in the
                                                                          definition of the Representation data rate (see
                                                                          @bandwidth attribute in subclauses 5.3.5.2
                                                                          and 5.3.5.4).
        @timeShiftBufferDepth                                  O          specifies the duration of the smallest time
                                                                          shifting buffer for any Representation in the
                                                                          MPD that is guaranteed to be available for a
                                                                          Media Presentation with type 'dynamic'.
                                                                          When not present, the value is infinite. This
                                                                          value of the attribute is undefined if the type
                                                                          attribute is equal to 'static'.
        @suggestedPresentationDelay                            O          When @type is 'dynamic', it specifies a
                                                                          fixed delay offset in time from the presentation
                                                                          time of each access unit that is suggested to be
                                                                          used for presentation of each access unit. For
                                                                          more details, refer to subclause 7.2.1. When
                                                                          not specified, then no value is provided and the
                                                                          client is expected to choose a suitable value.
                                                                          When @type is 'static'the value of the
                                                                          attribute is undefined and may be ignored.
        @maxSegmentDuration                                    O          specifies the maximum duration of any
                                                                          Segment in any Representation in the Media
                                                                          Presentation, i.e. documented in this MPD and
                                                                          any future update of the MPD. If not present,
                                                                          then the maximum Segment duration shall be
                                                                          the maximum duration of any Segment
                                                                          documented in this MPD.



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        Element or Attribute Name                           Use                               Description
     @maxSubsegmentDuration                                  O           specifies the maximum duration of any Media
                                                                         Subsegment in any Representation in the
                                                                         Media Presentation. If not present, the same
                                                                         value as for the maximum Segment duration is
                                                                         implied.
     ProgramInformation                                    0…N           specifies descriptive information about the
                                                                         program. For more details, refer to the
                                                                         description in subclause 5.7.
     BaseURL                                               0…N           specifies a Base URL that can be used for
                                                                         reference resolution and alternative URL
                                                                         selection. For more details, refer to the
                                                                         description in subclause 5.6.
     Location                                              0…N           specifies a location at which the MPD is
                                                                         available.
                                                                         A reference processing model is provided in
                                                                         Annex A.11.
     ServiceDescription                                    0 ... N       specifies the service description detailing how
                                                                         the service provider expects the service is to be
                                                                         consumed.
                                                                         It shall provide a valid service description as
                                                                         described by Annex K.3 and Annex K.4.
                                                                         For details, refer to Annex K.
     InitializationSet                                     0 ... N       specifies a suitable initialization for a specific
                                                                         media type for the presentation. If present, at
                                                                         least one Period of the Media Presentation
                                                                         shall include at least one Adaptation Set that
                                                                         can be played when initialized by this
                                                                         Initialization Set.
                                                                         For details, see subclause 5.3.12.
     InitializationGroup                                   0 ... N       Specifies a white space separated list of ids of
                                                                         Initialization Sets of the same content type.
                                                                         This indicates that any Period in the Media
                                                                         Presentation has at least one Adaptation Set
                                                                         that conforms to one of the Initialization Sets
                                                                         referenced in this element.
                                                                         For details, see subclause 5.3.12.
       @id                                                   M           specifies an unsigned integer identifier for this
                                                                         Initialization Group. The attribute shall be
                                                                         unique unique among all Initialization Set and
                                                                         Initialization Group ids in the MPD.
       @profiles                                             O           specifies the profiles which the listed
                                                                         Initialization Groups conform to. The value
                                                                         shall be a subset of the value in the
                                                                         MPD@profiles attribute.
                                                                         If not present, the value is inferred to be the
                                                                         same as the MPD@profiles attribute.
                                                                         The same syntax is used as defined for the
                                                                         MPD@profiles attribute.



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            Element or Attribute Name                        Use                              Description
           @contentType                                        O          specifies the content type of Initialization Sets
                                                                          listed in the element.
       InitializationPresentation                            0 ... N      specifies a white space separated list of ids of
                                                                          Initialization Sets and Initialization Groups to
                                                                          indicate a combination which creates a
                                                                          complete presentation. A client supporting all
                                                                          listed Initialization Sets and Initialization
                                                                          Groups of an Initialization Presentation is
                                                                          expected to be able to play the entire Media
                                                                          Presentation as intended by the service
                                                                          provider.
                                                                          For details, see subclause 5.3.12.
           @id                                                 M          specifies a unique unsigned integer identifier
                                                                          for this Initialization Presentation. The
                                                                          attribute shall be unique among all
                                                                          Initialization Presentation ids in the MPD.
           @profiles                                           O          specifies the profiles which the listed
                                                                          Initialization Groups conform to. The value
                                                                          shall be a subset of the value in the
                                                                          MPD@profiles attribute.
                                                                          If not present, the value is inferred to be the
                                                                          same as the MPD@profiles attribute.
                                                                          The same syntax is used as defined for the
                                                                          MPD@profiles attribute.
           @contentType                                        O          specifies the content type of initialization
                                                                          Groups listed in the element.
        Period                                               1…N          specifies the information of a Period. For more
                                                                          details, refer to the description in subclause
                                                                          5.3.2.
        Metrics                                              0 ... N      specifies the DASH Metrics.
                                                                          For more details, see subclause 5.9.
        EssentialProperty                                   0…N           specifies information about the containing
                                                                          element that is considered essential by the
                                                                          Media Presentation author for processing the
                                                                          containing element.
                                                                          For details, see subclause 5.8.4.8.
        SupplementalProperty                                0…N           specifies supplemental information about the
                                                                          containing element that may be used by the
                                                                          DASH Client optimizing the processing.
                                                                          For details, see subclause 5.8.4.9.
        UTCTiming                                            0 ... N      specifies information on ways to obtain a
                                                                          synchronization to wall-clock time as used in
                                                                          this Media Presentation. The order of the
                                                                          elements expresses a preference of choice by
                                                                          the Media Presentation author. For more
                                                                          details, refer to subclause 5.8.4.11.




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          Element or Attribute Name                               Use                               Description
       LeapSecondInformation                                     0 ... 1       specifies leap second information affecting
                                                                               MPD timing calculations.
                                                                               For details, refer to clause 5.13.
     Key
     For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
     For elements: <minOccurs>…<maxOccurs> (N=unbounded)
     Elements are bold; attributes are non-bold and preceded with an @.

5.3.1.3        XML syntax

 <!-- MPD Type -->
 <xs:complexType name="MPDtype">
       <xs:sequence>
         <xs:element name="ProgramInformation" type="ProgramInformationType" minOccurs="0"
 maxOccurs="unbounded"/>
              <xs:element name="BaseURL" type="BaseURLType" minOccurs="0" maxOccurs="unbounded"/>
              <xs:element name="Location" type="xs:anyURI" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="ServiceDescription" type="ServiceDescriptionType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="InitializationSet" type="InitializationSetType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="InitializationGroup" type="UIntVWithIDType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="InitializationPresentation" type="UIntVWithIDType" minOccurs="0"
 maxOccurs="unbounded"/>
              <xs:element name="Period" type="PeriodType" maxOccurs="unbounded"/>
              <xs:element name="Metrics" type="MetricsType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="EssentialProperty" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
              <xs:element name="UTCTiming" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="LeapSecondInformation" type="LeapSecondInformationType"
 minOccurs="0"/>
              <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="id" type="xs:string"/>
       <xs:attribute name="profiles" type="ListOfProfilesType" use="required"/>
       <xs:attribute name="type" type="PresentationType" default="static"/>
       <xs:attribute name="availabilityStartTime" type="xs:dateTime"/>
       <xs:attribute name="availabilityEndTime" type="xs:dateTime"/>
       <xs:attribute name="publishTime" type="xs:dateTime"/>
       <xs:attribute name="mediaPresentationDuration" type="xs:duration"/>
       <xs:attribute name="minimumUpdatePeriod" type="xs:duration"/>




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       <xs:attribute name="minBufferTime" type="xs:duration" use="required"/>
       <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
       <xs:attribute name="suggestedPresentationDelay" type="xs:duration"/>
       <xs:attribute name="maxSegmentDuration" type="xs:duration"/>
       <xs:attribute name="maxSubsegmentDuration" type="xs:duration"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!-- Presentation Type enumeration -->
 <xs:simpleType name="PresentationType">
       <xs:restriction base="xs:string">
            <xs:enumeration value="static"/>
            <xs:enumeration value="dynamic"/>
       </xs:restriction>
 </xs:simpleType>
 <!-- UInt Vector With ID -->
 <xs:complexType name="UIntVWithIDType">
       <xs:simpleContent>
            <xs:extension base="UIntVectorType">
                  <xs:attribute name="id" type="xs:unsignedInt" use="required"/>
                  <xs:attribute name="profiles" type="ListOfProfilesType"/>
                  <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
                  <xs:anyAttribute namespace="##other" processContents="lax"/>
            </xs:extension>
       </xs:simpleContent>
 </xs:complexType>
 <!-- Whitespace-separated list of unsigned integers -->
 <xs:simpleType name="UIntVectorType">
       <xs:list itemType="xs:unsignedInt"/>
 </xs:simpleType>
5.3.2 Period

5.3.2.1      Overview

A Media Presentation consists of one or more Periods. A Period is defined by a Period element in the
MPD element.
Three types of Periods are defined:
— Regular Period,

— Early Available Period,

— Early Terminated Period.

The type of the Period, as well as the PeriodStart time of a regular Period or early terminated Period is
determined as follows:


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— If the attribute @start is present in the Period, then the Period is a regular Period or an early
  terminated Period and the PeriodStart is equal to the value of this attribute.

— If the @start attribute is absent, but the previous Period element contains a @duration attribute
  then this new Period is also a regular Period or an early terminated Period. The start time of the new
  Period PeriodStart is the sum of the start time of the previous Period PeriodStart and the value of the
  attribute @duration of the previous Period.

— If (i) @start attribute is absent, and (ii) the Period element is the first in the MPD, and (iii) the
  MPD@type is 'static#, then the PeriodStart time shall be set to zero.

— If (i) @start attribute is absent, and (ii) the previous Period element does not contain a
  @duration attribute or the Period element is the first in the MPD, and (iii) the MPD@type is
  #dynamic#, then this Period is an Early Available Period (see below for details).

— If (i) @duration attribute is present, and (ii) the next Period element contains a @start attribute
  or the @minimumUpdatePeriod is present, then this Period is an Early Terminated Period
  (see below for details).

For any regular Period and early terminated Period, the following holds: PeriodStart reflects the actual
time that should elapse after playing the media of all prior Periods in this Media Presentation relative to
the PeriodStart time of the first Period in the Media Presentation. The Period extends until the PeriodStart
of the next Period, or until the end of the Media Presentation in the case of the last Period. For regular
Periods, the difference between the PeriodStart time of a Period and either the PeriodStart time of the
following Period, if this is not the last Period, or the value of the MPD@mediaPresentationDuration
if this is the last one, is the presentation duration in Media Presentation time of the media content
represented by the Representations in this Period. For Early Terminated Periods, the value of the
Period@duration is the presentation duration in Media Presentation time of the media content
represented by the Representations in this Period.
Early Available Periods may be used to advertise initialization of other non-media data before the media
data itself is available. Period elements documenting early available Periods shall not occur before any
Period element documenting a regular Period. For Early Available Periods, any resources that are
announced in such a Period element shall be available. The data contained in such a Period element
does not represent a Period in the Media Presentation. Only when the PeriodStart time becomes known
through an update of the MPD, such a Period element represents a regular Period. However, an update
of the MPD may even remove a Period element representing an Early Available Period in later updates
of the MPD as long as no PeriodStart time is associated with the Period.To avoid dereferencing of a remote
element entity containing a Period element solely to determine the Period timeline, e.g. in case of
seeking, Period@start or previous Period#s Period@duration should be present in the MPD.
The semantics of the attributes and elements within a Period element are provided in Table 4 of
subclause 5.3.2.2. The XML syntax of the Period element is provided in subclause 5.3.2.3.




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5.3.2.2      Semantics

                                       Table 4 — Semantics of Period element

    Element or Attribute Name                    Use                                     Description
     Period                                                  specifies the information of a Period.
        @xlink:href                               O          specifies a reference to a remote element entity that is
                                                             either empty or contains one or multiple top-level elements
                                                             of type Period.
        @xlink:actuate                            OD         specifies the processing instructions, which can be either
                                                             "onLoad" or "onRequest".
                                              default:
                                             onReques        This attribute shall not be present if the @xlink:href
                                                 t           attribute is not present.
        @id                                       O          specifies an identifier for this Period. The identifier shall be
                                                             unique within the scope of the Media Presentation.
                                                             If the MPD@type is "dynamic", then this attribute shall be
                                                             present and shall not change in case the MPD is updated.
                                                             If not present, no identifier for the Period is provided.
                                                                   In case of a remote period element, every Period@id
                                                                   within the remote entity has to be unique within the
                                                                   media presentation. If the generator of the remote
                                                                   entity is unaware of the Period@id values used
                                                                   within the media presentation, it can use unique
                                                                   identifiers (such as UUIDs) as values for Period@id. If
                                                                   the xlink resolver maintains the same generated id for
                                                                   every client and for each time that the remote period is
                                                                   requested, the remote element is cacheable.
        @start                                    O          if present, specifies the PeriodStart time of the Period. The
                                                             PeriodStart time is used as an anchor to determine the MPD
                                                             start time of each Media Segment as well as to determine
                                                             the presentation time of each access unit in the Media
                                                             Presentation timeline.
                                                             If not present, refer to the details in subclause 5.3.2.1.
                                                             The value of PeriodStart, together with the value of the
                                                             MPD@availabilityStartTime enables to derive the
                                                             Segment availability times for dynamic media
                                                             presentations. For details, refer to subclause 5.3.9.
        @duration                                 O          if present, specifies the duration of the Period to determine
                                                             the PeriodStart time of the next Period.
                                                             If not present, refer to the details in subclause 5.3.2.1.
        @bitstreamSwitching                       OD         When set to 'true', this is equivalent as if the
                                                             AdaptationSet@bitstreamSwitching for each
                                               Default:
                                               false         Adaptation Set contained in this Period is set to #true#. In
                                                             this case, the AdaptationSet@bitstreamSwitching
                                                             attribute shall not be set to 'false' for any Adaptation Set
                                                             in this Period.
        BaseURL                                  0…N         specifies a base URL that can be used for reference
                                                             resolution and alternative URL selection. For more details,
                                                             refer to the description in subclause 5.6.



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     Element or Attribute Name                    Use                                       Description
       SegmentBase                                0...1        specifies default Segment Base information.
                                                               Information in this element is overridden by information in
                                                               AdaptationSet.SegmentBase and
                                                               Representation.SegmentBase, if present.
                                                               For more details, see subclause 5.3.9.
       SegmentList                                0...1        specifies default Segment List information.
                                                               Information in this element is overridden by information in
                                                               AdaptationSet.SegmentList and
                                                               Representation.SegmentList, if present.
                                                               For more details, see subclause 5.3.9.
       SegmentTemplate                            0...1        specifies default Segment Template information.
                                                               Information in this element is overridden by information in
                                                               AdaptationSet.SegmentTemplate and
                                                               Representation.SegmentTemplate, if present.
                                                               For more details, see subclause 5.3.9.
       AssetIdentifier                            0...1        specifies that this Period belongs to a certain asset.
                                                               For more details, see subclause 5.8.5.7.
       EventStream                                0...N        specifies an event stream.
                                                               For more details, see subclause 5.10.2.
       ServiceDescription                        0 ... N       specifies the service description that is intended by the
                                                               service provider on how the service is expected to be
                                                               consumed in this Period.
                                                               For details, refer to Table 3, in subclause 5.3.1.3.
                                                               If any element is present in the Period, then this
                                                               information overrides all Service Description information
                                                               provided on MPD level with the same scope.
       AdaptationSet                              0...N        specifies an Adaptation Set.
                                                               At least one Adaptation Set shall be present in each Period
                                                               unless the value of the @duration attribute of the Period
                                                               is set to zero.
                                                               For more details, see subclause 5.3.3.
       Subset                                     0...N        specifies a Subset. For more details, see subclause 5.3.8.
       SupplementalProperty                       0...N        specifies supplemental information about the containing
                                                               element that may be used by the DASH Client optimizing the
                                                               processing.
                                                               For details, see subclause 5.8.4.9.




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    Element or Attribute Name                    Use                                     Description
        EmptyAdaptationSet                       0...N       specifies an Adaptation Set that does not contain any
                                                             Representation element. The empty Adaptation Set is of the
                                                             same type as a regular Adaptation Set but shall neither
                                                             contain an xlink nor contain any Representation element.
                                                             This element shall only be present, if an Essential
                                                             Descriptor is present with @schemeIDURI set to
                                                             "urn:mpeg:dash:mpd-as-linking:2015".
                                                             For more details, see subclause 5.8.5.8.
        GroupLabel                              0…N          A summary label for a group of Labels.
                                                             For more details, refer to subclause 5.3.10.
        Preselection                            0…N          specifies a preselection, i.e. a combination of Adaptation
                                                             Sets that form a specific experience and can be selected for
                                                             joint decoding and rendering.
                                                             For more details, refer to subclause 5.3.11.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.
5.3.2.3      XML syntax

 <!-- Period -->
 <xs:complexType name="PeriodType">
       <xs:sequence>
            <xs:element name="BaseURL" type="BaseURLType" minOccurs="0" maxOccurs="unbounded"/>
            <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
            <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
            <xs:element name="SegmentTemplate" type="SegmentTemplateType" minOccurs="0"/>
            <xs:element name="AssetIdentifier" type="DescriptorType" minOccurs="0"/>
         <xs:element name="EventStream" type="EventStreamType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="ServiceDescription" type="ServiceDescriptionType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="AdaptationSet" type="AdaptationSetType" minOccurs="0"
 maxOccurs="unbounded"/>
            <xs:element name="Subset" type="SubsetType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="EmptyAdaptationSet" type="AdaptationSetType" minOccurs="0"
 maxOccurs="unbounded"/>
            <xs:element name="GroupLabel" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="Preselection" type="PreselectionType" minOccurs="0"
 maxOccurs="unbounded"/>



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          <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
     </xs:sequence>
     <xs:attribute ref="xlink:href"/>
     <xs:attribute ref="xlink:actuate" default="onRequest"/>
     <xs:attribute ref="xlink:type" fixed="simple"/>
     <xs:attribute ref="xlink:show" fixed="embed"/>
     <xs:attribute name="id" type="xs:string"/>
     <xs:attribute name="start" type="xs:duration"/>
     <xs:attribute name="duration" type="xs:duration"/>
     <xs:attribute name="bitstreamSwitching" type="xs:boolean" default="false"/>
     <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
5.3.2.4    Content offering with multiple Periods

Content with multiple Periods may be created for different reasons, for example:
— to enable splicing of content, for example for ad insertion,

— to provide synchronization in segment numbering, e.g. compensate non-constant segment durations,

— to remove or add certain Representations in an Adaptation Set,

— to remove or add certain Adaptation Sets,

— to remove or add content offering on certain CDNs,

— to enable signalling of shorter segments, if produced by the encoder.

Periods provide opportunities for resync, for ad insertion, for adding and removing Representations.
However, in certain circumstances, the content across Period boundaries is continuous and, in this case,
continuous playout of the client is expected.
In certain circumstances, the Media Presentation is offered such that the next Period is a continuation of
the content in the previous Period, possibly the immediately following Period or in a later Period
(e.g. after an advertisement Period had been inserted).
The content provider may express that the media components contained in two Adaptation Sets in two
different Periods are associated by assigning equivalent Asset Identifiers to both Periods and by
identifying both Adaptation Sets with identical value for the attribute @id. Association expresses a logical
continuation of the media component in the next Period and may for example be used by the client to
continue playing an associated Adaptation Set in the new Period.
In addition, two Adaptation Sets in one MPD are period-continuous if all the following holds:
— The Adaptation Sets are associated.

— The sum of the value of the @presentationTimeOffset and the presentation duration of all
  Representations in one Adaptation Set are identical to the value of the
  @presentationTimeOffset of the associated Adaptation Set in the next Period.

— If Representations in both Adaptation Sets have the same value for @id, then they shall have
  functionally equivalent Initialization Segments, i.e. the Initialization Segment may be used to
  continue the play-out of the Representation. The concatenation of the Initialization Segment of the


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     first Period, if present, and all consecutive Media Segments in the Representation in the first Period
     and subsequently the concatenation with all consecutive Media Segments in the Representation of
     the second Period shall represent a conforming Segment track as defined in subclause 4.5.4
     conforming to the media type as specified in the @mimeType attribute for the Representation in the
     first Period. Additionally, the @mimeType attribute for the Representation in the next Period shall
     be the same as one of the first Period.

Media Presentations should signal period-continuous Adaptation Sets by using a supplemental descriptor
on Adaptation Set level with @schemeIdUri set to "urn:mpeg:dash:period-
continuity:2015" with
— the @value of the descriptor matching the value of an @id of a Period that is contained in the MPD,
  and

— the value of the AdaptationSet@id being the same in both Periods.

MPD should signal period-continuous Adaptation Sets if the MPD contains Periods with identical Asset
Identifiers.
There exist special cases for which the media in one Adaptation Set is a continuation of the previous one,
but the timestamps are not continuous. Examples are timestamp wrap around, encoder reset, splicing, or
other aspects. Two Adaptation Sets in one MPD are period-connected if all conditions from period-
continuity from above hold, except that the timestamps across Period boundaries may be non-continuous
but adjusted by the value of the @presentationTimeOffset at the Period boundary. However, for
example the Initialization Segment is equivalent within the two Adaptation Sets. Media Presentations
should signal period-connected Adaptation Sets by using a supplemental descriptor on Adaptation Set
level with @schemeIdUri set to "urn:mpeg:dash:period-connectivity:2015".
Period continuity implies period connectivity.
For appropriate client behaviour, please refer to A.9.
5.3.3 Adaptation Sets

5.3.3.1      Overview

Each Period consists of one or more Adaptation Sets. An Adaptation Set is described by an
AdaptationSet element. AdaptationSet elements are contained in a Period element.
An Adaptation Set contains alternate Representations, i.e. only one Representation within an Adaptation
Set is expected to be presented at a time. All Representations contained in one Adaptation Set represent
the same media content components and therefore contain media streams that are considered to be
perceptually equivalent. The Adaptation Set and the contained Representations shall be prepared and
contain sufficient information such that seamless switching (as defined in subclause 4.5.1) across
different Representations in one Adaptation Set is enabled. If an Adaptation Set is expected to be
consumed by DASH Clients with restrictions in terms of switching, then the Media Presentation author
should provide sufficient means to enable seamless switching under these restrictions.
Representations are arranged into Adaptation Sets according to the media content component properties
of the media content components present in the Representations, namely:
— the language as described by the @lang attribute,

— the media content component type described by the @contentType attribute,

— the picture aspect ratio as described by the @par attribute,



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— the role property as described by the Role elements,

— the accessibility property as described by the Accessibility elements,

— the viewpoint property as described by the Viewpoint elements,

— the rating property as described by the Rating elements.

Representations shall appear in the same Adaptation Set if and only if they have identical values for all of
these media content component properties for each media content component.
The values for the elements Role, Accessibility, Viewpoint and Rating are generally not
provided within the scope of this document. However, a number of simple schemes are defined in
subclause 5.8.5.
If there exist multiple media content components, then the properties of each media content component
shall be described by a separate ContentComponent element as defined in subclause 5.3.4. The
ContentComponent element shares common elements and attributes with the AdaptationSet
element. Default values, or values applicable to all media content components, may be provided directly
in the AdaptationSet element. Attributes present in the AdaptationSet shall not be repeated in
the ContentComponent element.
The AdaptationSet element may contain default values for elements and attributes associated to the
contained Representations. The list of possible present elements and attributes that are common to
AdaptationSet and Representation (and also SubRepresentation) are collected in subclause
5.3.7. Any of the common attributes shall only be present either in the AdaptationSet element or in
the Representation element, but not in both.
The AdaptationSet element also supports the description of ranges for the @bandwidth, @width,
@height and @frameRate attributes associated to the contained Representations, which provide a
summary of all values for all the Representations within this Adaptation Set. The Representations
contained within an Adaptation Set shall not contain values outside the ranges documented for that
Adaptation Set.
Adaptation Sets may be further arranged into groups using the @group attribute. The semantics of this
grouping is that the media content within one Period is represented by:
1) either one Representation from group 0, if present,

2) or the combination of at most one Representation from each non-zero group.

If the AdaptationSet@group attribute is not present, then all Representations in this Adaptation Set
are assigned to a non-zero group specific to this Adaptation Set.
The semantics of the attributes and elements within an AdaptationSet element are provided in Table
5, in subclause 5.3.3.2. The XML syntax of the AdaptationSet element is provided in subclause 5.3.3.3.




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5.3.3.2      Semantics

                                Table 5 — Semantics of AdaptationSet element

       Element or Attribute Name                       Use                                  Description
        AdaptationSet                                              Adaptation Set description.
            @xlink:href                                  O         specifies a reference to a remote element entity that
                                                                   shall contain exactly one element of type
                                                                   AdaptationSet.
            @xlink:actuate                              OD         specifies the processing instructions, which can be
                                                                   either "onLoad" or "onRequest".
                                                     default:
                                                  'onReque
                                                     st'
            @id                                          O         specifies a unique identifier for this Adaptation Set in
                                                                   the scope of the Period. The attribute shall be a unique
                                                                   unsigned integer value in the scope of the containing
                                                                   Period.
                                                                   The attribute shall not be present in a remote element
                                                                   entity.
                                                                   If not present, no identifier for the Adaptation Set is
                                                                   specified.
            @group                                       O         specifies an identifier for the group that is unique in the
                                                                   scope of the containing Period. The value is an unsigned
                                                                   integer.
                                                                   For details, refer to subclause 5.3.3.1.
            CommonAttributesElemen                      —          specifies the common attributes and elements
            ts                                                     (attributes and elements from base type
                                                                   RepresentationBaseType). For details, see subclause
                                                                   5.3.7.
            @lang                                        O         Declares the language code for this Adaptation Set. The
                                                                   syntax and semantics according to IETF RFC 5646 shall
                                                                   be used.
                                                                   If not present, the language code may be defined for
                                                                   each media component or it may be unknown.
                                                                   If the language is unknown, the 'und' code for
                                                                   undetermined primary language or the 'zxx' (Non-
                                                                   Linguistic, Not Applicable) code can be used.
            @contentType                                 O         specifies the media content component type for this
                                                                   Adaptation Set. A value of the top-level Content-type
                                                                   'type' value as defined in IETF RFC 6838:2013, Clause 4
                                                                   shall be taken.
                                                                   If not present, the media content component type may
                                                                   be defined for each media content component or it may
                                                                   be unknown.




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     Element or Attribute Name                        Use                                    Description
        @par                                            O          specifies the picture aspect ratio of the video media
                                                                   component type, in the form of a string consisting of
                                                                   two integers separated by ':', e.g. "16:9". When this
                                                                   attribute is present, and the attributes @width and
                                                                   @height for the set of Representations are also
                                                                   present, the picture aspect ratio as specified by this
                                                                   attribute shall be the same as indicated by the values of
                                                                   @width, @height, and @sar, i.e. it shall express the
                                                                   same ratio as (@width * sarx): (@height * sary),
                                                                   with sarx the first number in @sar and sary the second
                                                                   number.
                                                                   If not present, the picture aspect ratio may be defined
                                                                   for each media component or it may be unknown.
        @minBandwidth                                   O          specifies the minimum @bandwidth value in all
                                                                   Representations in this Adaptation Set. This value has
                                                                   the same units as the @bandwidth attribute.
                                                                   If not present, the value is unknown.
        @maxBandwidth                                   O          specifies the maximum @bandwidth value in all
                                                                   Representations in this Adaptation Set. This value has
                                                                   the same units as the @bandwidth attribute.
                                                                   If not present, the value is unknown.
        @minWidth                                       O          specifies the minimum @width value in all
                                                                   Representations in this Adaptation Set. This value has
                                                                   the same units as the @width attribute.
                                                                   If not present, the value is unknown.
        @maxWidth                                       O          specifies the maximum @width value in all
                                                                   Representations in this Adaptation Set. This value has
                                                                   the same units as the @width attribute.
                                                                   If not present, the value is unknown.
        @minHeight                                      O          specifies the minimum @height value in all
                                                                   Representations in this Adaptation Set. This value has
                                                                   the same units as the @height attribute.
                                                                   If not present, the value is unknown.
        @maxHeight                                      O          specifies the maximum @height value in all
                                                                   Representations in this Adaptation Set. This value has
                                                                   the same units as the @height attribute.
                                                                   If not present, the value is unknown.
        @minFrameRate                                   O          specifies the minimum @framerate value in all
                                                                   Representations in this Adaptation Set. This value is
                                                                   encoded in the same format as the @frameRate
                                                                   attribute.
                                                                   If not present, the value is unknown.




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       Element or Attribute Name                       Use                                  Description
            @maxFrameRate                                O         specifies the maximum @framerate value in all
                                                                   Representations in this Adaptation Set. This value is
                                                                   encoded in the same format as the @frameRate
                                                                   attribute.
                                                                   If not present, the value is unknown.
            @segmentAlignment                           OD         When not set to 'false', this specifies that for any
                                                                   two Representations, X and Y, within the same
                                                     default:
                                                     false         Adaptation Set, the m-th Segment of X and the n-th
                                                                   Segment of Y are non-overlapping (as defined in
                                                                   subclause 4.5.3) whenever m is not equal to n.
                                                                   For Adaptation Sets containing Representations with
                                                                   multiple media content components, this attribute
                                                                   value shall be either 'true' or 'false'.
                                                                   For Adaptation Sets containing Representations with a
                                                                   single media content component, when two
                                                                   AdaptationSet elements within a Period share the
                                                                   same integer value for this attribute, then for any two
                                                                   Representations, X and Y, within the union of the two
                                                                   Adaptation Sets, the m-th Segment of X and the n-th
                                                                   Segment of Y are non-overlapping (as defined in
                                                                   subclause 4.5.3) whenever m is not equal to n.
            @bitstreamSwitching                          O         When this flag is set to 'true', the following applies:
                                                                   —     All Representations in the Adaptation Set shall
                                                                         have the same number M of Media Segments;

                                                                   —     Let R1, R2, ..., RN be all the Representations within
                                                                         the Adaptation Set.

                                                                   —     Let

                                                                         —     Si,j, for j > 0, be the jth Media Segment in the
                                                                                      ith Representation (i.e. Ri)

                                                                         —     if present, let Si,0 be the Initialization
                                                                                     Segment in the ith Representation, and

                                                                         —     if present, let Bi be the Bitstream Switching
                                                                                     Segment in the ith Representation.




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     Element or Attribute Name                        Use                                        Description
                                                                   —     The sequence of

                                                                        —     any Initialization Segment, if present, in the
                                                                                  Adaptation Set, with,

                                                                        —     if Bitstream Switching Segments are
                                                                                    present,

                                                                                     Bi(1), Si(1),1, Bi(2), Si(2),2, ..., Bi(k),
                                                                                     Si(k),k, ..., Bi(M), Si(M),M

                                                                        —     else

                                                                                     Si(1),1, Si(2),2, ..., Si(k),k, ..., Si(M),M,

                                                                              wherein any i(k) for all k values in the range
                                                                                 of 1 to M, respectively, is an integer
                                                                                 value in the range of 1 to N,

                                                                         results in a "conforming Segment track" as defined
                                                                         in subclause 4.5.4 with the media format as
                                                                         specified in the @mimeType attribute.

                                                                   More detailed rules may be defined for specific media
                                                                   formats.
                                                                   For more details, refer to subclause 5.3.3.4.
                                                                         NOTE When this attribute is set to TRUE, then
                                                                         seamless switching across Representations can be
                                                                         achieved without re-initialization of the decoder.
                                                                         Content authors are encouraged to set this
                                                                         attribute to true only if the media content
                                                                         components across Representations do not need
                                                                         the media decoder to be re-initialized.
        @subsegmentAlignment                    OD                 If the @subsegmentAlignment for an Adaptation Set
                                                                   is set to other than 'false', all following conditions
                                                default:
                                                false              shall be satisfied:

                                                                   —     Each Media Segment shall be indexed (i.e. either it
                                                                         contains a Segment index or there is an Index
                                                                         Segment providing an index for the Media
                                                                         Segment).

                                                                   —     For any two Representations, X and Y, within the
                                                                         same Adaptation Set, the m-th Subsegment of X
                                                                         and the n-th Subsegment of Y are non-overlapping
                                                                         (as defined in subclause 4.5.3) whenever m is not
                                                                         equal to n.




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       Element or Attribute Name                       Use                                Description
                                                                   —     For Adaptation Sets containing Representations
                                                                         with a single media content component, when two
                                                                         AdaptationSet elements within a Period share
                                                                         the same integer value for this attribute, then for
                                                                         any two Representations, X and Y, within the union
                                                                         of the two Adaptation Sets, the m-th Subsegment of
                                                                         X and the n-th Subsegment of Y are non-
                                                                         overlapping (as defined in subclause 4.5.3)
                                                                         whenever m is not equal to n.

            @subsegmentStartsWithS                      OD         when greater than 0, specifies that each Subsegment
            AP                                                     with SAP_type greater than 0 starts with a SAP of
                                                     default:
                                                                   type less than or equal to the value of
                                                         0
                                                                   @subsegmentStartsWithSAP. A Subsegment starts
                                                                   with SAP when the Subsegment contains a SAP, and for
                                                                   the first SAP, ISAU is the index of the first access unit that
                                                                   follows ISAP, and ISAP is contained in the Subsegment.
                                                                   The semantics of @subsegmentStartsWithSAP
                                                                   equal to 0 are unspecified.
            @initializationSetRef                        O         specifies a white space separated list of Initialization
                                                                   Set identifiers. The Adaptation Set shall conform to all
                                                                   Initialization Sets that are referenced in this attribute.
            Accessibility                             0…N          specifies information about accessibility scheme
                                                                   For more details, refer to subclauses 5.8.1 and 5.8.4.3.
            Role                                      0…N          specifies information on role annotation scheme
                                                                   For more details, refer to subclauses 5.8.1 and 5.8.4.2.
            Rating                                    0…N          specifies information on rating scheme.
                                                                   For more details, refer to subclauses 5.8.1 and 5.8.4.4.
            Viewpoint                                 0…N          specifies information on viewpoint annotation scheme.
                                                                   For more details, refer to subclauses 5.8.1 and 5.8.4.5.
            ContentComponent                           0…N         specifies the properties of one media content
                                                                   component contained in this Adaptation Set.
                                                                   For more details, refer to subclause 5.3.4.
            BaseURL                                    0…N         specifies a base URL that can be used for reference
                                                                   resolution and alternative URL selection. For more
                                                                   details, refer to the description in subclause 5.6.
            SegmentBase                                0...1       specifies default Segment Base information.
                                                                   Information in this element is overridden by
                                                                   information in the Representation.SegmentBase,
                                                                   if present.
                                                                   For more details, see subclause 5.3.9.
            SegmentList                                0...1       specifies default Segment List information.
                                                                   Information in this element is overridden by
                                                                   information in the Representation.SegmentList,
                                                                   if present.
                                                                   For more details, see subclause 5.3.9.



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      Element or Attribute Name                        Use                                    Description
         SegmentTemplate                               0...1        specifies default Segment Template information.
                                                                    Information in this element is overridden by
                                                                    information in the
                                                                    Representation.SegmentTemplate, if present.
                                                                    For more details, see subclause 5.3.9.
         Representation                               0…N           specifies a Representation.
                                                                    At least one Representation element shall be present in
                                                                    each Adaptation Set. The actual element may however
                                                                    be part of a remote element entity if xlink is used on the
                                                                    containing AdaptationSet element.
                                                                    For more details, refer to subclause 5.3.5.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics
bold referring to those taken from the Base type that has been extended by this type.


5.3.3.3 XML syntax

 <!-- Adaptation Set -->
 <xs:complexType name="AdaptationSetType">
      <xs:complexContent>
          <xs:extension base="RepresentationBaseType">
                <xs:sequence>
                 <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Role" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Rating" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="ContentComponent" type="ContentComponentType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
 maxOccurs="unbounded"/>
                      <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                      <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                      <xs:element name="SegmentTemplate" type="SegmentTemplateType" minOccurs="0"/>
                 <xs:element name="Representation" type="RepresentationType" minOccurs="0"
 maxOccurs="unbounded"/>
                </xs:sequence>




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                  <xs:attribute ref="xlink:href"/>
                  <xs:attribute ref="xlink:actuate" default="onRequest"/>
                  <xs:attribute ref="xlink:type" fixed="simple"/>
                  <xs:attribute ref="xlink:show" fixed="embed"/>
                  <xs:attribute name="id" type="xs:unsignedInt"/>
                  <xs:attribute name="group" type="xs:unsignedInt"/>
                  <xs:attribute name="lang" type="xs:language"/>
                  <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
                  <xs:attribute name="par" type="RatioType"/>
                  <xs:attribute name="minBandwidth" type="xs:unsignedInt"/>
                  <xs:attribute name="maxBandwidth" type="xs:unsignedInt"/>
                  <xs:attribute name="minWidth" type="xs:unsignedInt"/>
                  <xs:attribute name="maxWidth" type="xs:unsignedInt"/>
                  <xs:attribute name="minHeight" type="xs:unsignedInt"/>
                  <xs:attribute name="maxHeight" type="xs:unsignedInt"/>
                  <xs:attribute name="minFrameRate" type="FrameRateType"/>
                  <xs:attribute name="maxFrameRate" type="FrameRateType"/>
                  <xs:attribute name="segmentAlignment" type="xs:boolean" default="false"/>
                  <xs:attribute name="subsegmentAlignment" type="xs:boolean" default="false"/>
                  <xs:attribute name="subsegmentStartsWithSAP" type="SAPType" default="0"/>
                  <xs:attribute name="bitstreamSwitching" type="xs:boolean"/>
                  <xs:attribute name="initializationSetRef" type="UIntVectorType"/>
            </xs:extension>
       </xs:complexContent>
 </xs:complexType>
 <!-- Ratio Type for sar and par -->
 <xs:simpleType name="RatioType">
       <xs:restriction base="xs:string">
            <xs:pattern value="[0-9]*:[0-9]*"/>
       </xs:restriction>
 </xs:simpleType>
 <!-- Type for Frame Rate -->
 <xs:simpleType name="FrameRateType">
       <xs:restriction base="xs:string">
            <xs:pattern value="[0-9]+(/[1-9][0-9]*)?"/>
       </xs:restriction>
 </xs:simpleType>
 <!-- Type for RFC6838 Content Type -->
 <xs:simpleType name="RFC6838ContentTypeType">
       <xs:restriction base="xs:string">
            <xs:enumeration value="text"/>




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          <xs:enumeration value="image"/>
          <xs:enumeration value="audio"/>
          <xs:enumeration value="video"/>
          <xs:enumeration value="application"/>
          <xs:enumeration value="font"/>
     </xs:restriction>
 </xs:simpleType>
5.3.3.4 Switching within Adaptation Sets

Switching refers to the presentation of decoded data from one Representation up to a certain time t, and
presentation of decoded data of another Representation from time t onwards; for details, refer to
subclause 4.3.
The Switching element as defined in Table 6 provides instructions of switch points within an
Adaptation Set and the permitted switching options as defined in Table 7. When this element is present,
it signals opportunities for simple switching across Representations in one Adaptation Set. This element
may be used instead of the attributes @segmentAlignment or @bitstreamSwitching.
Table 7 defines different switching strategies that provide instructions to the client on the procedures to
switch appropriately within an Adaptation Set.

                                           Table 6 — Switch point signalling

      Element or Attribute Name                        Use                                    Description
       Switching                                                    Switching logic description for the associated
                                                                    Representation
          @interval                                     M           specifies the interval between two switching points in
                                                                    the scale of the @timescale on Representation
                                                                    level. Any Segment for which the earliest presentation
                                                                    time minus the @t value of the S element describing
                                                                    the segment is an integer multiple of the product of
                                                                    @timescale and @interval is a switch-to
                                                                    opportunity, i.e. it enables to switch to this
                                                                    Representation with the switching strategy as defined
                                                                    by the @type value.
                                                                    The value should be chosen such that the resulting
                                                                    time matches MPD start time of segments, otherwise
                                                                    no switching will be described.
          @type                                         OD          specifies the switching strategy for the switch points
                                                                    identified in by the @interval attribute. Switching
                                                     default:
                                                   'media'          strategies are defined in Table 7.

                                             Table 7 — Switching strategies

       Type                                                             Description
 media                  Media level switching: in this case, switching is possible at the switch point by decoding
                        and presenting switch-from Representation up to switch point t, initializing the switch-to
                        Representation with the associated Initialization Segment and continue decoding and
                        presenting the switch-to Representation from time t onwards.




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 bitstream                Bitstream switching: in this case, switching is possible at the switch point by decoding and
                          presenting switch-from Representation up to switch point t, and continue decoding and
                          presenting the switch-to Representation from time t onwards. More specifically, the
                          concatenation of two Representations at the switch point results in a "conforming
                          Segment track" as defined in 4.5.4 with the media format as specified in the @mimeType
                          attribute.
                          Initialization of the switch-to Representation is not necessary and is not recommended.
                          In order to enable this feature, it is recommended to use the same Initialization Segment
                          for all Representations in the Adaptation Set, i.e. the highest profile/level is signalled in the
                          Initialization Segment.
The XML schema snippet is as follows:
 <!-- Switching        -->
 <xs:complexType name="SwitchingType">
       <xs:attribute name="interval" type="xs:unsignedInt" use="required"/>
       <xs:attribute name="type" type="SwitchingTypeType"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!--Switching Type type enumeration -->
 <xs:simpleType name="SwitchingTypeType">
       <xs:restriction base="xs:string">
            <xs:enumeration value="media"/>
            <xs:enumeration value="bitstream"/>
       </xs:restriction>
 </xs:simpleType>
5.3.3.5      Switching across Adaptation Sets

Representations in two or more Adaptation Sets may provide the same content. In addition, the content
may be time-aligned and may be offered such that seamless switching across Representations in different
Adaptation Sets is simplified. Typical examples are the offering of the same content with different codecs,
for example H.264/AVC and H.265/HEVC and the content author wants to provide such information to
the receiver in order to seamlessly switch Representations (as defined in subclause 4.5.1) across different
Adaptation Sets.
A content author may signal such seamless switching property across Adaptation Sets by providing a
Supplemental Descriptor along with an Adaptation Set with @schemeIdURI set to
urn:mpeg:dash:adaptation-set-switching:2016 and the @value is a comma-separated list
of Adaptation Set IDs that may be seamlessly switched to from this Adaptation Set.
If the content author signals the ability of Adaptation Set switching and as @segmentAlignment or
@subsegmentAlignment are set to TRUE, the (Sub)Segment alignment element shall be valid for all
Representations in all Adaptation Sets for which the @id value is included in the @value attribute of the
Supplemental descriptor.
If the content author signals the ability of Adaptation Set switching and Switching element is provided,
the signalled switch points apply for all Representations in all Adaptation Sets for which the @id value is
included in the @value attribute of the Supplemental descriptor.
As an example, a content author may signal that seamless switching across an H.264/AVC Adaptation Set
with AdaptationSet@id="4" and an HEVC Adaptation Set with AdaptationSet@id="5" is
possible by adding a Supplemental Descriptor to the H.264/AVC Adaptation Set with @schemeIdURI


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set to urn:mpeg:dash:adaptation-set-switching:2016 and the @value="5" and by
adding a Supplemental Descriptor to the HEVC Adaptation Set with @schemeIdURI set to
urn:mpeg:dash:adaptation-set-switching:2016 and the @value="4".
In addition, if the content author signals the ability of Adaptation Set switching for any Adaptation Sets
then the parameters as defined for an Adaption Set shall also hold for all Adaptation Sets that are included
in the @value attribute. This constraint may result that the switching may only be signalled with one
Adaptation Set, but not with both as for example one Adaptation Set signalling may include all spatial
resolutions of another one, whereas it is not the case the other way around.
5.3.4 Media content component

5.3.4.1    Overview

Each Adaptation Set contains one or more media content components. The properties of each media
content component are described by a ContentComponent element or may be described directly on
the AdaptationSet element if only one media content component is present in the Adaptation Set.
ContentComponent elements are contained in an AdaptationSet element.
The semantics of the attributes and elements within a ContentComponent element are provided in
Table 8, in subclause 5.3.4.2. The XML syntax of the ContentComponent element is provided in
subclause 5.3.4.3.
5.3.4.2 Semantics

                            Table 8 — Semantics of ContentComponent element

      Element or Attribute Name                          Use                                   Description
      ContentComponent                                                Description of a content component.
          @id                                              O          specifies an identifier for this media component.
                                                                      The attribute shall be unique in the scope of the
                                                                      containing Adaptation Set.
                                                                      The value of this attribute should be the media
                                                                      component identifier in the media segment (i.e. the
                                                                      Track Id in ISO BMFF segments and PID in MPEG-2
                                                                      TS segments) described by this
                                                                      ContentComponent element.
                                                                      Multiplexing of media components may also be
                                                                      provided on elementary stream level, for example
                                                                      for next generation audio codecs, different audio
                                                                      components may be mixed. In this case, the id may
                                                                      also point to specific components in a single
                                                                      elementary stream.
          @lang                                            O          Same semantics as in Table 5 for @lang attribute.
          @contentType                                     O          Same semantics as in Table 5 for @contentType
                                                                      attribute.
          @par                                             O          Same semantics as in Table 5 for @par attribute.
          @tag                                             O          specifies the tag of the Content Component which
                                                                      may be used for selection purposes towards the
                                                                      decoder.




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         Element or Attribute Name                       Use                                 Description
            Accessibility                               0…N          Same semantics as in Table 5 for Accessibility
                                                                     element.
            Role                                        0…N          Same semantics as in Table 5 for Role element.
            Rating                                      0…N          Same semantics as in Table 5 for Rating element.
            Viewpoint                                   0…N          Same semantics as in Table 5 for Viewpoint
                                                                     element.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory,
 F=fixed
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics
 bold referring to those taken from the Base type that has been extended by this type.
5.3.4.3      XML syntax

 <!-- Content Component -->
 <xs:complexType name="ContentComponentType">
        <xs:sequence>
         <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
            <xs:element name="Role" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
            <xs:element name="Rating" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
            <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="id" type="xs:unsignedInt"/>
        <xs:attribute name="lang" type="xs:language"/>
        <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
        <xs:attribute name="par" type="RatioType"/>
        <xs:attribute name="tag" type="TagType"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>

5.3.5     Representation

5.3.5.1      Overview

Representations are described by the Representation element. Representation elements are
contained in an AdaptationSet element.
A Representation is one of the alternative choices of the complete set or subset of media content
components comprising the media content during the defined Period.
A Representation starts at the start of the Period PeriodStart and continues to the end of the Period, i.e.
the start of the next Period or the end of the Media Presentation.




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Each Representation includes one or more media streams, where each media stream is an encoded
version of one media content component.
A Representation consists of one or more Segments.
Each Representation either shall contain an Initialization Segment or each Media Segment in the
Representation shall be self-initializing, i.e. the Media Segment itself conforms to the media type as
specified in the @mimeType attribute for this Representation.
When a Representation is not a dependent Representation, i.e. the @dependencyId attribute is absent,
then concatenation of the Initialization Segment, if present, and all consecutive Media Segments in one
Representation shall represent a conforming Segment track as defined in subclause 4.5.4 conforming to
the media type as specified in the @mimeType attribute for this Representation.
Dependent Representations are described by a Representation element that contains a
@dependencyId attribute. Dependent Representations are regular Representations except that they
depend on a set of complementary Representations for decoding and/or presentation. The
@dependencyId contains the values of the @id attribute of all the complementary Representations, i.e.
Representations that are necessary to present and/or decode the media content components contained
in this dependent Representation.
For any dependent Representation X that depends on complementary Representation Y, the m-th
Subsegment of X and the n-th Subsegment of Y shall be non-overlapping (as defined in subclause 4.5.3)
whenever m is not equal to n. For dependent Representations, the concatenation of the Initialization
Segment with the sequence of Subsegments of the dependent Representations, each being preceded by
the corresponding Subsegment of each of the complementary Representations in order as provided in
the @dependencyId attribute, shall represent a conforming Subsegment track as defined in subclause
4.5.4 conforming to the media format as specified in the @mimeType attribute for this dependent
Representation.
     NOTE 1      When decoding of a dependent Representation is started from a SAP in the (Sub)Segment with
     number i, the decoding process does not need to access data from the complementary Representation(s) from
     any earlier (sub)segments than (sub)Segment with number i of the complementary Representation(s).

     NOTE 2      In case a dependent Representation X depends on at least two complementary Representations Yi,
     that are also dependent Representations depending, directly or indirectly, on the same complementary
     Representation Z, then the concatenation as defined above results in a sequence conforming to the media
     format if the Segments of Representation Z are concatenated only the first time encountered following the
     order in the @dependencyId attributes starting from X. If following recursively the dependencies indicated
     in the @dependencyId of Representations, certain Representations can be encountered more than once. In
     this case, the corresponding Segments or Subsegments are expected to only be concatenated once, namely
     when first encountered.

Associated Representations are described by a Representation element that contains an
@associationId attribute and optionally an @associationType attribute. Associated
Representations are Representations that provide information on their relationships with other
Representations. As opposed to complementary Representations, the segments of an associated
Representation may be optional for decoding and/or presentation of the Representations identified by
@associationId. They can be considered as supplementary or descriptive information, the type of the
association being specified by the @associationType attribute.
NOTE 3    @associationId and @associationType                                    attributes     can     only    be    used     between
Representations that are not in the same Adaptation Sets.

If a Representation is offered in a Media Presentation with MPD@type='dynamic', it is recommended
that means to compensate such drift be included. For more details, refer to A.8.




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The semantics of the attributes and elements within a Representation are provided in Table 9, in
subclause 5.3.5.2 . The XML syntax of the Representation type is provided in subclause 5.3.5.3.
5.3.5.2 Semantics

                               Table 9 — Semantics of Representation element

         Element or Attribute Name                      Use                                 Description
        Representation                                             This element contains a description of a
                                                                   Representation.
           @id                                            M        specifies an identifier for this Representation. The
                                                                   identifier shall be unique within a Period unless the
                                                                   Representation is functionally identical to another
                                                                   Representation in the same Period.
                                                                   The identifier shall not contain whitespace characters.
                                                                   If used in the template-based URL construction as
                                                                   defined in subclause 5.3.9.4.4, the string shall only
                                                                   contain characters that are permitted within an HTTP-
                                                                   URL according to IETF RFC 3986.
           @bandwidth                                     M        Consider a hypothetical constant bitrate channel of
                                                                   bandwidth with the value of this attribute in bits per
                                                                   second (bps). Then, if the Representation is
                                                                   continuously delivered at this bitrate, starting at any
                                                                   SAP that is indicated either by @startWithSAP or by
                                                                   any Segment Index box, a client can be assured of
                                                                   having enough data for continuous playout providing
                                                                   playout begins after
                                                                   @minBufferTime * @bandwidth bits have been
                                                                   received (i.e. at time @minBufferTime after the first
                                                                   bit is received).
                                                                   For dependent Representations, this value specifies the
                                                                   bandwidth according to the above definition for the
                                                                   aggregation of this Representation and all
                                                                   complementary Representations.
                                                                   For details, see subclause 5.3.5.4.
           @qualityRanking                                O        specifies a quality ranking of the Representation
                                                                   relative to other Representations in the same
                                                                   Adaptation Set. Lower values represent higher quality
                                                                   content. If not present, then no ranking is defined.
           @dependencyId                                  O        specifies all complementary Representations the
                                                                   Representation depends on in the decoding and/or
                                                                   presentation process as a whitespace-separated list of
                                                                   values of @id attributes.
                                                                   If not present, the Representation can be decoded and
                                                                   presented independently of any other Representation.
                                                                   This attribute shall not be present where there are no
                                                                   dependencies.
           @associationId                                 O        specifies all Representations the Representation is
                                                                   associated with in the decoding and/or presentation
                                                                   process as a whitespace-separated list of values of
                                                                   Representation@id attributes.



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      Element or Attribute Name                       Use                                   Description
       @associationType                                 O        specifies, as a whitespace-separated list of values, the
                                                                 kind of association for each Representation the
                                                                 Representation has been associated with through the
                                                                 @associationId attribute. Values taken by this
                                                                 attribute are 4 character codes (4CCs) for track
                                                                 reference types registered in MP4 registration
                                                                 authority.
                                                                 This attribute shall not be present when
                                                                 @associationId is not present.
                                                                 When present, this attribute shall have as many values
                                                                 as the number of identifiers declared in the
                                                                 @associationId attribute.
       @mediaStreamStructureId                          O        The attribute may be present for Representations
                                                                 containing video and its semantics are unspecified for
                                                                 any other type of Representations.
                                                                 If present, the attribute
                                                                 @mediaStreamStructureId specifies a
                                                                 whitespace-separated list of media stream structure
                                                                 identifier values. If media streams share the same
                                                                 media stream structure identifier value, the media
                                                                 streams shall have the following characteristics:
                                                                 — The media streams have the same number of
                                                                      stream access points of type 1 to 3.

                                                                 —     The values of TSAP, TDEC, TEPT, and TPTF of the i-th
                                                                       SAP of type 1 to 3 in one media stream are
                                                                       identical to the values of TSAP, TDEC, TEPT, and TPTF,
                                                                       respectively, of the i-th SAP of type 1 to 3 in the
                                                                       other media streams for any value of i from 1 to
                                                                       the number of SAPs of type 1 to 3 in any of the
                                                                       media streams.

                                                                 —     A media stream formed by concatenating the
                                                                       media stream of a first Representation until ISAU
                                                                       (exclusive) of the i-th SAP of type 1 to 3 and the
                                                                       media stream of a second Representation (having
                                                                       the same media stream structure identifier value
                                                                       as for the first Representation) starting from the
                                                                       ISAU (inclusive) of the i-th SAP of type 1 to 3
                                                                       conforms to the specification in which the media
                                                                       stream format is specified for any value of i from 1
                                                                       to the number of SAPs of type 1 to 3 in either
                                                                       media stream. Furthermore, the decoded pictures
                                                                       have an acceptable quality regardless of type of
                                                                       the stream access point access unit used.




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         Element or Attribute Name                      Use                                 Description
                                                                   All media stream structure identifier values for one
                                                                   Adaptation Set shall differ from those of another
                                                                   Adaptation Set.
                                                                   If not present, then for this Representation no
                                                                   similarities to other Representations are known.
                                                                   Indicating multiple media stream structure identifier
                                                                   values for a Representation can be useful in cases
                                                                   where switching between Representations A and B as
                                                                   well as between Representations B and C is allowed at
                                                                   non-IDR intra pictures, but switching between
                                                                   Representations A and C would cause too severe a
                                                                   degradation in the quality of the leading pictures and is
                                                                   hence not allowed. To indicate these permissions and
                                                                   restrictions, Representation A would contain
                                                                   @mediaStreamStructureId equal to “1”,
                                                                   Representation B would contain
                                                                   @mediaStreamStructureId equal to “1 2”, and
                                                                   Representation C would contain
                                                                   @mediaStreamStructureId equal to “2”
           CommonAttributesElements                      —         Common Attributes and Elements (attributes and
                                                                   elements from base type RepresentationBaseType).
                                                                   For more details, see subclause 5.3.7.
           BaseURL                                      0…N        specifies a Base URL that can be used for reference
                                                                   resolution and alternative URL selection. For more
                                                                   details, refer to the description in subclause 5.6.
           SubRepresentation                           0…N         specifies information about a Sub-Representation that
                                                                   is embedded in the containing Representation.
                                                                   For more details, see subclause 5.3.6.
           SegmentBase                                  0...1      specifies default Segment Base information.
                                                                   For more details, see subclause 5.3.9.
           SegmentList                                  0 ... 1    specifies the Segment List information.
                                                                   For more details, see subclause 5.3.9.
           SegmentTemplate                              0 ... 1    specifies the Segment Template information.
                                                                   For more details, see subclause 5.3.9.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics
 bold referring to those taken from the Base type that has been extended by this type.




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5.3.5.3   XML syntax

 <!-- Representation -->
 <xs:complexType name="RepresentationType">
     <xs:complexContent>
          <xs:extension base="RepresentationBaseType">
               <xs:sequence>
                 <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="SubRepresentation" type="SubRepresentationType" minOccurs="0"
 maxOccurs="unbounded"/>
                     <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                     <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                     <xs:element name="SegmentTemplate" type="SegmentTemplateType" minOccurs="0"/>
               </xs:sequence>
               <xs:attribute name="id" type="StringNoWhitespaceType" use="required"/>
               <xs:attribute name="bandwidth" type="xs:unsignedInt" use="required"/>
               <xs:attribute name="qualityRanking" type="xs:unsignedInt"/>
               <xs:attribute name="dependencyId" type="StringVectorType"/>
               <xs:attribute name="associationId" type="StringVectorType"/>
               <xs:attribute name="associationType" type="ListOf4CCType"/>
               <xs:attribute name="mediaStreamStructureId" type="StringVectorType"/>
          </xs:extension>
     </xs:complexContent>
 </xs:complexType>
 <!-- String without white spaces -->
 <xs:simpleType name="StringNoWhitespaceType">
     <xs:restriction base="xs:string">
          <xs:pattern value="[^\r\n\t \p{Z}]*"/>
     </xs:restriction>
 </xs:simpleType>
 <!-- Whitespace-separated list of strings -->
 <xs:simpleType name="StringVectorType">
     <xs:list itemType="xs:string"/>
 </xs:simpleType>
     <!-- Whitespace separated list of 4CC -->
     <xs:simpleType name="ListOf4CCType">
          <xs:list itemType="FourCCType"/>
     </xs:simpleType>
     <!-- 4CC as per latest 14496-12 -->
     <xs:simpleType name="FourCCType">
          <xs:restriction base="xs:string"/>
     </xs:simpleType>



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5.3.5.4      Relation of Bandwidth and Minimum Buffer Time attributes

The MPD contains a pair of values for a bandwidth and buffering description, namely the Minimum Buffer
Time (MBT) expressed by the value of MPD@minBufferTime and bandwidth (BW) expressed by the
value of Representation@bandwidth. The following holds:
— The value of the minimum buffer time does not provide any instructions to the client on how long to
  buffer the media. The value however describes how much buffer a client should have under
  ideal network conditions. As such, MBT is not describing the burstiness or jitter in the network, it is
  describing the burstiness or jitter in the content encoding. Together with the BW value, it is a
  property of the content. Using the "leaky bucket" model, it is the size of the bucket that makes BW
  true, given the way the content is encoded.

— The minimum buffer time provides information that for each representation, the following shall be
  true: if the Representation (starting at any segment) is delivered over a constant bitrate channel with
  bitrate equal to value of the BW attribute then each access unit with presentation time PT is available
  at the client latest at time with a delay of at most PT + MBT.

— In the absence of any other guidance, the MBT should be set to the maximum GOP size (coded video
  sequence) of the content, which quite often is identical to the maximum segment duration for the live
  profile or the maximum subsegment duration for the On-Demand profile. The MBT may be set to a
  smaller value than maximum (sub)segment duration but should not be set to a higher value.

5.3.5.5      Random Access to Representations

Random Access refers to start processing, decoding and presenting the Representation from the random
access point at time t onwards by initializing the Representation with the Initialization Segment, if
present and decoding and presenting the Representation from the signalled Segment onwards. Random
Access point may be signalled with the RandomAccess element as defined in Table 10.
Table 11 provides different random access point types.

                                        Table 10 — Random Access Signalling

       Element or Attribute Name                       Use                                  Description
         RandomAccess                                              Random Access Information
            @interval                                   M          specifies the position of the random access points in
                                                                   the Representations. The information is specified in
                                                                   the scale of the @timescale on Representation level.
                                                                   Any Segment for which the MPD start time minus the
                                                                   @t value of the S element describing the segment is
                                                                   an integer multiple of the product of @timescale and
                                                                   @interval is a random access opportunity, i.e. it
                                                                   enables randomly access to this Representation with
                                                                   the random access strategy as defined by the @type
                                                                   value.
                                                                   The value should be chosen such that the resulting
                                                                   time matches MPD start time of segments, otherwise
                                                                   no random access will be described.




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     Element or Attribute Name                          Use                                    Description
           @type                                         OD          specifies the random access strategy for the random
                                                                     access points in by the @interval attribute.
                                                     default:
                                                    "closed"         The value shall use a type present in Table 11.
                                                                     If the value of the type is unknown, the DASH Client is
                                                                     expected to ignore the containing Random Access
                                                                     element.
           @minBufferTime                                 O          specifies a common duration used in the definition of
                                                                     the Representation data rate (see @bandwidth
                                                                     attribute in subclauses 5.3.5.2 and 5.3.5.4).
                                                                     If not present, then the value of the MPD level is
                                                                     inherited.
           @bandwidth                                     O          Consider a hypothetical constant bitrate channel of
                                                                     bandwidth with the value of this attribute in bits per
                                                                     second (bps). Then, if the Representation is
                                                                     continuously delivered at this bitrate, starting at any
                                                                     RAP indicated in this element a client can be assured of
                                                                     having enough data for continuous playout providing
                                                                     playout begins after
                                                                     @minBufferTime * @bandwidth bits have been
                                                                     received (i.e. at time @minBufferTime after the first
                                                                     bit is received).
                                                                     For dependent Representations, this value specifies
                                                                     the bandwidth according to the above definition for
                                                                     the aggregation of this Representation and all
                                                                     complementary Representations.
                                                                     For details, see subclause 5.3.5.4.
                                                                     If not present, the value of the Representation is
                                                                     inherited.

                                         Table 11 — Random Access Strategies

        Type                                                    Informative description
 closed                Closed GOP random access. This implies that the segment is a Random Access Segment as
                       well as the segment starts with a SAP type of 1 or 2. SAP type 1 or 2 is a necessary condition,
                       but not sufficient. In addition, all requirements of a Random Access Segment need to be
                       fulfilled.
 open                  Open GOP random access. This implies that the segment is a Random Access Segment as
                       well as the segment starts with a SAP type of 1, 2 or 3. SAP type 1, 2 or 3 is a necessary
                       condition, but not sufficient. In addition, all requirements of a Random Access Segment need
                       to be fulfilled.
 gradual               Gradual decoder refresh random access. This implies that the segment is a Random Access
                       Segment as well as the segment starts with a SAP type of 1, 2, 3 or 4. SAP type 1, 2, 3 or 4 is a
                       necessary condition, but not sufficient. In addition, all requirements of a Random Access
                       Segment need to be fulfilled.




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The XML schema snippet is as follows:
 <!-- Random Access         -->
 <xs:complexType name="RandomAccessType">
        <xs:attribute name="interval" type="xs:unsignedInt" use="required"/>
        <xs:attribute name="type" type="RandomAccessTypeType" default="closed"/>
        <xs:attribute name="minBufferTime" type="xs:duration"/>
        <xs:attribute name="bandwidth" type="xs:unsignedInt"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!-- Random Access Type type enumeration -->
 <xs:simpleType name="RandomAccessTypeType">
        <xs:restriction base="xs:string">
            <xs:enumeration value="closed"/>
            <xs:enumeration value="open"/>
            <xs:enumeration value="gradual"/>
        </xs:restriction>
 </xs:simpleType>
5.3.6     Sub-Representation

5.3.6.1 Overview

Sub-Representations are embedded in regular Representations and are described by the
SubRepresentation element. SubRepresentation elements are contained in a
Representation element.
The SubRepresentation element describes properties of one or several media content components
that are embedded in the Representation. It may for example describe the exact properties of an
embedded audio component (e.g. codec, sampling rate, etc.), an embedded sub-title (e.g. codec) or it may
describe some embedded lower quality video layer (e.g. some lower frame rate, etc.).
Sub-Representations and Representation share some common attributes and elements.
In case the @level attribute is present in the SubRepresentation element,
— Sub-Representations provide the ability for accessing a lower quality version of the Representation
  in which they are contained. In this case, Sub-Representations for example allow extracting the audio
  track in a multiplexed Representation or may allow for efficient fast-forward or rewind operations if
  provided with lower frame rate;

— the Initialization Segment and/or the Media Segments and/or the Index Segments shall provide
  sufficient information such that the data can be easily accessed through HTTP partial GET requests.
  The details on providing such information shall be defined by the media format in use. For media
  formats defined in this document, the Subsegment Index as defined in subclause 6.3.2.4 shall be used.

If the @level attribute is absent, then the SubRepresentation element is solely used to provide a
more detailed description for media streams that are embedded in the Representation.
The semantics of the attributes and elements within a Sub-Representation are provided in Table 12, in
subclause 5.3.6.2. The XML syntax of the Sub-Representation type is provided in subclause 5.3.6.3.




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5.3.6.2 Semantics

                          Table 12 — Semantics of SubRepresentation element

        Element or Attribute Name                          Use                                 Description
       SubRepresentation                                              specifies a Sub-Representation.
         @level                                             O         specifies the Sub-Representation level. If @level
                                                                      attribute is present and for media formats used in
                                                                      this document, a Subsegment Index as defined in
                                                                      subclause 6.3.2.4 shall be available for each Media
                                                                      Segment in the containing Representation.
                                                                      If not present, then the SubRepresentation
                                                                      element is solely used to provide a more detailed
                                                                      description for media streams that are embedded in
                                                                      the Representation.
         @dependencyLevel                                   O         specifies the set of Sub-Representations within this
                                                                      Representation that this Sub-Representation
                                                                      depends on in the decoding and/or presentation
                                                                      process as a whitespace-separated list of @level
                                                                      values.
                                                                      If not present, the Sub-Representation can be
                                                                      decoded and presented independently of any other
                                                                      Representation.
         @bandwidth                                       CM          Identical to the @bandwidth definition in
                                                        shall be      Representation but applied to this Sub-
                                                        present       Representation. This attribute shall be present if the
                                                           if         @level attribute is present.
                                                        @level
                                                           is
                                                        present
         @contentComponent                                  O         if present, specifies the set of all media content
                                                                      components that are contained in this Sub-
                                                                      Representation as a whitespace-separated list of
                                                                      values of ContentComponent@id values.
                                                                      if not present, the Sub-Representation is not assigned
                                                                      to a media content component.
         CommonAttributesElements                            -        Common Attributes and Elements (attributes and
                                                                      elements from base type RepresentationBaseType).
                                                                      For details, see subclause 5.3.7.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.




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5.3.6.3      XML syntax

 <!-- SubRepresentation -->
 <xs:complexType name="SubRepresentationType">
       <xs:complexContent>
            <xs:extension base="RepresentationBaseType">
                  <xs:attribute name="level" type="xs:unsignedInt"/>
                  <xs:attribute name="dependencyLevel" type="UIntVectorType"/>
                  <xs:attribute name="bandwidth" type="xs:unsignedInt"/>
                  <xs:attribute name="contentComponent" type="StringVectorType"/>
            </xs:extension>
       </xs:complexContent>
 </xs:complexType>
5.3.7 Common attributes and elements

5.3.7.1 Overview

The elements AdaptationSet, Representation and SubRepresentation have assigned
common attributes and elements. The attributes and elements listed in Table 13, subclause 5.3.7.2 may
be present in all three elements.
The semantics of the common attributes and elements are provided in Table 13, subclause 5.3.7.2, the
syntax is provided in subclause 5.3.7.3.
The 'Use' column in Table 13 shall be interpreted that an attribute marked with 'M' shall be available for
a Representation, i.e. it shall either be present in the Representation element, or if not, it shall be in
the containing AdaptationSet element. An attribute marked with 'O' may be absent in both.
5.3.7.2 Semantics

             Table 13 — Common Adaptation Set, Representation and Sub-Representation
                                   attributes and elements

            Element or Attribute Name                      Use (see                             Description
                                                          subclause
                                                           5.3.7.1)
          Common attributes and elements
             @profiles                                         O         specifies the profiles which the associated
                                                                         Representation(s) conform to of the list of Media
                                                                         Presentation profiles as described in Clause 8. The
                                                                         value shall be a subset of the respective value in
                                                                         any higher level of the document hierarchy
                                                                         (Representation, Adaptation Set, MPD).
                                                                         If not present, the value is inferred to be the same
                                                                         as in the next higher level of the document
                                                                         hierarchy. For example, if the value is not present
                                                                         for a Representation, then @profiles at the
                                                                         Adaptation Set level is valid for the Representation.
                                                                         The same syntax as defined in subclause 5.3.1.2
                                                                         shall be used.



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        Element or Attribute Name                        Use (see                               Description
                                                        subclause
                                                         5.3.7.1)
         @width                                              O          specifies the horizontal visual presentation size of
                                                                        the video media type on a grid determined by the
                                                                        @sar attribute.
                                                                        In the absence of @sar width and height are
                                                                        specified as if the value of @sar were "1:1"
                                                                        NOTE The visual presentation size of the video is
                                                                        equal to the number of horizontal and vertical
                                                                        samples used for presentation after encoded
                                                                        samples are cropped in response to encoded
                                                                        cropping parameters, “overscan” signalling, or
                                                                        “pan/scan” display parameters, e.g. SEI messages.
                                                                        If not present on any level, the value is unknown.
         @height                                             O          specifies the vertical visual presentation size of the
                                                                        video media type, on a grid determined by the
                                                                        @sar attribute.
                                                                        If not present on any level, the value is unknown.
         @sar                                                O          specifies the sample aspect ratio of the video media
                                                                        component type, in the form of a string consisting
                                                                        of two integers separated by ':', e.g.,"10:11". The
                                                                        first number specifies the horizontal size of the
                                                                        encoded video pixels (samples) in arbitrary units.
                                                                        The second number specifies the vertical size of the
                                                                        encoded video pixels (samples) in the same units
                                                                        as the horizontal size.
                                                                        If not present on any level, the value is unknown.
         @frameRate                                          O          specifies the output frame rate (or in the case of
                                                                        interlaced, half the output field rate) of the video
                                                                        media type in the Representation. If the frame or
                                                                        field rate is varying, the value is the average frame
                                                                        or half the average field rate field rate over the
                                                                        entire duration of the Representation.
                                                                        The value is coded as a string, either containing
                                                                        two integers separated by a "/", ("F/D"), or a single
                                                                        integer "F". The frame rate is the division F/D, or F,
                                                                        respectively, per second (i.e. the default value of D
                                                                        is "1").
                                                                        If not present on any level, the value is unknown.
         @audioSamplingRate                                  O          Either a single decimal integer value specifying the
                                                                        sampling rate or a whitespace-separated pair of
                                                                        decimal integer values specifying the minimum and
                                                                        maximum sampling rate of the audio media
                                                                        component type. The values are in samples per
                                                                        second.
                                                                        If not present on any level, the value is unknown.
         @mimeType                                           M          specifies the MIME type of the concatenation of the
                                                                        Initialization Segment, if present, and all
                                                                        consecutive Media Segments in the Representation.



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            Element or Attribute Name                      Use (see                             Description
                                                          subclause
                                                           5.3.7.1)
             @segmentProfiles                                  O         specifies the profiles of Segments that are essential
                                                                         to process the Representation. The detailed
                                                                         semantics depend on the value of the @mimeType
                                                                         attribute.
                                                                         The contents of this attribute shall conform to
                                                                         either the pro-simple or pro-fancy
                                                                         productions of IETF RFC 6381:2011, subclause 4.5,
                                                                         without the enclosing DQUOTE characters, i.e.
                                                                         including only the unencodedv or encodedv
                                                                         elements respectively. As profile identifier, the
                                                                         brand identifier for the Segment as defined in
                                                                         Clause 6 shall be used.
                                                                         4CC may contain characters that must be escaped
                                                                         in XML. 4CC strings shall be escaped according to
                                                                         W3C XML:2008, Section 2.4.
                                                                         If not present on any level, the value may be
                                                                         deducted from the value of the @profiles
                                                                         attribute.
             @codecs                                           O         specifies the codecs present within the
                                                                         Representation. The codec parameters shall also
                                                                         include the profile and level information where
                                                                         applicable.
                                                                         For segment formats defined in this document, this
                                                                         element shall be present and the contents of this
                                                                         attribute shall conform to either the simp-list
                                                                         or fancy-list productions of
                                                                         IETF RFC 6381:2011, subclause 3.2, without the
                                                                         enclosing DQUOTE characters. The codec identifier
                                                                         for the Representation's media format, mapped
                                                                         into the name space for codecs as specified in
                                                                         IETF RFC 6381:2011, subclause 3.3, shall be used.
             @maximumSAPPeriod                                 O         when present, specifies the maximum SAP interval
                                                                         in seconds of all contained media streams, where
                                                                         the SAP interval is the maximum time interval
                                                                         between the TSAP of any two successive SAPs of
                                                                         types 1 to 3 inclusive of one media stream in the
                                                                         associated Representations.
                                                                         If not present on any level, the value is unknown.




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        Element or Attribute Name                        Use (see                               Description
                                                        subclause
                                                         5.3.7.1)
         @startWithSAP                                       O          when present and greater than 0, specifies that in
                                                                        the associated Representations, each Media
                                                                        Segment starts with a SAP of type less than or
                                                                        equal to the value of this attribute value in each
                                                                        media stream.
                                                                        A Media Segment starts with a SAP in a media
                                                                        stream if the stream contains a SAP in that Media
                                                                        Segment, ISAU is the index of the first access unit
                                                                        that follows ISAP and ISAP is contained in the Media
                                                                        Segment.
                                                                        If not present on any level, the value is unknown.
         @maxPlayoutRate                                     O          specifies the maximum playout rate as a multiple of
                                                                        the regular playout rate, which is supported with
                                                                        the same decoder profile and level requirements as
                                                                        the normal playout rate.
                                                                        If not present on any level, the value is 1.
         @codingDependency                                   O          When present and 'true', for all contained media
                                                                        streams, specifies that there is at least one access
                                                                        unit that depends on one or more other access
                                                                        units for decoding. When present and 'false',
                                                                        for any contained media stream, there is no access
                                                                        unit that depends on any other access unit for
                                                                        decoding (e.g. for video all the pictures are intra
                                                                        coded). If not specified on any level, there may or
                                                                        may not be coding dependency between access
                                                                        units.
         @scanType                                           O          specifies the scan type of the source material of the
                                                                        video media component type. The value may be
                                                                        equal to one of "progressive", "interlaced" and
                                                                        "unknown". If not specified on any level, the scan
                                                                        type is "progressive".
         @selectionPriority                                 OD          specifies the selection priority for the described
                                                                        data structures, i.e. the one described by the
                                                        default=1
                                                                        containing element. In the absence of other
                                                                        information, higher numbers are the preferred
                                                                        selection over lower numbers.
         @tag                                                O          specifies the tag of the Representation, Adaptation
                                                                        Set or Preselection which may be used for selection
                                                                        purposes towards the decoder.
                                                                        NOTE This attribute is primarily introduced for
                                                                        the usage of Pre-Selections and Adaptation Sets,
                                                                        but future use for Representation and Sub-
                                                                        Representations is not precluded.




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            Element or Attribute Name                      Use (see                             Description
                                                          subclause
                                                           5.3.7.1)
             FramePacking                                    0…N         specifies frame-packing arrangement information
                                                                         of the video media component type.
                                                                         When no FramePacking element is provided for
                                                                         a video component, frame-packing shall not used
                                                                         for the video media component.
                                                                         For details, see subclauses 5.8.1 and 5.8.4.6.
             AudioChannelConfiguration                       0…N         specifies the audio channel configuration of the
                                                                         audio media component type.
                                                                         For details, see subclauses 5.8.1 and 5.8.4.7.
             ContentProtection                               0…N         specifies information about content protection
                                                                         schemes used for the associated Representations.
                                                                         For details, see subclauses 5.8.1 and 5.8.4.1.
             EssentialProperty                               0…N         specifies information about the containing element
                                                                         that is considered essential by the Media
                                                                         Presentation author for processing the containing
                                                                         element.
                                                                         For details, see subclause 5.8.4.8.
             SupplementalProperty                            0…N         specifies supplemental information about the
                                                                         containing element that may be used by the DASH
                                                                         Client optimizing the processing.
                                                                         For details, see subclause 5.8.4.9.
             InbandEventStream                               0…N         specifies the presence of an inband event stream in
                                                                         the associated Representations.
                                                                         For details, refer to subclause 5.10.
             Switching                                       0…N         Specifies a switch-to times and types for the
                                                                         associated Representations. For more details, refer
                                                                         to subclause 5.3.3.4.
                                                                         These elements shall only be present if the
                                                                         @timescale value is the same for all
                                                                         Representations in one Adaptation Set and if the
                                                                         Segment Timeline is used for segment duration
                                                                         signalling.
             RandomAccess                                    0…N         Specifies a random access times and types for the
                                                                         associated Representations. For more details, refer
                                                                         to subclause 5.3.5.5.
                                                                         These elements shall only be present if the
                                                                         @timescale value is the same for all
                                                                         Representations in one Adaptation Set and if the
                                                                         Segment Timeline is used for segment duration
                                                                         signalling.
             GroupLabel                                      0…N         specifies a summary label for a group of Labels. For
                                                                         more details, refer to subclause 5.3.10.




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              Element or Attribute Name                        Use (see                               Description
                                                              subclause
                                                               5.3.7.1)
               Label                                             0…N          specifies a textual description of the element that
                                                                              may be used for annotation and selection purposes.
                                                                              For more details, refer to subclause 5.3.10.
               ProducerReferenceTime                             0…N          specifies the presence and possibly values of
                                                                              producer reference time in the associated
                                                                              Representations.
                                                                              For details, refer to subclause 5.12.
               ContentPopularityRate                             0…N          indicates a level of popularity of the containing
                                                                              entity (i.e., the Adaptation Set, Representation or
                                                                              Preselection) within the Media Presentation. For
                                                                              details, see subclause 5.14.

                                                                                    NOTE This element is primarily introduced
                                                                                    for the usage of Pre-Selections and Adaptation
                                                                                    Sets but use for Representation and Sub-
                                                                                    Representations is not precluded.

     Key
     For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
     For elements: <minOccurs>..<maxOccurs> (N=unbounded)
     Elements are bold; attributes are non-bold and preceded with an @.
5.3.7.3 XML syntax

 <!-- Representation base (common attributes and elements) -->
 <xs:complexType name="RepresentationBaseType">
         <xs:element name="FramePacking" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="AudioChannelConfiguration" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="ContentProtection" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="EssentialProperty" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="InbandEventStream" type="EventStreamType" minOccurs="0"
 maxOccurs="unbounded"/>
              <xs:element name="Switching" type="SwitchingType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="RandomAccess" type="RandomAccessType" minOccurs="0"
 maxOccurs="unbounded"/>
              <xs:element name="GroupLabel" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
              <xs:element name="Label" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="ProducerReferenceTime" type="ProducerReferenceTimeType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="ContentPopularityRate" type="ContentPopularityRateType" minOccurs="0"
 maxOccurs="unbounded"/>



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            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="profiles" type="ListOfProfilesType"/>
       <xs:attribute name="width" type="xs:unsignedInt"/>
       <xs:attribute name="height" type="xs:unsignedInt"/>
       <xs:attribute name="sar" type="RatioType"/>
       <xs:attribute name="frameRate" type="FrameRateType"/>
       <xs:attribute name="audioSamplingRate" type="AudioSamplingRateType"/>
       <xs:attribute name="mimeType" type="xs:string"/>
       <xs:attribute name="segmentProfiles" type="ListOf4CCType"/>
       <xs:attribute name="codecs" type="CodecsType"/>
       <xs:attribute name="maximumSAPPeriod" type="xs:double"/>
       <xs:attribute name="startWithSAP" type="SAPType"/>
       <xs:attribute name="maxPlayoutRate" type="xs:double"/>
       <xs:attribute name="codingDependency" type="xs:boolean"/>
       <xs:attribute name="scanType" type="VideoScanType"/>
       <xs:attribute name="selectionPriority" type="xs:unsignedInt"/>
       <xs:attribute name="tag" type="TagType"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!-- List of Profiles -->
 <xs:simpleType name="ListOfProfilesType">
       <xs:restriction base="xs:string">
         <xs:pattern value="(([A-Za-z0-9\-\._~&#xA0;-&#xFF;]|(&#37;[0-9A-Fa-f][0-9A-Fa-
 f])|[!$&amp;'()*+;=:@]))+(,(([A-Za-z0-9\-\._~&#xA0;-&#xFF;]|(&#37;[0-9A-Fa-f][0-9A-Fa-
 f])|[!$&amp;'()*+;=:@]))*)*"/>
       </xs:restriction>
 </xs:simpleType>
 <!-- Audio Sampling Rate -->
 <xs:simpleType name="AudioSamplingRateType">
       <xs:restriction base="UIntVectorType">
            <xs:minLength value="1"/>
            <xs:maxLength value="2"/>
       </xs:restriction>
 </xs:simpleType>
 <!-- Stream Access Point type enumeration -->
 <xs:simpleType name="SAPType">
       <xs:restriction base="xs:unsignedInt">
            <xs:minInclusive value="0"/>
            <xs:maxInclusive value="6"/>
       </xs:restriction>
 </xs:simpleType>
 <!-- Video Scan type enumeration -->
 <xs:simpleType name="VideoScanType">
       <xs:restriction base="xs:string">
            <xs:enumeration value="progressive"/>




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          <xs:enumeration value="interlaced"/>
          <xs:enumeration value="unknown"/>
     </xs:restriction>
 </xs:simpleType>
 <!-- Tag -->
 <xs:simpleType name="TagType">
     <xs:restriction base="xs:string"/>
 </xs:simpleType>
 <!--Codecs Type -->
 <xs:simpleType name="CodecsType">
     <xs:restriction base="xs:string">
         <xs:pattern value="[a-zA-Z\-]+'[a-zA-Z]{1,8}(=[a-zA-Z]{1,8})*'(%[0-9A-F]{2}|[a-zA-Z0-
 9!#\\$\^_\-\+\{\}\|\.`~&#038;])+(.(%[0-9A-F]{2}|[a-zA-Z0-9!#\\$\^_\-
 \+\{\}\|\.`~&#038;])+)*(,(%[0-9A-F]{2}|[a-zA-Z0-9!#\\$\^_\-\+\{\}\|\.`~&#038;])+(.(%[0-9A-
 F]{2}|[a-zA-Z0-9!#\\$\^_\-\+\{\}\|\.`~&#038;])+)*)*">
                <xs:annotation>
                      <xs:documentation>RFC6381 fancy-list</xs:documentation>
                </xs:annotation>
          </xs:pattern>
         <xs:pattern value="[a-zA-Z0-9!#\\$%\^\*_\-\+\{\}\|'\.`~&#038;]+(,[a-zA-Z0-9!#\\$%\^\*_\-
 \+\{\}\|'\.`~&#038;]+)*">
                <xs:annotation>
                      <xs:documentation>RFC6381 simp-list</xs:documentation>
                </xs:annotation>
          </xs:pattern>
     </xs:restriction>
 </xs:simpleType>
5.3.8 Subsets

5.3.8.1 Overview

Subsets are described by the Subset element contained in the Period element.
Subsets provide a mechanism to restrict the combination of active Adaptation Sets where an active
Adaptation Set is one for which the DASH Client is presenting at least one of the contained
Representations.
A Subset defines a set of one or more Adaptation Sets. The presence of a Subset element within a
Period element expresses the intention of the creator of the Media Presentation that a client should act
as follows: at any time, the set of active Adaptation Sets shall be a subset of the Adaptation Sets of one of
the specified Subsets. Any Adaptation Set not explicitly contained in any Subset element is implicitly
contained in all specified Subsets.
This implies that
— empty Subsets are not allowed.

— no Subset should contain all the Adaptation Sets.

Each Adaptation Set for which the value of the @id is provided in the @contains attribute is contained
in this Subset.



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The semantics of the attributes and elements within a Subset are provided in Table 14, subclause 5.3.8.2.
The XML syntax of the Subset type is provided in subclause 5.3.8.3.
5.3.8.2 Semantics

                                        Table 14 — Subset element semantics

     Element or Attribute Name                    Use                                     Description
     Subset                                                   specifies a Subset
        @contains                                  M          specifies the Adaptation Sets contained in a Subset by
                                                              providing a white space separated list of the @id values of
                                                              the contained Adaptation Sets.
        @id                                        O          specifies a unique identifier for the Subset.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>..<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.3.8.3      XML syntax

 <!-- Subset       -->
 <xs:complexType name="SubsetType">
       <xs:attribute name="contains" type="UIntVectorType" use="required"/>
       <xs:attribute name="id" type="xs:string"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
5.3.9 Segments and Segment information

5.3.9.1 General

This clause defines the MPD information for Segments. Segment formats are defined in Clause 6.
Specifically, a Segment shall either be
— referenced by an HTTP-URL included in the MPD, where an HTTP-URL is defined as an <absolute-
  URI> according to IETF RFC 3986:2005, subclause 4.3, with a fixed scheme of “http” or “https”,
  possibly restricted by a byte range if a range attribute is provided together with the URL. The byte
  range shall be expressed as a byte-range-spec as defined in IETF RFC 2616, subclause 14.35.1.
  It is restricted to a single expression identifying a contiguous range of bytes, or

— included in the MPD with a data URL as defined in IETF RFC 2397. Data URLs shall only be used if
  explicitly permitted by the profile. In addition, the guidelines and recommendations in
  IETF RFC 2397 should be taken into account.

Each Segment referenced through an HTTP-URL in the MPD is associated with a Segment availability
interval, i.e. a time window in wall-clock time at which the Segment can be accessed via the HTTP-URL.
The Segment availability interval window is described by a Segment availability start time and a Segment
availability end time.
Representations are assigned Segment Information through the presence of the elements BaseURL,
SegmentBase, SegmentTemplate and/or SegmentList. The Segment Information provides


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information on the location, availability and properties of all Segments contained in one Representation.
Specifically, information on the presence and location of Initialization, Media, Index and Bitstream
Switching Segments is provided.
The elements SegmentBase, SegmentTemplate and SegmentList may be present in the
Representation element itself. In addition, to express default values, they may be present in the
Period and AdaptationSet element. At each level at most one of the three, SegmentBase,
SegmentTemplate and SegmentList, shall be present. Further, if SegmentTemplate or
SegmentList is present on one level of the hierarchy, then the other one shall not be present on any
lower hierarchy level.
SegmentBase, SegmentTemplate and SegmentList shall inherit attributes and elements from the
same element on a higher level. If the same attribute or element is present on both levels, the one on the
lower level shall take precedence over the one on the higher level.
Several mechanisms are available to specify the Segment Information. Specifically, each Representation
shall have assigned exactly one of the following choices to determine the Segment Information, either by
direct presence in the Representation element or by inheritance from the higher levels:
— one SegmentList element — for syntax and semantics, refer to subclause 5.3.9.3,

— one SegmentTemplate element — for syntax and semantics, refer to subclause 5.3.9.4,

— one or more BaseURL elements, at most one SegmentBase element, and no SegmentTemplate
  or SegmentList element. The SegmentBase element is defined in subclause 5.3.9.2.

NOTE     These rules do not prohibit the usage of the BaseURL element together with SegmentList or
SegmentTemplate. If the BaseURL is present together with the either the SegmentList or the
SegmentTemplate, then processing according to subclause 5.6 applies. All three elements SegmentBase,
SegmentTemplate and SegmentList share common elements based on the SegmentBase element.
Furthermore, SegmentTemplate and SegmentList share common attributes and elements. The common
information is defined in subclause 5.3.9.2.

The derivation and details of Initialization, Media, Index and Bitstream Switching Segment Information
based on the above information are provided in subclause 5.3.9.5.
5.3.9.2 Segment base information

5.3.9.2.1 Overview

The SegmentBase element is sufficient to describe the Segment Information if and only if a single Media
Segment is provided per Representation and the Media Segment URL is included in the BaseURL
element.
In case multiple Media Segments are present, either a SegmentList or a SegmentTemplate shall be
used to describe the Segment Information. SegmentList or a SegmentTemplate share the multiple
Segment base information as provided in subclause 5.3.9.2.2, Table 16.
If the Representation contains more than one Media Segment, then either the attribute @duration or
the element SegmentTimeline shall be present. The attribute @duration and the element
SegmentTimeline shall not be present at the same time.
Segments described by the Segment base information are referenced by an HTTP-URL conforming to the
type URLType as defined in Table 17.
The semantics of the attributes and elements for the SegmentBase element and the Segment base
information are provided in subclause 5.3.9.2.2, Table 15 and the multiple Segment base information in



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Table 16 in subclause 5.3.9.2.2. The XML syntax of the Segment Base Information is provided in subclause
5.3.9.2.3.
5.3.9.2.2 Semantics

         Table 15 — Semantics of SegmentBase element and Segment Base Information type

          Element or Attribute Name                            Use                               Description
           SegmentBase                                                       specifies Segment base element.
           Segment Base Information                                          This element also specifies the type for the
                                                                             Segment base information that is the base type
                                                                             for other elements.
               @timescale                                       O            specifies the timescale in units per seconds to
                                                                             be used for the derivation of different real-
                                                                             time duration values in the Segment
                                                                             Information.
                                                                             If not present on any level, it shall be set to 1.
                                                                             NOTE This can be any frequency but typically
                                                                             is the media clock frequency of one of the
                                                                             media streams (or a positive integer multiple
                                                                             thereof).
               @presentationTimeOffset                          O            specifies the presentation time offset of the
                                                                             Representation relative to the start of the
                                                                             Period, i.e. the presentation time value of the
                                                                             media stream that shall be presented at the
                                                                             start of this Period.
                                                                             The value of the presentation time offset in
                                                                             seconds is the division of the value of this
                                                                             attribute and the value of the @timescale
                                                                             attribute.
                                                                             If not present on any level, the value of the
                                                                             presentation time offset is 0.
               @eptDelta                                        O            specifies the difference between the earliest
                                                                             presentation time in the Representation and
                                                                             the value of the
                                                                             @presentationTimeOffset.
                                                                             The value of the earliest presentation time of
                                                                             the first Media Segment in this Representation
                                                                             in seconds is computed as the sum of the value
                                                                             of this attribute and the value of the
                                                                             @presentationTimeOffset in units of the
                                                                             @timescale attribute.
                                                                             If not present on any level, but the
                                                                             SegmentTimeline element is present, then
                                                                             the value is the value of the @t attribute of the
                                                                             first S element in the Segment minus the value
                                                                             of the @presentationTimeOffset.
                                                                             Otherwise, it assumed to be 0.




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      Element or Attribute Name                              Use                                 Description
           @presentationDuration                               O            specifies the presentation duration of the
                                                                            Representation in the Period.
                                                                            The value of the presentation duration in
                                                                            seconds is the division of the value of this
                                                                            attribute and the value of the @timescale
                                                                            attribute. Specifically, the sum of the value of
                                                                            the @presentationTimeOffset, if
                                                                            present, or 0 otherwise and the value of this
                                                                            attribute is the last presentation time to be
                                                                            presented for this Representation.
                                                                            If not present on any level, the value of this
                                                                            attribute is unknown and the Representation
                                                                            should be presented until the end of the
                                                                            Period, i.e. until the presentation is terminated
                                                                            or until the next Period starts.
           @timeShiftBufferDepth                               O            specifies the duration of the time shifting
                                                                            buffer for this Representation that is
                                                                            guaranteed to be available for a Media
                                                                            Presentation with type 'dynamic'. When not
                                                                            present, the value is of the
                                                                            @timeShiftBufferDepth on MPD level
                                                                            applies. If present, this value shall be not
                                                                            smaller than the value on MPD level. This
                                                                            value of the attribute is undefined if the
                                                                            @type attribute is equal to 'static'.
                                                                            NOTE When operating in a time-shift buffer
                                                                            on a Representation with value larger than the
                                                                            time-shift buffer signalled on MPD level, not all
                                                                            Representations are necessarily available for
                                                                            switching.
           @indexRange                                         O            specifies the byte range that contains the
                                                                            Segment Index in all Media Segments of the
                                                                            Representation.
                                                                            The byte range shall be expressed and
                                                                            formatted as a byte-range-spec as defined
                                                                            in IETF RFC 7233:2014, subclause 2.1. It is
                                                                            restricted to a single expression identifying a
                                                                            contiguous range of bytes.
                                                                            If not present, the value is unknown.
           @indexRangeExact                                   OD            when set to 'true' specifies that for all
                                                                            Segments in the Representation, the data
                                                           default
                                                                            outside the prefix defined by @indexRange
                                                          "false"
                                                                            contains the data needed to access all access
                                                                            units of all media streams syntactically and
                                                                            semantically.
                                                                            This attribute shall not be present if
                                                                            @indexRange is absent.




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          Element or Attribute Name                            Use                               Description
               @availabilityTimeOffset                          O            specifies an offset to define the adjusted
                                                                             segment availability time. The value is
                                                                             specified in seconds, possibly with arbitrary
                                                                             precision.
                                                                             The offset provides the time how much earlier
                                                                             these segments are available compared to
                                                                             their computed availability start time for all
                                                                             Segments of all associated Representation.
                                                                             The segment availability start time defined by
                                                                             this value is referred to as adjusted segment
                                                                             availability start time. For details on
                                                                             computing the adjusted segment availability
                                                                             start time, refer to subclause 5.3.9.5.
                                                                             If not present, no adjusted segment availability
                                                                             start time is defined.
                                                                             NOTE The value of "INF" implies availability
                                                                             of all segments starts at
                                                                             MPD@availabilityStartTime.
               @availabilityTimeComple                          O            specifies if all Segments of all associated
               te                                                            Representation are complete at the adjusted
                                                                             availability start time. The attribute shall be
                                                                             ignored if @availabilityTimeOffset is
                                                                             not present on any level.
                                                                             If not present on any level, the value is
                                                                             inferred to true.
                                                                             NOTE If the value is set to false, then it can be
                                                                             inferred by the client that the segment is
                                                                             available at its announced location prior being
                                                                             complete.
               Initialization                                 0 ... 1        specifies the URL including a possible byte
                                                                             range for the Initialization Segment.
                                                                             For the type definition, refer to Table 17.
               RepresentationIndex                            0 ... 1        specifies the URL including a possible byte
                                                                             range for the Representation Index Segment.
                                                                             For the type definition, refer to Table 17.
               FailoverContent                                0 ... 1        specifies times where the content has been
                                                                             replaced by failover content, for example
                                                                             because of an encoder error.
                                                                             For details, refer to 5.3.9.7.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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                     Table 16 — Semantics of MultipleSegmentBaseInformation type

        Element or Attribute Name                              Use                                 Description
         MultipleSegmentBaseInformation                                       specifies multiple Segment base information.
             @duration                                           O            If present, specifies the constant approximate
                                                                              Segment duration.
                                                                              All Segments within this Representation
                                                                              element have the same duration unless it is the
                                                                              last Segment within the Period, which can be
                                                                              significantly shorter.
                                                                              The value of the duration in seconds is the
                                                                              division of the value of this attribute and the
                                                                              value of the @timescale attribute associated
                                                                              to the containing Representation.
                                                                              For more details, refer to subclause 5.3.9.5.3.
             @startNumber                                        O            specifies the number of the first Media
                                                                              Segment in this Representation in the Period.
                                                                              For details, refer to subclause 5.3.9.5.3.
             @endNumber                                          O            specifies the number of the last Media
                                                                              Segment in this Representation in the Period.
                                                                              If not present, the number is inferred from the
                                                                              duration of the Period.
                                                                              For details refer to 5.3.9.5.3.
             Segment Base Information                                         specifies Segment base information.
             SegmentTimeline                                   0...1          specifies the timeline of arbitrary Segment
                                                                              durations
                                                                              For more details, see subclause 5.3.9.6.
             BitstreamSwitching                                0 ... 1        specifies the URL including a possible byte
                                                                              range for the Bitstream Switching Segment.
                                                                              For the type definition, refer to Table 17.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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                               Table 17 — Semantics of elements of type URLType

      Element or Attribute Name                      Use                                    Description
     Element of type URLType                                      defines an HTTP-URL
        @sourceURL                                    O           specifies the source URL part and shall be formatted
                                                                  either as an <absolute-URI> according to
                                                                  IETF RFC 3986:2005, subclause 4.3, with a fixed
                                                                  scheme of “http” or “https” or as a <relative-ref>
                                                                  according to IETF RFC 3986:2005, subclause 4.2.
                                                                  If not present, then any BaseURL element is mapped to
                                                                  the @sourceURL attribute and the range attribute
                                                                  shall be present.
        @range                                        O           specifies the byte range restricting the above HTTP-
                                                                  URL.
                                                                  The byte range shall be expressed and formatted as a
                                                                  byte-range-spec as defined in
                                                                  IETF RFC 7233:2014, subclause 2.1. It is restricted to a
                                                                  single expression identifying a contiguous range of
                                                                  bytes.
                                                                  If not present, the element refers to the entire resource
                                                                  referenced in the @sourceURL attribute.
5.3.9.2.3      XML-Syntax

 <!-- Segment information base -->
 <xs:complexType name="SegmentBaseType">
       <xs:sequence>
            <xs:element name="Initialization" type="URLType" minOccurs="0"/>
            <xs:element name="RepresentationIndex" type="URLType" minOccurs="0"/>
            <xs:element name="FailoverContent" type="FailoverContentType" minOccurs="0"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="timescale" type="xs:unsignedInt"/>
       <xs:attribute name="eptDelta" type="xs:integer"/>
       <xs:attribute name="presentationTimeOffset" type="xs:unsignedLong"/>
       <xs:attribute name="presentationDuration" type="xs:unsignedLong"/>
       <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
       <xs:attribute name="indexRange" type="SingleRFC7233RangeType"/>
       <xs:attribute name="indexRangeExact" type="xs:boolean" default="false"/>
       <xs:attribute name="availabilityTimeOffset" type="xs:double"/>
       <xs:attribute name="availabilityTimeComplete" type="xs:boolean"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!-- Multiple Segment information base -->
 <xs:complexType name="MultipleSegmentBaseType">
       <xs:complexContent>



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          <xs:extension base="SegmentBaseType">
               <xs:sequence>
                     <xs:element name="SegmentTimeline" type="SegmentTimelineType" minOccurs="0"/>
                     <xs:element name="BitstreamSwitching" type="URLType" minOccurs="0"/>
               </xs:sequence>
               <xs:attribute name="duration" type="xs:unsignedInt"/>
               <xs:attribute name="startNumber" type="xs:unsignedInt"/>
               <xs:attribute name="endNumber" type="xs:unsignedInt"/>
          </xs:extension>
     </xs:complexContent>
 </xs:complexType>
 <!-- Segment Info item URL/range -->
 <xs:complexType name="URLType">
     <xs:sequence>
          <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
     </xs:sequence>
     <xs:attribute name="sourceURL" type="xs:anyURI"/>
     <xs:attribute name="range" type="SingleRFC7233RangeType"/>
     <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <xs:simpleType name="SingleRFC7233RangeType">
     <xs:restriction base="xs:string">
          <xs:pattern value="([0-9]*)(\-([0-9]*))?"/>
     </xs:restriction>
 </xs:simpleType>
5.3.9.3   Segment list

5.3.9.3.1 Overview

The Segment list is defined by a SegmentList element. Each SegmentList element itself contains a
list of SegmentURL elements for a consecutive list of Segment URLs. Each Segment URL may contain the
Media Segment URL and possibly a byte range. The Segment URL element may also contain an Index
Segment.
The semantics of the attributes and elements for the Segment list are provided in subclause 5.3.9.3.2,
Table 18. The XML syntax of the Segment Information is provided in subclause 5.3.9.3.3.




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5.3.9.3.2 Semantics

                                 Table 18 — Semantics of SegmentList element

          Element or Attribute Name                           Use                                Description
            SegmentList                                                      specifies Segment information.
               @xlink:href                                      O            specifies a reference to a remote element
                                                                             entity that contains one or multiple elements
                                                                             of type SegmentList.
               @xlink:actuate                                  OD            specifies the processing set, can be either
                                                                             "onLoad" or "onRequest"
                                                           default:
                                                        "onRequest"
               MultipleSegmentBaseInforma                                    Multiple Segment base information as defined
               tion                                                          in subclause 5.3.9.2, Table 16.
               SegmentURL                                    0…N             specifies a Media Segment URL and a possibly
                                                                             present Index Segment URL
                   @media                                       O            in combination with the @mediaRange
                                                                             attribute, specifies the HTTP-URL for the
                                                                             Media Segment.
                                                                             It shall be formatted as an <absolute-URI>
                                                                             according to IETF RFC 3986:2005, subclause
                                                                             4.3, with a fixed scheme of “http” or “https” or
                                                                             as a <relative-ref> according to
                                                                             IETF RFC 3986:2005, subclause 4.2.
                                                                             If not present, then any BaseURL element is
                                                                             mapped to the @media attribute and the
                                                                             range attribute shall be present.
                   @mediaRange                                  O            specifies the byte range within the resource
                                                                             identified by the @media corresponding to
                                                                             the Media Segment.
                                                                             The byte range shall be expressed and
                                                                             formatted as a byte-range-spec as
                                                                             defined in IETF RFC 7233:2014, subclause 2.1.
                                                                             It is restricted to a single expression
                                                                             identifying a contiguous range of bytes.
                                                                             If not present, the Media Segment is the entire
                                                                             resource referenced by the @media attribute.
                   @index                                       O            in combination with the @indexRange
                                                                             attribute, specifies the HTTP-URL for the
                                                                             Index Segment.
                                                                             It shall be formatted as an <absolute-URI>
                                                                             according to IETF RFC 3986:2005, subclause
                                                                             4.3, with a fixed scheme of “http” or “https” or
                                                                             as a <relative-ref> according to
                                                                             IETF RFC 3986:2005, subclause 4.2.




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         Element or Attribute Name                              Use                                 Description
                                                                               If not present and the @indexRange not
                                                                               present either, then no Index Segment
                                                                               information is provided for this Media
                                                                               Segment.
                                                                               If not present and the @indexRange present,
                                                                               then the @media attribute is mapped to the
                                                                               @index. If the @media attribute is not
                                                                               present either, then any BaseURL element is
                                                                               mapped to the @index attribute and the
                                                                               @indexRange attribute shall be present.
                  @indexRange                                    O             specifies the byte range within the resource
                                                                               identified by the @index corresponding to
                                                                               the Index Segment. If @index is not present, it
                                                                               specifies the byte range of the Segment Index
                                                                               in Media Segment.
                                                                               The byte range shall be expressed and
                                                                               formatted as a byte-range-spec as
                                                                               defined in IETF RFC 7233:2014, subclause 2.1.
                                                                               It is restricted to a single expression
                                                                               identifying a contiguous range of bytes.
                                                                               If not present, the Index Segment is the entire
                                                                               resource referenced by the @index attribute.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using @xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.
5.3.9.3.3    XML-Syntax

 <!-- Segment List -->
 <xs:complexType name="SegmentListType">
       <xs:complexContent>
            <xs:extension base="MultipleSegmentBaseType">
                 <xs:sequence>
                 <xs:element name="SegmentURL" type="SegmentURLType" minOccurs="0"
 maxOccurs="unbounded"/>
                 </xs:sequence>
                 <xs:attribute ref="xlink:href"/>
                 <xs:attribute ref="xlink:actuate" default="onRequest"/>
                 <xs:attribute ref="xlink:type" fixed="simple"/>
                 <xs:attribute ref="xlink:show" fixed="embed"/>
            </xs:extension>
       </xs:complexContent>
 </xs:complexType>



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 <!-- Segment URL         -->
 <xs:complexType name="SegmentURLType">
       <xs:sequence>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="media" type="xs:anyURI"/>
       <xs:attribute name="mediaRange" type="SingleRFC7233RangeType"/>
       <xs:attribute name="index" type="xs:anyURI"/>
       <xs:attribute name="indexRange" type="SingleRFC7233RangeType"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
5.3.9.4 Segment template

5.3.9.4.1 Overview

The Segment template is defined by the SegmentTemplate element. In this case, specific identifiers
that are substituted by dynamic values assigned to Segments, to create a list of Segments. The substitution
rules are provided in subclause 5.3.9.4.4.
The semantics of the attributes and elements for the Segment list are provided in subclause 5.3.9.4.2,
Table 19. The XML syntax of the Segment Information is provided in subclause 5.3.9.4.3.
5.3.9.4.2 Semantics

                              Table 19 — Semantics of SegmentTemplate element

            Element or Attribute Name                          Use                            Description
           SegmentTemplate                                              specifies Segment template information.
               MultipleSegmentBaseInformation                           Provides the Multiple Segment base information
                                                                        as defined in subclause 5.3.9.2.
               @media                                           O       specifies the template to create the Media
                                                                        Segment List.
                                                                        For more details, refer to subclause 5.3.9.4.4.
               @index                                           O       specifies the template to create the Index
                                                                        Segment List. If neither the $Number$ nor the
                                                                        $Time$ identifier is included, this provides the
                                                                        URL to a Representation Index.
                                                                        For more details, refer to subclause 5.3.9.4.4.
               @initialization                                  O       specifies the template to create the Initialization
                                                                        Segment. Neither $Number$ nor the $Time$
                                                                        identifier shall be included.
                                                                        For more details, refer to subclause 5.3.9.4.4.




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            Element or Attribute Name                           Use                              Description
              @bitstreamSwitching                                O        specifies the template to create the Bitstream
                                                                          Switching Segment. Neither $Number$ nor the
                                                                          $Time$ identifier shall be included.
                                                                          For more details, refer to subclause 5.3.9.4.4.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.3.9.4.3    XML syntax

 <!-- Segment Template -->
 <xs:complexType name="SegmentTemplateType">
       <xs:complexContent>
            <xs:extension base="MultipleSegmentBaseType">
                 <xs:attribute name="media" type="xs:string"/>
                 <xs:attribute name="index" type="xs:string"/>
                 <xs:attribute name="initialization" type="xs:string"/>
                 <xs:attribute name="bitstreamSwitching" type="xs:string"/>
            </xs:extension>
       </xs:complexContent>
 </xs:complexType>
5.3.9.4.4 Template-based Segment URL construction

The SegmentTemplate@media attribute, the SegmentTemplate@index             attribute, the
SegmentTemplate@initialization                 attribute             and               the
SegmentTemplate@bitstreamSwitching attribute each contain a string that may contain one or
more of the identifiers as listed in Table 20.
In each URL, the identifiers from Table 20 shall be replaced by the substitution parameter defined in
Table 16. Identifier matching is case-sensitive. If the URL contains unescaped $ symbols which do not
enclose a valid identifier, then the result of URL formation is undefined. In this case, it is expected that
the DASH Client ignores the entire containing Representation element and the processing of the MPD
continues as if this Representation element was not present. The format of the identifier is also
specified in Table 20.
Each identifier may be suffixed, within the enclosing '$' characters, with an additional format tag aligned
with the printf format tag as defined in IEEE 1003.1-2008[10] following this prototype:
     %0[width]d

The width parameter is an unsigned integer that provides the minimum number of characters to be
printed. If the value to be printed is shorter than this number, the result shall be padded with zeros. The
value is not truncated even if the result is larger.
The Media Presentation shall be authored such that the application of the substitution process results in
valid Segment URLs.




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Strings outside identifiers shall only contain characters that are permitted within URLs according to
IETF RFC 3986.

                                      Table 20 — Identifiers for URL templates

      $<Identifier>$                         Substitution parameter                                         Format
 $$                          Is an escape sequence, i.e. "$$" is replaced with a              not applicable
                             single "$"
 $RepresentationID$          This identifier is substituted with the value of the             The format tag shall not be
                             attribute Representation@id of the containing                    present.
                             Representation.
 $Number$                    This identifier is substituted with the number of the            The format tag may be present.
                             corresponding Segment, if $SubNumber$ is not
                                                                                              If no format tag is present, a
                             present in the same string.
                                                                                              default format tag with
                             If $SubNumber$ is present, this identifier is                    width=1 shall be used.
                             substituted with the number of the corresponding
                             Segment sequence. For details, refer to subclauses
                             5.3.9.6.4 and 5.3.9.6.5.
 $Bandwidth$                 This identifier is substituted with the value of                 The format tag may be present.
                             Representation@bandwidth attribute value.
                                                                                              If no format tag is present, a
                                                                                              default format tag with
                                                                                              width=1 shall be used.
 $Time$                      This identifier is substituted with the value of the             The format tag may be present.
                             MPD start time of the Segment being accessed. For
                                                                                              If no format tag is present, a
                             the Segment Timeline, this means that this identifier
                                                                                              default format tag with
                             is substituted with the value of the
                                                                                              width=1 shall be used.
                             SegmentTimeline@t attribute for the Segment
                             being accessed. Either $Number$ or $Time$ may
                             be used but not both at the same time.
 $SubNumber$                 This identifier is substituted with the number of the            The format tag may be present.
                             corresponding Segment in a Seqment Sequence. This
                                                                                              If no format tag is present, a
                             identifier shall only be present if either $Number$ or
                                                                                              default format tag with
                             $Time$ are present as well. For details, refer to
                                                                                              width=1 shall be used.
                             subclauses 5.3.9.6.4 and 5.3.9.6.5.
5.3.9.5      Segment information

5.3.9.5.1 Overview

The Segment Information provides the following information:
— the presence or absence of Initialization, Index and Bitstream Switching Segment information,

— the HTTP-URL and possibly a byte range for each accessible Segment in each Representation, or the
  Segment directly in the MPD as a data URL as defined in IETF RFC 2397,

— all valid Segment URLs declared by the containing MPD,

— for services with MPD@type='dynamic', the Segment availability start time and Segment
  availability end time of each Segment,

— an approximate Media Presentation start time of each Media Segment in the Media Presentation
  timeline within the Period.


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The derivation of Initialization, Media, Index and Bitstream Switching Segment Information from the
elements SegmentBase, SegmentList and SegmentTemplate is provided in subclauses 5.3.9.5.2,
5.3.9.5.3, 5.3.9.5.4 and 5.3.9.5.5. Reference resolution as defined in subclause 5.6.4 and base URL selection
as defined in subclause 5.6.5 using BaseURL elements as defined in subclause 5.6 shall be applied to any
URLs.
5.3.9.5.2 Initialization Segment information

Each Representation has assigned at most one Initialization Segment.
The presence of an Initialization Segment is indicated by the presence of
SegmentBase.Initialization,                       SegmentList.Initialization,                          the
SegmentTemplate.Initialization element or the SegmentTemplate@initialization
attribute that may contain URL and byte range information or URL construction rules for the Initialization
Segment.
If neither Initialization element nor SegmentTemplate@initialization attribute are
present for a Representation then each Media Segment within the Representation shall be self-initializing.
For services with MPD@type='dynamic', the Segment availability start time of the Initialization
Segment is the sum of the value of the MPD@availabilityStartTime and the PeriodStart time as
defined in subclause 5.3.2.1 of the containing Period and the Segment availability end time of the
Initialization Segment is the largest Segment availability end time of any Media Segment in this
Representation. For Segment availability of Media Segments, refer to subclause 5.3.9.5.3.
The data structures retrieved from the Initialization URL are defined in subclause 6.2.2.
5.3.9.5.3 Media Segment information

If a Representation consists of more than one Media Segment, then this Representation has assigned a
list of consecutive Media Segments. The list may be specified explicitly by one or more SegmentList
elements or implicitly by a SegmentTemplate element.
Each entry in this Media Segment list has assigned the following parameters:
— a valid Media Segment URL and possibly a byte range,

— the number and position of the Media Segment in the Representation,

— the MPD start time of the Media Segment in the Representation providing an approximate
  presentation start time of the Segment in the Period,

— the MPD duration of the Media Segment providing an approximate presentation duration of the
  Segment.

The MPD start time and the MPD duration may be approximate and do not necessarily reflect the exact
Media Presentation time. For more details on the relation of MPD start times and Media Presentation
time, refer to subclause 7.2.1.
In order to obtain the list of Media Segment URLs, i.e. the URL for each Segment at a specific position k in
the list based on the Segment Information, the following shall apply:
— If SegmentTemplate element is present, the Template-based Segment URL construction in
  subclause 5.3.9.4.4 shall be applied as follows.

     — If the Representation contains or inherits a SegmentTemplate element with $Number$ then
            the URL of the Media Segment at position k in the Representation is determined by replacing




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                the $Number$ identifier by (k"1) + (kstart"1) with kstart the value of the @startNumber
                attribute, if present, or 1 otherwise.

     — If the Representation contains or inherits a SegmentTemplate element with $Time$ then the
            URL of the media segment at position k is determined by replacing the $Time$ identifier by
            MPD start time of this segment, as described below.

— If one or more SegmentList elements are present then they contain a list of SegmentURL
  elements for a consecutive list of Media Segment URLs. The number of the first Segment in the list
  within this Period is determined by the value of the SegmentList@startNumber attribute, if
  present, or it is 1 in case this attribute is not present. The sequence of multiple SegmentList
  elements within a Representation shall result in Media Segment List with consecutive numbers.

— None of the above: in this case, only a single Media Segment shall be present with the URL provided
  by a BaseURL element and the SegmentBase element may be present.

For the derivation of the MPD start time and duration of each Media Segment in the list of Media
Segments, the position k of the Media Segment and the following information are used.
— If neither @duration attribute nor SegmentTimeline element is present, then the
  Representation shall contain exactly one Media Segment. The MPD start time is 0 and the MPD
  duration is obtained in the same way as for the last Media Segment in the Representation (see below
  for more details).

— If @duration attribute is present, then the MPD start time of the Media Segment is determined as
  (Number-NumberStart) times the value of the attribute @duration with NumberStart the value of the
  @startNumber attribute, and Number the segment number [e.g. (k"1) + NumberStart]. The MPD
  duration of the Media Segment is the value of the attribute @duration unless the Media Segment is
  the last one the Representation (see below for more details).

— If @duration attribute is not present and the SegmentTimeline element is present then rules in
  subclause 5.3.9.6 apply to determine the start time and duration of each Media Segment in the Media
  Segment list.

— To determine the duration of the only or the last Media Segment of any Representation in a Period,
  the MPD shall include sufficient information to determine the duration of the containing Period. For
  example, the MPD@mediaPresentationDuration, or Period@duration, or next
  Period@start may be present. The Media Presentation author should always provide a Segment
  as indicated by the duration of the Period, even if the Segment may not contain any media samples.
  If the content author provides a different number of Segments as nominally derived, it should add
  the @endNumber attribute to provide the number of the last segment in the Period. The value of the
  @endNumber should differ by at most 1 from the nominally derived value. A Segment with a number
  greater than the value of @endNumber is not valid.

For services with MPD@type='dynamic', the Segment availability start time of a Media Segment is the
sum of
— the value of the MPD@availabilityStartTime,

— the PeriodStart time of the containing Period as defined in subclause 5.3.2.1,

— the MPD start time of the Media Segment, and

— the MPD duration of the Media Segment.


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NOTE        By adding the MPD duration of the segment to the segment availability start time of the segment, the
segment availability start time of the first segment of each Period depends on the segment duration. This enables
to provide segments in Representations with shorter MPD duration earlier, for example to reduce latency for certain
Representations.

The Segment availability end time of a Media Segment is the sum of the Segment availability start time,
the MPD duration of the Media Segment and the value of the attribute @timeShiftBufferDepth for
this Representation.
If the @availabilityTimeOffset attribute is present for a Representation in the Segment
Information or the BaseURL element, then the parameter availabilityTimeOffset is determined
as the sum of all values of @availabilityTimeOffset on all levels that are processed in determining
the URL for the corresponding segment. Then the adjusted segment availability start time is determined
by subtracting the value of availabilityTimeOffset from the Segment availability start time. This
adjusted segment availability start time provides a time instant in wall-clock time at which a Segment
becomes an available Segment. If the @availabilityTimeComplete flag is set to true for such a
Representation on any level, then the entire Segment may not yet be available at the adjusted segment
availability start time.

The MPD shall include URL information for all Segments with an availability start time less than both (i)
the end of the Media Presentation and (ii) the sum of the latest time at which this version of the MPD is
available on the server and the value of the MPD@minimumUpdatePeriod.
The data structures retrieved from the URL referring to a Media Segment are defined in subclause 6.2.3.
5.3.9.5.4 Index Segment information

Each Segment typically has assigned Segment Index information that may be provided in an explicitly
declared Index Segment.
The presence of explicit Index Segment information is indicated
— by the presence of one RepresentationIndex element providing the Segment Index for the
  entire Representation, or

— by the presence of at least one of the two attributes @index                                     and @indexRange in the
  SegmentList.SegmentURL element, or

— by the presence of SegmentTemplate@index attribute. If either $Number$ or $Time$ are present
  the Template-based Segment URL construction in subclause 5.3.9.4.4 shall be applied with number
  set to the number of the corresponding Media Segment. If not present, the
  SegmentTemplate@index attribute constitutes a reference to Representation Index.

The @indexRange attribute may also be used to provide the byte range for an index within a Media
Segment, where this is allowed by the Media Segment format. In this case the @index attribute shall not
be present and the range specified shall lie completely within any byte range specified for the Media
Segment.
The availability of Index Segments is identical to the availability to the Media Segments they correspond
to.
The data structures retrieved from the URL referring to an Index Segment are defined in subclause 6.2.4.




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5.3.9.5.5 Bitstream Switching Segment information

Each Representation has assigned at most one Bitstream Switching Segment. The Bitstream Switching
Segment is only relevant in case the @bitstreamSwitching flag is set to 'true' and may enable the
creation of a conforming Segment track for Segments from different Representations.
The presence of a Bitstream Switching Segment is indicated by the presence of the
BitstreamSwitching element or the SegmentTemplate@bitstreamSwitching attribute that
that may contain URL and byte range information or construction rules for the URL.
If neither BitstreamSwitching element nor SegmentTemplate@bitstreamSwitching
attribute are present for a Representation and the @bitstreamSwitching flag is set to 'true', there
are no Bitstream Switching Segments.
The Segment availability time of the Bitstream Switching Segment is identical to the one specified for the
Initialization Segment in subclause 5.3.9.5.2.
The data structures retrieved from the URL referring to a Bitstream Switching Segment are defined in
subclause 6.2.5.
5.3.9.6 Segment timeline

5.3.9.6.1 General

The SegmentTimeline element expresses the earliest presentation time and presentation duration (in
units based on the @timescale attribute) for each Segment in the Representation. The use is an
alternative to providing the @duration attribute and provides four additional features:
— the specification of arbitrary Segment durations,

— the specification of accurate Segment durations for one media stream where the duration expresses
  presentation duration of the Segment, and

— the signalling of discontinuities of the Media Presentation timeline for which no Segment data are
  present in a specific Representation.

— the ability to signal Segment sequences. For more details, refer to subclause 5.3.9.6.4. Segment
  sequences shall only be used if explicitly permitted by the profile in use.

For compactness, the syntax of this element includes run-length compression to express a sequence of
Segments having constant duration.
The SegmentTimeline element shall contain a list of S elements each of which describes a sequence
of contiguous segments of identical MPD duration. The S element contains a mandatory @d attribute
specifying the MPD duration, an optional @r repeat count attribute specifying the number of contiguous
Segments with identical MPD duration minus one and an optional @t time attribute. The value of the @t
attribute minus the value of the @presentationTimeOffset specifies the MPD start time of the first
Segment in the series.
The @r attribute has a default value of zero (i.e., a single Segment in the series) when not present. For
example, a repeat count of three means there are four contiguous Segments, each with the same MPD
duration. The value of the @r attribute of the S element may be set to a negative value indicating that the
duration indicated in @d repeats until the S@t of the next S element or if it is the last S element in the
SegmentTimeline element until the end of the Period or the next update of the MPD, i.e. it is treated
in the same way as the @duration attribute for a full period.

Any @d value shall not exceed the value of MPD@maxSegmentDuration.


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The @d attribute shall represent the accurate presentation duration of the Segment except if the following
conditions are met:

        the @availabilityTimeOffset is present for the Representation,

        the @availabilityComplete is set to FALSE for the Representation,

        the S element is the one with the largest S@t value in the MPD, and

        the non-adjusted segment availability time of the Segment is greater than or equal to the publish
        time of the MPD.

This means that for such a Segment, the @d attribute may be updated with a new version of the MPD, or
a new S element may be added to reflect a different duration of the Segment than the nominal one. A
DASH Client should not rely on nominal segment durations for the derivation of Segment addresses in
the case the $Time$ identifier is present, but instead the duration of the Segment may be derived by
parsing the Segment and determining the value or by updating the MPD after the non-adjusted segment
availability time.

The textual order of the S elements within the SegmentTimeline element shall match the numbering (and
thus time) order of the corresponding Media Segments.

When the SegmentTemplate is in use and the $Time$ identifier is present in the
SegmentTemplate@media then
— If a Segment Index ('sidx') box is present, then the values of the SegmentTimeline shall
  describe accurate timing of each Media Segment. Specifically, these values shall reflect the
  information provided in the Segment index ('sidx') box, i.e.

     — the value of @timescale shall be identical to the value of the timescale field in the first
           'sidx' box,

     — the value of S@t shall be identical to the value of the earliest_presentation_time in the
            first 'sidx' box of the Media Segment described in S,

     — the value of S@d shall be identical to sum of the values of all Subsegment_duration fields in
            the first 'sidx' box of the Media Segment described in S.

— If a Segment Index ('sidx') box is not present, then the derivation of the earliest presentation time
  shall be based on the media internal data. The details depend on the segment format in use and
  further restriction on the segment format may apply.

— The Segment URL for a Media Segment is obtained by replacing the $Time$ identifier by the earliest
  presentation time obtained from the SegmentTimeline.

NOTE        As the earliest presentation time of the next Media Segment in the same Representation can be derived
from the actual Media Segment, e.g. by the use of the Segment Index, the Segment URL can be generated without
reading of the updated MPD that contains the update to the Segment Timeline.

The semantics of the attributes and elements for Segment Timeline are provided in subclause 5.3.9.6.2,
Table 21. The XML syntax of the Segment Timeline is provided in subclause 5.3.9.6.3.




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5.3.9.6.2 Semantics

                              Table 21 — Semantics of SegmentTimeline element

       Element or Attribute Name                       Use                                   Description
           SegmentTimeline                                           specifies the Segment timeline information
               S                                       0 .. N        specifies Segment start time and duration for a
                                                                     contiguous sequence of segments of identical
                                                                     durations, referred to as series in the following.
                                                                     NOTE The S elements are ordered in sequence of
                                                                     increasing values of the attribute @t.
                   @t                                    O           this value of this attribute minus the value of the
                                                                     @presentationTimeOffset specifies the MPD
                                                                     start time, in @timescale units, of the first Segment
                                                                     in the series. The MPD start time is relative to the
                                                                     beginning of the Period.
                                                                     The value of this attribute shall be equal to or greater
                                                                     than the sum of the previous S element earliest
                                                                     presentation time and the sum of the contiguous
                                                                     Segment durations.
                                                                     If the value of the attribute is greater than what is
                                                                     expressed by the previous S element, it expresses
                                                                     discontinuities in the timeline.
                                                                     If not present, then the value shall be assumed to be
                                                                     zero for the first S element and for the subsequent S
                                                                     elements, the value shall be assumed to be the sum of
                                                                     the previous S element's earliest presentation time
                                                                     and contiguous duration [i.e. previous
                                                                     S@t + @d * (@r + 1)].
                   @n                                    O           specifies the Segment number of the first Segment in
                                                                     the series.
                                                                     The value of this attribute shall be at least one
                                                                     greater than the number of previous S elements plus
                                                                     the
                                                                     @startNumber attribute value, if present. If the
                                                                     value of @n is greater than one plus the previously
                                                                     calculated Segment number, it expresses that one or
                                                                     more prior Segments in the timeline are unavailable.
                   @d                                    M           specifies the Segment duration or the duration of a
                                                                     Segment sequence, in units of the value of the
                                                                     @timescale.
                   @k                                   OD           specifies the number of Segments that are included in
                                                                     a Segment Sequence. The attribute shall not be
                                                    default: 1
                                                                     present unless explicitly permitted by the profile.
                                                                     For more details, refer to subclause 5.3.9.6.3.




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       Element or Attribute Name                        Use                                     Description
                 @r                                      OD            specifies the repeat count of the number of following
                                                                       contiguous Segments or Segment Sequences with the
                                                     default: 0
                                                                       same duration expressed by the value of @d. This
                                                                       value is zero-based (e.g. a value of three means four
                                                                       Segments or Segment Sequences in the contiguous
                                                                       series). A negative value of the @r attribute of the S
                                                                       element indicates that the duration indicated in @d
                                                                       attribute repeats until the start of the next S element,
                                                                       the end of the Period or until the next MPD update.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.3.9.6.3    XML syntax

 <!-- Segment Timeline -->
 <xs:complexType name="SegmentTimelineType">
       <xs:sequence>
            <xs:element name="S" minOccurs="0" maxOccurs="unbounded">
                 <xs:complexType>
                       <xs:attribute name="t" type="xs:unsignedLong"/>
                       <xs:attribute name="n" type="xs:unsignedLong"/>
                       <xs:attribute name="d" type="xs:unsignedLong" use="required"/>
                       <xs:attribute name="r" type="xs:integer" default="0"/>
                       <xs:attribute name="k" type="xs:unsignedLong" default="1"/>
                       <xs:anyAttribute namespace="##other" processContents="lax"/>
                 </xs:complexType>
            </xs:element>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>

5.3.9.6.4 Segment Sequences

Segment sequences in the Segment Timeline may be signalled with including a @k attribute in the S
element of the SegmentTimeline. The @k shall only be present if all of the following requirements
are fulfilled:
— the addressing scheme for the associated Representation is using Segment template with either
  $Number$ or hierarchical templating and sub-numbering as defined in subclause 5.3.9.6.5,

— the profile explicitly allows the usage of Segment sequences.

If @k is present and greater than 1, then it specifies that sequence described by @d is accurate in timing
but contains @k Segments.



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The MPD duration of the Segment is determined as the integer value of @d divided by the value of @k and
determines the MPD start time and therefore the Segment availability start time. MPD duration of the
Segments is not required to exactly match the media duration of the Segments.
The integer of the quotient of the value of @d and the value of @k of any S element shall not exceed the
quotient of @d and the value of @k minus 1 of any other S element in the Segment Timeline.
The concatenation of all Segments in a Segment sequence shall have an accurate segment duration
according of the value of @d.
Any Segment in a Segment sequence may carry inband events.
5.3.9.6.5 Hierarchical Templating and Sub-Numbering

If the Segment template contains a $SubNumber$ value and a Segment Timeline signalling with Segment
sequence is used, then
— if $Time$ is present, the $Time$ is replaced with the earliest presentation time of the Segment
  sequence for all Segments in the Segment Sequence,

— if $Number$ is present, the $Number$ is replaced with the number of the Segment sequence, i.e.
  with the number as if every Segment sequence in the Segment timeline is treated as single Segment,

— and in both cases the $SubNumber$ is replaced with the Segment number of the Segment Sequence,
  with 1 being the number of the first Segment in the sequence.

     NOTE       The earliest presentation time of the next Segment Sequence in the same Representation can be
     derived from the sum of the earliest presentation time of the current Segment Sequence and the duration of
     the Segment resulting from the concatenation of all Media Segments in a Segment Sequence. In case of ISO
     BMFF, this can be accomplished by summing the track runs of segments in the seqment sequence.

5.3.9.7      Failover Content Signalling

5.3.9.7.1      General

In certain cases, a time-continuous section of a Representation or an Adaptation Set is not properly
represented, for example due to errors in the content ingest or encoding. However, at least at the DASH
level, the content may be offered properly by adding a Missing Segments as defined in 6.2.6 or by
including content that is encoded but representing some failover content instead of the main content.

The FailoverContent element enables identification of such sections of Representations that include
alternative “failover content” and should be avoided by the DASH Client, for example by switching to a
Representation that does not include such failover content.

The FailoverContent element contains a list of failover content sections, each expressed by one FCS
element. The FCS element contains an optional @d attribute specifying the MPD duration of the
alternative content section and a mandatory @t time attribute whereby the value of the @t attribute
minus the value of the @presentationTimeOffset specifies the MPD start time of the alternative
content section.

The semantics of the attributes and elements for failover content are provided in 5.3.9.7.2, Table 22. The
XML syntax of the Failover Content signalling is provided in 5.3.9.7.3.




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5.3.9.7.2    Semantics

                            Table 22 — Semantics of FailoverContent element
 Element or Attribute Name                       Use                Description

       FailoverContent                                              specifies sections that contain failover content.

            @valid                                    OD            specifies whether the corresponding data results in
                                                    default:        a valid HTTP request or if the request is invalid and
                                                     true           it is expected that a 404 is received when
                                                                    requesting the associated Media Segment.
              FCS                                      1 .. N       specifies one continuous section of failover content.

                 @t                                     M           the value of this attribute minus the value of the
                                                                    @presentationTimeOffset specifies the MPD
                                                                    start time, in @timescale units, of the first sample
                                                                    in the alternative content section.
                                                                    The value of this attribute must be equal to or
                                                                    greater than the sum of the previous FCS element
                                                                    earliest presentation time and the sum of the
                                                                    contiguous section durations.
                 @d                                      O          specifies the alternative content section duration in
                                                                    units of the value of the @timescale.
                                                                    If not present, the alternative content section lasts
                                                                    until the start of the next FCS element, or until the
                                                                    end of the Period or until the end of MPD duration,
                                                                    whichever occurs first in the timeline.
 Key
     For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory.
     For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.



5.3.9.7.3    XML syntax

  <!-- Segment Timeline -->
  <xs:complexType name="SegmentTimelineType">
       <xs:sequence>
             <xs:element name="S" minOccurs="0" maxOccurs="unbounded">
                 <xs:complexType>
                       <xs:attribute name="t" type="xs:unsignedLong"/>
                       <xs:attribute name="n" type="xs:unsignedLong"/>
                       <xs:attribute name="d" type="xs:unsignedLong" use="required"/>
                       <xs:attribute name="r" type="xs:integer" default="0"/>
                       <xs:attribute name="k" type="xs:unsignedLong" default="1"/>
                       <xs:anyAttribute namespace="##other" processContents="lax"/>
                 </xs:complexType>




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              </xs:element>
           <xs:any namespace="##other" processContents="lax" minOccurs="0"
   maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
   </xs:complexType>
 <!-- Failover Content -->
 <xs:complexType name="FailoverContentType">
       <xs:sequence>
            <xs:element name="FCS" maxOccurs="unbounded">
                  <xs:complexType>
                       <xs:attribute name="t" type="xs:unsignedLong" use="required"/>
                       <xs:attribute name="d" type="xs:unsignedLong"/>
                       <xs:anyAttribute namespace="##other" processContents="lax"/>
                  </xs:complexType>
            </xs:element>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="valid" type="xs:boolean" default="true"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
5.3.10 Label and Group Label

5.3.10.1 Overview

Labels provide the ability to annotate data structures in a DASH Media Presentation by providing a short
textual description of the parent element. Labels can be used for the purpose of interaction and
configuration settings within a DASH Client or associated application. For example, the Label element
can be used to provide a selection menu to the user.

GroupLabel may be added on a higher level to provide a summary or title of labels collected in a group.
For example, GroupLabel can be used as the title on a selection menu containing a collection of labels.

Labels with the same value for the @id attribute belong to a label group. All labels with the same @id
shall be on the same level in the MPD.

The @lang attribute assigned to a label describes the language of that label. For example, the @lang
attribute can be used by the DASH Client to filter labels according to user language preferences.

The semantics of the label element and the group label element are provided in Table 23 and Table 24,
respectively, in subclause 5.3.10.2, the XML syntax is provided in subclause 5.3.10.3.




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5.3.10.2 Semantics

                                      Table 23 — Semantics of Label element

     Element or Attribute Name                         Use                                      Description
 Label                                                                  The label and the actual text of the label that
                                                                        annotates the element in the DASH Media
                                                                        Presentation
     @id                                               OD               An identifier for the label. Labels with the same
                                                    default: 0          value for this attribute belong to a label group.
     @lang                                               O              Specifies the language of the label. If not present,
                                                                        the language of the label is unknown.

                                 Table 24 — Semantics of GroupLabel element

     Element or Attribute Name                         Use                                      Description
 GroupLabel                                                             The actual text of the group label that annotates the
                                                                        element in the DASH Media Presentation
     @id                                               OD               An identifier for the group label. The value for this
                                                    default: 0          attribute shall be unique for all group labels in the
                                                                        MPD. The value of this attribute shall be the same
                                                                        as the id attribute of all Label elements in the label
                                                                        group.
     @lang                                               O              Specifies the language of the label. If not present,
                                                                        the language of the label is unknown.
5.3.10.3 XML Syntax

 <!-- Label and Group Label -->
 <xs:complexType name="LabelType">
      <xs:simpleContent>
           <xs:extension base="xs:string">
                <xs:attribute name="id" type="xs:unsignedInt" default="0"/>
                <xs:attribute name="lang" type="xs:language"/>
                <xs:anyAttribute namespace="##other" processContents="lax"/>
           </xs:extension>
      </xs:simpleContent>
 </xs:complexType>

5.3.11 Preselection

5.3.11.1 Overview

The concept of Preselections was initially considered for the purpose of enabling Next Generation Audio
(NGA) codecs to signal suitable combinations of audio elements that are offered in different Adaptation
Sets. However, the Preselection concept is introduced in a generic manner such that it can also be
applicable to and used by other media types and codecs.




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Preselections define user experiences that can be selected by the DASH Client. Each Preselection is
uniquely identifiable and distinguishable, e.g. by language. A Preselection encompasses a subset of media
components such that the media components can be selected and combined into a complete experience.

Preselections can be used to reference a set of Representations from multiple Adaptation Sets in order to
produce a complete experience. Preselections can also be used to indicate a pre-defined experience at the
elementary-stream level, i.e. the DASH Client can select a pre-defined experience and provides the
selection to the media engine.

Preselections may be uniquely identified by a Preselection Tag. Users/Codecs using this Tag functionality
are encouraged to provide more information on how tags defined in the MPD map to functionality in the
specific codec.

Preselections have equivalent annotation parameters to Adaptation Sets and are always assigned exactly
one media type.

Media components can be mapped to Adaptation Sets in multiple ways:

     1. by a one-to-one mapping between media components and Adaptation Sets;
     2. by the inclusion of multiple media components in a single Adaptation Set where all encoded
        versions of the media components are multiplexed on the file-container level;
     3. by the inclusion of multiple media components in a single Adaptation Set where all encoded
        versions of the media components are multiplexed on the elementary-stream level.
If the Adaptation Set contains a single media component, then the media component can be referenced
by the @id of the Adaptation Set.

If the Adaptation Set contains multiple media components multiplexed on the file-container level, then
each media component is mapped to a Content Component as defined in 5.3.4. For example, in the ISO
BMFF case, a Representation contains multiple tracks and each track is mapped to a Content Component.
Therefore, media components can be referenced by the @id of an Adaptation Set or the @id of a Content
Component. When Preselections reference Content Components, the @id of Adaptation Sets and
Content Components shall be unique within the scope of a Period.

If the Adaptation Set contains multiple media components multiplexed at the elementary-stream level,
then a pre-defined experience is referenced by the Preselection. For example, in the ISO BMFF case, a
Representation contains a single track of multiple media components that is referenced by the @id of the
Adaptation Set. Multiple Preselections can reference the Adaptation Set and select a pre-defined
experience by passing the Presentation Tag to the media engine along with the media stream.

The Main Adaptation Set is the Adaptation Set that contains the Initialisation Segment for the complete
experience. Each Preselection shall reference a Main Adaptation Set and may reference zero, one or more
other Adaptation Sets.

     NOTE In the context of Preselection, the term "Main Adaptation Set" is used. This term is not to be confused
     with an Adaptation Set that has assigned the main Role.

Within a Preselection, two types of Adaptation Sets are differentiated:

          Main Adaptation Set: A Representation of this Adaptation Set is needed for playback of the
          Preselection. In particular for ISO BMFF, the Initialization Segment of such a Representation is
          needed for playback of the Preselection.




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        Partial Adaption Set: A Representation of this Adaptation Set is only consumable together with
        the Main Adaptation Sets within this Preselection. Again, in particular for ISO BMFF, the
        Initialization Segment of a Representation of the Main Adaptation Set is needed for playback.

Preselections, Main Adaptation Set and Partial Adaptation Sets may be defined by one of the two means:

        A preselection descriptor as specified in subclause 5.3.11.2. Such a descriptor enables simple
        configurations and preserves backward compatibility but may not be suitable for advanced use
        cases.

        A preselection element as specified in 5.3.11.3 and 5.3.11.4. The semantics of the Preselection
        element is provided in subclause 5.3.11.3 and the XML syntax is provided in 5.3.11.4.

5.3.11.2 Preselection Descriptor

The Preselection Descriptor is used for two purposes.

     1) To indicate that an Adaptation Set is part of a Preselection.

     2) Optionally, to provide instructions on how to combine the Adaptation Set with other Adaptation
        Sets to form a Preselection.

The Preselection Descriptor shall be either an Essential Property Descriptor or a Supplemental Property
Descriptor with a @schemeIdURI of "urn:mpeg:dash:preselection:2016".

For simple use cases, the Preselection Descriptor may be used to provide instructions on how to combine
the Adaptation Set with other Adaptation Sets to form a Preselection. The descriptor shall only be present
at the Adaptation Set level.

The @value attribute of the descriptor provides two fields, separated by a comma:

        the Preselection Tag

        the id of the Adaptation Sets or Content Components referenced by this Preselection as a white
        space separated list in processing order. The first id references the Main Adaptation Set.

The syntax for the value field of the Preselection descriptor shall follow the PRESELECTION-
DESCRIPTOR-VALUE as defined in the following ABNF notation according to IETF RFC 5234:

            PRESELECTION-DESCRIPTOR-VALUE = TAG-VALUE ”,” ID-LIST

            ID-LIST = ID-VALUE [ WHITESPACE ID-VALUE]
            TAG-VALUE = STRING
            ID-VALUE = 1* DIGIT
            STRING = *VCHAR




If the descriptor is present, but the value field is absent, the Adaptation Set shall be referenced by at least
one Preselection.




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If the value field is present, then this descriptor identifies a Preselection. The Tag is assigned, and the
Preselection includes the ids of the Adaptation Sets that are part of this Preselection. In this case, the
Multi-Segment Track Conformance rule as defined in subclause 5.3.11.5.2 applies.

If the descriptor is present and used with the Essential Descriptor, then this indicates that the Adaptation
Set is only consumable as part of a Preselection.

If the descriptor is present and used with the Supplemental Descriptor, then this indicates that the
Adaptation Set is also consumable independently of a Preselection.

5.3.11.3 Semantics of Preselection element

As an alternative to the Preselection descriptor, Preselections may also be defined through the
Preselection element as provided in Table 25. The selection of Preselections is based on the contained
attributes and elements in the Preselection element.

                                Table 25 — Semantics of PreSelection element

          Element or Attribute Name                        Use                               Description
        Preselection
           @id                                             OD         specifies the id of the Preselection. This shall be
                                                                      unique within one Period.
                                                        default=
                                                           1
           @preselectionComponents                          M         specifies the ids of the contained Adaptation Sets or
                                                                      Content Components that belong to this Preselection
                                                                      as white space separated list in processing order.
                                                                      The first id defines the Main Adaptation Set.
           @lang                                            O         same semantics as in Table 5 for @lang attribute.
           @order                                          OD         specifies the conformance rules for Representations
                                                                      in Adaptation Sets within the Preselection.
                                                         Default:
                                                                      When set to 'undefined', the Preselection follows
                                                        'undefi
                                                                      the conformance rules for Multi-Segment Tracks in
                                                          ned'
                                                                      subclause 5.3.11.5.1.
                                                                      When set to 'time-ordered', the Preselection
                                                                      follows the conformance rules for Time-Ordered
                                                                      Segment Tracks in subclause 5.3.11.5.2.
                                                                      When set to 'fully-ordered', the Preselection
                                                                      follows the conformance rules for Fully-Ordered
                                                                      Segment Tracks in subclause 5.3.11.5.3. In this case,
                                                                      order in the @preselectionComponents
                                                                      attribute specifies the component order.
            Accessibility                                 0…N         specifies information about accessibility scheme.
                                                                      For more details, refer to subclauses 5.8.1 and
                                                                      5.8.4.3.
            Role                                          0…N         specifies information on role annotation scheme.
                                                                      For more details, refer to subclauses 5.8.1 and
                                                                      5.8.4.2.




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         Element or Attribute Name                          Use                                 Description
           Rating                                          0…N         specifies information on rating scheme.
                                                                       For more details, refer to subclauses 5.8.1 and
                                                                       5.8.4.4.
           Viewpoint                                       0…N         specifies information on viewpoint annotation
                                                                       scheme.
                                                                       For more details, refer to subclauses 5.8.1 and
                                                                       5.8.4.5.
           CommonAttributesElements                           -        specifies the common attributes and elements
                                                                       (attributes and elements from base type
                                                                       RepresentationBaseType). For details, see
                                                                       subclause 5.3.7.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>..<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.3.11.4 XML Syntax

 <!-- Preselection -->
 <xs:complexType name="PreselectionType">
       <xs:complexContent>
           <xs:extension base="RepresentationBaseType">
                 <xs:sequence>
                 <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Role" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Rating" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 </xs:sequence>
                 <xs:attribute name="id" type="StringNoWhitespaceType" default="1"/>
                 <xs:attribute name="preselectionComponents" type="StringVectorType" use="required"/>
                 <xs:attribute name="lang" type="xs:language"/>
                 <xs:attribute name="order" type="PreselectionOrderType" default="undefined"/>
           </xs:extension>
       </xs:complexContent>
 </xs:complexType>
 <!--Preselection Order type-->
 <xs:simpleType name="PreselectionOrderType">
       <xs:restriction base="xs:string">
           <xs:enumeration value="undefined"/>
           <xs:enumeration value="time-ordered"/>




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            <xs:enumeration value="fully-ordered"/>
       </xs:restriction>
 </xs:simpleType>
5.3.11.5 Conformance rules

5.3.11.5.1 Conformance rules for Multi-Segment Tracks

When multiple Adaptation Sets indicate this type of ordering, each Adaptation Set and the contained
Representations follow the regular conformance rules for multi-segment tracks as defined in subclause
5.3.5.1.

No additional conformance rules are defined for the Representations in different Adaptation Sets within
Preselections.

5.3.11.5.2 Conformance rules for Time-Ordered Segment Track

When multiple Adaptation Sets indicate this type of ordering, each Adaptation Set and the contained
Representations follow the conformance rules for multi-segment tracks as defined in subclause 5.3.11.5.1.

In addition, the concatenation of the following shall represent a conforming Segment track as defined in
subclause 4.5.4 and conforming to the media type as specified in the @mimeType attribute for the
Representation of the Main Adaptation Set:

          An Initialization Segment of one Representation of the Main Adaptation Set (specified by the first
          id in the @preselectionComponents attribute or the Preselection Descriptor), and

          media segments/subsegments of one Representation from each Adaptation Set referenced in the
          Preselection ordered by non-decreasing first decode times.

     Note: This does not constrain the order of segments with the same first decode time.

If Adaptation Sets within a Preselection are time-ordered as defined above, they should share the same
value for the @segmentAlignment or @subsegmentAlignment attributes, i.e. the Representations
of all Adaptation Sets referenced by the Preselection are segment/subsegment aligned.

5.3.11.5.3 Conformance rules for Fully-Ordered Segment Track

When multiple Adaptation Sets indicate this type of ordering, each Adaptation Set and the contained
Representations follow the conformance rules for multi-segment tracks as defined in subclause 5.3.11.5.1.

In addition, the concatenation of the following shall represent a conforming Segment track as defined in
subclause 4.5.4 and conforming to the media type as specified in the @mimeType attribute for the
Representation of the Main Adaptation Set:

          An Initialization Segment of one Representation of the Main Adaptation Set (specified by the first
          id in the @preselectionComponents attribute or the Preselection Descriptor), and

          media segments/subsegments of one Representation from each Adaptation Set referenced in the
          Preselection ordered first by non-decreasing decode times and then by position in the list given
          in @preselectionComponents.




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If Adaptation Sets referenced by a Preselection are fully ordered as defined above, they shall share the
same value for the @segmentAlignment or @subsegmentAlignment attributes, i.e. the
Representations of all Adaptation Sets referenced by the Preselection shall be segment/subsegment
aligned.

5.3.12 Initialization Set, Group and Presentation

5.3.12.1 Initialization Set

An Initialization Set provides a common set of media properties across Periods in a Media Presentation.
If an Initialization Set with certain properties is provided in an MPD, there shall be at least one Adaptation
Set in at least one Period with these properties. More importantly, it can also be indicated that all Periods
in the Media Presentations include at least one Adaptation Set that follows the properties of the
Initialization Set. Especially in the latter case. an Initialization Set can be selected at the start of a Media
Presentation in order to establish the relevant decryption, decoding and rendering environment. This
provides expected consistent playback behaviour for the DASH Client if it selects only Adaptation Sets
that are included in the selected Initialization Set.

The semantical definition of Initialization Sets shares all parameters of Adaptation Sets, but an
Initialization Set may only include a subset of those parameters. An Adaptation Set referring to an
Initialization Set that it conforms to may include additional information, for example:

        There may be an Initialization Set with media type audio and a @codecs parameter, but without
        a @lang attribute. Then each Period includes at least one Adaptation Sets with the same media
        type, the same @codecs parameter, but each of the Adaptation Sets defines a different language
        for each Period. This ensures that initialization of an audio playback decoder is possible, but over
        Period boundaries, the language may change, or additional languages may be added.

        There may be an Initialization Set with media type video and @maxWidth and @maxHeight
        parameter and a @codecs parameter. Then at least one Period includes at least one Adaptation
        Set with the same media type, but its actual codecs parameters and the @maxWidth and
        @maxHeight may be different than the ones in the Initialization Set, but can be decoded and
        displayed within the Initialization Set constraints.

An Initialization Set may get assigned a specific profile using the @profiles parameter in order to
express conformance to DASH profiles or Interoperability Points.

If an MPD has multiple Periods, there should be at least one Initialization Set be present for each media
type.

The semantics of the attributes and elements within an InitializationSet element are provided in
subclause 5.3.12.2, Table 26. The XML syntax of the InitializationSet element is provided in
subclause 5.3.12.3.




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5.3.12.2 Semantics

                            Table 26 — Semantics of InitializationSet element
 Element or Attribute Name                              Use          Description

        InitializationSet                                            Initialization Set description

           @xlink:href                                    O          specifies a reference to a remote element entity that shall
                                                                     contain exactly one element of type
                                                                     InitializationSet

           @xlink:actuate                                OD          specifies the processing instructions, which can be either
                                                                     "onLoad" or "onRequest".
                                                      default:
                                                   'onRequest'

           @id                                            M          specifies a unique identifier for this Initialization Set. The
                                                                     attribute shall be a unique unsigned integer value amongst
                                                                     all InitializationSet and InitializationGroup ids in the scope
                                                                     of the MPD.

           @inAllPeriods                                 OD          if set to true, then there is at least one Adaptation Set in
                                                                     each Period of the Media Presentation that conforms to this
                                                   Default: TRUE     Initialization Set.

           @contentType                                   O          specifies the media content component type for this
                                                                     Initialization Set. A value of the top-level Content-type
                                                                     'type' value as defined in IETF RFC 6838:2013, Clause 4
                                                                     shall be taken.

                                                                     If not present, the media content component type may be
                                                                     defined for each media component or it may be unknown.

           @par                                           O          specifies the picture aspect ratio of the video media
                                                                     component type, in the form of a string consisting of two
                                                                     integers separated by ':', e.g.,”16:9”. When this attribute
                                                                     is present, and the attributes @width and @height for
                                                                     the Representations of Adaptation Sets conforming to this
                                                                     Initialization Set are also present, the picture aspect ratio
                                                                     as specified by this attribute shall be the same as indicated
                                                                     by the values of @width, @height, and @sar, i.e. it shall
                                                                     express the same ratio as (@width * sarx): (@height *
                                                                     sary), with sarx the first number in @sar and sary the
                                                                     second number.

                                                                     If not present, the picture aspect ratio may be defined for
                                                                     each media component or it may be unknown.

           @maxWidth                                      O          specifies the maximum @width value in all
                                                                     Representations in all Adaptation Sets associated to this
                                                                     Initialization Set. This value has the same units as the
                                                                     @width attribute.

                                                                     If not present, the value is unknown.




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 Element or Attribute Name                                Use          Description

          @maxHeight                                       O           specifies the maximum @height value in all
                                                                       Representations in all Adaptation Sets associated to this
                                                                       Initialization Set. This value has the same units as the
                                                                       @height attribute.

                                                                       If not present, the value is unknown.

          @maxFrameRate                                    O           specifies the maximum @framerate value in all
                                                                       Representations in all Adaptation Sets associated to this
                                                                       Initialization Set. This value is encoded in the same format
                                                                       as the @frameRate attribute.

                                                                       If not present, the value is unknown.

          @initialization                                  O           specifies the URL of an Initialization Segment.

          CommonAttributesElements                         -           specifies the common attributes and elements (attributes
                                                                       and elements from base type
                                                                       RepresentationBaseType). For details, see subclause
                                                                       5.3.7.

          Accessibility                                  0…N           specifies information about accessibility scheme for all
                                                                       Adaptation Sets associated to this Initialization Set.

                                                                       For more details, refer to subclauses 5.8.1 and 5.8.4.3.

          Role                                           0…N           specifies information on role annotation scheme for all
                                                                       Adaptation Sets associated to this Initialization Set.

                                                                       For more details, refer to subclauses 5.8.1 and 5.8.4.2.

          Rating                                         0…N           specifies information on rating scheme for all Adaptation
                                                                       Sets associated to this Initialization Set

                                                                       For more details, refer to subclauses 5.8.1 and 5.8.4.4.

          Viewpoint                                      0…N           specifies information on viewpoint annotation scheme for
                                                                       all Adaptation Sets associated to this Initialization Set

                                                                       For more details, refer to subclauses 5.8.1 and 5.8.4.5.

 Key
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.




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5.3.12.3 XML syntax
   <!-- Preselection -->
   <xs:complexType name="PreselectionType">
   <xs:complexContent>
        <xs:extension base="RepresentationBaseType">
              <xs:sequence>
               <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
   maxOccurs="unbounded"/>
               <xs:element name="Role" type="DescriptorType" minOccurs="0"
   maxOccurs="unbounded"/>
               <xs:element name="Rating" type="DescriptorType" minOccurs="0"
   maxOccurs="unbounded"/>
               <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
   maxOccurs="unbounded"/>
              </xs:sequence>
              <xs:attribute name="id" type="StringNoWhitespaceType" default="1"/>
              <xs:attribute name="preselectionComponents" type="StringVectorType" use="required"/>
              <xs:attribute name="lang" type="xs:language"/>
              <xs:attribute name="order" type="PreselectionOrderType" default="undefined"/>
        </xs:extension>
   </xs:complexContent>
   </xs:complexType>
 <!-- Initialization Set -->
 <xs:complexType name="InitializationSetType">
       <xs:complexContent>
            <xs:extension base="RepresentationBaseType">
                  <xs:sequence>
                 <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Role" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Rating" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                 <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
 maxOccurs="unbounded"/>
                  </xs:sequence>
                  <xs:attribute ref="xlink:href"/>
                  <xs:attribute ref="xlink:actuate" default="onRequest"/>
                  <xs:attribute ref="xlink:type" fixed="simple"/>
                  <xs:attribute name="id" type="xs:unsignedInt" use="required"/>
                  <xs:attribute name="inAllPeriods" type="xs:boolean" default="true"/>
                  <xs:attribute name="contentType" type="RFC6838ContentTypeType"/>
                  <xs:attribute name="par" type="RatioType"/>
                  <xs:attribute name="maxWidth" type="xs:unsignedInt"/>




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                <xs:attribute name="maxHeight" type="xs:unsignedInt"/>
                <xs:attribute name="maxFrameRate" type="FrameRateType"/>
                <xs:attribute name="initialization" type="xs:anyURI"/>
          </xs:extension>
      </xs:complexContent>
 </xs:complexType>
5.3.12.4 Initialization Group and Initialization Presentation
5.3.12.4.1 Overview
Initialization Group and Initialization Presentation signal the capabilities required for playback of the
content as intended by the service provider.
The InitializationGroup element lists the minimum requirements for playback of a media content
type in all Periods of the Media Presentation. Any Period contained in the Media Presentation shall have
at least one Adaptation Set that conforms to one of the Initialization Sets included in this Initialization
Group. Therefore, a client supporting all listed Initialization Sets in one InitializationGroup
element is expected to be able to play that media type during the entire Media Presentation.
The InitializationPresentation element lists the minimum requirements for playback of a
Media Presentation in all Periods. A client supporting all listed Initialization Sets and Groups of one
Initialization Presentation is expected to be able to play the entire Media Presentation as intended by the
service provider.
An Initialization Group or Presentation may get assigned a specific profile using the @profiles
parameter in order to express conformance to DASH Profiles or Interoperability Points.
5.3.12.4.2 Application of Initialization hierarchy
Figure 4 demonstrates the use of initialization hierarchy in signalling the required capabilities. In this
example, the MPD has 3 different media types: video, audio and subtitle. The MPD has several Periods,
the Adaptation Sets of which are described by different Initialization Sets for each media type:
Initialization Sets (IS) 1-4 define the requirements for 4 different video decoders, Initialization Sets 5-7
define the requirements for 3 audio decoders, and Initialization Sets 8-9 define the requirements for 2
different subtitle parsers.

                                      Initialization Presentation 1                   Initialization Presentation 2




            Initialization Group 1                              Initialization Group 3

                    Initialization Group 2




            Initialization Set 1                               Initialization Set 5                        Initialization Set 8

                  Initialization Set 2                                Initialization Set 6                         Initialization Set 9
                                                                                                                  (@inAllPeriod) =true)
                         Initialization Set 3                               Initialization Set 7

                                   Initialization Set 4



                              Video                                          Audio                                    Subtitle


                                        Figure 4 —Example of initialization signalling


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In Figure 4, each Initialization Group defines the minimum requirement for playback of a media type for
entire Media Presentation, while each Initialization Presentation defines the requirements to playback
Media Presentation as intended by the service provider. Initialization Group (IG) 1 consists of IS1 and IS2,
while Initialization Group 2 consists of IS2 and IS3, which means that a client can play the video during
all periods if it supports the decoders defined in IG1 or IG2. Similarly, IG3 consists of IS5 and IS6, so a
client supporting decoders defined by IS5 and IS6 can play the audio during all periods. And finally, since
IS9 @inAllPeriod is set to true, a client supporting IS9 can play the existing subtitle inall periods.

To playback the content as intended by the service provider, the MPD contains two Initialization
Presentations (IP) 1 and 2. IP1 defines a complete presentation that consists of audio and video (i.e. the
client has to support IG1 and IG3). IP2 adds the support for playback of subtitle IS9 to its presentation
requirements.

5.4Media Presentation Description updates

5.4.1 General

If MPD@type is set to 'dynamic', the MPD may be updated during the Media Presentation. Updates
typically extend the accessible Segment list for each Representation, introduce a new Period, update
Segment locations or terminate the Media Presentation.
When the MPD is updated
     — the updated MPD shall be made available as follows:
           at the same location as the original MPD, if no MPD.Location element is present in the
           original MPD,
           at all locations provided by the MPD.Location elements, if one or multiple MPD.Location
           elements are present in the original MPD;
     — the value of MPD@id, if present, shall be the same in the original and the updated MPD;

— the values of any Period@id attributes shall be the same in the original and the updated MPD,
  unless the containing Period element has been removed;

— the values of any AdaptationSet@id attributes shall be the same in the original and the updated
  MPD unless the containing Period element has been removed;

— any Representation with the same @id and within the same Period as a Representation appearing in
  the previous MPD shall provide functionally equivalent attributes and elements and shall provide
  functionally identical Segments with the same indices in the corresponding Representation in the
  new MPD.

If the attribute MPD@minimumUpdatePeriod is not present, no update to the MPD is expected, the
attribute MPD@mediaPresentationDuration or the Period@duration of the last Period shall be
present and the MPD shall remain valid until the Media Presentation end time.
If the attribute MPD@minimumUpdatePeriod is present, updates to the MPD are expected and
restricted in a sense that at the location where the MPD is available at a certain time, the MPD is also valid
for the duration of the value of the MPD@minimumUpdatePeriod attribute. Specifically, the following
shall hold.
If the i-th version of the MPD is the last version of MPD till the end of the Media Presentation, let Texp(i)
be the Media Presentation end time.




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Otherwise, let Texp(i) be the sum of the value of MPD@minimumUpdatePeriod and the wall-clock time
at which the i-th version of the MPD is updated [and replaced with the (i+1)-th version] at the location
where the MPD is available. The i-th MPD shall remain valid until Texp(i) in the following sense:
— all Segments with availability start time less than Texp(i) shall be available at their availability start
  times at the location advertised in the i-th MPD.

— all Representations have a Segment with an availability start time, Tavail, which is less than Texp(i)
  and with duration not less than [Texp(i)"Tavail].

      NOTE 1     The actual duration of this Segment is not known at the client until this Segment or the updated
      MPD is fetched and this Segment duration can be less than the previous Segment duration if it is the last
      Segment in the Period or if the Segment Timeline is in place.

      NOTE 2      It is possible that the clients do not know Texp(i), but they can each calculate a lower bound on
      Texp(i) by adding MPD@minimumUpdatePeriod to the wall-clock time at which they request the MPD.

      NOTE 3      The second condition above ensures that sufficient media is contained in each Representation to
      present the Media Presentation up to Texp(i) for a client that begins playing each Segment at the earliest
      possible time (its availability start time).

      NOTE 4      The result of the MPD validity requirement is that all items a client expects to be able to retrieve
      (both segments and MPD elements) are guaranteed to be available for retrieval during the periods that the
      client can expect them to be accessible.

      NOTE 5      An MPD can contain no Period element or only an early available Period can be provided. In this
      case, updates to the MPD are expected in order to provide the start time of the first Period, which coincides
      with the start of the actual Media Presentation.

      NOTE 6       An update of the MPD does not necessarily change the MPD but can only extend the validity of this
      MPD.

      NOTE 7      If the @minimumUpdatePeriod is set to 0, then as a consequence of NOTE 2, all segments with
      availability start time less than the request time of the MPD are available at the location advertised in the MPD.

5.4.2 MPD Reset

In certain cases, the DASH server may fail to produce an MPD update and may have to reset the entire
content on the server, but still offer the MPD at the same URL as part of an MPD update. Whereas such an
update may be inconsistent with the rules in subclause 5.4.1, it is expected that the client will continue
the service properly when such a reset occurs.
If the MPD author does such a reset, it shall signal the reset by providing either an Essential Descriptor
or     a   Supplemental      Descriptor     on    MPD       level   with     @schemeIdURI        set    to
urn:mpeg:dash:reset:2016. If this is signalled, the content author indicates that the MPD that
results from this update does not need to comply with MPD update rules in subclause 5.4.1. If an Essential
Descriptor is used, the DASH Client may terminate presentation, if the signal is not supported by the
client.
DASH Clients receiving such an MPD as part of an MPD update are expected to continue using the previous
MPD as long as possible, but at most up to the time expressed by the sum of the availability start time and
the Period start time of the new MPD. At this time, the new MPD is expected to be used for playout. Should
the client not have available any media data until the updated MPD can be used for playout, it is expected
that the DASH Client conceals the gap in media time appropriately.
The updated MPD may be valid upon reception of the MPD including the reset signal, if the sum of the
availability start time and the Period start time of the new MPD is less than the current MPD presentation



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time. In this case, a DASH Client may cancel decoding and presentation of media data from the previous
MPD overlapping the updated one.
5.5MPD assembly

5.5.1 General

A mechanism for referencing a remote element entity from within a local MPD is defined. A subset of W3C
XLINK simple links is defined consisting of
— restricted syntax and semantics as specified in subclause 5.5.2, and

— the processing model as specified in subclause 5.5.3.

If the MPD is updated, then the rules in subclause 5.3 apply to the MPD after dereferencing all remote
element entities.
5.5.2 Syntax and semantics

Table 27 provides the XLINK attributes that are used in this document and shall be supported
accordingly.

                               Table 27 — XLINK attributes used in this document

        Attribute                                                 Comments and Usage
 @xlink:type                  Identifies the type of W3C XLINK being used.
                              In the context of this document, all references shall be W3C XLINK simple links. The
                              attribute @xlink:type is optional with fixed setting @xlink:type="simple".
 @xlink:href                  references the remote element entity by a URI as defined in IETF RFC 3986.
                              In the context of this document, such URIs shall exclusively be HTTP-URLs.
                              For example, cookies as defined in IETF RFC 6265 may be used in order to enable
                              targeted resolution of the same HTTP-URL provided in this attribute. Detailed
                              requirements on the support and usage of such technologies are outside the scope
                              of this document.
 @xlink:show                  Defines the desired behaviour of the remote element entity once dereferenced from
                              within an MPD as defined in W3C XLINK.
                              In the context of this document, the attribute @xlink:show is optional with fixed
                              setting @xlink:show="embed".
                              NOTE In W3C XLINK, the behaviour of conforming XLink applications when
                              embedding as a remote element entity is not defined. Thus, the actual behaviour for
                              this document is defined in subclause 5.5.3.




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        Attribute                                                  Comments and Usage
 @xlink:actuate               Defines the desired timing of dereferencing a remote element entity from within an
                              MPD as defined in W3C XLINK. In the context of this document, the attribute values
                              shall only take one of the following:
                              1) onLoad: an application should dereference the remote element entity
                                   immediately on loading the MPD. The remote element entity shall not contain
                                   another @xlink:href with @xlink:actuate set to onLoad.

                              2)    onRequest (default): according to W3C Xlink, an application should
                                    dereference the remote element entity only on a post-loading event triggered
                                    for the purpose of dereferencing. In the context of this document, the
                                    application dereferences the link only for those resources it needs (or
                                    anticipates it probably will need) and at the time when it needs the content of
                                    the remote element entity for playout. Examples include dereferencing a link
                                    in a Period element when the play-time is expected to enter that Period,
                                    dereferencing an Adaptation Set link when it appears to contain
                                    Representations that will be needed, and so on.

5.5.3 Processing

The following rules apply to the processing of URI references within @xlink:href:
1) URI references to remote element entities that cannot be resolved shall be treated as invalid
   references and invalidate the URI and all @xlink attributes included in the element containing
   @xlink:href shall be removed.

2) URI references to remote element entities that are inappropriate targets for the given reference shall
   be treated as invalid references (see below for the appropriate targets) and invalidate the URI and
   all @xlink attributes included in the element containing @xlink:href shall be removed.

3) URI references to remote element entities that contain another @xlink:href attribute with
   xlink:actuate set to onLoad are invalid circular references and invalidate the URI. In this case,
   all @xlink attributes included in the element containing @xlink:href shall be removed.

4) The xlink:href may contain a URN as urn:mpeg:dash:resolve-to-zero:2013. If this
   value is present, the element containing the xlink:href attribute and all @xlink attributes
   included in the element containing @xlink:href shall be removed at the time when the resolution
   is due.

5) If a URI reference is relative then reference resolution as defined in subclause 5.6.4 shall apply.

The remote element entity referenced with @xlink:href within an element of the MPD (referred to as
MPD element) shall be formatted according to the following rules:
1) Only a single top-level element type of the same type as the MPD element shall be obtained from a
   remote element entity. However, multiple top-level elements of the same type may be obtained from
   a remote element entity unless explicitly restricted. All these elements shall have the same type as
   the element of the MPD containing xlink. If multiple top-level elements are obtained from the remote
   element entity, the elements shall be in appropriate order and the first element shall replace the
   element of the MPD containing the xlink. All additional top-level elements shall be inserted
   immediately after this element in the order in which they appear.

      NOTE      The remote element entity can be a non-valid XML document, when containing multiple top-level
      elements.



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2) The remote element entity may contain another @xlink:href attribute with @xlink:actuate
   set to onRequest. In this case, the resolution to the referenced remote element entity is expected
   to happen only when the latter is needed again after processing the content in the returned
   document.

The remote element entity referenced from within an MPD (referred to as appropriate targets) shall be
embedded into the MPD by applying the following rules:
1) If the remote element entity is empty, all @xlink attributes shall be removed from the element in
   the MPD and the remaining attributes and child elements shall not be changed.

2) If the remote element entity is non-empty, the original element in the MPD that contains
   @xlink:href shall be replaced with the content in the remote element entity. If multiple top-level
   elements are obtained from the remote element entity, the elements shall be in appropriate order
   and the first element shall replace the MPD element. All other top-level elements shall be inserted
   immediately after this element in the order in which they are declared.

3) All XLINK attributes initially present in the MPD shall be removed after dereferencing is completed.

4) All resources in the remote element entity referenced by @xlink:href shall have an availability
   end time as specified by MPD@availabilityEndTime.

5.6Base URL Processing

5.6.1 Overview

The BaseURL element may be used to specify one or more common locations for Segments and other
resources. Reference resolution as defined in subclause 5.6.4 shall be applied to each URL in the MPD.
Handling of multiple alternative base URLs is addressed in subclause 5.6.5.
The semantics of the attributes and elements for the Base URL are provided in 5.6.2, Table 28. The XML
syntax of the Base URL is provided in subclause 5.6.3.
5.6.2 Semantics

                                     Table 28 — Semantics of BaseURL element

      Element or Attribute Name                      Use                                   Description
     BaseURL                                                      A URL that can be used as Base URL. The content of
                                                                  this element is a URI string as described in subclause
                                                                  5.6.4.
        @serviceLocation                               O          This attribute specifies a relationship between Base
                                                                  URLs such that BaseURL elements with the same
                                                                  @serviceLocation value are likely to have their
                                                                  URLs resolve to services at a common network
                                                                  location, for example a common Content Delivery
                                                                  Network.
                                                                  If not present, no relationship to any other Base URL is
                                                                  known.




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       Element or Attribute Name                      Use                                    Description
        @byteRange                                      O          If present, specifies HTTP partial GET requests may
                                                                   alternatively be issued by adding the byte range into a
                                                                   regular HTTP-URL based on the value of this attribute
                                                                   and the construction rules in E.2.
                                                                   If not present, HTTP partial GET requests may not be
                                                                   converted into regular GET requests.
                                                                   NOTE Such alternative requests are expected to not be
                                                                   used unless the DASH application requires this. For
                                                                   more details, refer to Annex E.
        @availabilityTimeOffse                          O          specifies an offset to define the adjusted segment
        t                                                          availability time. For semantics, refer to Table 13.
                                                                   If the value is present in SegmentBase then this
                                                                   attribute is additive to the one in SegmentBase. For
                                                                   details on processing, refer to 5.3.9.5.3.
        @availabilityTimeCompl                          O          specifies if all Segments of all associated
        ete                                                        Representation are complete at the adjusted
                                                                   availability start time. For semantics, refer to Table 13.
                                                                   If the value is present in SegmentBase then this
                                                                   attribute should not be present. If present in
                                                                   SegmentBase and BaseURL, the value in BaseURL
                                                                   shall be ignored.
        @timeShiftBufferDepth                           O          specifies the duration of the smallest time shifting
                                                                   buffer for any Representation in the MPD that is
                                                                   guaranteed to be available for a Media Presentation
                                                                   with type 'dynamic'.
                                                                   This value overrides MPD@timeShiftBufferDepth for
                                                                   the resources that use this BaseURL.
                                                                   This value of the attribute is undefined if the
                                                                   MPD@type attribute is equal to 'static'.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.6.3 XML syntax

 <!-- Base URL -->
 <xs:complexType name="BaseURLType">
       <xs:simpleContent>
           <xs:extension base="xs:anyURI">
                 <xs:attribute name="serviceLocation" type="xs:string"/>
                 <xs:attribute name="byteRange" type="xs:string"/>
                 <xs:attribute name="availabilityTimeOffset" type="xs:double"/>
                 <xs:attribute name="availabilityTimeComplete" type="xs:boolean"/>
                 <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>




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                  <xs:anyAttribute namespace="##other" processContents="lax"/>
            </xs:extension>
       </xs:simpleContent>
 </xs:complexType>
5.6.4 Reference resolution

URLs at each level of the MPD are resolved according to IETF RFC 3986 with respect to the BaseURL
element specified at that level of the document or the level above in the case of resolving base URLs
themselves (the document "base URI" as defined in IETF RFC 3986:2005, subclause 5.1 is considered to
be the level above the MPD level). If only relative URLs are specified and the document base URI cannot
be established according to IETF RFC 3986 then the MPD should not be interpreted. URL resolution
applies to all URLs found in MPD documents.
In addition to the document level (the level above the MPD level), base URL information may be present
on the following levels:
— On MPD level in MPD.BaseURL element. For details, refer to subclause 5.3.1.2.

— On Period level in Period.BaseURL element. For details, refer to subclause 5.3.2.2.

— On Adaptation Set level in AdaptationSet.BaseURL element. For details, refer to subclause
  5.3.3.2.

— On Representation level in Representation.BaseURL. For details, refer to subclause 5.3.5.2.

When a BaseURL element is present on the same level in the MPD as an actual URL, resolution of the
actual URL includes the value of the BaseURL.

     NOTE URL resolution is defined in IETF RFC 3986:2005, section 5.2 and is not a simple
     concatenation. In particular, when a URL in the MPD is specified as a relative URLs, then as per IETF
     RFC 3986 for the URL resulting from resolving the value of the BaseURL element, all characters
     following the last ‘/’ part of its path part are replaced by the value of the actual URL attribute.

5.6.5 Alternative base URLs

If alternative base URLs are provided through the BaseURL element at any level, identical Segments shall
be accessible at multiple locations. In the absence of other criteria, the DASH Client may use the first
BaseURL element as "base URI". The DASH Client may use base URLs provided in the BaseURL element
as "base URI" and may implement any suitable algorithm to determine which URLs it uses for requests.
If a BaseURL element containing an absolute URL is present on any level, it overwrites any BaseURL
information present on a higher level.
5.7Program information

5.7.1 Overview

Descriptive information on the program may be provided for a Media Presentation within the
ProgramInformation element.
When multiple ProgramInformation elements are present, the @lang attribute shall be present and
each element shall describe the Media Presentation sufficiently in the language defined by the value of
the @lang attribute.



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For each language, the program information may specify title, source of the program, copyright
information, and a URL to more information.
The semantics of the attributes within the ProgramInformation element are provided in subclause
5.7.2, Table 29. The XML syntax of ProgramInformation element is provided in subclause 5.7.3.
5.7.2 Semantics

                                    Table 29 — Program information semantics

      Element or Attribute Name                      Use                                      Description
      ProgramInformation                                           specifies descriptive information about the program
       @lang                                           O           Declares the language code(s) for this Program
                                                                   Information. The syntax and semantics according to
                                                                   IETF RFC 5646 shall be applied.
                                                                   If not present, the value is unknown.
       @moreInformationURL                             O           If provided, this attribute specifies an absolute URL
                                                                   which provides more information about the Media
                                                                   Presentation.
                                                                   If not present, the value is unknown.
       Title                                         0 ... 1       specifies the title for the Media Presentation.
       Source                                        0 ... 1       specifies information about the original source (for
                                                                   example content provider) of the Media Presentation.
       Copyright                                     0 ... 1       specifies a copyright statement for the Media
                                                                   Presentation, usually starting with the copyright
                                                                   symbol, unicode U+00A9.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.
5.7.3 XML syntax

 <!-- Program Information -->
 <xs:complexType name="ProgramInformationType">
       <xs:sequence>
           <xs:element name="Title" type="xs:string" minOccurs="0"/>
           <xs:element name="Source" type="xs:string" minOccurs="0"/>
           <xs:element name="Copyright" type="xs:string" minOccurs="0"/>
           <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="lang" type="xs:language"/>
       <xs:attribute name="moreInformationURL" type="xs:anyURI"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>




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5.8Descriptors

5.8.1 General

The descriptor elements are all structured in the same way, namely they contain a @schemeIdUri
attribute that provides a URI to identify the scheme and an optional attribute @value and an optional
attribute @id. The semantics of the element are specific to the scheme employed. The URI identifying the
scheme may be a URN or a URL.
In this document, specific elements for descriptors are defined in subclause 5.8.4.
The MPD does not provide any specific information on how to use these elements. It is up to the
application that employs DASH formats to instantiate the description elements with appropriate scheme
information. However, this document defines some specific schemes in subclause 5.8.5.
DASH applications that use one of these elements must first define a Scheme Identifier in the form of a
URI and must then define the value space for the element when that Scheme Identifier is used. The
Scheme Identifier appears in the @schemeIdUri attribute.
In the case that a simple set of enumerated values is required, a text string may be defined for each value
and this string must be included in the @value attribute. If structured data is required then any extension
element or attribute may be defined in a separate namespace.
The @id value may be used to refer to a unique descriptor or to a group of descriptors. In the latter case,
descriptors with identical values for the attribute @id shall be synonymous, i.e. the processing of one of
the descriptors with an identical value for @id is sufficient.
Two elements of type DescriptorType are equivalent, if the element name, the value of the
@schemeIdUri and the value of the @value attribute are equivalent. If the @schemeIdUri is a URN,
then equivalence shall refer to lexical equivalence as defined in IETF RFC 8141:2017, Clause 3. If the
@schemeIdUri is a URL, then equivalence shall refer to equality on a character-for-character basis as
defined in IETF RFC 3986:2005, subclause 6.2.1. If the @value attribute is not present, equivalence is
determined by the equivalence for @schemeIdUri only. Attributes and element in extension
namespaces are not used for determining equivalence. The @id attribute may be ignored for equivalence
determination.
The semantics of the attributes within an element of the type DescriptorType are provided in
subclause 5.8.2, Table 30. The XML schema definition of DescriptorType is provided in subclause 0.
The specific descriptors follow these syntax and semantics.
5.8.2 Semantics of generic descriptor

                         Table 30 — Semantics of elements of type DescriptorType

      Element or Attribute Name                      Use                                    Description
           Element of type                                        specifies a descriptor.
           DescriptorType
               @schemeIdUri                           M           specifies a URI to identify the scheme. The semantics of
                                                                  this element are specific to the scheme specified by this
                                                                  attribute. The @schemeIdUri may be a URN or URL.
                                                                  When a URL is used, it should also contain a month-date
                                                                  in the form mmyyyy; the assignment of the URL must
                                                                  have been authorized by the owner of the domain name
                                                                  in that URL on or very close to that date, to avoid
                                                                  problems when domain names change ownership.




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      Element or Attribute Name                        Use                                     Description
               @value                                   O            specifies the value for the descriptor element. The value
                                                                     space and semantics must be defined by the owners of
                                                                     the scheme identified in the @schemeIdUri attribute.
               @id                                      O            specifies an identifier for the descriptor. Descriptors
                                                                     with identical values for this attribute shall be
                                                                     synonymous, i.e. the processing of one of the
                                                                     descriptors with an identical value is sufficient.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.



5.8.3     XML syntax of generic descriptor

 <!-- Descriptor -->
 <xs:complexType name="DescriptorType">
        <xs:sequence>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="schemeIdUri" type="xs:anyURI" use="required"/>
        <xs:attribute name="value" type="xs:string"/>
        <xs:attribute name="id" type="xs:string"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
5.8.4 Specific descriptors

5.8.4.1 Content protection

For the element ContentProtection, the @schemeIdUri attribute is used to identify a content
protection descriptor scheme.
The ContentProtection descriptors should provide sufficient information, possibly in conjunction
with the @value and/or extension attributes and elements, such as the DRM system(s), encryption
algorithm(s), and key distribution scheme(s) employed, to enable a client to determine whether it can
possibly play the protected content. The ContentProtection element can be extended in a separate
namespace to provide information specific to a content protection scheme (e.g. particular key
management systems or encryption methods).
When no ContentProtection element is present, the content shall not be encrypted.
When multiple ContentProtection elements are present with different SystemID values, each
element shall describe a key management and protection scheme that is sufficient to access and present
the Representation.




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5.8.4.2 Role

For the element Role, the @schemeIdUri attribute is used to identify the role scheme employed to
identify the role of the media content component. Roles define and describe characteristics and/or
structural functions of media content components.
One Adaptation Set or one media content component may have assigned multiple roles even within the
same scheme.
This document defines a simple role scheme in subclause 5.8.5.5.
In addition, this document defines other roles schemes to support signalling for multiple view signals in
subclause 5.8.5.6.
5.8.4.3 Accessibility

For the element Accessibility, the @schemeIdUri attribute is used to identify the accessibility
scheme employed. Accessibility is a general term used to describe the degree to which the DASH Media
Presentation is available to as many people as possible.
NOTE      Accessibility elements fulfil a very similar purpose with respect to media content components as
for Role elements but are specifically intended for accessibility.

One Adaptation Set or one media content component may have assigned multiple accessibility purposes
even within the same scheme.
This document does not define a specific accessibility scheme, but the simple role scheme in subclause
5.8.5.5 may be used to express a minimum amount of accessibility information.
5.8.4.4 Rating

For the element Rating, the @schemeIdUri attribute is used to identify the rating scheme employed.
Ratings specify that content is suitable for presentation to audiences for which that rating is known to be
appropriate, or for unrestricted audiences.
NOTE       If an audience has a rating restriction, it is intended that content that has associated ratings is not
presented to that audience, unless at least one scheme is recognized and the rating value indicates that the content
is appropriate to that audience.

This document does not define a rating scheme.
5.8.4.5 Viewpoint

For the element Viewpoint, the @schemeIdUri attribute is used to identify the viewpoint scheme
employed.
Adaptation Sets containing non-equivalent Viewpoint element values contain different media content
components. The Viewpoint elements may equally be applied to media content types that are not video.
Adaptation Sets with equivalent Viewpoint element values are intended to be presented together. This
handling should be applied equally for recognized and unrecognized @schemeIdUri values.
This document does not define a viewpoint scheme.
5.8.4.6 Frame-packing

For the element FramePacking, the @schemeIdUri attribute is used to identify the frame-packing
configuration scheme employed.
Multiple FramePacking elements may be present. If so, each element shall contain sufficient


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information to select or reject the described Representations.
NOTE       If the scheme or the value for all FramePacking elements are not recognized, the DASH Client is
expected to ignore the described Representations. A client can reject the Adaptation Set on the basis of observing a
FramePacking element.

The descriptor may carry frame-packing schemes using the URN label and values defined for
VideoFramePackingType in ISO/IEC 23091-3.
This document also defines frame-packing schemes in subclause 5.8.5.6. These schemes are maintained
for backward-compatibility, but it recommended to use the signalling as defined in ISO/IEC 23091-3.
5.8.4.7 Audio channel configuration

For the element AudioChannelConfiguration, the @schemeIdUri attribute is used to identify the
audio channel configuration scheme employed.
Multiple AudioChannelConfiguration elements may be present indicating that the Representation
supports multiple audio channel configurations. For example, it may describe a Representation that
includes MPEG Surround audio supporting stereo and multichannel.
NOTE 1      If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore the
descriptor.

The descriptor may carry audio channel configuration using the URN label and values defined for
ChannelConfiguration in ISO/IEC 23091-3.
NOTE 2    In addition, a scheme for audio channel configuration is also defined in subclause 5.8.5.4. This scheme is
maintained for backward-compatibility, but it is preferable to use the signalling as defined in ISO/IEC 23091-3.

5.8.4.8 Essential Property Descriptor

For the element EssentialProperty, the Media Presentation author expresses that the successful
processing of the descriptor is essential to properly use the information in the parent element that
contains this descriptor unless the element shares the same @id with another EssentialProperty
element.
If EssentialProperty elements share the same @id, then processing one of the
EssentialProperty elements with the same value for @id is sufficient. At least one
EssentialProperty element of each distinct @id value is expected to be processed.
NOTE 1     If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore the
parent element that contains the descriptor.

Multiple EssentialProperty elements with the same value for @id and with different values for
@id may be present.
If one or more EssentialProperty elements sharing the same @id appear at the MPD level, this
means that successful processing of at least one of these descriptors is essential to properly access and/or
present the content described by this MPD.
NOTE 2     In the case when none of the EssentialProperty elements sharing the same @id can be
successfully processed, the DASH Client is expected to terminate the media presentation.

The removal of an EssentialProperty descriptor in an MPD shall not change the conformance of this MPD
to its associated schema and profile.




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5.8.4.9 Supplemental Property Descriptor

For the element SupplementalProperty, the Media Presentation author expresses that the
descriptor contains supplemental information that may be used by the DASH Client for optimized
processing.
NOTE        If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore the
descriptor.

Multiple SupplementalProperty elements may be present.
5.8.4.10 Asset Identifier

The AssetIdentifier is used to identify the asset on Period level. If two different Periods contain
equivalent Asset Identifiers then the content in the two Periods belongs to the same asset.
NOTE         If the scheme or the value for this descriptor is not recognized, the AssetIdentifier element can
still be used to understand the equivalence of Asset Identifiers across Periods. Processing of the descriptor scheme
and value by the DASH Client is not essential for normal operation.

5.8.4.11 UTC Timing Descriptor

Using the UTCTiming element, the Media Presentation author provides additional information for the
client to optionally obtain wall-clock time to be used in Media Presentation. If multiple schemes are
specified by the Media Presentation author, their order indicates their relative preference, first having
the highest, and the last having the least priority. However, the client may choose any method, potentially
having to deal with reduced accuracy.
The value of the @schemeIdURI for this descriptor shall be restricted to one of the identifiers
documented in the first column "@schemeIdURI" in subclause 5.8.5.7, Table 32.
5.8.5 Specific scheme definitions

5.8.5.1 General

The definition of specific schemes (both syntax and semantics) to be used in any of the descriptor
elements requires the definition of the URI by the authors to link the content description to the Media
Presentation. In subclause 5.8.5, some schemes and scheme identifiers are defined to enable usage of
existing code points in combination with this document as well as to provide simple means to support
different functionalities.
5.8.5.2 Content protection

The following defines a set of URIs that identify specific content protection schemes, i.e. schemes
contained in the ContentProtection element:
— For Representations based on ISO/IEC 14496-12, the following URI is defined to indicate protection
  schemes identified by the Scheme Type within the Scheme Type Box of the Protection Scheme
  Information Box of the file:

     urn:mpeg:dash:mp4protection:2011

In this scheme, the value of the @value attribute shall be the 4CC contained in the Scheme Type Box,
suitably percent-encoded according to IETF RFC 8141, and may include the version number. The 4CC and
the version number, if present, shall be separated by a “:”. The version number shall be encoded as up to
8 hexadecimal digits, where the leading '0's may be omitted.



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— For Representations based on ISO/IEC 13818-1 (MPEG-2 Transport Stream), the following URI is
  defined to indicate the Conditional Access System used:

      urn:mpeg:dash:13818:1:CA_descriptor:2011

In this scheme, the value of the @value attribute shall be the 4-digit lower-case hexadecimal
Representation of the 16-bit CA_system_ID from the CA_descriptor as defined in ISO/IEC 13818-1.
— For Representations based on ISO/IEC 14496-12, a content protection scheme using the Protection
  System Specific Header Box defined in ISO/IEC 23001-7 may be identified in the
  ContentProtection element. In this case, a UUID URN as defined in IETF RFC 4122 indicating the
  UUID specified in the SystemId field of the Protection System Specific Header Box shall be used. This
  does not imply that such schemes cannot define alternative URNs, or that all UUID URNs refer to
  schemes of this type.

The syntax for the value field of the content protection descriptors shall follow the MP4-PROTECTION-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:
           MP4-PROTECTION-VALUE = VERSIONED-4CC


           VERSIONED-4CC = CCCC [ CCCC-VERSION ]
           CCCC = ALPHA ALPHA ALPHA ALPHA
           CCCC-VERSION = ":" 1*8HEX


           CA-DESCRIPTOR-VALUE = LHEX LHEX LHEX LHEX


           LHEX = DIGIT / "a" / "b" / "c" / "d" / "e" / "f"
5.8.5.3 Frame-packing

The following defines a set of URIs that identify specific frame-packing arrangements, i.e. schemes
contained in the FramePacking element:
— For Adaptation Sets or Representations that contain a video component that conforms to
  ISO/IEC 14496-10[19],                              the                             URI
  urn:mpeg:dash:14496:10:frame_packing_arrangement_type:2011 is defined. The
  @value shall be value as defined for VideoFramePackingType in ISO/IEC 23091-3.

— For Adaptation Sets or Representations that contain a video component that conforms to
  ISO/IEC 13818-1, the URI urn:mpeg:dash:13818:1:stereo_video_format_type:2011
  is defined. The @value shall be value as defined for VideoFramePackingType in ISO/IEC 23091-
  3.

The syntax for the value field of the frame packing descriptors shall follow the FRAME-PACKING-
ARRANGEMENT-TYPE-VALUE as defined in the following ABNF notation according to IETF RFC 5234:




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             FRAME-PACKING-ARRANGEMENT-TYPE-VALUE = VIDEO-FRAME-
             PACKING-TYPE


             STEREO-VIDEO-FORMAT-TYPE = VIDEO-FRAME-PACKING-TYPE


             VIDEO-FRAME-PACKING-TYPE = 1*2DIGIT
5.8.5.4 Audio channel configuration schemes

The following defines a URI that identifies channel configuration signalling for Representations that
contain             an              audio              component.                The             URI
"urn:mpeg:dash:23003:3:audio_channel_configuration:2011" is defined to indicate the
channel configuration as defined by Table 68 (Channel Configurations, meaning of
channelConfigurationIndex, mapping of channel elements to loudspeaker positions') of
ISO/IEC 23003-3. The @value shall be the value as defined for ChannelConfiguration in ISO/IEC
23091-3.
The URN "urn:mpeg:dash:outputChannelPositionList:2012" defines a list of output
channel positions to signal individual speaker positions. The @value shall be a space-delimited list of
values as defined of the OutputChannelPosition as defined in ISO/IEC 23091-3. For example, the
@value for the subclause 7.1 channel configuration 2 high as 2/0/0, 5 mid as 3/0/2 and 0.1 low, where
a/b/c indicates speaker count in front, side and back, respectively and 0.1 indicates a subwoofer channel),
is "2 0 1 4 5 3 17 18".
5.8.5.5 DASH role scheme

The URN "urn:mpeg:dash:role:2011" is defined to identify the role scheme defined in Table 31.
Role@value shall be assigned to Adaptation Sets that contain a media component type to which this
role is associated.

   Table 31 — Role@value attribute for scheme with a value "urn:mpeg:dash:role:2011"

          Role@value                                             Description                                  Applicable Media
                                                                                                                  Type(s)
                                                                                                               (Informative)
 caption                              Captions (see NOTE 3 below).                                           video, text
 subtitle                             Subtitles (see NOTE 3 below).                                          video, text
 Main                                 Main media component(s) which is/are intended for                      any
                                      presentation if no other information is provided.
 alternate                            Media content component(s) that is/are an alternative to               any
                                      (a) main media content component(s) of the same media
                                      component type (see NOTE 2 below).
 supplementary                        Media content component that is supplementary to a                     any
                                      media content component of a different media component
                                      type (see NOTE 1 below).
 commentary                           Experience that contains a commentary (e.g. director's                 audio, text
                                      commentary) (typically audio).
 dub                                  Experience that contains an element that is presented in a             audio, text
                                      different language from the original (e.g. dubbed audio,
                                      translated captions).



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         Role@value                                               Description                                    Applicable Media
                                                                                                                     Type(s)
                                                                                                                  (Informative)
 description                          Textual or audio media component containing a textual                      audio, text
                                      description (intended for audio synthesis) or an audio
                                      description describing a visual component.
 sign                                 Visual media component representing a sign-language                        video
                                      interpretation of an audio component.
 metadata                             Media component containing information intended to be                      text,
                                      processed by application specific elements.                                application
 enhanced-audio-                      Experience containing an element for improved                              audio
 intelligibility                      intelligibility of the dialogue.
 emergency                            Experience that provides information, about a current                      any
                                      emergency, that is intended to enable the protection of
                                      life, health, safety, and property, and may also include
                                      critical details regarding the emergency and how to
                                      respond to the emergency.
 forced-subtitle                      Textual information meant for display when no other text                   text
                                      representation is selected. It is used to clarify dialogue,
                                      alternate languages, texted graphics or location/person IDs
                                      that are not otherwise covered in the dubbed/localized
                                      audio.
 easyreader                           Simplified or reduced captions as specified in [United States              text, video
                                      Code Title 47 CFR 79.103(c)(9)].
 karaoke                              Textual representation of a songs’ lyrics, usually in the same             any
                                      language as the associated song as specified in [SMPTE ST
                                      2067-2].
 NOTE 1 A normal audio/video program labels both the primary audio and video as
 "main". However, when the two media component types are not equally important, for
 example (a) video providing a pleasant visual experience to accompany a music track
 that is the primary content or (b) ambient audio accompanying a video showing a live
 scene such as a sports event, that is the primary content, the accompanying media can be
 assigned a "supplementary" role.
 NOTE 2 Alternate media content components are expected to carry other descriptors to
 indicate in what way it differs from the main media content components (e.g. a Viewpoint
 descriptor or a Role descriptor), especially when multiple alternate media content
 components including multiple supplementary media content components are available.
 NOTE 3 Open ("burned in") captions or subtitles would be marked as media type
 component "video" only, but having a descriptor saying “caption” or “subtitle”.
 NOTE 4 Role descriptors with values such as "subtitle", "caption", "description", "sign"
 or "metadata" may be used to enable assignment of a "kind" value in HTML 5 applications
 for tracks exposed from a DASH MPD.


The syntax for the value field of the role descriptor shall follow the ROLE-VALUE as defined in the
following ABNF notation according to IETF RFC 5234:




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          ROLE-VALUE = "caption" / "subtitle" / "main" / "alternate" /
          "supplementary"
          ROLE-VALUE =/ "commentary"/ "dub" / "description" / "sign" /
          "metadata"
          ROLE-VALUE =/ "enhanced-audio-intelligibility" / "emergency"
          ROLE-VALUE =/ "forced-subtitle" / "easyreader" / "karaoke"
5.8.5.6 DASH Multiple views scheme

This scheme is defined for multiple views media content description.
This scheme may be used with the Role descriptor applied to a ContentComponent element of type
video or to an AdaptationSet element. If this scheme is applied to an AdaptationSet element
containing multiple views, each media content component of type video shall have a
ContentComponent element that contains the Role descriptor using this scheme. A Role element of
this scheme is used to indicate which views amongst the views comprising multiple presentable stereo
pairs the contained media content component or components represent. If N views are available that can
be combined into M valid stereo pairs, the Role with @schemeIdURI equal to
"urn:mpeg:dash:stereoid:2011" signals which views form a stereo pair and which one is the left
view and which one is the right view of each stereo pair. The @value of the Role element shall contain a
space-delimited list of view indicators 'li' or 'rj' where i, j are non-negative decimal integers. A stereo pair
i (0 <= i < M) is formed by using a view whose Role element includes the view indicator 'li' as the left
view and a view whose Role element contains the view indicator 'ri' as the right view. Within the
@value attribute, view indicators shall be ordered with all left view indictors preceding all right view
indicators and within each group in ascending order of view index.
The syntax for the value field of the role descriptor shall follow the STEROID-VALUE as defined in the
following ABNF notation according to IETF RFC 5234:
          STEROID-VALUE = LEFT-VIEW-INDICATOR *[ SP LEFT-VIEW-INDICATOR
          ] RIGHT-VIEW-INDICATOR *[ SP RIGHT-VIEW-INDICATOR ]


          LEFT-VIEW-INDICATOR = "l" DECIMAL_DIGITS
          RIGHT-VIEW-INDICATOR = "r" DECIMAL_DIGITS


          DECIMAL_DIGITS = 1*DIGIT
5.8.5.7 DASH UTC Timing Schemes

This document defines several methods, specified in Table 32, by which DASH Clients can obtain wall-
clock times as used by the Media Presentation. Specifically, this clock is synchronized to the one used to
generate the MPD.




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                                    Table 32 — Different UTC timing Methods
               @schemeIdURI                                                             Description
 urn:mpeg:dash:utc:ntp:2014                              The identifier indicates that the @value contains a white
                                                         space separated list of servers that are recommended to be
                                                         used in combination with the NTP protocol as defined in
                                                         IETF RFC 5905 for getting the appropriate time.
                                                         NOTE Multiple servers can be used to improve accuracy.
                                                         Use of NTP servers not specified in the @value attribute is
                                                         allowed.
                                                         For exact syntax of the value of the @value attribute, see
                                                         below.
 urn:mpeg:dash:utc:sntp:2014                             The identifier indicates that the @value contains a white
                                                         space separated list of servers that are recommended to be
                                                         used in combination with the SNTP protocol as defined in
                                                         IETF RFC 5905 for getting the appropriate time.
                                                         For exact syntax of the value of the @value attribute, see
                                                         below.
 urn:mpeg:dash:utc:http-head:2014                        The identifier indicates that the @value contains a white
                                                         space separated list of HTTP URLs that are recommended to be
                                                         used in combination with the HTTP protocol as defined in
                                                         IETF RFC 7230 for getting the appropriate time.
                                                         The value of the @value attribute contains a white space
                                                         separated list of HTTP URLs to which HTTP HEAD requests can
                                                         be made to obtain the Date information in the HTTP Header
                                                         providing the wall-clock time for this Media Presentation.
                                                         For exact syntax of the value of the @value attribute, see
                                                         below.
 urn:mpeg:dash:utc:http-                                 The identifier indicates that the @value contains a white
 xsdate:2014                                             space separated list of HTTP URLs that are recommended to be
                                                         used in combination with the HTTP protocol as defined in
                                                         IETF RFC 7230 for getting the appropriate time.
                                                         The value of the @value attribute contains a white space
                                                         separated list of HTTP URLs to which HTTP GET requests can
                                                         be made to obtain the timing information. The timing
                                                         information is contained in the message body of the HTTP
                                                         response to the above HTTP GET request and contains time
                                                         value formatted according to xs:dateTime as defined in W3C
                                                         XML Schema Part 2: Datatypes specification. This value is
                                                         based on a wall clock synchronized to the one used to generate
                                                         the MPD.
                                                         For exact syntax of the value of the @value attribute, see
                                                         below.




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                  @schemeIdURI                                                         Description
 urn:mpeg:dash:utc:http-iso:2014                          The identifier indicates that the @value contains a white
                                                          space separated list of HTTP URLs that are recommended to be
                                                          used in combination with the HTTP protocol as defined in
                                                          IETF RFC 7230 for getting the appropriate time.
                                                          The value of the @value attribute contains a white space
                                                          separated list of HTTP URLs to which HTTP GET requests can
                                                          be made to obtain the timing information. The timing
                                                          information is contained in the message body of the HTTP
                                                          response to the above HTTP GET request and contains time
                                                          value formatted according to ISO time code as defined in
                                                          ISO/IEC 8601. This value is based on a wall clock synchronized
                                                          to the one used to generate the MPD.
                                                          For exact syntax of the value of the @value attribute, see
                                                          below.
 urn:mpeg:dash:utc:http-ntp:2014                          The identifier indicates that the @value contains a white
                                                          space separated list of HTTP URLs that are recommended to be
                                                          used in combination with the HTTP protocol as defined in
                                                          IETF RFC 7230 for getting the appropriate time.
                                                          The value of the @value attribute contains a white space
                                                          separated list of HTTP URLs to which HTTP GET requests can
                                                          be made to obtain the timing information. The timing
                                                          information is contained in the message body of the HTTP
                                                          response to the above HTTP GET request and contains time
                                                          value formatted according to formatted according to NTP
                                                          timestamp format in IETF RFC 5905. This value is based on a
                                                          wall clock synchronized to the one used to generate the MPD.
                                                          For exact syntax of the value of the @value attribute, see
                                                          below.
 urn:mpeg:dash:utc:direct:2014                            The identifier indicates that the @value field, contains a time
                                                          formatted according to xs:dateTime as defined in W3C XML
                                                          Schema Part 2: Datatypes specification. This value is based on
                                                          a wall clock synchronized to the one used to generate the MPD.
                                                          For exact syntax of the value of the @value attribute, see
                                                          below.
The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:ntp:2014" or set to "urn:mpeg:dash:utc:sntp:2014" shall follow
the NTP-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
          NTP-VALUE = TIME-SERVER *[ WS TIME-SERVER ]
          TIME-SERVER = host [ ":" port ] ; host and port are declared
          in IETF RFC 3896 and
                                                                     ; augmented IETF RFC 6874
The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:http-head:2014",            set   to    "urn:mpeg:dash:utc:http-
xsdate:2014”,        set     to   "urn:mpeg:dash:utc:http-iso:2014"       or     set   to
"urn:mpeg:dash:utc:ntp:2014" shall follow the HTTP-VALUE as defined in the following ABNF
notation according to IETF RFC 5234:




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       HTTP-VALUE = httpurl *[ WS httpurl ]                                     ; httpurl is defined in
       IETF RFC 1738
The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:direct:2014" shall follow the DIRECT-VALUE as defined in the following
ABNF notation according to IETF RFC 5234:
       DIRECT-VALUE = ["-"] 4DIGIT "-" 2DIGIT "-" 2DIGIT "T" 2DIGIT
       ":" 2DIGIT ":" 2DIGIT [ "Z" / ( "+" / "-") 2DIGIT ":" 2DIGIT
       ]
5.8.5.8 Audio Receiver Mix

This clause defines a scheme for use in EssentialProperty or SupplementaryProperty to
indicate that two audio Adaptation Sets need to be mixed by the media engine prior to playback.
The @schemeIdUri attribute identifying the scheme is urn:mpeg:dash:audio-receiver-
mix:2014.
The @value attribute shall contain the value of the AdaptationSet@id from an Adaptation Set with
content type audio attribute with which the current Adaptation Set needs to be mixed with in order to
provide complete audio experience.
An example of receiver mix is the case where a single audio Adaptation Set provides music and effects —
i.e. complete experience without dialogues, and one or more Adaptation Sets provide dialogues in
different languages. In this case, the dialogue Adaptation Sets depends on music and effects Adaptation
Set.
The mixing requirement is unidirectional — i.e. requirement of mixing Representation A with
Representation B when A is selected does not imply mixing the two is required if B is selected.
The syntax for the value field of the audio receiver mix descriptor shall follow the AUDIO-RECEIVER-
MIX-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
       AUDIO-RECEIVER_MIX-VALUE = ADAPTATION-SET-ID


       ADAPTATION-SET-ID = DECIMAL_DIGITS
       DECIMAL_DIGITS = 1*DIGIT
5.8.5.9 DASH MPD Adaptation Set Linking scheme

The URN "urn:mpeg:dash:mpd-as-linking:2015" is defined in order to provide information
that the same Adaptation Set can be found in another MPD. The scheme may be used with Essential
Property Descriptors together with an EmptyAdaptationSet element or with Supplemental Property
Descriptors. The value provides
— a URL to the MPD, including appropriate anchors for Periods and Adaptation Set as defined in C.4.2,
  and

— optionally, a timeline offset field to synchronize the data added as a white space separated second
  item. If the value is not present, then the media time on the original MPD and the linked MPD are
  identical. If a timeOffset field is added, then this value expresses the difference between the media
  time of the Adaptation Set of the linked MPD and the media time in the originating MPD. The number
  may be positive or negative. The timeoffset is in unit of @timescale of the linked Adaptation
  Sets.




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The Descriptor shall only be used in combination with Adaptation Sets (regular or empty ones). If all
information is contained in the Adaptation Set, then a Supplemental Descriptor or an Essential Descriptor
may be used. If the Adaptation Set does neither contain a Representation element, nor an @xlink
attribute, then an Empty Adaptation Set as well as an Essential Descriptor shall be used to indicate that
the Adaptation Set is not fully described in this MPD.
     NOTE        This scheme can be used for many use cases. However, one specific use case is the server-based
     mosaic channel as described in ISO/IEC TR 23009-3[20]. The use case can be fulfilled by the combination of the
     Spatial Relationship Description (SRD) as defined in Annex H and this scheme. In this case, the same value of
     source_id parameter in SRD scheme indicates the association among Adaptation Set(s) (regular and empty
     ones if present) even though Representation is not present in an Empty Adaptation Set.

The syntax for the value field of the adaptation set linking descriptor shall follow the MPD-AS-LINKING-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:
          MPD-AS-LINKING-VALUE = MPD-URL [ WSP TIMELINE-OFFSET ]


          MPD-URL = httpurl                   ; defined in IETF RFC 1738
          TIMELINE-OFFSET = "timeOffset=" ["-"] DECIMAL_DIGITS
          DECIMAL_DIGITS=1*DIGIT
5.8.5.10 Sub-Asset Identifier scheme

In DASH MPD, sub-assets across Periods can be identified using the sub asset Scheme Identifier. This
scheme is signalled using a specific SupplementalProperty descriptor at the Adaptation Set or Sub-
Representation level with @schemeIdUri attribute set to "urn:mpeg:dash:sai:2015".
If two different Adaptation Sets or Sub-Representation from different Periods contain Sub-Asset
Identifiers descriptors with the same @value attribute, then the content in the Representation(s)
contained in these Adaptation Sets represent, at least, the same sub-asset.
NOTE 1 The association between sub-assets and an Adaptation Set can change across Periods. For instance, an
Adaptation Set can be associated with a sub-asset of an asset in one Period but with another sub-asset of the same
asset in another Period.

NOTE 2 Sub-Asset Identifier descriptor can be used by DASH Clients to select Representation(s) to be processed
after a Period change.

A given Sub-Representation or Adaptation Set can contain more than one Sub-Asset Identifier descriptor
indicating that this Sub-Representation or the Representation(s) contained in this Adaptation Set,
respectively, represent more than one identified part of the asset.
NOTE 3 If the value for this descriptor is not recognized, the SubAsset Identifier descriptor can still be used to
understand the equivalence of sub-asset identifiers across Periods. Processing of the descriptor scheme and value
by the DASH Client is not essential for normal operation.

NOTE 4 Different Adaptation Sets or Sub-Representations in a Period do not contain the same SubAsset-Identifier,
i.e. the same @schemeIdUri and @value is dis-allowed.

The syntax for the value field of the Sub-Asset identifier descriptor shall follow the SAI-VALUE as
defined in the following ABNF notation according to IETF RFC 5234:
          SAI-VALUE = STRING


          STRING = *VCHAR


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5.8.5.11 Client Authentication and Content Access Authorization

When client authentication and/or content access authorization functionality is needed, DASH may be
used with different schemes such as Open Authentication Technical Committee (OATC) Online
Multimedia Authorization Protocol (OMAP)[13], Open Standard for Authorization (OAuth) 2.0[14], OASIS
Security Assertion Markup Language (SAML)[15], 3GPP Generic Authentication Architecture (GAA)[16], or
3GPP Generic Bootstrapping Architecture (GBA)[17]. This section describes generic signalling to support
use of various authentication and authorization schemes.
Typical access control methods include blocking HTTP requests that do not include a security token
obtained by the authorization protocol wherein the security token is validated by a CDN before
downloading the requested Media Segment, or encrypting Media Segments so that playback will be
restricted unless the authorization protocol provides the client with a decryption key.
For client authentication, a service may limit content delivery to authenticated clients, and may use client
identification information such as certificates, cookies, and embedded keys to determine subscription
rights, etc. required to authorize playback of the Media Presentation. The details of such a scheme are
outside the scope of this document. A client that does not support the signalled content access
authorization would not be able to play the content.
NOTE       This subclause does not provide any requirements on client authentication or content access
authorization.

The signalling and setup of the specific scheme may be done outside the MPD level, e.g. a system applying
such a scheme may only permit access to the MPD if the client is authenticated or the content access is
authorized.
However, there are cases for which the MPD is provided without access control. In this case, client
authentication and content access authorization methods may be signalled in the MPD using Essential
Property Descriptors. The DASH Client may be offered with multiple options to access the entire Media
Presentation or specific parts of the Media Presentation, e.g. a specific Adaptation Set. An Essential
Property descriptor may be placed at the appropriate level, and, for example, the
EssentialProperty@schemeIdUri may signal the URN of the appropriate authentication or
authorization method and the EssentialProperty@value attribute may carry some scheme specific
information. Other signalling may be used, but the detailed signalling and semantics remain specific to a
particular scheme.


There may be cases in which multiple options are provided to the client for client authentication and/or
content access authorization. In this case, the EssentialProperty@id value may be used to signal
functional equivalence of descriptors. In the absence of other information, the
EssentialProperty@id value may contain the following URNs:
— urn:mpeg:dash:client-authentication:2015 for client authentication.

— urn:mpeg:dash:content-authorization:2015 for content access authorization.

In this case,
— each EssentialProperty descriptor with EssentialProperty@id value of
  urn:mpeg:dash:client-authentication:2015 indicates a supported client authentication
  protocol. A client may select one of possibly multiple elements with that EssentialProperty@id
  value, and a scheme that it recognizes based on the @schemeIdUri attribute; and execute that
  protocol using any information included in the @value attribute and any extension elements defined
  by that particular authentication scheme.




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— each EssentialProperty descriptor with EssentialProperty@id value of
  urn:mpeg:dash:content-authorization:2015 indicates a supported content access
  authorization protocol. A client may select one of possibly multiple elements with that
  EssentialProperty@id value, and a scheme that it recognizes based on the @schemeIdUri
  attribute; and execute that protocol using any information included in the @value attribute and any
  extension elements defined by that particular authorization scheme.

A DASH Client that is successfully authenticated as an authenticated player and authorized for playback
of some or all Representations or Adaptation Sets in the MPD may request and play the authorized
content.
5.8.5.12 Audio Interactivity Descriptor

A scheme is defined to be used with an Essential Property or Supplemental Property Descriptor as
"urn:mpeg:dash:audio-interactivity:2016".
This descriptor indicates if the associated audio content (Adaptation Set, Preselection or Representation)
contains media components that are enabled for user interactivity through associated metadata. The
descriptor is used e.g. to facilitate user interface (UI) resource management in the receiving client.
Interactivity involves user interaction with elements, i.e. the user can modify dynamically for example
the gain, spatial position or mute/unmute status of audio elements. Therefore, a UI is required to enable
this kind of personalization during playback. A supplemental descriptor should be used if a UI is not
mandatory to select and play the corresponding audio elements. An essential descriptor should be used
if a UI is mandatory in order to play the corresponding audio elements. The @value attribute is owned
by the codec in use. The detailed semantics of the descriptor are also owned by the codec in use.
5.8.5.13 Quality Equivalence Descriptor

A scheme is defined to be used with a Supplemental Property Descriptor as "urn:mpeg:dash:qr-
equivalence:2019". This descriptor enables an indication that the values provided with each
@qualityRanking hold across Adaptation Sets that are included in the equivalence indicator. In this
case, the value of all provided @qualityRanking values provides an equivalence.

This descriptor may be declared at MPD, Period or Preselection level. Multiple quality equivalence
descriptors may be present in an MPD.

The value of the descriptor provides a comma-separated list of Adaptation Set identifiers of the
Adaptation Sets that have equivalent quality ranking. If the @value attribute is absent, all Adaptation
Sets in the underlying hierarchy have equivalent quality ranking.

The syntax for the value field of the quality ranking equivalence descriptor shall follow the QR-
EQUIVALENCE-VALUE as defined in the following ABNF notation according to IETF RFC 5234:

          QR-EQUIVALENCE-VALUE = AS-ID [ WSP AS-ID ]

          AS-ID = DECIMAL_DIGITS
          DECIMAL_DIGITS = 1*DIGIT




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5.9DASH metrics descriptor

5.9.1 Overview

This document does not define mechanisms for reporting metrics; however, it does define a set of metrics
and a mechanism that may be used by the service provider to trigger metric collection and reporting at
the clients, if a reporting mechanism is available. The trigger mechanism is based on the Metrics
element in the MPD. The element contains the list of DASH Metrics for which the measurements are
desired, the time interval and the granularity for the measurements, as well as the scheme according to
which the metric reporting is desired.
The semantics of the attributes within the Metrics element are provided in subclause 5.9.2, Table 33.
The XML syntax of Metrics element is provided in 5.9.3.
The semantics of the Reporting element are provided in subclause 5.9.4.
5.9.2 Semantics

                                    Table 33 — Semantics of Metrics element

      Element or Attribute Name                       Use                                     Description
       Metrics                                                     DASH metric element
          @metrics                                     M           specifies all DASH Metrics that the client is desired to
                                                                   report as a list of DASH Metric keys. The keys shall be
                                                                   used as defined in Annex D, separated by a comma.
          Range                                      0 ... N       specifies the time period during which DASH Metrics
                                                                   collection is requested. When not present, DASH
                                                                   Metrics reporting is requested for the whole duration
                                                                   of the content.
               @starttime                              O           specifies the start time of the DASH Metrics collection
                                                                   operation. When not present, DASH Metrics collection
                                                                   is requested from the beginning of content
                                                                   consumption.
                                                                   For services with MPD@type='dynamic', the start
                                                                   time is indicated in wall clock time by adding the value
                                                                   of this attribute to the value of the
                                                                   MPD@availabilityStartTime attribute.
                                                                   For services with MPD@type='static', the start
                                                                   time is indicated in Media Presentation time and is
                                                                   relative to the PeriodStart time of the first Period in this
                                                                   MPD.
                                                                   NOTE For example, if
                                                                   MPD@availabilityStartTime is 14:30 and the
                                                                   metrics collection is intended to start at 14:45, then
                                                                   @starttime is 0:15.
               @duration                               O           specifies the duration of the DASH metrics collection
                                                                   interval. The value of the attribute expresses in Media
                                                                   Presentation time.
                                                                   If not present, the value is identical to the Media
                                                                   Presentation duration.




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       Element or Attribute Name                      Use                                   Description
            Reporting                                1 ... N       specifies information about the requested reporting
                                                                   method and formats.
                                                                   For more details, refer to subclause 5.9.4.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.9.3     XML syntax

   <!-- Metrics -->
   <xs:complexType name="MetricsType">
        <xs:sequence>
              <xs:element name="Range" type="RangeType" minOccurs="0" maxOccurs="unbounded"/>
              <xs:element name="Reporting" type="DescriptorType" maxOccurs="unbounded"/>
           <xs:any namespace="##other" processContents="lax" minOccurs="0"
   maxOccurs="unbounded"/>
        </xs:sequence>
        <xs:attribute name="metrics" type="xs:string" use="required"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
   </xs:complexType>
   <!-- Metrics Range -->
   <xs:complexType name="RangeType">
        <xs:attribute name="starttime" type="xs:duration"/>
        <xs:attribute name="duration" type="xs:duration"/>
        <xs:anyAttribute namespace="##other" processContents="lax"/>
   </xs:complexType>
5.9.4 Metric reporting

DASH Clients should collect metrics based on the Metric element and report the collected metrics using
one of the reporting schemes in the Reporting descriptor in the Metrics element.
It is expected that elements containing unrecognized reporting schemes are ignored by the DASH Client.
If multiple Reporting elements are present, it is expected that the client processes one of the
recognized reporting schemes.
No reporting scheme is specified in this document. It is expected that external specifications may define
formats and delivery for the reporting data. External specifications defining a reporting scheme should
take specific care to respect privacy issues.
5.10 Events

5.10.1 Overview

Events may be provided in the MPD or within a Representation in order to signal aperiodic information
to the DASH Client or to an application. Events are timed, i.e. each event starts at a specific media



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presentation time and may have a duration. Events include DASH specific signalling or application-
specific events. DASH events are identified by scheme identifiers defined in this document. For
application specific events, a scheme identifier identifies the application such that the DASH Client can
forward the event to the proper application.

Events of the same type are clustered in Event Streams by the same scheme/value pair. This enables a
DASH Client or the application to subscribe to an Event Stream of interest and ignore Event Streams that
are of no relevance or interest.

Two ways of signalling events are provided, namely:
— events signalled in the MPD as defined in subclause 5.10.2,

— events signalled inband in the Representation as defined in subclause 5.10.3.

Generally, the Event Stream timing model follows the timing model of a media Representation in a Period.
DASH-specific events are defined in subclause 5.10.4.
5.10.2 MPD Events

5.10.2.1 Overview

Events may be signalled in the MPD. A sequence of events assigned to the media presentation time may
be provided in the MPD on Period level. Events of the same type are summarized in an Event Stream that
is specified by an EventStream element in a Period element. Events shall terminate at the end of a
Period even if the start time is after the Period boundary or duration of the event extends beyond the
Period boundary.
The EventStream element is structured in a similar way as the descriptor defined in subclause 5.8,
namely it contains a @schemeIdUri attribute that provides a URI to identify the scheme and an optional
attribute @value. The semantics of the element are specific to the scheme employed. The URI identifying
the scheme may be a URN or a URL.
A Period shall contain at most one EventStream element with the same value of the @schemeIdUri
attribute and the value of the @value attribute, i.e. all Events of one type shall be clustered in one Event
Stream.
As Event Streams contain timed events, also a time scale attribute @timescale is provided to assign
events to a specific media presentation time within the Period. The timed events themselves are
described by the Event element.
This document does not provide any specific information on how to use Event Streams. It is up to the
application that employs DASH formats to instantiate the description elements with appropriate scheme
information. However, this document defines some specific schemes in subclause 5.10.4.
NOTE       A DASH application that uses one of these elements defines a Scheme Identifier in the form of a URI and
then defines the value space for the element when that Scheme Identifier is used. The Scheme Identifier appears in
the @schemeIdUri attribute.

The semantics of the attributes within the EventStream element are provided in subclause 5.10.2.2,
Table 34 and the semantics of the attributes within the Event element are provided in subclause
5.10.2.2, Table 35. The XML syntax of EventStream and Event element is provided in subclause
5.10.2.3.




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5.10.2.2 Semantics

                                          Table 34 — Event Stream Semantics

   Element or Attribute Name                   Use                                      Description
     EventStream                                            specifies event Stream
        @xlink:href                             O           specifies a reference to an external EventStream element
        @xlink:actuate                         OD           specifies the processing instructions, which can be either
                                                            "onLoad" or "onRequest".
                                            default:
                                          onRequest         This attribute shall not be present if the @xlink:href
                                                            attribute is not present.
        @schemeIdUri                            M           identifies the message scheme. The string may use URN or
                                                            URL syntax. When a URL is used, it is recommended to also
                                                            contain a month-date in the form mmyyyy; the assignment of
                                                            the URL must have been authorized by the owner of the
                                                            domain name in that URL on or very close to that date. A URL
                                                            may resolve to an Internet location, and a location that does
                                                            resolve may store a specification of the message scheme.
        @value                                  O           specifies the value for the event stream element. The value
                                                            space and semantics must be defined by the owners of the
                                                            scheme identified in the @schemeIdUri attribute.
        @timescale                              O           specifies the timescale in units per seconds to be used for the
                                                            derivation of different real-time duration values in the Event
                                                            elements.
                                                            If not present on any level, it shall be set to 1.
        @presentationTimeO                     OD           specifies the presentation time offset of this Event Stream that
        ffset                                               aligns with the start of the Period. Any Event contained in this
                                           Default: 0
                                                            Event Stream is mapped to the Period timeline by using the
                                                            Event presentation time adjusted by the value of the
                                                            presentation time offset
                                                            The value of the presentation time offset in seconds is the
                                                            division of the value of this attribute and the value of the
                                                            @timescale attribute.
        Event                                 0 ... N       specifies one event. For details, see Table 35.
                                                            Events in Event Streams shall be ordered such that their
                                                            presentation time is non-decreasing.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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                                                Table 35 — Event Semantics

      Element or Attribute Name                       Use                                     Description
          Event                                                     specifies an Event and contains the message of the
                                                                    event. The content of this element depends on the event
                                                                    scheme. The contents shall be either:
                                                                             A string, optionally encoded as specified by
                                                                              @contentEncoding
                                                                             XML content using elements external to the
                                                                              MPD namespace
                                                                    For new event schemes, string content should be used,
                                                                    making use of Base 64 encoding if needed.
                                                                         NOTE The schema allows “mixed” content within
                                                                         this element however only string data or XML
                                                                         elements are permitted by the above options, not a
                                                                         combination.

              @presentationTime                      OD             specifies the presentation time of the event relative to
                                                  default: 0        the start of the Period taking into account the
                                                                    @presentationTimeOffset of the Event Stream, if
                                                                    present.
                                                                    The value of the presentation time in seconds is the
                                                                    division of the value of this attribute and the value of
                                                                    the @timescale attribute.
                                                                    If not present, the value of the presentation time is 0.
              @duration                                O            specifies the presentation duration of the Event.
                                                                    The value of the duration in seconds is the division of
                                                                    the value of this attribute and the value of the
                                                                    @timescale attribute.
                                                                    The interpretation of the value of this attribute is
                                                                    defined by the scheme owner.
                                                                    If not present, the value of the duration is unknown.
              @id                                      O            specifies an identifier for this instance of the event.
                                                                    Events with equivalent content and attribute values in
                                                                    the Event element shall have the same value for this
                                                                    attribute.
                                                                    The scope of the @id for each Event is with the same
                                                                    @schemeIdURI and @value pair.
              @contentEncoding                         O            specifies whether the information in the body and the
                                                                    information in the @messageData is encoded.
                                                                    If present, the following value is possible:
                                                                             base64 the content is encoded as described in
                                                                              IETF RFC 4648 prior to adding it to the field.
                                                                    If this attribute is present, the DASH Client is expected
                                                                    to decode the message data and only provide the
                                                                    decoded message to the application.




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      Element or Attribute Name                      Use                                    Description
               @messageData                           O           specifies the value for the event stream element. The
                                                                  value space and semantics must be defined by the
                                                                  owners of the scheme identified in the @schemeIdUri
                                                                  attribute.
                                                                  The use of the message data is discouraged by content
                                                                  authors; it is only maintained for the purpose of
                                                                  backward-compatibility. Including the message in the
                                                                  Event element is recommended in preference to using
                                                                  this attribute.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.

5.10.2.3 XML-Syntax

 <!-- Event Stream -->
 <xs:complexType name="EventStreamType">
       <xs:sequence>
            <xs:element name="Event" type="EventType" minOccurs="0" maxOccurs="unbounded"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute ref="xlink:href"/>
       <xs:attribute ref="xlink:actuate" default="onRequest"/>
       <xs:attribute ref="xlink:type" fixed="simple"/>
       <xs:attribute ref="xlink:show" fixed="embed"/>
       <xs:attribute name="schemeIdUri" type="xs:anyURI" use="required"/>
       <xs:attribute name="value" type="xs:string"/>
       <xs:attribute name="timescale" type="xs:unsignedInt"/>
       <xs:attribute name="presentationTimeOffset" type="xs:unsignedLong" default="0"/>
 </xs:complexType>
 <!-- Event       -->
 <xs:complexType name="EventType" mixed="true">
       <xs:sequence>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="presentationTime" type="xs:unsignedLong" default="0"/>
       <xs:attribute name="duration" type="xs:unsignedLong"/>
       <xs:attribute name="id" type="xs:unsignedInt"/>
       <xs:attribute name="contentEncoding" type="ContentEncodingType"/>
       <xs:attribute name="messageData" type="xs:string">
            <xs:annotation>
                  <xs:documentation>



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                           Deprecated in favor of carrying the message information in the
                           value space of the event
                </xs:documentation>
          </xs:annotation>
      </xs:attribute>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!-- Event Coding -->
 <xs:simpleType name="ContentEncodingType">
      <xs:restriction base="xs:string">
          <xs:enumeration value="base64"/>
      </xs:restriction>
 </xs:simpleType>
5.10.3 Inband Event Signalling

5.10.3.1 Overview

Event streams may be multiplexed with Representations by adding the event messages as part of the
Segments. The event streams may be present in selected Representations, in one or several selected
Adaptation Sets only or in all Representations. For example, one possible configuration is one where only
the audio Adaptation Sets may contain inband events.
In order to identify the Representations that carry the event stream, the presence of Events shall be
signalled in the MPD as defined in subclause 5.10.3.2.
If more than one Representation carries event streams with the same @schemeIdUri and the same
@value, the streams shall be semantically equivalent, i.e. processing one Representation is sufficient.
The format of the box to signal events in the media stream is provided in subclause 5.10.3.3.
5.10.3.2 MPD Signalling

An inband event stream may be present in a Representation. If it is expected to be processed by the DASH
Client, it is indicated by an InbandEventStream element at the Adaptation Set or Representation level.
The InbandEventStream type is defined in 5.10.2, Table 34.
One Representation may contain multiple inband Event streams, each indicated by a separate
InbandEventStream element.
Inband event messages may be present in Representations but a corresponding InbandEventStream
element (with the identical @schemeIdUri and @value pair) is not present in MPD. Such inband event
messages are expected to be ignored by the DASH Client. A DASH Client is only expected to process inband
event messages if a corresponding InbandEventStream element is present in the MPD.
The InbandEventStream element shall not contain any MPD Events, i.e. the Event element shall not
be included in any InbandEventStream element.




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5.10.3.3 Event message box

5.10.3.3.1 General

The Event Message box ('emsg') provides signalling for generic events related to the media
presentation time. The same semantics as for an event defined in the MPD specified in subclause 5.10.2
applies.
The Event Message box ('emsg') can carry signalling specific to the DASH operations. The event scheme
identifier and the events for this are defined in subclause 5.10.4.
A Media Segment if based on the ISO BMFF container may contain one or more event message ('emsg')
boxes. If present, any 'emsg' box shall be placed as follows:
          It may be placed before the first 'moof' box of the segment.
          It may be placed in between any 'mdat' and 'moof' box. In this case, an equivalent 'emsg'
          with the same id value shall be present before the first 'moof' box of any Segment.
     NOTE These placement options allow emsg boxes to be placed at the start of segments, or mid segment, whilst
     allowing clients to choose to only process emsg boxes which occur at the start of segments.

The carriage of event messages in MPEG-2 TS based segments is described in subclause 5.10.3.3.5.
Event message boxes with scheme identifier and value pairs that are not defined in the MPD should not
be present. If a DASH Client detects an event message box with a scheme that is not defined in MPD, the
client is expected to ignore it.
5.10.3.3.2 Definition

Box Type: 'emsg'
Container: Segment
Mandatory: No
Quantity: Zero or more
5.10.3.3.3 Syntax

aligned(8) class DASHEventMessageBox extends FullBox('emsg', version,
flags=0){
   if (version==0) {
      string            scheme_id_uri;
      string            value;
      unsigned int(32) timescale;
      unsigned int(32) presentation_time_delta;
      unsigned int(32) event_duration;
      unsigned int(32) id;
   } else if (version==1) {
      unsigned int(32)      timescale;
      unsigned int(64)      presentation_time;
      unsigned int(32)      event_duration;
      unsigned int(32)      id;
      string                scheme_id_uri;
      string                value;
   }
   unsigned int(8)   message_data[];
}




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5.10.3.3.4 Semantics

— scheme_id_uri: is a null-terminated ('C') string in UTF-8 characters that identifies the message
  scheme. The semantics and syntax of the message_data[] are defined by the owner of the scheme
  identified. The string may use URN or URL syntax. When a URL is used, it is recommended to also
  contain a month-date in the form mmyyyy; the assignment of the URL must have been authorized by
  the owner of the domain name in that URL on or very close to that date. A URL may resolve to an
  Internet location, and a location that does resolve may store a specification of the message scheme.

— value: is a null-terminated ('C') string in UTF-8 characters that specifies the value for the event. The
  value space and semantics must be defined by the owners of the scheme identified in the
  scheme_id_uri field.

— timescale provides the timescale, in ticks per second, for the event duration and
  presentation_time_delta or presentation_time fields. The value should be identical to
  the timescale of a track contained in the carrying Segment. Furthermore, the value should be identical
  for all events in one Event Stream.

— presentation_time_delta provides the Media Presentation time delta of the media
  presentation time of the event and the earliest presentation time in this segment. If the segment index
  is present, then the earliest presentation time is determined by the field
  earliest_presentation_time of the first 'sidx' box. If the segment index is not present, the
  earliest presentation time is determined as the earliest presentation time of any access unit in the
  media segment. The timescale is provided in the timescale field.

— presentation_time provides the Media Presentation time of the event measured on the Movie
  timeline, in the timescale provided in the timescale field; the value shall not be less than the
  earliest presentation time of the carrying Segment.

— event_duration provides the duration of event in media presentation time. The timescale is
  indicated in the timescale field. The value 0xFFFFFFFF indicates an unknown duration. The
  interpretation of this value must be defined by the owner of the event scheme.

— id: a field identifying this instance of the message. The scope of this identifier for each event is with
  the same scheme_id_uri and value pair. Messages with the same id within the scope of the
  same scheme_id_uri and value pair are equivalent , i.e. processing of any one event message
  box with the same id is sufficient.

— message_data: body of the message, which fills the remainder of the message box. This may be
  empty depending on the above information. The syntax and semantics of this field must be defined
  by the owner of the scheme identified in the scheme_id_uri field.

5.10.3.3.5 Carriage of the Event Message Box in MPEG-2 TS

A Media Segment if encapsulated in MPEG-2 Transport Stream may contain one or more event message
('emsg') boxes encapsulated into transport stream packets.
Transport stream packets carrying the 'emsg' box shall use a reserved fixed PID value of 0x0004.
The transport stream packet carrying the start of the #emsg# box shall have the
payload_unit_start_indicator field set to '1', and the packet payload will start with the
'emsg' box. The complete Box.type field shall be present in this first packet, and the payload size shall
be at least 8 bytes.



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The continuation of box data occupies the following transport stream packets from the same PID. The last
packet carrying the end of the box is padded using adaptation field stuffing bytes.
A segment shall contain only complete boxes. If @bitstreamSwitching is set, and subsegments are
used, a subsegment shall contain only complete #emsg# boxes.
For any packet with PID value of 0x0004, the value of the transport_scrambling_control field
shall be set to #00#.
5.10.3.3.6 Inband Event Alignment

If      AdaptationSet.InbandEventStream                      element         is        present        and
AdaptationSet@SegmentAlignment attribute is present and non-false, event message boxes in
non-overlapping Segments shall be aligned. Let SR1(T) be a segment of Representation R1 with earliest
presentation time T, and let the Adaptation Set contain N representations. If SR1(T) contains one or more
Event Message ('emsg') boxes, identical 'emsg' boxes shall be contained in each of the non-overlapping
Segments SR2(T)…SRN(T).
     NOTE 1       As a consequence, under the above constrains, all Representations in the Adaptation Set contain
     events.

     NOTE 2     If AdaptationSet@SegmentAlignment is an integer larger than 1, the alignment
     described above applies only to non-overlapping Segments.

NOTE 3    If Segments are non-overlapping, but their EPT differ, alignment described above still applies, and Event
Message boxes are in the beginning of both Segments.

5.10.4 DASH-specific events

5.10.4.1 Overview

DASH specific events that are of relevance for the DASH Client are signalled in the MPD. The URN
"urn:mpeg:dash:event:2012" is defined to identify the event scheme defined in Table 36.
For events using this schema, the 'emsg'.message_data[] field contains the DASHEvent structure
defined below:
aligned(8) struct DASHEvent
{
   string publish_time; // MPD@publishTime per clause 5.10.4.3
   if ( 'emsg'.value == 2 )
   {
      string mpd_patch; // MPD patch, per clause 5.10.4.3
   }
   if ( 'emsg'.value == 3 )
   {
      string mpd; // full MPD, per clause 5.10.4.4
   }
}




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             Table 36 — InbandEventStream@value attribute for scheme with a value
                               "urn:mpeg:dash:event:2012"
         @value                                                              Description
              1                  indicates that MPD validity expiration events as defined in subclause 5.10.4.2 are
                                 signalled in the Representation. MPD validity expiration is signalled in the event
                                 stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                                 presentation time smaller than the event time.
              2                  indicates that MPD validity expiration events as defined in subclause 5.10.4.3 are
                                 signalled in the Representation. MPD validity expiration is signalled in the event
                                 stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                                 presentation time smaller than the event time. In addition, the message includes an
                                 MPD Patch as defined in subclause 5.10.4.3 in DASHEvent.mpd field within the
                                 message_data field.
              3                  indicates that MPD validity expiration events as defined in subclause 5.10.4.3 are
                                 signalled in the Representation. MPD validity expiration is signalled in the event
                                 stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                                 presentation time smaller than the event time. In addition, the message includes a
                                 complete MPD as defined in subclause 5.10.4.4 in DASHEvent.mpd field within the
                                 message_data field.



      NOTE    Additional values   for    InbandEventStream@value                                  when        @schemeIDURI              is
      urn:mpeg:dash:event:2012 are reserved for ISO/IEC.

5.10.4.2 MPD validity expiration

MPD validity expiration events provide the ability to signal to the client that the MPD with a specific
publish time can only be used up to a certain media presentation time.
MPD validity expiration shall be signalled for all updates causing an extension of the timeline, except for
the following ones:
— The value of the MPD@minimumUpdatePeriod is changed,

— The value of a SegmentTimeline.S@r has changed,

— A new SegmentTimeline.S element is added.

If the scheme_id_uri is set to "urn:mpeg:dash:event:2012" and the value is set to 1, then the
fields in the event message box shall document the following:
— the DASHEvent.publish_time field contains the publish time of an MPD, i.e. the value of the
  MPD@publishTime.

— The media presentation time beyond the event time (indicated time by
  presentation_time_delta) is correctly described only by MPDs with publish time greater than
  indicated value in the message_data field.

— the event duration expresses the remaining duration of Media Presentation from the event time. If
  the event duration is 0, Media Presentation ends at the event time. If 0xFFFF, the media presentation
  duration is unknown. In the case in which both presentation_time_delta and
  event_duration are zero, then the Media Presentation is ended.




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This implies that clients attempting to process the Media Presentation at the event time or later are
expected to operate on an MPD with a publish time that is later than the indicated publish time in this
box.
Event boxes in different segments may have identical id fields, but different values for
presentation_time_delta if the earliest presentation time is different across segments.
Figure 5 shows an example for MPD validity expiration method. An MPD signals the presence of the
scheme in one or several Representations. Once a new MPD gets available, that adds new information not
present in the MPD with @publishTime="2012-11-01T09:06:31.6", the expiration time of the
current MPD is added to the segment by using the emsg box. The information may be present in multiple
segments.




                   Figure 5 — Example for MPD validity expiration to signal new Period

5.10.4.3 MPD Patch

For DASH events with value 2, an MPD patch shall be included in theDASHEvent structure, immediately
following the publish_time field. The payload of this message shall be a valid XML patch compliant to
XML Patch Operations framework, as defined in IETF RFC 5261.
The result of the patch application shall be parse-tree identical before any XLink resolution to the MPD
that would have been retrieved at event time.
XPath selectors shall at least include a check on MPD@publishTime, and the last patch operation should
change the value of MPD@publishTime.
5.10.4.4 MPD Update Event

For DASH events with value 3, a complete MPD shall be included in the in the DASHEvent structure,
immediately following the publish_time field. The content of the mpd field shall be the MPD.




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5.10.4.5 DASH Callback Event

5.10.4.5.1 General

DASH Callback events are indications in the content that it is expected by a DASH Client to issue an HTTP
GET request to a given URL and ignore the HTTP response. These event schemes are identified by the
URN "urn:mpeg:dash:event:callback:2015".
A content author may use such an event for tracking play-back of specific content on a server that is not
included in the media path.
The Status-Code field of the HTTP response should be 2xx; however, the client is expected to entirely
ignore the response.
      NOTE 1        HTTP GET (as opposed to HEAD) is used in alignment with IAB VAST[18].

The message body of the HTTP response should be as small as possible or absent.
      NOTE 2       The system adopting this functionality is expected to define appropriate means for secure handling
      of this feature.

5.10.4.5.2 Inband event

Table 37 defines the message data and the expected actions for different @value values when the DASH
callback event is signalled as an Inband Event.

             Table 37 — Message data and expected actions for DASH call back inband event
  value              message_data[]                                                        Action
      1           Valid HTTP/HTTPS URL               An HTTP GET request is expected to be issued to a URL contained in
                                                     message_data[].
                                                     The URL shall be a NULL-terminated string.
                                                     HTTP response shall either not be provided or be provided such that
                                                     it can be discarded.
5.10.4.5.3 MPD event

Table 38 defines the relevant parameters for a call back event signalled in the MPD.

                Table 38 — Relevant parameters for a call back event signalled in the MPD

                   Attribute                                                                Value
 EventStream@schemeIdUri                            "urn:mpeg:dash:event:callback:2015"
 EventStream@value                                  1
 Event@messageData                                  HTTP-URL
                                                    HTTP response is expected to be discarded without parsing.
5.10.4.6 Presentation Termination Event

DASH Presentation Termination events are indications that the currently playing Media Presentation is
ending at a time earlier than expected from the current MPD. This event can be either an inband event or
an MPD event. These events are identified by the URN "urn:mpeg:dash:event:ttfn:2016".
NOTE          The primary use case for this feature is when the client does not expect to get an MPD update.




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Three values are defined according to Table 39.

             Table 39 — interpretation of value field of a Presentation Termination event
            value                                                          Description
               0                 indicates the end of presentation, including these of chained-to and fallback MPDs
               1                 Indicates end of presentation. Presentation described in the chained-to MPD (if the
                                 latter is present) is still valid.
                                      NOTE If the value of earliestTimeToResolve in the MPD chaining
                                      descriptor        is       later  than      the       time     derived     from
                                      'emsg'.presentation_time_delta, this is considered an error condition
                                      and triggers switch to the fallback presentation, if possible.

               2                 Indicates end of presentation due to an unspecified error condition. Fallback
                                 presentation is still valid; hence the client is expected to switch to it.
5.11 MPD Chaining

5.11.1 General

MPD chaining provides a mechanism to indicate that, at the end of one Media Presentation, a new Media
Presentation starts. The end may be a regular end, or an early termination due to an error condition. In
order to enable this mechanism, the “chained-from” MPD may include an Essential or Supplemental
descriptor which points to the “chained-to” MPD location.
Two cases are differentiated, a regular chaining operation at the end of the chained-from MPD in 5.11.2
and a case for which the chained-to MPD is only played in case the “chained-from” MPD is terminated
early due to error conditions as defined in subclause 5.11.3 and serves as a fallback.
5.11.2 Regular Chaining

Regular chaining refers to the case that a Media Presentation is played until the end, and once the Media
Presentation is finished, a new chained Media Presentation is played instantaneously. A client receiving
the chained-from MPD is expected to play the chained-to MPD right after the chained-from one. Each MPD
has its own independent media timeline, but the DASH Client is expected to continue the presentation to
create a sequential presentation.
The chained-from MPD may be of type static or dynamic. The chained-to MPD may also be of type static
and type dynamic.
MPD chaining can for example be used for pre-roll ads or creating a sequence of programs using multiple
MPDs. In this case, the chained-from MPD may be of type static, whereas the chained-to MPD may be of
type dynamic. In this case, the client is expected to join the dynamic MPD at the live edge, or if an anchor
is presented as defined in C.4, at the indicated time in the anchor. The chained-from MPD may contain an
@xlink:href Period for personalization of the ad, whereas the chained-to MPD is common.
MPD chaining is signalled by using an Essential or Supplementary Descriptor on MPD level with
@schemeIdUri set to "urn:mpeg:dash:mpd-chaining:2016". Each MPD may contain at most
one descriptor for MPD chaining. The @value of this descriptor shall be composed of the whitespace-
separated parameters according to Table 40. If @value only contains the first parameter, no whitespace
is needed.




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                                Table 40 — Semantics of value for MPD chaining

             Value parameters                               Use                                    Description
      url                                                    M               specifies the location of manifest to be played
                                                                             manifest (chained-to MPD) after this MPD.
                                                                             The client is expected, after playback of the
                                                                             entire MPD, to download the chained-to MPD
                                                                             from the location defined by this parameter and
                                                                             play chained-to MPD without any delays
                                                                             (similar to play back of a new period). In the
                                                                             case the url does not return a valid MPD or
                                                                             any HTTP error response, the client is expected
                                                                             to treat it as an invalid MPD.
                                                                             If the url has any anchor, it anchors the
                                                                             chained-to MPD according to C.4.
      earliestTimeToResolve                                   O              recommends the earliest media presentation
                                                                             time in the chained-from MPD as a difference to
                                                                             the end of the Media Presentation in
                                                                             milliseconds to fetch the chained-to MPD.
                                                                             If not present, no recommendation is provided.
5.11.3 Fallback Chaining

Fallback chaining refers to the case that a Media Presentation is played, but once an error condition
occurs, a new chained Media Presentation may be played. Fallback chaining descriptor allows the author
to provide alternative content the client can switch to in case of error condition preventing it from
continuing normal playback.
An error condition triggering such processing is one of the following:
— Failure to of an MPD.

— Failure to download a media (sub)segment with a given value of earliest presentation time, after
  exhausting all possibilities of retrieving it (such as trying all BaseURLs and all Representations within
  an Adaptation Set), if the value of MPD@type is "static".

— Failure to retrieve a chained-to MPD.

— Unspecified error condition triggered via Presentation Termination event with value for fallback.

Fallback presentation descriptor provides a URL to an alternative MPD which should be played out once
one of the aforementioned error conditions makes it impossible to continue playback of the current
Media Presentation.
Fallback shall be signalled by a Supplementary Descriptor on MPD level with @schemeIdUri set to
"urn:mpeg:dash:fallback:2016". Each MPD may contain at most one Fallback Presentation
descriptor.
The @value of this descriptor shall be one URL or a whitespace-separated list of URLs of the “chained-
to” MPD. If multiple URLs are provided, the content author expresses the preferences of using one of those
by the order with the first one having the highest preference.




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5.12 Producer Reference Time

5.12.1 General

The Producer Reference Time supplies media correlation between media timestamps and wall clock
production time. This information permits the following, among others:

          it provides media clients with information to enable consumption and production to proceed at
          equivalent rates, thus avoiding possible buffer overflow or underflow;

          it enables measuring and potentially controlling the latency between the production of the media
          time and the playout.

The definition follows the Producer Reference Time ('prft') as defined in ISO/IEC 14496-12.

The information may be provided inband as part of the Segments in the ('prft'), in the MPD or both.

The semantics of the attributes and elements for producer reference time are provided in subclause
5.12.2, Table 41. The XML syntax of the Producer Reference Time is provided in subclause 5.12.3.
5.12.2 Semantics

                        Table 41 — Semantics of ProducerReferenceTime element

 Element or Attribute Name                            Use                Description

            ProducerReferenceTime                                        specifies the Producer Reference Time for the
                                                                         associated Representations.

               @id                                           M           Identifies the Producer            Reference   Time
                                                                         documented in the MPD.

               @inband                                      OD           signals if every segment or subsegment
                                                                         contains a 'prft' of the type below. If set to
                                                       default: false    true, every segment or subsegment shall
                                                                         contain the 'prft' as defined in ISO/IEC
                                                                         14496-12:—, subclause 8.16.5 and the flags set
                                                                         according to the @type attribute of this
                                                                         element.

               @type                                        OD           specifies the type of the Producer Reference
                                                                         Time from the following list:
                                                         default:
                                                        encoder               -    encoder provides a reference when
                                                                                   the media time was input to an encoder
                                                                                   following the exact definition in
                                                                                   subclause 8.16.5 of ISO/IEC 14496-12
                                                                                   for flags set to 0.
                                                                              -    captured provides a reference when
                                                                                   the media time was captured following
                                                                                   the exact definition in ISO/IEC 14496-
                                                                                   12:—, subclause 8.16.5 for both flag 8
                                                                                   and flag 16 being set.




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                                                                               -    application provides a reference of
                                                                                    the media time related to wall-clock
                                                                                    time based on an application defined
                                                                                    relation. In this case, following ISO/IEC
                                                                                    14496-12:—, subclause 8.16.5, flag 16
                                                                                    shall be set and flag 8 shall be unset.

             @applicationScheme                             CM            specifies the application scheme to which the
                                                                          time conforms if @type is set to
                                                                          application.

                                                                          If the @type is set to application, this
                                                                          attribute should be present.

                                                                          If the @type is set other than application,
                                                                          this attribute shall not be present.

             @wallClockTime                                  M            specifies a wall-clock time in the following
                                                                          format

                                                                               -    if UTCTiming element is absent, the
                                                                                    NTP format associated to @media as
                                                                                    defined in ISO/IEC 14496-12:—, 8.16.5
                                                                                    for ntp_timestamp;
                                                                               -    if UTCTiming element is present, the
                                                                                    format is identical to the format as
                                                                                    defined in the UTC Timing scheme.

                                                                          If the MPD Generator extracts the information
                                                                          from the producer reference time box, the value
                                                                          needs to be converted to the correct scheme.

             @presentationTime                               M            specifies a presentation time in timescale of the
                                                                          Representation that relates to the value of the
                                                                          @wallClockTime.

                                                                                NOTE If the data is extracted from the
                                                                                producer reference time box, then this
                                                                                value is derived by the media_time field.

             UTCTiming                                     0…1            If present, then the wall-clock times provided in
                                                                          this context are synchronized with the timing
                                                                          anchor provided in this descriptor. The same
                                                                          UTC Timing descriptor shall also be present in
                                                                          the MPD.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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5.12.3 XML Syntax

 <!-- Producer Reference time -->
 <xs:complexType name="ProducerReferenceTimeType">
       <xs:sequence>
            <xs:element name="UTCTiming" type="DescriptorType" minOccurs="0"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="id" type="xs:unsignedInt" use="required"/>
       <xs:attribute name="inband" type="xs:boolean" default="false"/>
       <xs:attribute name="type" type="ProducerReferenceTimeTypeType" default="encoder"/>
       <xs:attribute name="applicationScheme" type="xs:string"/>
       <xs:attribute name="wallClockTime" type="xs:string" use="required"/>
       <xs:attribute name="presentationTime" type="xs:unsignedLong" use="required"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <xs:simpleType name="ProducerReferenceTimeTypeType">
       <xs:restriction base="xs:string">
            <xs:enumeration value="encoder"/>
            <xs:enumeration value="captured"/>
            <xs:enumeration value="application"/>
       </xs:restriction>
 </xs:simpleType>

5.13 Leap seconds
5.13.1 Overview
Information on the occurrence of leap seconds and their relationship with
MPD@availabilityStartTime can be expressed using the LeapSecondInformation element.
This information allows a client to perform time calculations accurately without an external source of
information on the timing of past and future leap seconds. It also allows a service provider to express
any correction for leap seconds that has already been made.
With this information, a client may perform timing calculations by assuming a constant day length of
86400 seconds if it first applies the relevant offset from the LeapSecondInformation element to the
value of the MPD@availabilityStartTime attribute. The client can then correctly play a Media
Presentation for which MPD@type is 'dynamic' when leap seconds have occurred since the time of
MPD@availabilityStartTime and even when leap seconds occur during playback.
The offset specified in @availabilityStartLeapOffset applies if the current time is before
@nextLeapChangeTime. @nextAvailabilityStartLeapOffset applies if the current time is
equal to or after @nextLeapChangeTime, but its use may need to be delayed if the client’s internal wall
clock has not yet processed the leap second.
     NOTE 1 If a particular client’s wall clock is synchronized solely by means of a one-shot protocol, e.g. using the
     scheme urn:mpeg:dash:utc:http-xsdate:2014 defined in subclause 5.8.5.7, the value of
     @availabilityStartLeapOffset remains appropriate for that client until its clock is next synchronized
     after the leap second has occurred.




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      NOTE 2 Leap seconds can occur at any of four possible times each year and can add or remove a second from
      the UTC timeline. Whilst leap seconds always occur immediately before midnight UTC, they can occur during
      the day in other time zones. Even within the Greenwich Mean Time (GMT) zone, the most common time for a
      leap second has been 23:59:60 on New Year’s Eve, when many people may be watching live video streams.
      It is therefore important that leap seconds are handled correctly.
Some operating systems allow leap seconds to be handled by “smearing” the leap second over a longer
period of time. Care should be taken to ensure that availability times in a published MPD are not affected
by this.
The semantics of the attributes within the LeapSecondInformation element are provided in
subclause 5.13.2, Table 42. The XML syntax of the LeapSecondInformation element is provided in
subclause 5.13.3.
5.13.2 Semantics

                                  Table 42 — Leap Second Information Semantics

   Element or Attribute Name                    Use                                      Description

      LeapSecondInformation                                 specifies leap second information affecting MPD timing
                                                            calculations

        @availabilityStartL                       M         specifies the number of seconds applying at the time of MPD
        eapOffset                                           publication that a client would need to subtract from
                                                            MPD@availabilityStartTime in order to perform
                                                            timing calculations without further consideration of leap
                                                            seconds.
                                                            If a leap second correction has already been applied, the
                                                            LeapSecondInformation element should still be
                                                            present but this attribute should be set to 0.

        @nextAvailabilitySt                       O         specifies the number of seconds that will apply from the
        artLeapOffset                                       time of the next leap second (indicated by the
                                                            @nextLeapChangeTime) that a client would need to
                                                            subtract from MPD@availabilityStartTime in order
                                                            to perform timing calculations without further
                                                            consideration of leap seconds.
                                                            If the timing of the next leap second is unknown, this
                                                            attribute shall be omitted.

        @nextLeapChangeTime                       O         specifies the UTC time at which a leap second will occur.
                                                            Before this time, @availabilityStartLeapOffset
                                                            applies.          On       or    after     this     time,
                                                            @nextAvailabilityStartLeapOffset applies for
                                                            timing calculations made against a wall clock that has
                                                            processed the leap second.
                                                            If the timing of the next leap second is unknown, this
                                                            attribute shall be omitted.

 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 Elements are bold; attributes are non-bold and preceded with an @.




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5.13.3 XML-Syntax

 <!-- Leap Second Information -->
 <xs:complexType name="LeapSecondInformationType">
         <xs:sequence>
             <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
         </xs:sequence>
         <xs:attribute name="availabilityStartLeapOffset" type="xs:integer" use="required"/>
         <xs:attribute name="nextAvailabilityStartLeapOffset" type="xs:integer"/>
         <xs:attribute name="nextLeapChangeTime" type="xs:dateTime"/>
         <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>



5.13.4 Leap second information updates

Streams which continue to run continuously between leap second changes need to update the MPD to
change the LeapSecondInformation element. At a time after @nextLeapChangeTime, and
preferably long enough to be able to expect all leap second aware clients to have resynchronized their
clocks, the value of @nextAvailabilityStartLeapOffset can be moved into
@availabilityStartLeapOffset, and the attributes @nextAvailabilityStartLeapOffset
and @nextLeapChangeTime removed. Then, at least MPD@minimumUpdatePeriod before the next
leap second change, the LeapSecondInformation element can be updated to include the new values for
@nextAvailabilityStartLeapOffset and @nextLeapChangeTime. It is possible to make both
of these changes at the same time if the new values are known when
@availablilityStartLeapOffset is being updated.

     NOTE Updating the MPD in this manner is normally seamless for clients that process the
     LeapSecondInformation element and for those that do not. However, if the stream continues across many leap
     seconds, clients that do not process the LeapSecondInformation element have a cumulative error in their
     calculation of the live edge when they join the stream.

5.14 Content Popularity Rate

5.14.1 General

Content Popularity Rate is a method for signalling information on which content items amongst the
different Preselections and Adaptation Sets are expected to be more popular than others. Example use
cases for different content streams in a Media Presentation include:

     -     content streams from different viewpoints: in this case, an Adaptation Set containing
           recommended viewpoint is expected to be more popular than other Adaptation Sets;

     -     sub-picture streams in a 360 video: in this case, a set of Adaptation Sets containing the sub-picture
           streams that compose “recommended viewport” can be signalled as more popular than others.

Content Popularity Rate information is expected to be provided by the content provider based on the
author’s intent, expected consumption rate by users, or actual viewing statistics that could have been
measured by using DASH metrics, such as Play list as defined in Annex D.4.6.




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If provided, the information can be used for data prefetching by clients or network elements, e.g. CDN
servers. It can also be used for example to deliver the data that is considered most relevant on a preferred
data link, for example on multicast or broadcast, whereas less popular data is only provided in unicast.
Expected-to-be-popular data can also be prefetched in higher quality in order to ensure that such data is
available in good quality.

To indicate the popularity of a Pre-selection or Adaptation Set, the ContentPopularityRate element
may be present within that element. The ContentPopularityRate element contains one or more PR
elements giving the rating for different parts of the content.                The semantics of the
ContentPopularityRate element are provided in 5.14.2, Table 43, the syntax is provided in 5.14.3.

5.14.2 Semantics

                       Table 43 — Semantics of ContentPopularityRate element
 Element or Attribute Name                              Use         Description

         ContentPopularityRate                                      specifies the Content Popularity Rate information.

             @source                                     M          indicates the source of rating by this element. The
                                                                    value can be one of the following:

                                                                         -     content (when the value is specified by
                                                                               the content author or content provider);

                                                                         -     statistics (when the value is specified
                                                                               based on viewing statistics);

                                                                         -    other.

                                                                    When “other” is used, @source_description
                                                                    should be provided.

             @source_description                          O         UTF-8 string that provides a textual description of
                                                                    the source of rating.

             PR                                         1 .. N      specifies start time and number of segments for a
                                                                    contiguous sequence of segments assigned identical
                                                                    Popularity Rate value.

                  @popularityRate                        M          indicates the relative Popularity Rate of the segments
                                                                    of containing entity (i.e. the Preselection or
                                                                    Adaptation           Set        containing         this
                                                                    ContentPopularityRate element), within the
                                                                    same Media Presentation. No unit. The value shall be
                                                                    in the range of 1 to 100. A greater value means higher
                                                                    likelihood of the series of (Sub)Segments being
                                                                    consumed/requested.

                  @start                                  O         specifies the first Segment from which
                                                                    @popularityRate value of this PR element is
                                                                    relevant.

                                                                    If the addressing scheme for the containing entity is
                                                                    using Segment template with $Number$, then



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                                                                   @popularityRate applies from the earliest
                                                                   presentation time of the Segment with the segment
                                                                   number specified by this attribute. For other
                                                                   addressing      schemes,      the       value      of
                                                                   @popularityRate applies from the Segment
                                                                   which contains the media sample whose
                                                                   presentation time specified by this attribute in unit
                                                                   of @timescale on Representation level.

                                                                   If not present, then it shall be assumed that
                                                                   @popularityRate applies from:

                                                                        -    the first Segment of the containing Period,
                                                                             for the first PR element,

                                                                        -    the Segment after the last Segment of the
                                                                             previous PR element, for other PR elements.

                  @r                                     OD        specifies the number of segments after the segment
                                                                   indicated by @start which are included in this PR
                                                     default: 0    entry (i.e. the repeat count). A negative value
                                                                   indicates that the series continues until the segment
                                                                   before the first segment of the next PR element, or if
                                                                   there are no further PR elements until the end of the
                                                                   Period or the next MPD update.

 Key

 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory.

 For elements: <minOccurs>...<maxOccurs> (N=unbounded)

 Elements are bold; attributes are non-bold and preceded with an @.




5.14.3 XML syntax

 <!-- Content Popularity Rate -->
 <xs:complexType name="ContentPopularityRateType">
       <xs:sequence>
            <xs:element name="PR" maxOccurs="unbounded">
                  <xs:complexType>
                       <xs:attribute name="popularityRate">
                             <xs:simpleType>
                                  <xs:restriction base="xs:unsignedInt">
                                        <xs:minInclusive value="1"/>
                                        <xs:maxInclusive value="100"/>
                                  </xs:restriction>
                             </xs:simpleType>
                       </xs:attribute>




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                      <xs:attribute name="start" type="xs:unsignedLong" use="optional"/>
                      <xs:attribute name="r" type="xs:int" use="optional" default="0"/>
                      <xs:anyAttribute namespace="##other" processContents="lax"/>
                </xs:complexType>
          </xs:element>
          <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="source" use="required">
          <xs:simpleType>
                <xs:restriction base="xs:string">
                      <xs:enumeration value="content"/>
                      <xs:enumeration value="statistics"/>
                      <xs:enumeration value="other"/>
                </xs:restriction>
          </xs:simpleType>
      </xs:attribute>
      <xs:attribute name="source_description" type="xs:string"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>


6 Segment formats
6.1General
The Segment formats specify the syntax and semantics of the resources that are associated with HTTP-
URLs identified by the MPD, or directly provided in data URLs. For example, an HTTP GET request to a
resource identified in the MPD is responded with an HTTP response including an entity body that
conforms to a segment format.
Different Segment types are defined in subclause 6.2.
This document focuses on Segment formats based on MPEG container formats. Specifically,
— in subclause 6.3, Segment formats are described for use with Media Segments based on the ISO Base
  Media File Format as defined in ISO/IEC 14496-12;

— in subclause 6.4, Segment formats are described for use with Media Segments based on the MPEG-2
  Transport Stream as defined in the ISO/IEC 13818-1.

In both cases, the Segment formats are defined such that the Media Segment formats comply with the
respective container formats.
Guidelines for adding other Segment formats are provided in Annex F.
6.2Segment types

6.2.1 General

Four different Segment types are defined:
— Initialization Segments containing initialization information for accessing the Representation in
  subclause 6.2.2,


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— Media Segments containing encoded media content components in subclause 6.2.3,

— Index Segments primarily containing indexing information for Media Segments in subclause 6.2.4,

— Bitstream Switching Segments containing essential data to switch to the Representation to which it
  is assigned in subclause 6.2.5.

6.2.2 Initialization Segment

The Initialization Segment contains initialization information for accessing the Representation. The
Initialization Segment shall not contain any media data with an assigned presentation time.
     NOTE       The Initialization Segment is conceptually processed by the media engine in Figure 2 to initialize
     the media engines for enabling play-out of Media Segments of the containing Representation.

The Initialization Segment is media format specific and more details shall be defined for each media
format that permits or requires the presence of an Initialization Segment.
6.2.3 Media Segment

6.2.3.1 General

A Media Segment contains and encapsulates media streams that are either described within this Media
Segment or described by the Initialization Segment of this Representation or both.
In addition, a Media Segment
1) shall contain a number of complete access units.

2) should provide information on how to access the Media Presentation within this Segment, e.g. exact
   presentation time and an index. There is no requirement that a Media Segment starts with a SAP, but
   it is possible to signal in the MPD that all media streams in a Segments within a Representation start
   with a SAP.

3) shall contain only media streams that start with a SAP of type 1 or 2, if it is the first Media Segment
   in the Representation.

4) shall contain sufficient information to time-accurately present each contained media component in
   the Representation. The time-accuracy enables a client to seamlessly switch Representations and
   jointly present multiple Representations.

5) may be divided into Subsegments by a Segment Index as defined in subclause 6.2.3.2. In some media
   formats, the Segment Index may be contained in the Media Segment. In other formats, the Segment
   Index may be included in a dedicated Index Segment. For more details on Index Segments, refer to
   subclause 6.2.4.

6) shall specify all Media Presentation times relative to the start of the Period and compensated with
   the value of the @presentationTimeOffset. The presentation time in Media Segments shall be
   accurate to ensure accurate alignment of all Representations in one Period. For more details, refer to
   subclause 7.2.1.

The Media Segment is media format specific and more details are specified for individual media formats.




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6.2.3.2 Subsegments and Segment Index

Media Segments may contain multiple Subsegments. Each Subsegment shall contain a number of
complete access units. There may also be media-format-specific restrictions on Subsegment
boundaries. If a Segment is divided into multiple Subsegments, this division is described by a compact
Segment index, which provides the presentation time range in the Representation and corresponding
byte range in the Segment occupied by each Subsegment for one or more media streams. Clients may
download this index in advance and then issue requests for individual Subsegments.
      NOTE        Segment Index information is conceptually processed by the DASH access client in Figure 2 in order
      to access Subsegments by the use of HTTP partial GET requests.

In addition, the Segment Index provides timing and stream access information. This includes the earliest
presentation time of access units in each Subsegment of an indexed media stream and the presentation
time of the first SAP, if present.
If a Segment Index is present for at least one media stream, then for any media stream for which no
Segment Index is present, referred to as non-indexed stream, the following applies:
— every access unit of the non-indexed streams shall be a SAP of type 1.

— for each Subsegment, every non-indexed stream shall contain exactly one access unit within the
  Subsegment with presentation time less than or equal to the earliest presentation time of the
  Subsegment.

When multiple media streams are indexed in a single index file, the corresponding Segment Index for
different media streams should index the same number of Subsegments.
If no Segment Index is provided for a Media Segment, then the Media Segment constitutes one
Subsegment.
The Segment Index may be included in the Media Segment, typically in the beginning of the file. Segment
Index information may also be provided in separate Index Segments as defined in subclause 6.2.4. A
Subsegment may itself be further subdivided using further Segment Indices. If a Subsegment only
contains media data but no Segment Index, it is referred to as Media Subsegment.
The Segment Index may contain additional Subsegment indexing information for accessing different
levels of Subsegments in a Media Subsegment. For more details, refer to subclause 6.2.3.3.
A generic mechanism for indexing of Media Segments is provided by the Segment Index ('sidx') box in
ISO/IEC 14496-12. This indexing applies to all media formats defined in this document. In this case,
— the  earliest presentation time   of                                a      Subsegment           is      documented           in      the
  earliest_presentation_time field.

— the byte range is documented by the first_offset field and the reference_size field. If two
  Segment Index boxes document the same byte range, then the value of their reference_size field
  shall be identical, and the values their first_offset field shall point to the same byte offset in the
  file.

6.2.3.3 Subsegment Index

Media Subsegments may be indexed further to enable accessing different levels of Subsegments in a
Media Subsegment. This Subsegment Index may also be provided in separate Index Segments together
with the Segment Index.
A generic syntax and semantic for Subsegment indexing is provided by the Subsegment Index ('ssix')
in ISO/IEC 14496-12.



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6.2.4 Index Segment

Index Segments contain information that is related to Media Segments and primarily contain indexing
information for Media Segments. An Index Segment may provide information for one or more Media
Segments.
The Index Segment may be media format specific and more details shall be defined for each media format
that permits Index Segments.
6.2.5 Bitstream Switching Segment

A Bitstream Switching Segment contains data essential for switching to the Representation it is assigned
to.
The Bitstream Switching Segment is media format specific and more details shall be defined for each
media format that permits Bitstream Switching Segments.
6.2.6 Missing Content Segment

A Missing Content Segment is defined for the purpose to extend the Segment Timeline even if the data in
the Segment is not present or is only partially present. This Segment contains no or a subset of media
samples of the media timeline duration it is representing. If the Segment is not a decodable media
segment, then the segment shall include a major brand 'miss'. The Segment may additionally contain
an 'emsg', for example, to indicate an MPD validity expiration event.

In addition, for a Missing Content Segment, the following shall hold:

          a single Segment Index ('sidx') box shall be present and the values of the Segment Index shall
          describe accurate timing of the Segment Timeline, i.e.,
                  the earliest_presentation_time in the 'sidx'box shall be the value of S@t as
                  signalled in the Segment Timeline in the MPD
                  the Subsegment_duration fields in the 'sidx' box shall be the value of S@d as
                  signalled in the Segment Timeline in the in the MPD

By forcing these values, the DASH Client is able to properly extend the Segment Timeline even though no
actual media data may be present.

6.3Segment formats for ISO base media file format

6.3.1 General

This subclause defines Segment formats based on the ISO Base Media File Format as specified in
ISO/IEC 14496-12. All Segment formats defined in subclause 6.3 shall contain one or more boxes in
accordance with the box structure of the ISO base media file format ISO/IEC 14496-12.
Refinements on generic concepts are introduced in subclause 6.3.2. Segment formats are defined for
Initialization Segments (subclause 6.3.3), Media Segments (subclause 6.3.4) and Self-Initializing Media
Segments (subclause 6.3.5). Bitstream Switching Segments and Index Segments are not defined for this
media format.
6.3.2 Preliminaries: Refinements of generic concepts

6.3.2.1 Subsegments

Media Subsegments for Media Segments based on the ISO base media file format are defined as a self-
contained set of one or more consecutive movie fragments; such a set contains one or more movie


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fragment boxes with the corresponding media data ('mdat') box(es). A media data box containing data
referenced by a movie fragment ('moof') box shall follow that movie fragment box and precede the next
movie fragment box, if any, containing information about the same track.
For a Media Subsegment, the value of the reference_type field in the describing Segment Index
('sidx') box shall be set to 0.
6.3.2.2 Media stream access points

Different types of media stream access points for the ISO base media file format are defined in
ISO/IEC 14496-12, Annex I.
6.3.2.3 Segment Index

If the Segment Index is provided, the Segment Index ('sidx') box in ISO/IEC 14496-12 shall be used.
Exact definitions for the use of the Segment Index ('sidx') box with media formats based on the
ISO base media file format are specified in ISO/IEC 14496-12.
6.3.2.4 Subsegment Index

If the Subsegment Index is provided, the Subsegment Index ('ssix') box in ISO/IEC 14496-12 shall be
used. Exact definitions for the use of the Subsegment Index ('ssix') box for the use with media formats
based on the ISO base media file format are specified in ISO/IEC 14496-12.
6.3.3 Initialization Segment format

The Initialization Segment shall conform to the ISO base media file format.
The Initialization Segment shall contain an "ftyp" box, and a “moov” box. It shall not contain any "moof"
boxes. It may contain other boxes, such as the "pdin" box. The tracks in the "moov" box shall contain no
samples (i.e. the entry_count in the "stts", "stsc", and "stco" boxes shall be set to 0), and the "moov"
box is thus small.
      NOTE 1     This can reduce the start-up time significantly as the Initialization Segment needs to be downloaded
      before any Media Segment can be processed.

The "mvex" box shall be contained in the "moov" box to indicate that the client has to expect movie
fragments. The "mvex" box also sets default values for the tracks and samples of the following movie
fragments.
The Initialization Segment provides the client with the metadata that describes the encoding of the media
content, specifically of the Representation. The media engine in the client uses the information in the
"moov" box to identify the available media content components and their characteristics.
      NOTE 2    It is expected that the media engine in the DASH Clients does not require any information in the
      MPD for successful decoding and presentation of the contained media streams.

6.3.4 Media Segment types

6.3.4.1 General

Media Segments can be of different types: Delivery Unit Media Segments, simple Media Segments,
Random Access Media Segments, Switching Media Segments, Indexed Media Segments, Sub-Indexed
Media Segments.
All Media Segments shall conform to the general definitions in subclause 6.3.4.2. Additional type-specific
constraints are provided further below in subclause 6.3.4.



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Further rules on Media Segments in combination with certain MPD attributes are provided in subclause
7.3.
Media Segments may conform to multiple types. Conformance can be expressed by adding the brand(s)
to the 'styp' box as a compatible brand and, if applicable, as the major brand.
Unless explicitly mentioned differently, the boxes referred in subclause 6.3.4 are specified in
ISO/IEC 14496-12.
6.3.4.2 Delivery Unit Media Segment

A Media Segment conforming to the Media Segment Format is defined as follows:
— Each Media Segment shall contain one or more whole self-contained movie fragments. A whole, self-
  contained movie fragment is a movie fragment ('moof') box and a media data ('mdat') box that
  contains all the media samples that do not use external data references referenced by the track runs
  in the movie fragment box.

— Each 'moof' box shall contain at least one track fragment.

— The 'moof' boxes shall not use external data references, the flag 'default-base-is-moof'
  shall be set, and data-offset shall be used, i.e. 'base-data-offset-present' shall not be
  used. This combination of settings is referred to as movie-fragment relative addressing for media
  data.

— Absolute byte-offsets shall not be used for this media data. In a movie fragment, the duration by
  which each track extends should be as close to equal as practical. In particular, as movie fragments
  are accumulated, the track durations should remain close to each other and there should be no 'drift'.

— Each Media Segment may carry 'dums' in the Segment Type box ('styp') as a compatible brand.
  The conformance requirements of this brand are defined in this subclause.

6.3.4.3 Simple format type

A Media Segment conforming to the Simple Media Segment Format for DASH is defined as follows:
— It shall conform to the Delivery Unit Media Segment format as specified in subclause 6.3.4.2.

— Each 'traf' box shall contain a 'tfdt' box.

     NOTE       The track fragment adjustment box 'tfad' as defined in 3GPP TS26.244 can also be present.
     DASH Clients are discouraged to apply both the alignment established by the 'tfdt' and the time-shifting
     implied by the #tfad#, which would result in a double correction.

— Each Simple Media Segment may contain one or more 'sidx' boxes. If present, the first 'sidx'
  box shall be placed before any 'moof' box and the first Segment Index box shall document the entire
  Segment.

— For the purpose of determining overlapping and non-overlapping segments, redundant samples as
  defined in ISO/IEC 14496-12 shall be ignored. In other words, the earliest presentation time of any
  access unit in the stream shall be computed without taking redundant samples into account.

— Each Media Segment may contain a 'styp' box and if present shall carry 'msdh' as a compatible
  brand. The conformance requirement of this brand is defined in this subclause.




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6.3.4.4 Indexed Media Segment

A Media Segment conforming to the Indexed Media Segment Format is defined as follows:
— Each Media Segment shall comply with the Delivery Unit Media Segment as defined in subclause
  6.3.4.2 and in addition in each self-contained movie fragment, the movie fragment ('moof') box is
  immediately followed by its corresponding media data ('mdat').

— Each Media Segment shall contain one or more 'sidx' boxes. The first 'sidx' box shall be placed
  before any 'moof' box and shall document Subsegments that span the composition time of the
  entire Segment.

— Each Media Segment shall carry 'msix' as a compatible brand. The conformance requirements of
  this brand are defined in this subclause.

6.3.4.5 Sub-Indexed Media Segment

A Media Segment conforming to the Sub-Indexed Media Segment Format is defined as follows:
— It shall conform to the indexed Media Segment format as specified in subclause 6.3.4.3.

— The Subsegment Index box ('ssix') shall be present and shall follow immediately the 'sidx' box
  that documents the same Subsegment. This immediately preceding 'sidx' shall only index Media
  Subsegments.

— It shall carry 'sims' in the Segment Type box ('styp') as a compatible brand. The conformance
  requirements of this brand are defined in this subclause.

6.3.4.6 Random Access Media Segment

A Media Segment conforming to the Random Access Media Segment Format is defined as follows:
— It shall conform to the Simple format as specified in subclause 6.3.4.3.

— The first access unit in each movie fragment in a Random Access Media Segment shall correspond to
  the Isau of a SAP of type 1, 2, or 3.

— The media segment shall carry sufficient information to access the media in the stream, e.g. all
  necessary encryption in combination with the Initialization Segment, if available.

6.3.5 Self-Initializing Media Segment formats

6.3.5.1 General format type

The Self-Initializing Media Segment is conformant with the ISO base media file format and defines the
DASH Self-Initializing Media Segment 'dsms' brand.
The Self-Initializing Media Segment is conformant with the ISO base media file format.
NOTE      Since one Representation only contains one self-initializing Media Segment, switching is expected to
happen within the Segment, e.g. at a Subsegment that contains a SAP.




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6.3.5.2 Indexed self-initializing Media Segment

The Indexed Self-Initializing Media Segment conforms to the concatenation of an Initialization Segment
and a single Indexed Media Segment without the 'styp' box preceding the Media Segment and shall
carry 'dash' as a compatible brand.
The format of the Indexed self-initializing Media Segment is a conforming ISO base media file format file
and defines the 'dash' brand.

6.4Segment formats for MPEG-2 transport streams

6.4.1 General

This subclause introduces Segment formats that are suitable to be used if Media Segments are valid
MPEG-2 TS, conforming to ISO/IEC 13818-1.
     NOTE      It is possible to encapsulate MPEG-2 TS formatted media within an ISO base media file format. This
     mode of operation is not discussed in this subclause. If MPEG-2 TS formatted media is encapsulated in an
     ISO base media file format, then the rules as defined in subclause 6.3 apply.

Refinements on generic concepts are introduced in subclause 6.4.2. Segment formats are defined for
Initialization Segments (see subclause 6.4.3), Media Segments (see 6.4.4), Bitstream Switching Segments
(see subclause 6.4.5) and Index Segments (see subclause 6.4.6). MPEG-2 TS specific box structures are
defined in subclause 6.4.7.
6.4.2 Preliminaries: Refinements of generic concepts

6.4.2.1 Subsegment

In the context of MPEG-2 TS based delivery formats, a Subsegment is defined as an indexed set of access
units consecutive in decode order. A subsegment shall contain complete access units for the indexed
media stream (i.e. stream for which reference_ID equals PID); however, it may contain incomplete
PES packets from other media streams.
These access units are encapsulated in one or more PES packets. Each PES packet is encapsulated into
one or more TS packets with the same PID value.
6.4.2.2 Media stream access points

For the case of MPEG-2 TS, a media stream is equivalent to an Elementary Stream as defined in
ISO/IEC 13818-1.
Different types of media stream access points are defined in ISO/IEC 14496-12, Annex I. The same type
definitions shall apply for the MPEG-2 TS. More specifically, in the case of MPEG-2 TS, a SAP corresponds
to an Elementary Stream Random Access Point, as defined in ISO/IEC 13818-1. Consequently, ISAU is the
position of the first (sync) byte of a TS packet with PID assigned to this Elementary Stream. This TS packet
contains the first byte of a PES packet, which, in turn, contains the Elementary Stream Access Point. PES
packet starting at ISAU shall contain only an integral number of access units and shall contain a PTS.
     NOTE 1       ISAU generally corresponds to the start of a TS packet with PID value for one Elementary Stream, the
     payload_unit_start_indicator field set to '1', adaptation_field_control set to '11', and
     the random_access_indicator field in the Adaptation Field is set to '1'. For SAP types 1-3, the
     random_access_indicator field in the Adaptation Field is commonly set to '1' (this is the case unless
     no PES payload bytes are found within the packet payload).

     NOTE 2     Following the definitions in this subclause, the first packet of the PCR PID is present at or prior to
     the TS packet at smallest ISAP. If PCRs are carried on a media PID, the first packet of this PID is the first packet
     following the initialization data, and carries a PCR. In order to avoid changing the underlying content, the



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      implementer is able to choose adding a packet carrying only adaptation field with a PCR, but no payload. This
      packet is placed prior to the smallest ISAU of any stream in this Representation.

      NOTE 3       If Index Segment is provided, and the 'pcrb' box is present, PCR can be inferred from this box.

6.4.2.3 Segment Index

If the Segment Index is provided, the Segment Index ('sidx') box in ISO/IEC 14496-12 shall be used
for Segment Indexing. In addition to these definitions, the following conditions shall be met for a Segment
Index used to describe MPEG-2 TS based Media Segment:
— reference_ID field of 'sidx' box shall be the PID value of the indexed stream.

— All media offsets within 'sidx' boxes shall be to the first (sync) byte of a TS packet.

      NOTE         Times within 'sidx' boxes are expressed in units of the timescale field, rather than in 90KHz
      clock ticks.

6.4.2.4 Subsegment Index

If the Subsegment Index is provided, the Subsegment Index ('ssix') box in ISO/IEC 14496-12 shall be
used for indexing byte ranges within a subsegment. In addition to these definitions, the following
conditions shall be met for a Segment Index used to describe MPEG-2 TS based Media Segment.
— All media offsets within 'ssix' boxes shall be to the first (sync) byte of a TS packet.

6.4.3 Initialization Segment types and formats

6.4.3.1 Initialization information

Initialization information is any information necessary to enable the media engine to start decoding the
payload of any TS packet belonging to any media stream within a (Sub)Segment.
Untimed initialization information includes PAT, CAT, PMT, EMM, and any other PSI information possibly
included by the Media Presentation author. Any additional information that does not alter the Media
Presentation timeline is allowed.
Time-varying initialization information is information that is required for the successful start of playout
but is different for at least two Subsegments or Segments within a Representation.
Mandatory initialization information summarizes information that shall be present prior to any media
data to enable decoding and presentation. As a consequence, mandatory initialization information
includes at least the following information, in this order:
— PAT (untimed, unless changes within the Representation);

— PMT (untimed, unless changes within the Representation);

— PCR (time-varying).

If MPEG-2 Conditional Access is used, ECM is considered mandatory untimed initialization information if
it does not change for the whole duration of the Period; otherwise it is considered mandatory time-
varying initialization information.




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6.4.3.2 Initialization Segment

An Initialization Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
The concatenation of an Initialization Segment with any Media Segment shall have the same presentation
duration as the original Media Segment.
The Initialization Segment shall contain mandatory untimed initialization information as defined in
subclause 6.4.3.1. Time-varying initialization information shall not be present in the Initialization
Segment, i.e.
— PCR-bearing packets shall not be present in the Initialization Segment;

— ECM may be present as long as it does not change within the entire Representation;

— Any PSI table may be present as long as it does not change within the entire Representation.

The Initialization Segment shall contain only complete sections.
Initialization Segment may or may not be present. If it is not present for a given Representation, all Media
Segments belonging to this Representation shall be self-initializing. Also, if an Initialization Segment is
used, not all initialization information needs to reside in the Initialization Segment, only presence of
complete initialization information in the concatenation of Initialization Segment and Media Segment is
required.
6.4.4 Media Segment types and formats

6.4.4.1 General

All Media Segments shall conform to the basic Media Segment in subclause 6.4.4.2.
Further rules on Media Segments in combination with certain MPD attributes are provided in subclause
7.4.
6.4.4.2 Basic Media Segment

A Media Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
As a consequence of the requirement in subclause 5.3.5.1, the concatenation of consecutive Media
Segments of the same Representation shall also yield a valid MPEG-2 TS conforming to ISO/IEC 13818-1.
In addition, the following conditions shall be met:
— Media Segments shall contain complete MPEG-2 TS packets,

— Media Segments shall contain exactly one program,

— All time-varying initialization information shall be present between ISAP and ISAU and/or in the Index
  Segment, if present,

— No Media Segment shall depend on initialization information appearing in any preceding Media
  Segment.

Media Segments should contain only complete PES packets and sections. Each PES packet should be
comprised of one or more complete access units in each packet. Media Segments should contain only
complete access units.




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6.4.4.3 Content Protection

All information necessary for decrypting, or locating information required to decrypt, the encrypted TS
packets in a (Sub)Segment shall be present before the encrypted packet(s) to which they apply, either in
the same (Sub)Segment, and/or in the Initialization Segment (if used). As an example, this requires the
presence of the ECM necessary for decrypting the first encrypted packet of the (Sub)Segment is within
the (Sub)Segment before such a packet. A Subsegment may not have an ECM preceding the first encrypted
packet if the location of this ECM can be determined using an Index Segment.
      NOTE        Sub-Representations can be arranged such that information such as ECM is included in all Sub-
      Representations that need them, for example by assigning the ECM an individual level and add dependency on
      all relevant Sub-Representations on this level.

6.4.4.4 Self-initializing Media Segment

A Self-initializing Media Segment conforms to the basic Media Segment as defined in subclause 6.4.4.2
and in addition shall contain at least all mandatory untimed and timed initialization information as
defined in subclause 6.4.3.1.
All required initialization information as defined in subclause 6.4.3.1 should be present prior to any
media data.
6.4.5 Bitstream Switching Segment

A Bitstream Switching Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
A Bitstream Switching Segment, when concatenated with any Media Segment, shall not alter the Media
Presentation timeline for the corresponding Media Segment.
If initialization information is carried within a Bitstream Switching Segment, it shall be identical to the
one in the Initialization Segment, if present, of the Representation.
      NOTE       Authors are encouraged to use Bitstream Switching Segments when there is a reasonable
      expectation of non-conforming behaviour (such as continuity counter errors, etc.) at the concatenation point
      of two consecutive Media Segments from different Representation, lack of correct initialization information
      (two Representations with different initialization information).

6.4.6 Index Segment

6.4.6.1 General

Index Segments consist of a sequence of ISO BMFF-box-structures.
Index Segments may either be associated to a single Media Segment as specified in subclause 6.4.6.2 or
may be associated to all Media Segments in one Representation as specified in subclause 6.4.6.3. An Index
Segment may also contain a Subsegment Index as specified in subclause 6.4.6.4 and any other boxes
defined in subclause 6.4.7.
It is recommended that Index Segments be at least provided for one media stream.
      NOTE 1      Although the Media Segments are MPEG-2 TS based, Index Segments are reusing ISO BMFF-box-
      structures. This allows the DASH access client in the model of Figure 2 to be universal and independent of the
      Media Format.

      NOTE 2     Index Segments are not valid ISO BMFF files, and complete implementation of ISO BMFF is not
      necessary to utilize indexes in a MPEG-2 TS based client. A partial implementation would suffice, since only few
      ISO BMFF boxes, such as 'styp', 'sidx', and 'ssix', are required in order to parse an MPEG-2 TS Index
      Segment.




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Other box types may be present in an MPEG-2 TS Index Segment, but, if present, they shall not contain
information required to interpret the 'styp', 'sidx' or 'ssix' boxes.
6.4.6.2 Single Index Segment

A Single Index Segment indexes exactly one Media Segment and is defined as follows:
— Each Single Index Segment shall begin with a 'styp' box, and the brand 'sisx' shall be present
  in the 'styp' box. The conformance requirement of the brand 'sisx' is defined in this subclause.

— Each Single Index Segment shall contain one or more 'sidx' boxes which index one Media Segment.

— A Single Index Segment may contain one or multiple 'ssix' boxes. If present, the 'ssix' shall
  follow the 'sidx' box that documents the same Subsegment without any other 'sidx' preceding
  the 'ssix'.

— A Single Index Segment may contain one or multiple 'pcrb' boxes as defined in subclause 6.4.7.2.
  If present, 'pcrb' shall follow the 'sidx' box that documents the same Subsegments, i.e. a
  'pcrb' box provides PCR information for every subsegment indexed in the last 'sidx' box.

6.4.6.3 Representation Index Segment

A Representation Index Segment indexes all Media Segments of one Representation and is defined as
follows:
— Each Representation Index Segment shall begin with an 'styp' box, and the brand 'risx' shall
  be present in the 'styp' box. The conformance requirement of the brand 'risx' is defined by this
  subclause;

— Each Media Segment is indexed by one or more Segment Index box(es); the boxes for a given Media
  Segment are contiguous;

— Each Segment Index box may be followed by an 'ssix' and/or 'pcrb' box;

— The Segment Index for each Media Segments is concatenated in order, preceded by a single Segment
  Index box that indexes the Index Segment. This initial Segment Index box shall have one entry in its
  loop for each Media Segment, and each entry refers to the Segment Index information for a single
  Media Segment.

The structure of a Representation Index Segment is shown in Figure 6. This figure illustrates a case where
a Representation Index Segment is provided and the Subsegment Index is used in order to enable efficient
trick mode operation. The figure shows four consecutive Subsegments, S0, S1, S2, and S3, each indexed
by an 'sidx' box, and two temporal layers within a video stream, I frames (L0) and P frames (L1),
indexed by an 'ssix' box.




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                          Figure 6 — Structure of Representation Segment Index

6.4.6.4 Subsegment Index Segment

A Subsegment Index Segment shall conform to an Index Segment and shall also include a Subsegment
Index. A Subsegment Index Segment is defined as follows:
— It shall be either a Single Index Segment or a Representation Index Segment.

— The Subsegment Index box ('ssix') shall be present and shall follow immediately the 'sidx' box
  that documents the same Subsegment. The value of the reference_type field shall be equal to 0
  for this Subsegment in this immediately preceding Segment Index ('sidx') box. If the #pcrb# box
  is present, it shall follow 'ssix'.

— It shall carry 'ssss' in the Segment Type box ('styp') as a compatible brand. The conformance
  requirement of this brand is defined in this subclause.

6.4.7 Boxes used with MPEG-2 TS Index Segments

6.4.7.1 General

Index Segments may contain additional auxiliary information contained in boxes conforming to the
ISO base media file format boxes. Boxes exclusively relevant for the MPEG-2 TS Media Segments are
documented in subclause 6.4.7.




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6.4.7.2 MPEG-2 TS PCR information box

6.4.7.2.1 Definition

Box Type: 'pcrb'
Container: File
Mandatory: No
Quantity: Zero or one
Signals the PCR information for MPEG-2 TS.
6.4.7.2.2 Syntax

aligned(8) class MPEG2TSPCRInfoBox extends Box(#pcrb#, 0) {
      unsigned int(32)   subsegment_count;
      for( i=1; i <= subsegment_count; i++){
            unsigned int(42)   pcr;
            unsigned int(6)    pad = 0;
      }
}

6.4.7.2.3 Semantics
— subsegment_count is a positive integer specifying the number of Subsegments for which partial
  Subsegment information is specified in this box. subsegment_count shall be equal to
  reference_count in the last Segment Index box.

— pcr for each iteration of the loop indicates the MPEG-2 TS PCR corresponding to the first (sync) byte
  of the first MPEG-2 TS packet in the media Subsegment corresponding to the current iteration. If this
  TS packet carries a PCR, its value will be different from the one specified in this field, since
  ISO/IEC 13818-1 defines PCR as relative to the byte containing the last bit of the
  program_clock_reference_base field.

7 Combined semantics of MPD and Segment formats

7.1Overview

An MPD and the referenced Segments comprise a Media Presentation. The formats for these two key
components of a DASH-compatible Media Presentation are defined in Clauses 5 and 6. In this clause,
Media Presentation authoring rules are provided on how the MPD and different Segment formats may be
combined to establish a complete Media Presentation.
Specifically, aspects are addressed that deal with the Segment, that have special alignment with the
Segments of other Representations to enable and simplify seamless switching and joint presentation.
General Media Presentation authoring rules are provided in subclause 7.2 and specific ones for each
media format are provided in the remainder of Clause 7. Specifically, rules when using the ISO base media
file format are provided in subclause 7.3 and the rules when using the MPEG-2 TS are provided in
subclause 7.4. Guidelines for other formats are provided in Annex F.
     NOTE         Representation metadata present in the MPD can also be repeated in the media streams, e.g. in an
     Initialization Segment or a Media Segment. The Media Presentation is expected be provided such that no
     mismatch between these two values occurs. If it does, the value in the media stream itself takes precedence
     over values expressed in the MPD, especially when used in the media decoding process. In addition, it is is
     important to consider that metadata in the MPD is primarily used for selection of Representations by the DASH
     Client, whereas data in the media stream is used by the media decoder in order to establish the decoding and
     rendering process. Metadata in the MPD is preferably added if the Media Presentation author expects that the
     DASH Client can make use of this information in the selection process.


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7.2General

7.2.1 Media Presentation timeline

One of the key features in DASH is that encoded versions of different media components share a common
timeline. The presentation time of access unit within the media content is mapped to the global common
presentation timeline for synchronization of different media components and to enable seamless
switching of different coded versions of the same media components.
The presentation times within each Period are relative to the PeriodStart time of the Period minus the
value of the @presentationTimeOffset, TO, of the containing Representation. This means for an
access unit with a presentation time TP signalled in the media stream, the Media Presentation time
relative to the PeriodStart is TM=TP"TO.
A Representation should cover all presentation times TP that are greater than and equal to the value of
the @presentationTimeOffset, TO. If smaller values are present, i.e. the value of the @eptDelta is
negative, then presentation of the Media Segment is expected to only take place for presentation times
greater than or equal to TO.
In case the @duration attribute is used for the signalling of the duration of Segments, then the MPD
start times as defined in subclause 5.3.9.5.3 should provide an approximation of the Media Presentation
time TM within the Period. Specifically, the difference between MPD start time and presentation time TP
shall not exceed 50% of value of @duration divided by the value of the @timescale attribute. In case
the Segment Timeline is used for the signalling of the duration of Segments, then the MPD start times as
defined in subclause 5.3.9.5.3 shall provide exactly the Media Presentation time TM within the Period, i.e.
the MPD start time is the earliest presentation time of the Segment.
At the start of a new Period, the playout procedure of the media content components may need to be
adjusted at the end of the preceding Period to match the PeriodStart time of the new Period as there may
be small overlaps or gaps with a Representation at the end of the preceding Period. Overlaps (respectively
gaps) may result from Media Segments with actual presentation duration of the media stream longer
(respectively shorter) than indicated by the Period duration.
There may be cases where the Media Presentation author observes issues in generating media, especially
for live services. This can be because the input signal to the encoder is not available or the encoder is
down. Generally, the Media Presentation author should address these issues by providing redundant
architectures or by the use of specific outage or blackout signals. Also, if the format in use permits, empty
Segments or zero duration Segments may be used.
However, if such remedies are not available, the Media Presentation author may signal gaps in the
timeline. If the Segment Timeline is in use as defined in subclause 5.3.9.6, the gaps in the timeline may be
explicitly signalled. Alternatively, gaps in the segment timeline may be signalled by leaving gaps.
If no such means are available, early termination Periods may be used as defined in subclause 5.3.2. In
this case, the gaps at the end of the Period may be longer than indicated above. A client is expected to
overcome such outages and continue the Media Presentation with the availability of a new Period.
For     the      case      when    MPD@type        is    "dynamic"        and      the     attribute
MPD@suggestedPresentationDelay is present, then the sum of value of the
MPD@availibilityStartTime, the PeriodStart value, the presentation time within the Period of an
access unit, TM, and the value of the attribute MPD@suggestedPresentationDelay provides a
mapping of the presentation time of each access unit to the wall-clock time, for example to express
synchronization with a content internal time or for other reasons to enable synchronization of
presentation to the wall-clock.
Further media format specific definitions of presentation time may be defined.




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7.2.2 Segment Index

If a Segment Index is present in a Media Segment of one Representation within an Adaptation Set, then
the following shall hold:
— the order of Segment Index boxes for multiple media streams induces an ordering on the media
  content components equal to the order in which a Segment Index box for a media stream for each
  component first appears. This ordering shall be the same for all Segments of all Representations of
  an Adaptation Set. As a consequence, if there is a Segment Index for a media content component in
  one Segment, there shall be a Segment Index for that media component in all Segments in this
  Adaptation Set.

— non-indexed media streams in all Representations of an Adaptation Set shall have the same access
  unit duration.

7.2.3 Segment alignment

The requirements stated in subclause 5.3.3.2 shall apply.
7.2.4 Subsegment alignment

The requirements stated in subclause 5.3.3.2 shall apply.
7.3Media Presentation based on the ISO base media file format

7.3.1 General

The Media Presentation as introduced in Clauses 5 and 6 is instantiated in this subclause using the
ISO base media file format as defined in ISO/IEC 14496-12 as Segment formats.
An ISO BMFF-based DASH Media Presentation is described by an MPD as specified in subclause 5.1. The
MIME type of the MPD shall be as defined in Annex C.
The general rules defined in subclause 7.2 shall apply.
The @mimeType attribute of each Representation shall be provided according to IETF RFC 4337.
Additional parameters may be added according to IETF RFC 6381.
If present, the @SegmentProfiles shall provide a whitespace-separated list of the individual Segment
profile identifiers.
The following Segment types and formats may be used:
— Initialization Segments complying with formats as defined in subclause 6.3.3.

— Media Segments complying with formats as defined in subclause 6.3.4.2.

— Self-Initializing Media Segments complying with formats as defined in subclause 6.3.5.

For ISO BMFF-based Media Presentation, the following applies:
1) In all cases for which a Representation contains more than one Media Segment, the following applies:

     i)    The Initialization Segment as defined in subclause 6.3.3 shall be present.

     ii) Media Segments shall not be self-initializing. The Media Segment format is defined in subclause
         6.3.4.




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      iii) If the Media Segment is the last Media Segment in the Representation, this Media Segment may
           carry the 'lmsg' compatibility brand. If the Media Segment is not the last Media Segment in the
           Representation, the 'lmsg' compatibility brand shall not be present. The 'lmsg' type is
           defined in this subclause.

2) In case a Representation contains only a single Media Segment, then one of the following two options
   are valid.

      — One Initialization Segment as defined in subclause 6.3.3 and one Media Segment as defined in
            subclause 6.3.4 that is not self-initializing.

      — One Self-Initializing Media Segment as defined in subclause 6.3.5.

Index Segments may be present.
The content authoring rules for the Media Segments in combination with certain MPD attributes for ISO
BMFF-based DASH are provided in subclause 7.3.2.
In case Sub-Representations are used, the rules in subclause 7.3.4 shall apply.
7.3.2 Media presentation timeline

The presentation time TP internal in the media that maps the media to the Media Presentation timeline
shall be relative to the movie timeline, i.e. they are composition times after the application of any edit list
for the track, as defined in ISO/IEC 14496-12, subclause 8.16.3.
It is recommended that the @timescale attribute in the MPD matches the timescale field in the
Media Header Box of a present track. If the Segment Index ('sidx') box is present, then it is further
recommended that the track for which the Segment Index ('sidx') box appears first in the Media
Segment is the track defining the value of the @timescale attribute.
7.3.3 Authoring Rules for specific MPD attributes

7.3.3.1 Segments starting with media stream access points

No additional requirements beyond those stated in subclauses 5.3.3.2 and 6.3.2.2 are defined.
7.3.3.2 Bitstream switching

If the @bitstreamSwitching is set to 'true' for a set of Representations within an Adaptation Set,
the conditions stated in subclause 5.3.3.2 shall be satisfied and the Bitstream Switching Segment shall not
be present.
As a consequence of @bitstreamSwitching being set to 'true', at least the following conditions are
satisfied:
— The track IDs for the same media content component are identical for each Representation in each
  Adaptation Set.

— The conditions required for setting the @segmentAlignment attribute to a value other than
  'false' for the Adaptation Set are fulfilled.

— The conditions required for setting (i) the @startWithSAP attribute to 2 for the Adaptation Set,
  or (ii) the conditions required for all Representations within the Adaptation Set to share the same
  value of @mediaStreamStructureId and setting the @startWithSAP attribute to 3 for the
  Adaptation Set, are fulfilled.




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7.3.4 Sub-Representations

If a SubRepresentation element is present in a Representation in the MPD and the attribute
SubRepresentation@level is present, then the Media Segments in this Representation shall
conform to a Sub-Indexed Media Segment as defined in subclause 6.3.4.4. The Initialization Segment shall
contain the Level Assignment ('leva') box.
The attribute @level specifies the level to which the described Sub-Representation is associated to in
the Subsegment Index. The information in Representation, Sub-Representation and in the Level
Assignment ('leva') box contains information on the assignment of media data to levels.
Media data should be ordered such that each level provides an enhancement compared to the lower
levels.
7.3.5 Segment Timeline without Segment Index

If the Segment Timeline is in use and the $Time$ templating is applied and no Segment Index ('sidx')
box is present in the Media Segment, then:
— a single track shall be present in the Media Segment;

— a single movie fragment header shall be present in the Media Segment;

— the baseMediaDecodeTime in the 'tfdt' of the first movie fragment shall be the earliest
  presentation time of the Segment and may be used for generating the URL for this segment;

— the sum of all sample_duration of track run boxes ('trun') of the only track fragment box shall
  be the presentation duration of the Segment and may therefore be used to derive the address of the
  next Media Segment from the actual Media Segment without requiring an updated MPD.

7.4Media Presentation based on MPEG-2 TS

7.4.1 General

In this subclause, a Media Presentation is instantiated based on Media Segment Formats using the MPEG-
2 TS as defined in ISO/IEC 13818-1. A MPEG-2 TS-based DASH Media Presentation is described by an
MPD as specified in subclause 5.2. The MIME type of the MPD shall be as defined in Annex C.
The general rules defined in subclause 7.2 shall apply.
The @mimeType attribute of each Representation shall be "video/mp2t".
The following Segment types and formats may be used:
— Initialization Segments complying with formats as defined in subclause 6.4.3,

— Media Segments complying with formats as defined in subclause 6.4.4,

— Bitstream Switching Segments complying with formats as defined in subclause 6.4.5,

— Index Segments complying with formats as defined in subclause 6.4.6.

The @segmentProfiles attribute may be absent. If present, it is expected to be ignored.
If the Segment Timeline is in use and the $Time$ templating is applied, the Segment Index shall be
present.




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7.4.2 Media presentation timeline

The presentation time TP internal in the media that maps the media to the Media Presentation timeline
shall be the one defined by the PTS in the MPEG-2 TS.
More specifically, for one Representation, let PTS(i) be the PTS of the ith access unit in the media
stream. Furthermore, let PTSA(i) be PTS(i) adjusted for 33-bit rollovers, i.e. calculated as if PTS had
an infinite amount of bits.
TP calculation is based on differences between PTS(i) and PTS(0), and therefore
TP(i)=[PTSA(i)"PTS0]*S/90 000 with PTS0 typically PTS(0). With appropriate scaling, PTS0 can
be derived from the value of @presentationTimeOffset attribute.
      NOTE        If Index Segment is used, S is provided by in the timescale field of the 'sidx' box.

If a media stream contains a discontinuity, the PTSA(i) calculation assumes relative timing is
maintained. Therefore, PTSA(i) is adjusted by the difference between the value of PCR of the first PCR-
bearing packet after the discontinuity and its interpolated PCR value (calculated using the pre-
discontinuity PCR rate).
In case of discontinuities, it is recommended to add a new Period to reset the value of
@presentationTimeOffset.
It is recommended that the @timescale attribute in the MPD match the clock frequency S of the
elementary streams. If the Segment Index ('sidx') box is present, then it is further recommended that
the media stream for which the Segment Index ('sidx') box that appears first in the Index Segment is
the elementary stream defining the value of the @timescale attribute.
7.4.3 Authoring rules for specific MPD attributes

7.4.3.1 Segments starting with Media stream access points

No additional requirements beyond those stated in subclauses 5.3.3.2 and 6.4.2.2 are defined.
7.4.3.2 Segment alignment

If the @segmentAlignment attribute is not set to 'false', the requirements stated in subclauses
5.3.2 and 5.3.3.2 shall be met. In addition, the Media Segment shall contain only complete PES packets
and sections and only complete access units for each PID, and the first PES packet shall contain a PTS
timestamp.
7.4.3.3 Subsegment alignment

If the @subsegmentAlignment flag is not set to 'false', the semantics as defined in subclause
5.3.3.2 shall apply. In particular, for an MPEG-2 TS-based Media Presentation, a Subsegment shall contain
only complete PES packets and sections for each PID, and the first PES packet from each elementary
stream shall contain a PTS.
7.4.3.4 Bitstream switching

If @bitstreamSwitching flag is set to 'true' for a set of Representations within an Adaptation Set,
then the conditions stated in subclause 5.3.3.2 shall be satisfied. In addition, the conditions in subclause
5.3.3.2 shall not only hold for the entire sequence from i=1,...,M, but for any consecutive sequence of
segments with any start index iS=1,...,M and any end index iE=iS,...,M.




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If @bitstreamSwitching flag is set to 'true', the Bitstream Switching Segment may be present,
indicated by BitstreamSwitching in the Segment Information. In this case, for any two
Representations, X and Y, within the same Adaptation Set, concatenation of Media Segment i of X,
Bitstream Switching Segment of Representation Y, and Media Segment i+1 of Representation Y shall be a
MPEG-2 TS conforming to ISO/IEC 13818-1.
As a consequence of the conformance rule as stated in subclause 5.3.3.2, at least the following conditions
are satisfied if @bitstreamSwitching flag is set to 'true':
— The conditions required for setting the @startWithSAP attribute to 2 for the Adaptation Set, or
  the conditions required for all Representations within the Adaptation Set sharing the same value of
  @mediaStreamStructureId and setting the @startWithSAP attribute of the Adaptation Set 3,
  are fulfilled.

— The conditions required for setting the @segmentAlignment attribute not set to 'false' for the
  Adaptation Set are fulfilled.

— PCR shall be present in the Segment prior to the first byte of a TS packet payload containing media
  data, and not inferred from the 'pcrb' box.

7.4.4 Sub-Representations

If a SubRepresentation element is present in a Representation in the MPD and the
SubRepresentation@level is present, then an Index Segment shall be present and shall conform to
the format defined in subclause 6.4.6.4.
The Subsegment Index box shall contain at least one entry for the value of
SubRepresentation@level               and      for     each        value    provided       in    the
SubRepresentation@dependencyLevel. The remaining attributes of the SubRepresentation
element should provide sufficient information such that the data contained in the Sub-Representation
can be differentiated from the containing Representation as for the MPEG-2 TS no inband assignment of
levels is provided.
If Subsegment Index is used for extraction of temporal subsequences, PCR should precede the first bytes
of media within the range indicated in the Subsegment index. Also, encryption keys (if used) should not
change within the duration of a Subsegment.

8 Profiles

8.1Definition

Profiles of DASH are defined so as to enable interoperability and the signalling of the use of features.
A profile imposes a set of specific restrictions. Those restrictions are typically on features of the Media
Presentation Description (MPD) document and on Segment formats, but may also be on content delivered
within Segments, such as on media content types, media format(s), codec(s), and protection formats, or
on quantitative measures such as bit-rates, Segment durations and sizes, as well as horizontal and vertical
visual presentation size. Profiles defined in this document define restrictions on features of this document
and on Segment formats only (e.g. not codec types). Externally defined profiles may additionally impose
restrictions on other aspects.
     NOTE 1     A profile can also be understood as permission for DASH Clients that only implement the features
     required by the profile to process the Media Presentation (MPD document and Segments). However, as DASH
     Client operation is not specified normatively in this document, it is also unspecified how a DASH Client
     conforms to a particular profile. Hence, profiles merely specify restrictions on MPD and Segments rather than
     DASH Client behaviour.



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A profile has an identifier, which is a URI. The identifier of a profile shall not contain any comma. The
profiles with which an MPD complies are indicated in the MPD@profiles attribute as a comma-
separated list of profile identifiers. Profile identifiers defined in this document are URNs and shall
conform to IETF RFC 8141. Externally defined profiles may use profile identifiers that are URNs or URLs.
When a URL is used, it should also contain a month-date in the form mmyyyy; the assignment of the URL
must have been authorized by the owner of the domain name in that URL on or very close to that date, to
avoid problems when domain names change ownership.
An MPD is conforming when it satisfies the following:
1) The MPD is valid in terms of the schema defined in Annex B.

2) The MPD conforms to the requirements defined in this document.

3) The MPD conforms to each of the profiles indicated in the MPD@profiles attribute as specified
   below.

When ProfA is included in the MPD@profiles attribute, the MPD is modified into a profile-specific MPD
for profile conformance checking using the following ordered steps:
1) The MPD@profiles attribute of the profile-specific MPD contains only ProfA.

2) An AdaptationSet element for which @profiles does not or is not inferred to include ProfA is
   removed from the profile-specific MPD.

3) A Representation element for which @profiles does not or is not inferred to include ProfA is
   removed from the profile-specific MPD.

4) All elements or attributes that are either (i) in this document and explicitly excluded by ProfA, or (ii)
   in an extension namespace and not explicitly included by ProfA, are removed from the profile-specific
   MPD.

5) All elements and attributes that “may be ignored” according to the specification of ProfA are removed
   from the profile-specific MPD.

An MPD is conforming to profile ProfA when it satisfies the following:
1) ProfA is included in the MPD@profiles attribute.

2) The profile-specific MPD for ProfA is valid in terms of the schema defined in Annex B.

3) The profile-specific MPD for ProfA conforms to the normative semantics defined in this document.

4) The profile-specific MPD for ProfA conforms to the restrictions specified for ProfA.

A Media Presentation is conforming to profile ProfA when it satisfies the following:
1) The MPD of the Media Presentation is conforming to profile ProfA as specified above.

2) There is at least one Representation in each Period in the profile-specific MPD for ProfA.

3) The Segments of the Representations of the profile-specific MPD for ProfA conform to the restrictions
   specified for ProfA.

      NOTE 2    In other words, each MPD contains at least one Representation in each Period, which fulfils the
      requirements of a profile listed in MPD@profiles. There can be stricter rules on the occurrence of




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     Representations in the specified profiles. For example, it can be required that there is at least one
     Representation for each media type that contains or is inferred to have the profile identifier of a specific profile.

This document defines several profiles.
External organizations or individuals may define restrictions, permissions and extensions by using this
profile mechanism. It is recommended that such external definitions be not referred to as profiles, but as
Interoperability Points. Such an interoperability points may be signalled in the @profiles parameter
once a URI is defined. The owner of the URI is responsible to provide sufficient semantics on the
restrictions and permission of this interoperability point.
Several profiles are defined relying on the ISO base media FF as Segment formats.
Several other profiles are defined for MPEG-2 TS based Media Segment formats.
All profiles are a subset of the full profile is defined in subclause 8.2.
8.2Full profile

8.2.1 General

The full profile includes all features and Segment Types defined in this document.
The full profile is identified by the URN "urn:mpeg:dash:profile:full:2011".
8.2.2 Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.3 or 7.4 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

8.2.3 Segment format constraints

Representations and Segment formats shall conform to the following constraints:
— Representations shall comply either with the formats defined in subclause 7.3, referring to the
  Segment formats in subclause 6.3, or to the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

8.3ISO Base media file format On Demand profile

8.3.1 General

This profile is intended to provide basic support for On-Demand content. The primary constraints
imposed by this profile are the requirement that each Representation is provided as a single Segment,
that Subsegments are aligned across Representations within an Adaptation Set and that Subsegments
begin with Stream Access Points. This permits scalable and efficient use of HTTP servers and simplifies
seamless switching.
The On-Demand profile is identified by the URN "urn:mpeg:dash:profile:isoff-on-
demand:2011".
8.3.2 Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the segments as defined in subclause 7.3 shall apply.



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— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.3.1 may be ignored.

      NOTE        A necessary condition to comply with the restrictions defined in subclause 7.3 is that the
      @mimeType equals video/mp4, audio/mp4, or application/mp4.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— MPD@type shall be "static".

— The Subset element may be ignored.

— Neither the Period.SegmentList element nor the Period.SegmentTemplate element shall
  be present.

— For Adaptation Sets conforming to this profile:

      — if either the AdaptationSet.SegmentList or the AdaptationSet.SegmentTemplate
              element is present in an AdaptationSet element then this AdaptationSet element
              may be ignored;

      — if          either         the     Representation.SegmentList     or      the
               Representation.SegmentTemplate element is present in a Representation
               element then this Representation element may be ignored;

      — if the Representation element does not contain a BaseURL element then this
            Representation element may be ignored;

      — AdaptationSet elements with AdaptationSet@subsegmentAlignment not present or
           set to 'false' may be ignored;

      — Representation elements with a @subsegmentStartsWithSAP value absent, zero or
           greater than 3 may be ignored;

      — Representation elements with @subsegmentStartsWithSAP value equal to 3 may be
           ignored if both the following conditions hold:

          — the containing Adaptation Set contains more than one Representation, and

          — no other Representation has the same value for @mediaStreamStructureId.

— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

8.3.3 Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.




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— Each Representation shall have one Segment that complies with the Self-Initializing Media Segment
  as defined in subclause 6.3.5.2.

— All Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be placed before any
  Movie Fragment ('moof') boxes.

— Index Segments shall not be present. However, a RepresentationIndex element or a
  @indexRange attribute may be present to signal the byte range for Segment Index within a Media
  Segment.

8.4ISO Base media file format live profile

8.4.1 General

This profile is optimized for live encoding and may achieve latency of a few seconds by encoding and
immediate delivery of short Segments consisting of one or more movie fragments of ISO file format,
typically with relatively short duration. Each movie fragment may be requested as soon as available using
a template generated URL, so it is not normally necessary to request an MPD update prior to each Segment
request. Segments are constrained so that accessing Representations at Segment boundaries is enabled
and seamless switching within one Adaptation Set may be performed by first processing
(i.e. downloading, decoding and presenting) the come-from Representations and then processing the go-
to Representation. Although the profile is optimized for live services, the MPD@type attribute may be set
to 'static' to distribute non-live content, for example in case a live Media Presentation is terminated,
but kept available as On-Demand service.
The ISO Live profile is identified by the URN "urn:mpeg:dash:profile:isoff-live:2011".
8.4.2 Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and segments as defined in subclause 7.3 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.4.1 may be ignored.

— In addition, Representation elements contained in an AdaptationSet element complying to
  this profile shall have the following constraints:

     — Representation elements with @startWithSAP value (either supplied directly or inherited
          from the containing AdaptationSet) equal to 3 may be ignored if both the following
          conditions hold:

           — the containing Adaptation Set contains more than one Representation, and

           — no other Representation has the same value for @mediaStreamStructureId.

     — The SegmentTemplate element shall be present on at least one of the three levels, the Period
           level containing the Representation, the Adaptation Set containing the Representation, or on
           Representation level itself.




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      — Representation elements with a @startWithSAP value (either supplied directly or
           inherited from the containing) absent, zero or greater than 3 may be ignored.

      — AdaptationSet elements with a @segmentAlignment value 'false' or absent may be
           ignored.

      — Representation elements with @startWithSAP value (either supplied directly or inherited
           from the containing Adaptation Set) equal to 3 may be ignored if both of the following
           conditions hold:

          — the containing Adaptation Set contains more than one Representation, and

          — no other Representation has the same value for @mediaStreamStructureId.

— Subset elements may be ignored.

— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the
  original and the updated MPD.

8.4.3 Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— Each Representation shall have one Initialization Segment and at least one Media Segment.

— Media Segments containing multiple Media Components shall comply with the formats defined in
  subclause 6.3.4.3, i.e. the brand 'msix'.

— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be
  placed before any Movie Fragment ('moof') boxes.

— Index Segments shall not be present.

8.5ISO Base media file format main profile

8.5.1 General

This profile is identified by the URN "urn:mpeg:dash:profile:isoff-main:2011".
8.5.2 Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and segments as defined in subclause 7.3 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.



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— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.5.1 may be ignored.

— The Subset element may be ignored.

— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

— For Adaptation Sets conforming to this profile:

     — Representation elements with a @startWithSAP value greater than 3 or contained in an
          AdaptationSet element with @subsegmentStartsWithSAP value greater than 3 may
          be ignored.

     — If MPD@type is 'dynamic',

           — AdaptationSet elements with a @segmentAlignment value 'false' or absent may
                   be ignored;

           — Representation elements with a @startWithSAP value (either supplied directly or
                   inherited from the containing AdaptationSet) absent or zero may be ignored.

     — Representation elements with @startWithSAP value (either supplied directly or inherited
          from the containing AdaptationSet) equal to 3 may be ignored if both the following
          conditions hold:

           — the containing Adaptation Set contains more than one Representation, and

           — no other Representation has the same value for @mediaStreamStructureId.

8.5.3 Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— At least one SAP of type 1 to 3, inclusive, shall be present for each track in each Subsegment.

— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be
  placed before any Movie Fragment ('moof') boxes.

— Each Media Segment of the Representations not having @startWithSAP present or having
  @startWithSAP value 0 or greater than 3 shall comply with the formats defined in subclause
  6.3.4.3, i.e. the brand 'msix'.

8.6MPEG-2 TS main profile

8.6.1 General

This profile imposes little constraint on the Media Segment format for MPEG-2 Transport Stream content.



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This profile is identified by the URN "urn:mpeg:dash:profile:mp2t-main:2011".
8.6.2 Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.4 shall apply.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not complying with the restrictions defined in subclause 7.4 or not inferred to have
  @profiles equal to the profile identifier as defined in subclause 8.6.1 may be ignored.

— Representations not in group 0 may be ignored.

— Subset may be ignored.

— Representations containing the SegmentTimeline element may be ignored.

— It shall be possible to present a presentation conforming to this profile without resolving
  @xlink:href in AdaptationSet or SegmentList elements. Any initial Period elements
  using @xlink:href may be ignored, and the first non-excluded Period shall have an explicit
  @start attribute. After the first non-excluded Period, there shall be no Period using @xlink:href.

— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the
  original and the updated MPD.

8.6.3 Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

8.6.4 Comments and recommendations

The following may be used, if desired:
— Representations not complying with the restrictions defined in subclause 7.4 may still be present,
  but the presentation should be presentable if they are ignored;

— Both SegmentTemplate or SegmentList elements may be used; the normal case is the use of
  SegmentList elements; however, clients should be capable of handling SegmentTemplate
  elements.

For Representations conforming to this profile:
— Index Segments should be supplied.

— AdaptationSet elements containing Representations conforming to this profile should not set the
  value of the @segmentAlignment attribute (either supplied directly or inherited from the
  containing MPD) to 'false'.




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— Representations conforming to this profile should set the value of the @startWithSAP to 1 or 2.
  @startWithSAP may be set to 3 if @mediaStreamStructureId is identical across
  Representations.

8.7MPEG-2 TS simple profile

8.7.1 General

This profile is a subset of MPEG-2 TS main profile as defined in subclause 8.6. It poses more restrictions
on content encoding and multiplexing in order to allow simple implementation of seamless switching.
This is achieved by guaranteeing that a media engine conforming to ISO/IEC 13818-1 can play any
bitstream generated by concatenation of consecutive segments from any Representation within the same
Adaptation Set.
This profile is identified by the URN "urn:mpeg:dash:profile:mp2t-simple:2011".
8.7.2 Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— All MPD constraints of MPEG-2 TS Main Profile as defined in subclause 8.6.2 shall be obeyed.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

— Representations not complying with the restrictions defined in subclause 7.4 or not inferred to have
  @profiles equal to the profile identifier as defined in subclause 8.7.1 may be ignored.

— If an Index Segment is provided, any Adaptation Set with @subsegmentAlignment                                         set to
  'false' may be ignored.

— Any Adaptation Set which contains more than one                                               Representation    and     has
  @bitstreamSwitching not set to 'true' may be ignored.

— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the
  original and the updated MPD.

8.7.3 Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for this
profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

— All Media Segment constraints of MPEG-2 TS main profile as defined in subclause 8.6.3 shall be
  obeyed.

— PSI information, including versions, shall be identical within all Representations contained in an
  AdaptationSet.

— If MPEG-2 Conditional Access framework is used, the same ECM shall be valid for the whole
  Subsegment, or for the whole Segment if Index Segment is not present.

— For an Index Segment, any single Segment Index ('sidx') box may either reference media, or other
  'sidx', but the same 'sidx' box may not reference both.


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8.7.4 Recommendations

For Representations conforming to this profile, it is recommended that:
— Index Segments be supplied,

— SegmentTemplate elements be used.

8.8ISO Base media file format extended live profile

8.8.1 General

This profile is largely an extension of ISO BMFF Live profile as described in subclause 8.4 of this
document. The main extensions are non-exclusion of remote elements and features introduced in the
second edition of this document, such as events.
This profile also imposes additional restrictions on MPD and Segment format in order to simplify
implementations.
The ISO-Base media file format extended live profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-ext-live:2014".
8.8.2 Media Presentation Description constraints

8.8.2.1 General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.

— Periods which do not conform to the constraints in subclause 8.8.2.2 may not be presented.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.8.1 may be ignored.

8.8.2.2 Constraints on Period elements

— The Subset element may be ignored.

— The Period.SegmentList element shall not be present.

— If a Period contains multiple Adaptation Sets with @contentType="video" then at least one
  Adaptation         Set       shall        contain       a        Role        element    with
  @schemeIdUri="urn:mpeg:dash:role:2011" and @value="main" and each Adaptation
  Set containing such a Role element shall provide perceptually equivalent media streams.

— AdaptationSet elements that do not conform to subclause 8.8.2.3 may be ignored.

8.8.2.3 Constraints on AdaptationSet elements

— AdaptationSet element can be ignored unless AdaptationSet.SegmentTemplate is
  present  and/or   for   each    Representation   within  this  Adaptation Set
  Representation.SegmentTemplate element is present;




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— AdaptationSet element that contains more than one Representation can be ignored unless all of
  the following hold:

     — AdaptationSet@SegmentAlignment is present and has value of 'true' or '1';

     — AdaptationSet@startsWithSAP is present and has value of 1 or 2;

— Representation elements that do not conform to subclause 8.8.2.4 may be ignored.

8.8.2.4 Constraints on Representation elements

— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific
  parameters may be added to the value of the MIME type attribute.

— If Representation.InbandEventStream or SubRepresentation.InbandEventStream
  are present, this Representation can be ignored.

8.8.3 Segment format constraints

Representations and Segments complying to this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3.

— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes, if present,
  shall be placed before any Movie Fragment ('moof') boxes.

— Index Segments shall not be present.

8.8.4 Inband Events

If an AdaptationSet element inferred to have this profile within contains an InbandEventStream
element, and InbandEventStream@schemeIdUri has value "urn:mpeg:dash:event:2012",
all representations within this adaptation set shall contain aligned inband events.
     NOTE 1     MPD validity expiration inband events (see subclause 5.10.4.2) are essential for correct
     presentation of content formatted for the ISO BMFF Extended Live profile.

     NOTE 2      The author can assume that, for each value of MPD@publishTime they announce using MPD
     validity expiration event(s), the DASH Client receives and processes at least one Event Message ('emsg') box
     with this value in course of normal playback of this Period.

8.9ISO Base media file format extended On Demand profile

8.9.1 General

This profile is largely an extension of ISO BMFF On Demand profile as described in subclause 8.3. The
main extensions are non-exclusion of remote elements and features introduced in the second edition of
this document.
This profile also imposes additional restrictions on MPD and Segment format in order to simplify
implementations.
The ISO-Base media file format extended On Demand profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-ext-on-demand:2014".



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8.9.2 Media Presentation Description constraints

8.9.2.1 General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.

— Periods which do not conform to the constraints in subclause 8.9.2.2 may not be presented.

— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.9.1 may be ignored.

— MPD@type shall be "static".

8.9.2.2 Constraints on Period elements

— The Subset element may be ignored.

— Neither the Period.SegmentList element nor the Period.SegmentTemplate element shall
  be present.

— If a Period contains multiple Adaptation Sets with @contentType="video" then at least one
  Adaptation         Set       shall        contain       a        Role        element    with
  @schemeIdUri="urn:mpeg:dash:role:2011" and @value="main" and each Adaptation
  Set containing such a Role element shall provide perceptually equivalent media streams.

— AdaptationSet elements that do not conform to subclause 8.9.2.3 may be ignored.

8.9.2.3 Constraints on AdaptationSet elements

— AdaptationSet element can be ignored unless for each Representation within this Adaptation Set
  Representation.BaseURL is present.

— If either the AdaptationSet.SegmentList or the AdaptationSet.SegmentTemplate
  element is present in an AdaptationSet element then this AdaptationSet element may be
  ignored.

— If an AdaptationSet element contains more than one Representation element, then this
  AdaptationSet element can be ignored unless AdaptationSet@subsegmentAlignment is
  present and has value of 'true'; and AdaptationSet@subsegmentStartsWithSAP is present
  and has value of 1 or 2.

— Representation elements that do not conform to subclause 8.9.2.4 may be ignored.

8.9.2.4 Constraints on Representation elements

— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific
  parameters may be added to the value of the MIME type attribute.




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— If either the Representation.SegmentList or the Representation.SegmentTemplate
  element is present in a Representation element then this Representation element may be
  ignored.

— If the Representation element does not contain a BaseURL element then this
  Representation element may be ignored.

— If Representation consists of a single Segment that complies with Indexed Media Segment or Indexed
  Self-Initializing Media Segment, this Representation element can be ignored unless
  SegmentBase@indexRange is present.

8.9.3 Segment format constraints

Representations and Segments complying to this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.

— Each Representation shall have one Segment that either (i) complies with the Indexed Self-Initializing
  Media Segment as defined in subclause 6.3.5.2 or (ii) complies with the Self-Initializing Media
  Segment as defined in subclause 6.3.5.1 and the Index Segment is present.

— For Indexed Self-Initializing Media Segments all Segment Index ('sidx') and Subsegment Index
  ('ssix') boxes shall be placed before any Movie Fragment ('moof') boxes.

— Event Message ('emsg') boxes shall not be present.

8.10 ISO Base media file format common profile

8.10.1 General

This profile is a restricted combination of both extended profiles described in subclauses 8.8 and 8.9. Use
of this profile implies that one can have a mix of two profiles in a single MPD, but not within the same
Period.
The ISO-Base media file format common profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-common:2014".
8.10.2 Media Presentation Description constraints

8.10.2.1 General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.

— Periods which do not conform to the constraints in subclause 8.10.2.2 may not be presented.

— MPD@profiles shall contain "urn:mpeg:dash:profile:isoff-common:2014".

8.10.2.2 Constraints on Period elements

— Each Period shall conform either to constraints in subclause 8.8.2.2 or to constraints in subclause
  8.9.2.2.



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8.10.3 Segment format constraints

Segments referred from Periods complying to constraints in subclause 8.8.2.2 shall conform to subclause
8.8.3.
Segments referred from Periods complying to constraints in subclause 8.9.2.2 shall conform to subclause
8.9.3.
8.11 ISO Base media file format broadcast TV profile

8.11.1 General

This profile provides a restricted profile primarily for distributing broadcast TV over broadcast and
broadband services, including service offerings for combined unicast and broadcast services. The profile
is based on ISO BMFF. In order to enable those advanced use cases, this profile introduces the main
restrictions that follow compared to the extended live profile:
— Use a single @timescale for all Representations in one Adaptation Set.

— Use Segment Timeline for signalling of segment durations:

      — The timing of the segments in the MPD is accurate.

      — The Segment Timeline may be on Representation level to allow different segment durations in
            different Representations. However, it may be defaulted on Adaptation Set level.

      — The Segment Timeline may use open ended @r ("1) or closed @r (>=0).

      — The Segment Timeline may use Segment sequences and Hierarchical Templating.

— Each Representation shall provide at least one RandomAccess element.

— If an Adaptation contains more than one Representation, then at least one Switching element shall
  be present.

— Segment alignment and start with SAP signalling may be used for backward compatible deployments
  but should generally not be used.

— Data URLs as defined in IETF RFC 2397 may be used for Initialization Segments.

The ISO-Base media file format broadcast TV profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-broadcast:2015".
8.11.2 Media Presentation Description constraints

8.11.2.1 General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.3 shall apply.

— The rules for the Segments as defined in subclause 7.3.5 shall apply.

— Periods which do not conform to the constraints in subclause 8.11.2.2 may not be presented




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— Representations not inferred to have @profiles equal to the profile identifier as defined in
  subclause 8.11.1 may be ignored

8.11.2.2 Constraints on Period elements

— The Subset element may be ignored.

— The Period.SegmentList element shall not be present.

— AdaptationSet elements that do not conform to subclause 8.11.2.3 may be ignored.

8.11.2.3 Constraints on AdaptationSet elements

— AdaptationSet element may be ignored unless AdaptationSet.SegmentTemplate is
  present  and/or   for   each    Representation   within  this  Adaptation Set
  Representation.SegmentTemplate element is present;

— AdaptationSet element may be ignored unless AdaptationSet.RandomAccess is present
  and/or for each Representation within this Adaptation Set Representation.RandomAccess
  element is present;

— AdaptationSet element that contains more than one Representation may be ignored unless
  AdaptationSet.Switching is present and/or for each Representation within this Adaptation
  Set Representation.Switching element is present and all the SegmentTemplate
  elements conform to subclause 8.11.2.5;

— InBandEventStream shall only be used on Adaptation Set level;

— Representation elements that do not conform to subclause 8.11.2.4 may be ignored.

8.11.2.4 Constraints on Representation elements

— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific
  parameters may be added to the value of the MIME type attribute.

— Representation elements may be ignored if Representation.RandomAccess element is not
  present and also no AdaptationSet.RandomAccess element is present.

— InBandEventStream shall not be present on Representation level.

— Segment Timeline shall be used for signalling of segment durations and the following restrictions
  shall apply:

     — The timing of the segments in the MPD shall be accurate.

     — The Segment Timeline may be open ended @r ("1) or closed @r (>=0).

     — The Segment Timeline may contain Segment Sequences as defined in subclause 5.3.9.6.4 and
           Hierarchical Templating as defined in subclause 5.3.9.6.5.

— The Segment Timeline may be on Representation level to allow different segment durations in
  different Representations. However, it may be defaulted on Adaptation Set level.


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8.11.2.5 Constraints on SegmentTemplate elements

— @initialization attribute may include data URLs as defined in IETF RFC 2397.

8.11.3 Segment format constraints

Representations and Segments complying with this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3.5.

— If Segment Sequences as defined in subclause 5.3.9.6.4 and Hierarchical Templating as defined in
  subclause 5.3.9.6.5 are used, then the first Segment of a Segment Sequence shall not carry 'dums'
  brand in the Segment Type box ('styp') as major brand and all other Segments of the Segment
  Sequence shall carry 'dums' brand in the Segment Type box ('styp') as major brand.

8.11.4 MPD Updates and Inband Event Streams

In order for a DASH Client to operate without frequent MPD requests and use the information contained
in Inband Event Streams, the content authoring needs to obey certain rules.
In case of MPD@type="dynamic" and the MPD indicates that one or several Representation(s) contain
an inband event stream in order to signal MPD validity expirations, then the following applies:
— The MPD@publishTime shall be present.

— The MPD@minimumUpdatePeriod should be set to a small number, preferably 0.

— For each newly published MPD that includes changes that are not restricted to any of the following
  (e.g. a new Period):

      — The value of the MPD@minimumUpdatePeriod is changed,

      — The value of a SegmentTimeline.S@r has changed,

      — A new SegmentTimeline.S element is added, and

      — Any information that is no longer in the availability time window.

      The following shall be done:

      — a new MPD shall be published with a new publish time MPD@publishTime;

      — an 'emsg' box shall be added to each segment of each Representation that contains an
            InbandEventStream element with

          — scheme_id_uri="urn:mpeg:dash:event:2012",

          — @value either set to 1 or set to 3,

          — the value of the MPD@publishTime of the previous MPD as the message_data.




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                                                 Annex A
                                              (informative)
                                      Example DASH Client behaviour



A.1 General
The information on client behaviour is purely informative and does not imply any normative procedures
on DASH Client implementations. However, this information may serve as a guideline to better
understand certain features of the formats in the normative parts of this document.

A.2 Overview
A DASH Client is guided by the information provided in the MPD. This example assumes that the
MPD@type is 'dynamic'. The behaviour in case MPD@type being 'static' is basically a subset of
the description here.
The description in this annex assumes that the client has access to the MPD at time FetchTime, at its initial
location if no MPD.Location element is present, or at a location specified in any present
MPD.Location element (see Annex A.11 for details). FetchTime is defined as the time at which the
server processes the request for the MPD from the client. The client typically should not use the time at
which it actually successfully received the MPD but should take into account delay due to MPD delivery
and processing. The fetch is considered successful either if the client obtains an updated MPD or if the
client verifies that the MPD has not been updated since the previous fetching.
The following example client behaviour may provide a continuous streaming experience to the user:
1) The client parses the MPD, selects a collection of Adaptation Sets suitable for its environment based
   on information provided in each of the AdaptationSet elements. The selection of Adaptation Sets
   may also take into account information provided by the AdaptationSet@group attribute and any
   constraints of a possibly present Subset element.

2) Within each Adaptation Set, it selects one Representation, typically based on the value of the
   @bandwidth attribute, but also taking into account client decoding and rendering capabilities. Then
   the client creates a list of accessible Segments for each Representation for the actual client-local time
   NOW measured in wall-clock time taking into account the procedures introduced in A.3.

3) The client accesses the content by requesting entire Segments or byte ranges of Segments. The client
   requests Media Segments of the selected Representation by using the generated Segment list.

4) The client buffers media for at least a duration matching the value of @minBufferTime attribute
   before starting the presentation. Then, once it has identified a Stream Access Point (SAP) for each of
   the media streams in the different Representations, it starts rendering (in wall-clock-time) of this
   SAP not before MPD@availabilityStartTime + PeriodStart + TSAP and not after
   MPD@availabilityStartTime + PeriodStart +TSAP + @timeShiftBufferDepth provided the
   observed throughput remains at or above the sum of the @bandwidth attributes of the selected
   Representations (if not, longer buffering may be needed). For services with
   MPD@type='dynamic',              rendering        the        SAP       at       the      sum        of
   MPD@availabilityStartTime + PeriodStart + TSAP                   and        the        value        of
   MPD@suggestedPresentationDelay is recommended, especially if synchronized play-out with
   other devices adhering to the same rule is desired.


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5) Once the presentation has started, the client continues consuming the media content by continuously
   requesting Media Segments or parts of Media Segments. The client may switch Representations
   taking into account updated MPD information and/or updated information from its environment, e.g.
   change of observed throughput. With any request for a Media Segment containing a stream access
   point, the client may switch to a different Representation. Seamless switching can be achieved, as the
   different Representations are time-aligned. Advantageous switching points are announced in the
   MPD and/or in the Segment Index, if provided.

6) With the wall-clock time NOW advancing, the client consumes the available Segments. As NOW
   advances, the client possibly expands the list of available Segments for each Representation
   according to the procedures specified in A.3 If the following conditions are both true, an updated
   MPD should be fetched:

      i)    if the attribute MPD@minimumUpdatePeriod is present, and

      ii) the current playback time gets within a threshold (typically described by at least the sum of the
          value of the @minBufferTime attribute) and the value of the @duration attribute (or the
          equivalent value in case the SegmentTimeline is used) of the media described in the MPD for
          any consuming or to be consumed Representation.

7) If the conditions in 6) are true, the client should fetch a new MPD, and update FetchTime. Once
   received, the client takes into account the possibly updated MPD and the new FetchTime in the
   regeneration of the accessible Segment list for each Representation.

In the following clauses a brief overview is provided of Segment list generation, seeking, support for trick
modes, switching Representations, reaction to error codes, encoder clock drift control, playback across
period boundaries, usage of bandwidth and buffer time in the DASH Client. Location and reference
resolution are also provided.


A.3 Segment list generation
A.3.1 General

Assume that the DASH Client has access to an MPD. This clause describes how a client may generate a
Segment list for one Representation as shown in Table A.1 from an MPD obtained at FetchTime at a
specific client-local time NOW. In this description, the term NOW is used to refer to “the current value of
the clock at the reference client when performing the construction of an MPD Instance from an MPD”. A
client that is not synchronized with a DASH server, which is in turn is expected to be synchronized to
UTC, may experience issues in accessing Segments as the Segment availability times provided by the
server and the local time NOW may not be synchronized. Therefore, DASH Clients are expected to
synchronize their clocks to a globally accurate time standard.




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                                     Table A.1 — Segment list in example client

      Parameter Name                Cardinalit                                       Description
                                        y
 Segments                                 1         Provides the Segment URL list.
     InitializationSegmen               0, 1        Describes the Initialization Segment. If not present, each Media
     t                                              Segment is self-initializing.
            URL                           1         The URL where to access the Initialization Segment (the client may
                                                    add a byte range to the URL request if one is provided in the MPD).
     MediaSegment                      1…N          Describes the accessible Media Segments.
            startTime                     1         The MPD start time of the Media Segment in the Period relative to
                                                    the start time of Period.
            duration                      1         The MPD duration for the Segment
            URL                           1         The URL where to access the Media Segment, possibly combined
                                                    with a byte range.
     IndexSegment                      1…N          Describes the accessible Index Segments, if present.
            URL                           1         The URL where to access the Index Segment, possibly combined
                                                    with a byte range.
According to subclause 5.3.9, there are three different ways to describe and generate a Segment List. This
description focuses on the first two where either a SegmentList element or a SegmentTemplate
element is present. The case with a single Media Segment using BaseURL element and SegmentBase
element is considered straightforward.
Segments are available at their assigned URL if at wall-clock time NOW the Segment availability start time
is smaller than or equal to NOW and the Segment availability end time is larger than or equal to NOW.
Furthermore, assume that for a Representation in a Period, the Segment list is indexed with i=1, ..., N.
A.3.2 Period Start and End Times

Assume that for an MPD with fetch time FetchTime:
— the     MediaPresentationDuration   is      provided      either                                as       the    value    of
  MPD@mediaPresentationDuration             if     present,     or                                 as       the    sum     of
  PeriodStart + Period@duration of the last Period.

— the Period start time is provided as PeriodStart according to subclause 5.3.2.1 for any Period in the
  MPD.

— the Period end time referred as PeriodEnd is determined as follows: for any Period in the MPD except
  for the last one, the PeriodEnd is obtained as the value of the PeriodStart of the next Period. For the
  last Period in the MPD:

     — if the MPD@minimumUpdatePeriod attribute is not present, then PeriodEnd is defined as the
            end       time      of        the          Media           Presentation,          i.e.
            MPD@availabilityStartTime + MediaPresentationDuration.

     — if the MPD@minimumUpdatePeriod attribute is present, then PeriodEnd is defined as the
            smaller    value   of     FetchTime + MPD@minimumUpdatePeriod               and
            MPD@availabilityStartTime + MediaPresentationDuration.




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A.3.3 Start Time and Duration

In case the Segment base information contains the @duration attribute, then
— the regular duration d is obtained as d=@duration/@timescale,

— the MPD start time MediaSegment[i].startTime is obtained as (i"1)*d,

— the MPD duration MediaSegment[i].duration is obtained as d unless this Segment is the last Segment
  in    this    Period,    then     the      MediaSegment[i].duration        is     obtained      as
  PeriodEnd"MediaSegment.StartTime[i].

In case the Segment base information contains a SegmentTimeline element with NS S elements
referred as s=1, ..., NS, then
— the t[s] is the value of @t of the s-th S element divided by the value of the @timescale attribute,

— the o is the value of @presentationTimeOffset for this Representation divided by the value of
  the @timescale attribute,

— the d[s] is the value of @d of the s-th S element divided by the value of the @timescale attribute,

— if the value of @r is greater than or equal to 0,

      — the r[s] is one more than the value of @r of the s-th S element, and

      — N=0

— for s=1, ... NS

      — N=N + 1

      — MediaSegment[N].startTime=t[s]"o

      — MediaSegment[N].duration=d[s]

      — for j=1, ..., r[s]

           — N=N + 1

           — MediaSegment[N].startTime=MediaSegment[N" 1].startTime + d[s]

           — MediaSegment[N].duration=d[s]

— else

      — the MPD duration MediaSegment[i].duration is obtained as d[0] unless this Segment is the last
            Segment in this Period, then the MediaSegment[i].duration is obtained as
            PeriodEnd"MediaSegment.StartTime[i].

If neither the @duration nor the SegmentTimeline element is given, then
— N=1,

— MediaSegment.startTime[1]=0,



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— MediaSegment.duration[1]=PeriodEnd – PeriodStart.

If the Representation contains or inherits one or more SegmentList elements, providing a set of explicit
URL(s) for Media Segments, then all N Segment URLs are provided.
If the Representation contains or inherits a SegmentTemplate element with $Number$ then the URL
of the Media Segment i, MediaSegment.URL[i], is obtained by replacing the $Number$ identifier by
i"1 + @startNumber in the SegmentTemplate@media string.
If the Representation contains or inherits a SegmentTemplate element with $Time$ then the URL of
the Media Segment i, MediaSegment.URL[i], is obtained by replacing the $Time$ identifier by
MediaSegment[i].startTime in the SegmentTemplate@media string, as described in subclause
5.3.9.5.3.
A.3.4 Media Segment list restrictions

The Media Segment List is restricted to a list of accessible Media Segments, which may be a subset of the
Media Segments of the complete Media Presentation. The construction is governed by the current value
of the clock at the client NOW which is greater than or equal to the FetchTime of the MPD.
Segments may only be accessed during their Segment availability times. Generally, Any Segment may only
be  available    for any       time    NOW     between MPD@availabilityStartTime                  and
MPD@availabilityEndTime. For times NOW outside this window, no Segments are available.
Assume the parameter availabilityTimeOffset is determined as the sum of all values of
@availabilityTimeOffset on all levels that are processed in determining the URL for the
corresponding segment. If the attribute @availabilityTimeOffset is not present, the value is of
availabilityTimeOffset is 0. Then for services with MPD@type='dynamic', the Segment
availability start time Tavail[i] for a Segment i in a specific Period is determined as
MPD@availabilityStartTime               +    PeriodStart +   MediaSegment[i].startTime       +
MediaSegment[i].duration - availabilityTimeOffset and the Segment availability end time is
determined as MPD@availabilityStartTime + PeriodStart + MediaSegment[i].startTime +
@timeshiftBufferDepth + 2*MediaSegment[i].duration..

In case of MPD updates, assume the variable CheckTime associated to an MPD with FetchTime is defined
as the sum of the fetch time of this operating MPD and the value of the attribute
MPD@minimumUpdatePeriod, i.e. CheckTime = FetchTime + MPD@minimumUpdatePeriod. The
CheckTime is defined on the MPD-documented media time axis; when the client's playback time reaches
CheckTime - MPD@minBufferTime, it should fetch a new MPD.
Therefore, based on an MPD that was fetched at fetch time FetchTime and has associated a check time
CheckTime, the largest index imax that is accessible at time NOW for the last Period in the MPD is imax = maxi
{ Tavail[i] <= min(CheckTime, NOW) }.

A.4 Seeking
Assume that a client attempts to seek to a specific Media Presentation time TM in a Representation relative
to the PeriodStart time. According to subclause 7.2.1, the presentation times within each Period are
relative to the PeriodStart time of the Period minus the value of the @presentationTimeOffset, TO,
of the containing Representation.
Based on the MPD, the client has access to the MPD start time and Media Segment URL of each Segment
in the Representation, along with Index Segment URL, if present. The Segment number of the Segment
most likely to contain media samples for Media Presentation time TM is obtained as the maximum




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Segment index i*, for which the start time MediaSegment[i].startTime is smaller than or equal to the TM.
The Segment URL is obtained as MediaSegment[i*].URL.
Timing information in the MPD may be approximate due to issues related to placement of Stream Access
Points, alignment of media tracks and media timing drift. As a result, the Segment identified by the
procedure above may begin at a time slightly after TM and the media data for presentation time may be
in the previous Media Segment. In case of seeking, either the seek time may be updated to equal the first
sample time of the retrieved Media Segment, or the preceding Media Segment may be retrieved instead.
However, during continuous playout, including cases where there is a switch between alternative
versions, the media data for the time between TM and the start of the retrieved Segment is always
available.
For accurate seeking to a presentation time TM, the DASH Client needs to access Stream Access Points
(SAP). To determine the SAP in a Media Segment in case of DASH, the client may, for example, use the
information in the Segment Index, if present, to locate the stream access points and the corresponding
presentation time in the Media Presentation.
In the case that the Media Presentation is based on the ISO base media file format and a Segment is a
movie fragment, it is also possible for the client to use information within the 'moof' and 'mdat' boxes,
for example, to locate Stream Access Points in the media and obtain the necessary presentation time from
the information in the movie fragment and the Segment start time derived from the MPD. If no SAP with
presentation time before the requested presentation time TM is available, the client may either access the
previous Segment or may just use the first SAP as the seek result. When Media Segments start with a SAP,
these procedures are simplified.
In the case that the Media Presentation is based on MPEG-2 TS, the presentation units corresponding to
the desired presentation time TM can be identified by using the indexing information, if present, in
conjunction with the differential value of the presentation time stamps (PTS) within the Media Segment.
For example, if TM,S denotes the presentation time corresponding to the last SAP leading the desired seek
time tp, with a corresponding PTS denoted as PTSs, then the desired seek position within the media has
a PTS expressed as: [(TM"TM,S)*timescale + PTSS%233].
Also, not necessarily all information of the Media Segment needs to be downloaded to access the
presentation time TM. The client may for example initially request the Segment Index from the beginning
of the Media Segment using partial HTTP GET. By use of the Segment Index, Segment timing can be
mapped to byte ranges of the Segment. By continuously using partial HTTP GET requests, only the
relevant parts of the Media Segment may be accessed for improved user experience and low start-up
delays.

A.5 Support for trick modes
The client may pause or stop a Media Presentation. In this case, the client simply stops requesting Media
Segments or parts thereof. To resume, the client sends requests to Media Segments, starting with the next
Subsegment after the last requested Subsegment.
If a specific Representation or SubRepresentation element includes the @maxPlayoutRate
attribute, then the corresponding Representation or Sub-Representation may be used for the fast-
forward trick mode. The client may play the Representation or Sub-Representation with any speed up to
the regular speed times the specified @maxPlayoutRate attribute with the same decoder profile and
level requirements as the normal playout rate. If a specific Representation or SubRepresentation
element includes the @codingDependency attribute with value set to 'false', then the
corresponding Representation or Sub-Representation may be used for both fast-forward and fast-rewind
trick modes.




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Sub-Representations in combination with Index Segments and Subsegment Index boxes may be used for
efficient trick mode implementation. Given a Sub-Representation with the desired @maxPlayoutRate,
ranges       corresponding   to    SubRepresentation@level             all    level  values  from
SubRepresentation@dependencyLevel may be extracted via byte ranges constructed from the
information in Subsegment Index Box. These ranges can be used to construct more compact HTTP GET
request.

A.6 Switching Representations
Based on updated information during an ongoing Media Presentation, a client may decide to switch
Representations. Switching to a “new” Representation is equivalent to tuning in or seeking to the new
Representation from the time point where the "old" Representation has been presented. Once switching
is desired, the client should seek to a SAP for each media stream in the “new” Representation at a desired
presentation time tp later than and close to the current presentation time. Presenting the “old”
Representation up to (but not included) the presentation time of the SAP in the “new” Representation
and presenting the “new” Representation from the presentation time of the SAP enables seamless
switching.
If @segmentAlignment is set to true and the @startWithSAP is set to 1 or 2 then the client may
switch at any Segment boundary
— by just concatenating Segments with consecutive Segment numbers from different Representations,
  if @bitstreamSwitching flag is set to true on the parent Adaptation Set, or

— by loading the Initialization Segment or Bitstream Switching Segment for the new Representation
  before processing the new Segment.

No overlap downloading and decoding is required.
If @segmentAlignment is set to true and the @startWithSAP is set to 3 and the
Representation@mediaStreamStructureId is identical for the two Representations, then the
client may switch at any Segment boundary by just concatenating Segments with consecutive Segment
numbers from different Representations, without re-initialization of the media decoder.
@bitstreamSwitching should be set to true in this case.
The same can be achieved on Subsegment level with @subsegmentAlignment set to true and
@subsegmentStartsWithSAP the same values and conditions as above.


A.7 Reaction to error codes
The DASH access client provides a streaming service to the user by issuing HTTP requests for Segments
at appropriate times. The DASH access client may also update the MPD by using HTTP requests. In regular
operation mode, the server typically responds to such requests with status code 200 OK (for regular GET)
or status code 206 Partial Content (for partial GET) and the entity corresponding to the requested
resource. Other Successful 2xx or Redirection 3xx status codes may be returned.
HTTP requests may result in a Client Error 4xx or Server Error 5xx status code. Some guidelines are
provided in this subclause as to how an HTTP client may react to such error codes.
If the DASH access client receives an HTTP client or server error (i.e. messages with 4xx or 5xx error
code), the client should respond appropriately (e.g. as indicated in IETF RFC 7231) to the error code. In
particular, clients should handle redirections (such as 301 and 307) as these may be used as part of
normal operation.




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If the DASH access client receives a repeated HTTP error for the request of an MPD, the appropriate
response may involve terminating the streaming service.
If the DASH access client receives an HTTP client error (i.e. messages with 4xx error code) for the request
of an Initialization Segment, the Period containing the Initialization Segment may not be available
anymore or may not be available yet.
Similarly, if the DASH access client receives an HTTP client error (i.e. messages with 4xx error code) for
the request of a Media Segment, the requested Media Segment may not be available anymore or may not
be available yet. In both cases, the client should check if the precision of the time synchronization to a
globally accurate time standard is sufficiently accurate. If the clock is believed accurate, or the error re-
occurs after any correction, the client should check for an update of the MPD.
Upon receiving server errors (i.e. messages with 5xx error code), the client should check for an update of
the MPD. If multiple BaseURL elements are available, the client may also check for alternative instances
of the same content that are hosted on a different server.

A.8 Encoder clock drift control
Non-alignment between the end of a Representation in one Period and the start time of the next Period
may be caused by encoder clock inaccuracy. The client should align the Media Presentation time at each
Period start. In addition, significant deviations of the start time of Segments to the media time should be
detected and drift-compensating measures may be applied even before the start of the next Period is
reached.
Over a longer operation time, a difference in clock accuracy of the encoder and decoder may cause the
playback to lag behind real-time or to interrupt temporarily due to the client trying to access data faster
than real-time.
For ISO base media file format based, clients may avoid these anomalies by using the Producer Reference
Time boxes as follows. The pace r1 of the encoder clock in relation to the UTC is recovered from Producer
Reference Time boxes. If the relative pace r1 is less than 1, equal to 1, or greater than 1, the encoder clock
runs more slowly than the UTC, at an identical pace compared to the UTC, or faster than the UTC,
respectively. The pace r2 of the receiver playout clock in relation to UTC is created by accessing a UTC
source. A timescale multiplication factor c is equal to r1/r2. A presentation time on a timeline of the
receiver playout clock is derived for each sample or access unit by multiplying the composition time of
the sample (as indicated by the file format structures) or the presentation time of the access unit
(as indicated by the respective Program Elementary Stream header) by the timescale multiplication
factor c.
In case of MPEG-2 TS segments, PCR-based drift control may be used.

A.9 Playback across Period boundaries
From a client perspective, Period boundaries may require processing that makes fully continuous playout
impossible or at last practically complex. For example, the content may be offered with different codecs,
different language attributes, different protection and so on. The client is expected to play the content
continuously across Periods, but there may be implications in terms of implementation to provide fully
continuous and seamless playout. It may be the case that at Period boundaries, the presentation engine
needs to be reinitialised, for example due to changes in formats, codecs or other properties. This may
result in a re-initialisation delay. Such a re-initialisation delay should be minimized.
If the client presents media components of a certain Adaptation Set with a specific value foo for the
AdaptationSet@id in one Period, and if the following Period has assigned an identical Asset Identifier,
then the client is suggested to identify an associated Period and, in the absence of other information,



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continue playing the content in the associated Adaptation Set, i.e the Adaptation Set with value foo for
the AdaptationSet@id.
If the client presents media components of a certain Sub-Representation in one Period, and if the
following Period has assigned an identical Sub-Asset Identifier, then the client is suggested to identify an
associated Period and, in the absence of other information, continue playing the content in the associated
Sub-Representation.
If furthermore the Adaptation Sets are period-continuous or period-connected as defined in subclause
5.3.2.4, i.e. the presentation times are continuous and this is signalled in the MPD, then the client is
expected to seamlessly play (as defined in subclause 4.5.1) the content across the Period boundary. Most
suitably the client may continue playing the Representation in the Adaptation Set with the same @id, but
there is no guarantee that this Representation is available. In this case, the client is expected to seamlessly
switch (as defined in subclause 4.5.1) to any other Representation in the Adaptation Set. If period
continuity is signalled and if continuously playing, then the client should ignore the value of the
@presentationTimeOffset attribute and just continue processing the incoming Segments. If period
connectivity is signalled and if continuously playing, then the client is expected to inform the media
decoder on a timeline discontinuity obeying the value of @presentationTimeOffset attribute, but it
may continue processing the incoming Segments without for example re-initializing the media decoder.

A.10 Usage of Bandwidth and Min Buffer Time in DASH Client
In a simple and straightforward implementation, a DASH Client decides downloading the next segment
based on the following status information:
— the currently available buffer in the media pipeline, buffer,

— the currently estimated download rate, rate,

— the value of the attribute @minBufferTime, MBT,

— the set of values of the @bandwidth attribute for each Representation i, BW[i].

The task of the client is to select a suitable Representation i.
The relevant issue is that starting from a SAP on, the DASH Client can continue to playout the data. This
means that, at the current time, it does have buffer data in the buffer. Based on this model, the client can
download a Representation i for which BW[i] # rate*buffer/MBT without emptying the buffer.
In this model, some idealizations typically do not hold in practice, such as constant bitrate channel,
progressive download and playout of Segments, no blocking and congestion of other HTTP requests, etc.
Therefore, a DASH Client should use these values with care to compensate such practical circumstances;
especially variations in download speed, latency, jitter, scheduling of requests of media components, as
well as to address other practical circumstances.
One example is if the DASH Client operates on Segment granularity. As in this case, not only parts of the
Segment (i.e. MBT) need to be downloaded, but the entire Segment, and if the MBT is smaller than the
Segment duration, then rather the segment duration needs to be used instead of the MBT for the required
buffer size and the download scheduling, i.e. download a Representation i for which
BW[i] # rate*buffer/max_segment_duration.




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A.11 Location and reference resolution
This document defines several functionalities in order to provide a consistent set of URLs for MPD
updates, DASH segments and other resources in the MPD.

Specifically, in subclause 5.3.1.2, the MPD.Location element is defined and rules for MPD updates using
this element are defined in subclause 5.4.1. In subclause 5.6.4, reference resolution is defined, i.e. the
usage of MPD URLs as well BaseURL elements on different levels. Subclause 5.6.5 defines the usage of
multiple BaseURL elements.

Based on these descriptions, a DASH Client operating on MPD updates and segment requests is expected
to operate as follows:

       For MPD update requests (when due) according to clause 5.4, the DASH Client requests the MPD
       according to the following priority

                  If at least one MPD.Location element is present,

                            the value of any MPD.Location element is used as the MPD request URL

                  else

                            If the HTTP request results in an HTTP redirect using a 3xx response code, the
                            redirected URL replaces the original manifest URL,

                            else

                                      If present and known, the original manifest URL is used for updates

                                      else updates cannot be done, and client may terminate the service

                  In addition, the manifest URL as derived above provides an implicit base URI

                  Any present BaseURL element does not apply to MPD updates

       Based on the knowledge of the MPD request URL according to the previous algorithm, the DASH
       Client requests Segments according to the following priority

                  If present, any absolute base URL or an absolute URL is used,

                  Else

                            If the base URL is known

                                      the base URL from the above MPD request URL provides the base URL and
                                      the relative base URL is used for the segment requests

                            else

                                      the service may be terminated.




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                                                         Annex B
                                                       (normative)
                                                       MPD schema


The schema of the MPD for this document is provided at https://standards.iso.org/iso-iec/23009/-1/ed-
4/en (DASH-MPD.xsd).




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                                                 Annex C
                                               (normative)
                                      MIME type registration for MPD



C.1 General
This annex provides the formal MIME type registration for the MPD. It is referenced from the registry at
http://www.iana.org/.

C.2 MIME type and subtype
The MIME Type and Subtype are defined as follows:
      — MIME media type name:                          application

      — MIME subtype name:                             dash+xml

      — Required parameters:                           None
      — Optional parameters:                           The 'profiles' parameter as documented in Annex C.3.
      — Encoding considerations:                       UTF-8
      — Security considerations:                       The MPD is a Media Presentation Description and contains
                                                       references to other resources. It is coded in XML, and there
                                                       are risks that deliberately malformed XML can cause security
                                                       issues. In addition, an MPD can be authored that causes
                                                       receiving clients to access other resources; if widely
                                                       distributed, this can be used to cause a denial-of-service
                                                       attack.
                                                       The Media Presentation Description (MPD) format does not
                                                       incorporate any active or executable content. However, other
                                                       forms of material from outside sources can be referenced by
                                                       an MPD, and this material can contain active or executable
                                                       content. Such material is expected to be identified by its own
                                                       MIME type, and the security considerations of that format
                                                       should be taken into account.
                                                       If operating in an insecure environment and required by the
                                                       content/service provider, elements and attributes of MPD
                                                       may be encrypted to protect their confidentiality by using the
                                                       syntax and processing rules specified in the W3C
                                                       Recommendation “XML Encryption Syntax and Processing”.
                                                       If operating in an insecure environment and required by the
                                                       content/service provider, the digital signing and verification
                                                       procedures specified in the W3C Recommendation “XML
                                                       Signature Syntax and Processing” may be used to protect data
                                                       origin authenticity and integrity of the MPD.




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       — Interoperability                              The specification defines a platform-independent expression
         considerations:                               of a presentation, and it is intended that wide interoperability
                                                       can be achieved.
       — Published specification:                      ISO/IEC 23009-1, Information technology — Dynamic adaptive
                                                       streaming over HTTP (DASH) — Part 1: Media presentation
                                                       description and segment formats
       — Applications which use this                   Various
         media type:

       — Additional information:

             — File extension(s):                        mpd

             — Intended usage:                           common

       — Other information/general                     None
         comment:

       — Author/Change controller:                     ISO/IEC JTC1/SC29 (MPEG)


C.3 Profiles parameters

   Parameter name:            profiles
   Parameter value:           The 'profiles' parameter is an optional parameter that indicates one or more
                              profiles to which the file claims conformance. The contents of this attribute shall
                              conform to either the pro-simple or pro-fancy productions of
                              IETF RFC 6381:2011, subclause 4.5. The profile identifiers reported in the MIME
                              type parameter should match identically the profiles reported in the profiles
                              attribute in the MPD itself (see Clause 8).
EXAMPLE

application/dash+xml;profiles="urn:mpeg:dash:profile:full:2011,urn:3GPP:P
SS:profile:DASH10"


C.4 MPD Anchors
C.4.1 General

URIs for resources with MIME type application/dash+xml may use URI fragment syntax to start a
presentation at a given time and a given state.
An MPD anchor is a set of Representations being presented and a time offset from the start of a period on
the media timeline. These are expressed using URI fragment syntax. This annex defines one temporal
parameter, position, and two context parameters, state and selection, in order to express the state of a
DASH media presentation.
URI fragment starts with the '#' character, and is a string terminating the URI. MPD fragments shall be an
ampersand-separated list of key=value pairs, with syntax and semantics of key and value parameters
defined in Table C.1 of C.4.2.




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C.4.2 Parameters

                                      Table C.1 — Parameters for MPD Anchors

      Key                           Value                                                    Semantics
        T         Time or time range in the same format              If the parameter starts from an integer, it signifies the
                  as defined in W3C Media Fragments                  time since the beginning of the period indicated by the
                  URI 1.0 (basic).                                   period parameter.
                  See W3C Media Fragments URI 1.0                    If the t parameter is not present, its default value is t=0
                  (basic) for validity rules and                     (i.e. start from the beginning of the Period).
                  recommended behaviour.
                                                                     NOTE If period parameter is not present, the default
                  Optionally, prefixed comma-separated               Period is the first period of the presentation.
                  pair of numbers. See C.4.4 for validity
                  rules and recommended behaviour.                   If the parameter starts from prefix posix: it signifies
                                                                     the absolute time range defined in seconds of
                                                                     Coordinated Universal Time (ITU-R TF.460-6). This is
                                                                     the number of seconds since 01-01-1970 00:00:00
                                                                     UTC. Fractions of seconds may be optionally specified
                                                                     down to the millisecond level.
                                                                     The posix notation documents the absolute time in
                                                                     the MPD.
                                                                     This notation shall only be used if
                                                                     MPD@availabilityStartTime is present.
                                                                     This t=posix:xxx notation parameter shall not be
                                                                     used if a period parameter is used. In addition, at
                                                                     most one of the two parameters, period and t shall
                                                                     be present in an anchor.
                                                                     A special value "now' indicates the latest available
                                                                     segment, i.e. "live edge".
   period         String                                             Value of a Period parameter Period@id. If period
                                                                     parameter is not present, the default value of the @id
                                                                     attribute value of the Period with the earliest
                                                                     PeriodStart.
   track          string                                             Value of a single AdaptationSet@id
   group          string                                             Value of a single AdaptationSet@group
      NOTE 1      Percent coding, defined in IETF RFC 5986, needs to be used for all reserved characters in parameter
      values.

      NOTE 2      Ability to address elements in the MPD depends on the Period@id, AdaptationSet@id
      and AdaptationSet@group. Hence MPD authors are encouraged to put these attributes explicitly into
      the MPD if they intend to make MPDs addressable.

C.4.3 Examples

42nd second of Period1 my.mpd#t=42&period=Period1
      my.mpd#t=42&period=Period1

42nd second from the start of the presentation, English 5.1 audio and video
      my.mpd#t=42&track=en51&track=vid




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A range from 60s to 180s of the presentation
     my.mpd#t=60,180

Start a live stream at Wed, 21 Jan 2015 20:04:05 GMT
     my.mpd#t=posix:1421870645

Start a live stream at Wed, 21 Jan 2015 20:04:05 GMT, English 5.1 audio and video
     my.mpd#t=posix:1421870645&track=en51&track=vid

A live stream range from Wed, 21 Jan 2015 20:04:05 GMT to Wed, 21 Jan 2015 23:44:33 GMT
     my.mpd#t=posix:1421870645,1421883873

Play the stream from the latest available segment to Wed, 21 Jan 2015 23:44:33 GMT
     my.mpd#t=posix:now,1421883873

Play the stream from the earliest available segment to Wed, 21 Jan 2015 23:44:33 GMT
     my.mpd#t=posix:0,1421883873

C.4.4 Handling UTC parameter

The following notation is used in this clause:
— N is the UTC time at the moment the URL is requested;

— E is the earliest available segment time in the current presentation at time N;

— F is the latest availability segment time in the current presentation;

— S is the start time in the posix anchor;

— T is the end time in the posix anchor.

If T is not specified, or larger than F, its value shall be considered to be equal to F.
If S is not specified, its value shall be considered to be equal to E. If S is “now”, its value is N.




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                                                           Annex D
                                                         (normative)
                                                        DASH Metrics



D.1 General
This annex defines the ISO/IEC 23009-1 DASH Metrics. The normative aspects of the annex are defined
in D.4, namely the semantics of the metrics and the associated keys to be used for requesting the
collection of the metrics. The client reference model in D.2 and the observation points in D.3 serve as
background information.

D.2 DASH-Metrics client reference model
The DASH-Metrics client reference model is depicted in highlighting so-called observation points (OPs)
as defined in D.3.




                                Figure D.1 — DASH-Metrics client reference model

The DASH access client as defined in subclause 4.2 issues HTTP requests (for DASH data structures), and
receives HTTP request responses (containing DASH data structures). Data structures may typically be
MPDs, Segments or partial Segments. This input/output interface from the network towards the DASH
Client is referred to as observation point 1 (OP1).
Furthermore, the DASH Client delivers encoded media samples to the DASH-enabled application for
further processing and may receive also commands from it. This input/output interface of the DASH
Client towards the DASH-enabled application is referred to as observation point 2 (OP2).
      NOTE       Further processing can include de-multiplexing (of audio/video) and/or decoding potentially
      involving several buffers.

Finally, the DASH-enabled application delivers decoded media samples to the media output, which
displays the media to the user. This output interface towards the user is referred to as observation point 3
(OP3).

D.3 Definition of observation points
D.3.1 General

This clause defines the observation points as depicted in Figure D.1.


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D.3.2 Observation point 1

The observation point 1 (OP1) is defined as:
— a set of TCP connections each defined by its destination IP address, initiation, connect and close
  times;

— a sequence of transmitted HTTP requests, each defined by its transmission time, contents, and the
  TCP connection on which it is sent; and

— for each HTTP response, the reception time and contents of the response header and the reception
  time of each byte of the response body.

NOTE         The contents of the response body is fully defined by the contents of the request and response headers.

D.3.3 Observation point 2

The observation point 2 (OP2) consists of encoded media samples. Each encoded media sample is defined
as:
— media type;

— decoding time;

— presentation time;

— the @id of the Representation from which the sample is taken; and

— the delivery time.

D.3.4 Observation point 3

The observation point 3 (OP3) consists of decoded media samples. Each decoded media sample is defined
as:
— the media type;

— the presentation timestamp of the sample (media time);

— the actual presentation time of the sample (real time); and

— the @id of the Representation from which the sample is taken (the highest dependency level if the
  sample was constructed from multiple Representations).


D.4 Semantics of the DASH metrics
D.4.1 General

This subclause provides the general QoE metric definitions and measurement framework.
The semantics are defined using an abstract syntax. Items in this abstract syntax have one of the following
primitive types (Integer, Real, Boolean, Enum, String) or one of the following compound types:
— Objects: an unordered sequence of (key, value) pairs, where the key always has string type and
  is unique within the sequence.



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— List: an ordered list of items.

— Set: an unordered set of items.

Additionally, there are two kinds of timestamp defined, i.e. real time (wall-clock time) with type Real-
Time and media time with type Media-Time.
Where lists are defined, the name 'entry' is used to define the format of each entry, but since lists
contain unnamed entries, this name would not appear in any concrete syntax.
Each metric is defined as a named list of entries that logically contains the metric information for the
entire Media Presentation. Reporting of these lists, whether done at the end of the Media Presentation or
incrementally during the Media Presentation, is outside the scope of this document.
D.4.2 TCP connections

Table D.1 contains the metric defining the list of TCP connections. The key in Table D.1 shall be used to
refer to the metric as defined in Table D.1.

                                          Table D.1 — List of TCP connections

 Key                               Type                   Description
 TcpList                           List                   List of HTTP request/response transactions
       Entry                       Object                 An entry for a single HTTP request/response
            tcpid                  Integer                Identifier of the TCP connection on which the HTTP request
                                                          was sent.
            dest                   String                 IP Address of the interface over which the client is receiving the
                                                          TCP data.
            topen                  Real-Time              The time at which the connection was opened (sending time of
                                                          the initial SYN or connect socket operation).
            tclose                 Real-Time              The time at which the connection was closed (sending or
                                                          reception time of FIN or RST or close socket operation).
            tconnect               Integer                Connect time in ms (time from sending the initial synchronize
                                                          message (SYN) to receiving the acknowledgement (ACK) or
                                                          completion of the connect socket operation).
D.4.3 HTTP request/response transactions

Table D.2 contains the metric defining the List of HTTP Request/Response Transactions. The key in
Table D.2 shall be used to refer to the metric as defined in Table D.2.




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                             Table D.2 — List of HTTP request/response transactions

 Key                                 Type                Description
 HttpList                            List                List of HTTP request/response transactions
       Entry                         Object              An entry for a single HTTP request/response
             tcpid                   Integer             Identifier of the TCP connection on which the HTTP request
                                                         was sent.
             type                    Enum                This is an optional parameter and should not be included in
                                                         HTTP request/response transactions for progressive download.
                                                         The type of the request:
                                                         — MPD

                                                         —     XLink expansion

                                                         —     Initialization Segment

                                                         —     Index Segment

                                                         —     Media Segment

                                                         —     Bitstream Switching Segment

                                                         —     other

             url                     String              The original URL (before any redirects or failures)
             actualurl               String              The actual URL requested, if different from above
             range                   String              The contents of the byte-range-spec part of the HTTP
                                                         Range header.
             trequest                Real-Time           The real time at which the request was sent.
             tresponse               Real-Time           The real time at which the first byte of the response was
                                                         received.
             responsecod             Integer             The HTTP response code.
             e
             interval                Integer             The duration of the throughput trace intervals (ms), for
                                                         successful requests only.
             trace                   List                Throughput trace, for successful requests only.
                   Entry             Object              A single throughput measurement entry.
                         s           Real-Time           Measurement period start.
                         d           Integer             Measurement period duration (ms).
                         b           List                List of integers counting the bytes received in each trace
                                                         interval within the measurement period.

     NOTE 1     Information additional to that specified in the type can be returned, for example if a client makes a
     request for a initialization information from a self-initializing Media Segment then Segment Index may also be
     received.




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      NOTE 2     All entries for a given object have the same URL and range and so can easily be correlated. If there
      were redirects or failures, there would be one entry for each redirect/failure. The redirect-to URL or alternative
      url (where multiple have been provided in the MPD) appears as the actualurl of the next entry with the
      same url value.

      NOTE 3     The periods in Entry are expected to be those periods where the client was actively reading from
      the TCP connections (i.e. they are expected to not include periods where the TCP connection is idle due to zero
      receive window).

The end of the last measurement period in the trace shall be the time at which the last byte of the
response was received.
The interval and trace shall be absent for redirect and failure records.
The key HttpList(n,type) where n is a positive integer is defined for an HttpList with an interval of
n ms and type is one of MPD, XLinkExpansion, InitializationSegment, MediaSegment,
IndexSegment BitstreamSwitchingSegment or other. If type is not present, all HTTP
transactions are requested to be collected. If type is present, it specifies that the HTTP transactions
concerning a resource equal to type are requested to be collected. Multiple keys HttpList(n,type)
with different values of n and type may be present for a single @metrics attribute value.
An HTTP transaction that is not finished within a QoE metric collection period shall not be included in
the metrics.
D.4.4 Representation switch events

Table D.3 defines the metric for Representation switch events. The key in Table D.3 shall be used to refer
to the metric as defined in Table D.3.

                                  Table D.3 — List of Representation switch events

 Key                                      Type                            Description
 RepSwitchList                            List                            List of Representation switch events (a switch
                                                                          event is the time at which the first HTTP request
                                                                          for a new Representation, that is later presented, is
                                                                          sent)
           Entry                          Object                          A Representation switch event.
                    t                     Real-Time                       Time of the switch event.
                    mt                    Media-Time                      The media presentation time of the earliest access
                                                                          unit (out of all media content components) played
                                                                          out from the “to” Representation.
                    to                    String                          value of Representation@id identifying the
                                                                          switch-to Representation.
                    lto                   Integer                         If not present, this metrics concerns the
                                                                          Representation as a whole. If present, lto
                                                                          indicates the value of
                                                                          SubRepresentation@level within
                                                                          Representation identifying the switch-to level of
                                                                          the Representation.
D.4.5 Buffer level

Table D.4 defines the metric for buffer level status events. The key in Table D.4 shall be used to refer to
the metric as defined in Table D.4.



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                                             Table D.4 — List of buffer level

 Key                                         Type                  Description
 BufferLevel                                 List                  List of buffer occupancy level measurements during
                                                                   playout at normal speed.
        Entry                                Object                One buffer level measurement.
                t                            Real-Time             Time of the measurement of the buffer level.
                level                        Integer               Level of the buffer in milliseconds. Indicates the
                                                                   playout duration for which media data of all active
                                                                   media components is available starting from the
                                                                   current playout time.
The key is BufferLevel(n), where n is a positive integer defined to refer to the metric in which the
buffer level is recorded every n ms.
D.4.6 Play list

Decoded samples are generally rendered in presentation time sequence, each at or close to its specified
presentation time. A compact Representation of the information flow can thus be constructed from a list
of time periods during which samples of a single Representation were continuously rendered, such that
each was presented at its specified presentation time to some specific level of accuracy (e.g. ±10 ms).
Such a sequence of periods of continuous delivery is started by a user action that requests playout to
begin at a specified media time (this can be a "play", "seek" or "resume" action) and continues until
playout stops either due to a user action, the end of the content, or a permanent failure.
Table D.5 defines the play list event metric. The key in Table D.5 shall be used to refer to the metric as
defined in Table D.5.

                                                    Table D.5 — Play list

 Key                                        Type                  Description
 PlayList                                   List                  A list of playback periods. A playback period is the time
                                                                  interval between a user action and whichever occurs
                                                                  soonest of the next user action, the end of playback or a
                                                                  failure that stops playback.
     Entry                                  Object                A record of a single playback period.
         start                              Real-Time             Timestamp of the user action that starts the playback
                                                                  period.
         mstart                             Media-Time            The presentation time at which playout was requested
                                                                  by the user action.
         starttype                          Enum                  Type of user action which triggered playout:
                                                                       -   NewPlayout - New playout request (initial
                                                                           playout)
                                                                       -   UserSeek – User seek request
                                                                       -   Resume - Resume from pause
                                                                       -   OtherRequest - Other user request (e.g. user-
                                                                           requested quality change)




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 Key                                       Type                   Description
                                                                       -     StartOfCollection - Start of a metrics
                                                                             collection period (hence earlier entries in the
                                                                             play list not collected)
                                                                       -     SpeedChange - User-requested change in
                                                                             playspeed, other than resume from paused
       trace                               List                   List of periods of continuous rendering of decoded
                                                                  samples.
           Entry                           Objects                Single entry in the list.
                representatio String                              The value of the Representation@id of the
                nid                                               Representation from which the samples were taken.
                subreplevel                Integer                If not present, this metrics concerns the Representation
                                                                  as a whole. If present, subreplevel indicates the
                                                                  greatest value of any
                                                                  Subrepresentation@level being rendered.
                start                      Real-Time              The time at which the first sample was rendered.
                mstart                     Media-Time             The presentation time of the first sample rendered.
                duration                   Integer                The duration of the continuously presented samples
                                                                  (which is the same in real time and media time).
                                                                  “Continuously presented” means that the media clock
                                                                  continued to advance at the playout speed throughout
                                                                  the interval.
                playbackspeed Real                                The playback speed relative to normal playback speed
                                                                  (i.e.normal forward playback speed is 1.0).
                stopreason                 Enum                   The reason why continuous presentation of this
                                                                  Representation was stopped. Either:
                                                                      - RepresentationSwitch - Representation
                                                                          switch (not relevant in case of progressive
                                                                          download)

                                                                       -     Rebuffering - Rebuffering

                                                                       -     UserRequest - User request

                                                                       -     EndOfPeriod - End of Period

                                                                       -     EndOfContent - End of content

                                                                       -     EndOfCollection - End of a metrics
                                                                             collection period

                                                                       -     Failure – Failure

                                                                       -     ClientPlaybackAction - Client-initiated
                                                                             change in playback (e.g., seek or change in
                                                                             playspeed), other than pausing to rebuffer




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     NOTE      The trace can include entries for different representations that overlap in time, because multiple
     representations are being rendered simultaneously, for example one audio and one video Representation.

D.4.7 Device information

This metric contains information about the displayed video resolution as well as the physical screen
characteristics. If the video is rendered in full-screen mode, the video resolution usually coincides with
the characteristics of the full physical display. If the video is rendered in a smaller subwindow, the
characteristics of the actual video window shown are logged.

If known by the DASH Client, the physical screen width and the horizontal field-of-view are logged.

The metric is logged at the start of each QoE reporting period, and whenever the characteristics change
during the session (for instance if the device is rotated from horizontal to vertical orientation, or if the
subwindow size is changed).

Table D.6 defines the device information metrics. If an individual metric cannot be logged, its value is set
to 0 (zero).

                                             Table D.6 – Device information

Key                                Type              Description
DeviceInformationList              List              A list of device information objects.
     Entry                         Object            A single object containing new device information.

        start                      Real-Time         Timestamp when the device information was logged.

        mstart                     Media-Time The presentation time at which the device information was logged.

        videoWidth                 Integer           The width of the displayed video, in screen pixels (not encoded video pixels).

        videoHeight                Integer           The height of the displayed video, in screen pixels (not encoded video pixels).

        screenWidth                Integer           The total width of the screen, in screen pixels.

        screenHeight               Integer           The total height of the screen, in screen pixels.

        pixelWidth                 Real              The width of a screen pixel, in millimetres.

        pixelHeight                Real              The height of a screen pixel, in millimetres.

        fieldOfView                Real              The actual or estimated horizontal angle subtended at the eye by the screen,
                                                     measured in degrees.




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                                        Annex E
                                      (normative)
                  Byte range requests with regular HTTP GET methods



E.1 Background
There are deployment environments where HTTP partial GET is not supported, or results in the return
of the entire, rather than partial target. This represents a problem for DASH Clients. It is expected that
these problems gradually disappear, but until this will be the case, a method is provided to not exclude
DASH Clients operating in these environments and service providers wanting to support such clients are
excluded from using this DASH standard to deploy media streaming services using the formats defined
in this document.
To address these requirements, the BaseURL@byteRange attribute may be present. If present, it
provides indication that resources offered in the MPD that are requested by a HTTP partial GET
(e.g. Segments for which HTTP-URLs contain byte ranges or Subsegments) may also be requested using
a regular HTTP GET and mapping the information that is otherwise added in the Range header in case
of a HTTP partial GET into the request URI of a regular HTTP GET request. It is expected that DASH Clients
only use this method if HTTP partial GET requests fail. If DASH Clients only have this alternative to
request segments or Subsegments, then it is expected that they request single units of segments or
Subsegments.

E.2 Construction rule
The BaseURL@byteRange attribute represents a template that may be used to construct a URL
requesting a byte range (a “byte range URL”) from a resource, given the original URL of the resource and
the required byte range. The result of issuing a GET request to this byte range URL without including the
HTTP Range header should be identical to the result of requesting the original URL with the byte range
specified in the HTTP Range header.
The BaseURL@byteRange contains a template string that contains one or more of the identifiers as
listed in Table E.1. The string shall contain identifiers $first$ and $last$ as specified in Table E.1.
The byte range URL shall be constructed from the template string by substituting the identifiers specified
in the first column of Table E.1 with the values specified in the second column of Table E.1. If the
$query$ identifier is not present in the template and the query portion of the original URL as defined
in IETF RFC 3986 is not empty, then the string “?” query shall be appended to the constructed URL.
If the template string contains unrecognized identifiers, then the result of the URL construction is
unspecified. In this case, it is expected that the DASH Client ignores the entire containing ByteRange
element and the processing of the MPD continues as if this ByteRange element was not present.
Strings outside identifiers shall only contain characters that permit to form a valid HTTP-URL according
to IETF RFC 3986.




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                                 Table E.1 — Identifiers for Byte Range Templates

 $<Identifier>$               Substitution parameter
 $$                           Is an escape sequence, i.e. "$$" is replaced with a single "$"
 $base$                       The identifier shall be substituted by the scheme ":" hier-part of the original
                              URL as defined in IETF RFC 3986.
 $query$                      The identifier shall be substituted by the query part of the original URL as defined in
                              IETF RFC 3986. If the query part of the original URL is empty then inclusion of this
                              identifier in the template shall cause removal of the separator character immediately
                              preceding the $query$ identifier in the template string if that character is not the "?"
                              character, or, otherwise, the separator character immediately following the $query$
                              identifier if present.
 $first$                      The identifier shall be substituted by the byte offset of the first byte in a range and shall
                              be identical to the value of 'first-byte-pos' of 'byte-range-spec' of
                              IETF RFC 7231:2014, 2.1, if this request would be executed using a partial GET request.
 $last$                       The identifier is substituted by the byte offset of the last byte in the range; that is, the
                              byte positions specified are inclusive. It shall be identical to the value of 'last-
                              byte-pos' of 'byte-range-spec' of IETF RFC 7231:2014, 2.1, if this request
                              would be executed using a partial GET request.


E.3 Examples

 Original URL                            http://cdn.example.com/movies/134532/audio/en/aac6
                                         4.mp4?token=8787r08f2gf087g28gf926
 Byte Range                              1876-23456
 BaseURL@byteRange                       $base$/range/$first$-$last$
 Byte range URL                          http://cdn.example.com/movies/134532/audio/en/aac6
                                         4.mp4/range/1876-
                                         23456?token=8787r08f2gf087g28gf926


 Original URL                            http://cdn.example.com/movies/134532/audio/en/aac6
                                         4.mp4
 Byte Range                              1876-23456
 BaseURL@byteRange                       $base$?$query$&range=$first$-$last$
 Byte range URL                          http://cdn.example.com/movies/134532/audio/en/aac6
                                         4.mp4?range=1876-23456


 Original URL                            http://cdn.example.com/movies/134532/audio/en/aac6
                                         4.mp4?token=8787r08f2gf087g28gf926
 Byte Range                              1876-23456
 BaseURL@byteRange                       $base$?$query$&range=$first$-$last$
 Byte range URL                          http://cdn.example.com/movies/134532/audio/en/aac6
                                         4.mp4?token=8787r08f2gf087g28gf926&range=1876-
                                         23456



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                                       Annex F
                                    (informative)
             Guidelines for extending DASH with other delivery formats



F.1 Adding delivery formats to DASH
In order to support use with DASH, a delivery format should have the property that decoding and
playback of any portion of the media can be achieved using a subset of the media that is only a constant
amount larger than the portion of the media to be played.
For example, a delivery format following this property is one for which the media is stored as a header
followed by a sequence of small blocks, with the property that any block can be decoded and played out
given only that block and the header. The definition of these blocks and the mapping to the Subsegments
in this document are encouraged. A Subsegment may be defined as a contiguous time interval of a
Segment and a contiguous byte range of a Segment for which no overlap in both dimensions with any
other Subsegment in the Segment exists.
Additionally, it is desirable that the delivery format supports some kind of “index” which enables the byte
range within the Segment corresponding to any given time range to be efficiently discovered. A suitable
unit is the indexing of Subsegments. It should be possible to discover the position in the Segment of the
index without downloading the whole Segment. The position of the index may also be advertised in the
MPD or the index may be provided as a separate Index Segment. The Segment Index (#sidx#) or
Subsegment Index (#ssix#), both defined in ISO/IEC 14496-12, may serve as a starting point and/or
may be directly applied to any other media format.

F.2 Media Presentation authoring rules
A specification for how to use a media container format with DASH should include:
— Definition of the MIME type for the Representation as a concatenation of Segments.

— Description of either a self-initializing Media Segment or the combination of an Initialization Segment
  and a Media Segment format.

In addition, the specification may further define:
— Index Segments;

— Bitstream switching segments;

— Interpretation of a media Stream Access Point (SAP), potentially different types as defined in
  subclause 4.5.2 in the context of the media container format. (The SAP types are fully defined in
  ISO/IEC 14496-12, Annex I and should not be re-defined, but the interpretation of those definitions
  in media-container-specific language may be necessary);

— Container-format-specific semantics for the @bitstreamSwitching, @segmentAlignment and
  @subsegmentAlignment. These should align with the definitions in this document.




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Representation attributes present in the MPD may also be repeated in the media itself, e.g. in an
Initialization Segment or a Media Segment. The media content should be provided such that no mismatch
between these two values occurs. If it does, the value in the media itself is expected to take precedence
over values expressed in the MPD, especially when used in the media decoding process.




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                                                   Annex G
                                                (informative)
                                         MPD Examples and MPD Usage


All examples are provided at https://standards.iso.org/iso-iec/23009/-1/ed-4/en with the file naming
convention: example-G<subsection>[<order in subsection>].mpd

G.1 Example MPD for ISO Base media file format On Demand profile
This subclause provides a simple example for a static presentation with self-initializing Media Segments,
multiple languages, subtitles, content protection and multiple base URLs. This MPD document describes
content available from two sources (cdn1 and cdn2) that has audio available in English or French at rates
of 64 kbits and 32 kbits and subtitles in German. Six versions of the video are provided at bitrates
between 256 kbit/s and 2 Mbit/s in different spatial resolutions. Content protection is applied.
The Media Presentation complies with the ISO Base media file format On Demand profile as defined in
subclause 8.3.
  <?xml version="1.0" encoding="UTF-8"?>
  <MPD
         xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
         xmlns="urn:mpeg:dash:schema:mpd:2011"
         xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
         type="static"
         mediaPresentationDuration="PT3256S"
         minBufferTime="PT1.2S"
         profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


         <BaseURL>http://cdn1.example.com/</BaseURL>
         <BaseURL>http://cdn2.example.com/</BaseURL>


         <Period>
              <!-- English Audio -->
          <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en"
  subsegmentAlignment="true" subsegmentStartsWithSAP="1">
                   <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-4D48-656164657221"/>
                   <Representation id="1" bandwidth="64000">
                         <BaseURL>7657412348.mp4</BaseURL>
                   </Representation>
                   <Representation id="2" bandwidth="32000">
                         <BaseURL>3463646346.mp4</BaseURL>
                   </Representation>
              </AdaptationSet>
              <!-- French Audio -->
          <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40.2" lang="fr"
  subsegmentAlignment="true" subsegmentStartsWithSAP="1">




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                   <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-4D48-656164657221"/>
                   <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
                   <Representation id="3" bandwidth="64000">
                         <BaseURL>3463275477.mp4</BaseURL>
                   </Representation>
                   <Representation id="4" bandwidth="32000">
                         <BaseURL>5685763463.mp4</BaseURL>
                   </Representation>
              </AdaptationSet>
              <!-- Timed text -->
              <AdaptationSet mimeType="application/ttml+xml" lang="de">
                   <Role schemeIdUri="urn:mpeg:dash:role" value="subtitle"/>
                   <Representation id="5" bandwidth="256">
                         <BaseURL>796735657.xml</BaseURL>
                   </Representation>
              </AdaptationSet>
              <!-- Video -->
           <AdaptationSet mimeType="video/mp4" codecs="avc1.4d0228" subsegmentAlignment="true"
   subsegmentStartsWithSAP="2">
                   <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-4D48-656164657221"/>
                   <Representation id="6" bandwidth="256000" width="320" height="240">
                         <BaseURL>8563456473.mp4</BaseURL>
                   </Representation>
                   <Representation id="7" bandwidth="512000" width="320" height="240">
                         <BaseURL>56363634.mp4</BaseURL>
                   </Representation>
                   <Representation id="8" bandwidth="1024000" width="640" height="480">
                         <BaseURL>562465736.mp4</BaseURL>
                   </Representation>
                   <Representation id="9" bandwidth="1384000" width="640" height="480">
                         <BaseURL>41325645.mp4</BaseURL>
                   </Representation>
                   <Representation id="A" bandwidth="1536000" width="1280" height="720">
                         <BaseURL>89045625.mp4</BaseURL>
                   </Representation>
                   <Representation id="B" bandwidth="2048000" width="1280" height="720">
                         <BaseURL>23536745734.mp4</BaseURL>
                   </Representation>
              </AdaptationSet>
        </Period>
   </MPD>




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G.2 Example for ISO Base media file format Live profile
This subclause provides a simple example for a dynamic presentation, with multiple languages, multiple
base URLs, multiple video bitrates, and segments about two seconds in length for low latency from live
programming. At the time this MPD was fetched, 432 Segments of the dynamic presentation were
available so the wall clock time has been approximately 2011-12-25T12:44:24 UTC. All the video
Segments are aligned and start with a Stream Access Point. All the audio Segments are aligned so language
switching can be done with the non-language sound (e.g. music) seamlessly.
In this MPD, assuming that the first BaseURL element and the video Representation with id "v1" is
selected, and template results in http://cdn1.example.com/video/50000/$Time$.mp4v, the
segment list starting at number 0 results in
      http://cdn1.example.com/video/500000/0.mp4v
      http://cdn1.example.com/video/500000/180180.mp4v
      http://cdn1.example.com/video/500000/360360.mp4v
      http://cdn1.example.com/video/500000/540540.mp4v
      http://cdn1.example.com/video/500000/720720.mp4v
      ...

The Media Presentation conforms to the ISO Base media file format Live profile in subclause 8.4.
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="dynamic"
      minimumUpdatePeriod="PT2S"
      timeShiftBufferDepth="PT30M"
      availabilityStartTime="2014-10-17T17:17:05Z"
      minBufferTime="PT4S"
      profiles="urn:mpeg:dash:profile:isoff-live:2011"
      publishTime="2014-10-17T17:17:05Z">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <Period id="1">
           <!-- Video -->
           <AdaptationSet
                 mimeType="video/mp4"
                 codecs="avc1.4D401F"
                 frameRate="30000/1001"
                 segmentAlignment="true"
                 startWithSAP="1">
                 <BaseURL>video/</BaseURL>
             <SegmentTemplate timescale="90000" initialization="$Bandwidth%/init.mp4v"
 media="$Bandwidth%/$Time$.mp4v">




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                       <SegmentTimeline>
                            <S t="0" d="180180" r="432"/>
                       </SegmentTimeline>
                  </SegmentTemplate>
                  <Representation id="v0" width="320" height="240" bandwidth="250000"/>
                  <Representation id="v1" width="640" height="480" bandwidth="500000"/>
                  <Representation id="v2" width="960" height="720" bandwidth="1000000"/>
            </AdaptationSet>
            <!-- English Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/en/init.mp4a"
 media="audio/en/$Time$.mp4a">
                       <SegmentTimeline>
                            <S t="0" d="96000" r="432"/>
                       </SegmentTimeline>
                  </SegmentTemplate>
                  <Representation id="a0" bandwidth="64000" />
            </AdaptationSet>
            <!-- French Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/fr/init.mp4a"
 media="audio/fr/$Time$.mp4a">
                       <SegmentTimeline>
                            <S t="0" d="96000" r="432"/>
                       </SegmentTimeline>
                  </SegmentTemplate>
                  <Representation id="b0" bandwidth="64000" />
            </AdaptationSet>
       </Period>
 </MPD>


G.3 Example for MPEG-2 TS Simple profile
This subclause introduces a simple example for a static presentation, with multiple languages, multiple
base URLs, multiple video bitrates, and segments about four seconds in length.
In this MPD, assuming that the first BaseURL element and the Representation with id "1400kbps" is
selected,                  and                 template                 results                in
http://cdn1.example.com/SomeMovie_1400kbps_$Number%05$.ts, the segment list
starting at number 0 results in
     http://cdn1.example.com/SomeMovie_1400kbps_00001.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00002.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00003.ts
     http://cdn1.example.com/SomeMovie_1400kbps_00004.ts


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      http://cdn1.example.com/SomeMovie_1400kbps_00005.ts
      ...

The Media Presentation conforms to the profile in subclause 8.7.
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT6158S"
      availabilityStartTime="2011-05-10T06:16:42"
      minBufferTime="PT1.4S"
      profiles="urn:mpeg:dash:profile:mp2t-simple:2011"
      maxSegmentDuration="PT4S">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <Period id="42" duration="PT6158S">
           <AdaptationSet
                 mimeType="video/mp2t"
                 codecs="avc1.4D401F,mp4a"
                 frameRate="24000/1001"
                 segmentAlignment="true"
                 subsegmentAlignment="true"
                 bitstreamSwitching="true"
                 startWithSAP="2"
                 subsegmentStartsWithSAP="2">
                 <ContentComponent contentType="video" id="481"/>
                 <ContentComponent contentType="audio" id="482" lang="en"/>
                 <ContentComponent contentType="audio" id="483" lang="es"/>
                 <BaseURL>SomeMovie/</BaseURL>
                 <SegmentTemplate
                      media="$RepresentationID$_$Number%05d$.ts"
                      index="$RepresentationID$.sidx"
                      initialization="$RepresentationID$-init.ts"
                      bitstreamSwitching="$RepresentationID$-bssw.ts"
                      duration="4"/>
                 <Representation id="720kbps" bandwidth="792000" width="640" height="368"/>
                 <Representation id="1130kbps" bandwidth="1243000" width="704" height="400"/>
                 <Representation id="1400kbps" bandwidth="1540000" width="960" height="544"/>
                 <Representation id="2100kbps" bandwidth="2310000" width="1120" height="640"/>




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                  <Representation id="2700kbps" bandwidth="2970000" width="1280" height="720"/>
                  <Representation id="3400kbps" bandwidth="3740000" width="1280" height="720"/>
            </AdaptationSet>
       </Period>
 </MPD>


G.4 Example for multiple stereo views
This subclause introduces a simple example for a stereo video presentation from three cameras in one
line where one stereo view is from the left-hand two cameras and the second is from the right-hand two
cameras.
 <MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="static"
       mediaPresentationDuration="PT3256S"
       minBufferTime="PT10.00S"
       profiles="urn:mpeg:dash:profile:isoff-main:2011">


       <BaseURL>http://www.example.com/</BaseURL>


       <!-- In this Period there are 3 views: coming from three lined up cameras: C1-C2-C3.
           C1+C2 and C2+C3 each form a stereo pair but C1+C3 does not.
           C2 is taken as the base view for MVC while C1 and C3 are enhancement views -->
       <Period start="PT0.00S" duration="PT2000.00S">
            <SegmentList>
                  <Initialization sourceURL="seg-m-init.mp4"/>
            </SegmentList>
            <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
                  <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l1 r0"/>
                  <Representation id="C2" bandwidth="128000">
                       <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C2view-1.mp4"/>
                            <SegmentURL media="seg-m1-C2view-2.mp4"/>
                            <SegmentURL media="seg-m1-C2view-3.mp4"/>
                       </SegmentList>
                  </Representation>
            </AdaptationSet>
            <!-- The following Adaptation set contains a Representation functionally identical
             to the Representation in the previous Adaptation set. Therefore, these both
             have the same Representation@id. This is done for compatibility to 2D receivers




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             that do not understand the schemeIdURI of the Role Descriptor and may ignore the
             Adaptation set -->
          <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
                <Representation id="C2" bandwidth="128000">
                     <SegmentList duration="10">
                           <SegmentURL media="seg-m1-C2view-1.mp4"/>
                           <SegmentURL media="seg-m1-C2view-2.mp4"/>
                           <SegmentURL media="seg-m1-C2view-3.mp4"/>
                     </SegmentList>
                </Representation>
          </AdaptationSet>
          <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
                <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l0"/>
                <Representation id="C1" dependencyId="C2" bandwidth="192000">
                     <SegmentList duration="10">
                           <SegmentURL media="seg-m1-C1view-1.mp4"/>
                           <SegmentURL media="seg-m1-C1view-2.mp4"/>
                           <SegmentURL media="seg-m1-C1view-3.mp4"/>
                     </SegmentList>
                </Representation>
          </AdaptationSet>
          <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
                <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="r1"/>
                <Representation id="C3" dependencyId="C2" bandwidth="192000">
                     <SegmentList duration="10">
                           <SegmentURL media="seg-m1-C3view-1.mp4"/>
                           <SegmentURL media="seg-m1-C3view-2.mp4"/>
                           <SegmentURL media="seg-m1-C3view-3.mp4"/>
                     </SegmentList>
                </Representation>
          </AdaptationSet>
      </Period>


      <!--    In this Period there are only 2 views:                  C1+C2 form a stereo pair;
          C2 is the base view for MVC and C1 is the enhancement view -->
      <Period duration="PT1256.00S">
          <SegmentList>
                <Initialization sourceURL="seg-m-init-2.mp4"/>
          </SegmentList>
          <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
                <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="r0"/>




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                  <Representation id="C2" bandwidth="128000">
                       <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C2view-201.mp4"/>
                            <SegmentURL media="seg-m1-C2view-202.mp4"/>
                       </SegmentList>
                  </Representation>
            </AdaptationSet>
            <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
                  <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l0"/>
                  <Representation id="C1" dependencyId="C2" bandwidth="192000">
                       <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C1view-201.mp4"/>
                            <SegmentURL media="seg-m1-C1view-202.mp4"/>
                       </SegmentList>
                  </Representation>
            </AdaptationSet>
       </Period>
 </MPD>


G.5 Example for SVC alternative streams
This simple example introduces a piece of SVC content split into three Representations with each
additional bitrate depending on the previous ones.
 <MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="static"
       mediaPresentationDuration="PT3256S"
       minBufferTime="PT1.2S"
       profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


       <BaseURL>http://cdn1.example.com/</BaseURL>
       <BaseURL>http://cdn2.example.com/</BaseURL>


       <!-- In this Period the SVC stream is split into three representations -->
       <Period>
            <AdaptationSet
                  subsegmentAlignment="true"
                  subsegmentStartsWithSAP="2"
                  minBandwidth="512000"
                  maxBandwidth="1024000"




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                width="640"
                height="480"
                frameRate="30"
                lang="en">
                <!-- Independent Representation -->
                <Representation
                     mimeType="video/mp4"
                     codecs="avc1.4D401E,mp4a.40"
                     id="tag5"
                     bandwidth="512000">
                     <BaseURL>video-512k.mp4</BaseURL>
                     <SegmentBase indexRange="0-4332"/>
                </Representation>
                <!-- Representation dependent on above -->
                <Representation
                     mimeType="video/mp4"
                     codecs="avc2.56401E"
                     id="tag6"
                     dependencyId="tag5"
                     bandwidth="768000">
                     <BaseURL>video-768k.mp4</BaseURL>
                     <SegmentBase indexRange="0-3752"/>
                </Representation>
                <!-- Representation dependent on both above -->
                <Representation
                     mimeType="video/mp4"
                     codecs="avc2.56401E"
                     id="tag7"
                     dependencyId="tag5 tag6"
                     bandwidth="1024000">
                     <BaseURL>video-1024k.mp4</BaseURL>
                     <SegmentBase indexRange="0-3752"/>
                </Representation>
          </AdaptationSet>
      </Period>
</MPD>




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G.6 Example for trick play support
This subclause introduces a simple example for using Sub-Representations to support layered coding.
 <MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="static"
       mediaPresentationDuration="PT3256S"
       minBufferTime="PT1.2S"
       profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


       <BaseURL>http://cdn1.example.com/</BaseURL>
       <BaseURL>http://cdn2.example.com/</BaseURL>


       <!-- Period with a multiplexed stream with subrepresentations
           described for use with fast forward -->
       <Period>
            <AdaptationSet
                  mimeType="video/mp4"         codecs="avc2.4D401E,avc1.4D401E,mp4a.40"
                  width="640" height="480" frameRate="30" lang="en"
                  subsegmentAlignment="true" subsegmentStartsWithSAP="2">
                  <ContentComponent id="0"           contentType="video"/>
                  <ContentComponent id="1"           contentType="audio"/>
                  <Representation id="tag0" bandwidth="512000">
                       <BaseURL>video-512k.mp4</BaseURL>
                 <SubRepresentation level="0" contentComponent="0" bandwidth="128000"
 codecs="avc1.4D401E" maxPlayoutRate="4"/>
                 <SubRepresentation level="1" dependencyLevel="0" contentComponent="0"
 bandwidth="320000" codecs="avc2.4D401E"/>
                 <SubRepresentation level="2" contentComponent="1" bandwidth="64000"
 codecs="mp4a.40"/>
                       <SegmentBase indexRange="7632-7632" />
                  </Representation>
            </AdaptationSet>
       </Period>
 </MPD>




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G.7 Example for content protected by multiple schemes
In the example below, example.com is a provider of CDN services and also a hosting service for movie
service providers MoviesSP. The English audio and the video tracks are encrypted and licensed by
MoviesSP. However, the French audio track is encrypted and licensed by a different service provider.
A hypothetical DRM standardization organization has registered a Scheme Type 'ZZZZ' with MP4REG
and documented how scheme specific licensing information is stored entirely within the content so there
is no additional information provided in the ContentProtection element. Since the scheme type is
registered and the rules for its use are documented, the "urn:mpeg:dash:mp4protection:2011"
is used for the @schemeIdUri and "ZZZZ" is the assigned @value.
In addition, a second DRM scheme is used that comes from a DRM vendor who has published
documentation of their system that declares that they use the DASH ContentProtection element
with a @schemeIdUri attribute value "http://example.net/052011/drm". (This DRM vendor
owns the domain example.net as of May, 2011.) Documentation for this scheme states that there must
always be two URLs in the ContentProtection element that are placed in elements defined in the
http://example.net/052011/drm namespace. The License element contains a license token and
the Content element contains a content token. Regardless of which service provider uses the protection
product from this DRM vendor, these rules must always be followed.
  <MPD
         xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
         xmlns="urn:mpeg:dash:schema:mpd:2011"
         xmlns:drm="http://example.net/052011/drm"
         xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
         type="static"
         mediaPresentationDuration="PT3256S"
         minBufferTime="PT10.00S"
         profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


         <BaseURL>http://cdn.example.com/movie23453235/</BaseURL>


         <Period>
              <!-- Audio protected with a specified license -->
              <AdaptationSet        mimeType="audio/mp4" codecs="mp4a.40" lang="en"
                   subsegmentStartsWithSAP="1"
                   subsegmentAlignment="true">
                   <ContentProtection schemeIdUri="http://example.net/052011/drm">


  <drm:License>http://MoviesSP.example.com/protect?license=kljklsdfiowek</drm:License>

  <drm:Content>http://MoviesSP.example.com/protect?content=oyfYvpo8yFyvyo8f</drm:Content>
                   </ContentProtection>
                   <Representation id="1" bandwidth="64000">
                         <BaseURL>audio/en/64.mp4</BaseURL>
                   </Representation>




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              </AdaptationSet>
              <!-- Audio protected with embedded information defined by 'ZZZZ' -->
              <AdaptationSet       mimeType="audio/mp4" codecs="mp4a.40" lang="fr"
                   subsegmentStartsWithSAP="1"
                   subsegmentAlignment="true">
               <ContentProtection schemeIdUri="urn:mpeg:dash:mp4protection:2011"
   value="ZZZZ"/>
                   <Representation id="3" bandwidth="64000">
                         <BaseURL>audio/fr/64.mp4</BaseURL>
                   </Representation>
              </AdaptationSet>
              <!-- Timed text in the clear -->
              <AdaptationSet       mimeType="application/ttml+xml" lang="de">
                   <Representation id="5" bandwidth="256">
                         <BaseURL>subtitles/de.xml</BaseURL>
                   </Representation>
              </AdaptationSet>
              <!-- Video protected with a specified license -->
           <AdaptationSet mimeType="video/mp4" codecs="avc1" subsegmentAlignment="true"
   subsegmentStartsWithSAP="2">
                   <ContentProtection schemeIdUri="http://example.net/052011/drm">

   <drm:License>http://MoviesSP.example.com/protect?license=jfjhwlsdkfiowkl</drm:License>

   <drm:Content>http://MoviesSP.example.com/protect?content=mslkfjsfiowelkfl</drm:Content>
                   </ContentProtection>
                   <BaseURL>video/</BaseURL>
                   <Representation id="6" bandwidth="256000" width="320" height="240">
                         <BaseURL>video256.mp4</BaseURL>
                   </Representation>
                   <Representation id="7" bandwidth="512000" width="320" height="240">
                         <BaseURL>video512.mp4</BaseURL>
                   </Representation>
                   <Representation id="8" bandwidth="1024000" width="640" height="480">
                         <BaseURL>video1024.mp4</BaseURL>
                   </Representation>
              </AdaptationSet>
        </Period>
   </MPD>




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G.8 Example for usage of Role descriptor
In the following MPD example, "supplementary" audio Representations with ids "31" or "32" can be
presented together with "main" video Representation with id "11" or "12" since Viewpoint descriptors
are equivalent, i.e. the @schemeIdUri and the @value are equivalent. Similarly, the
"supplementary" audio Representation with ids "41" or "42" can be presented together with
"alternate" video Representations with ids "21" and "22".
      NOTE        The MPD is not complete and only provides a description of the concept.

 <!-- Attention: this is not a complete MPD and thus will not validate against the MPD Schema -->
 <MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT10.00S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
      <Period>
             <AdaptationSet mimeType="video/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp1"/>
                 <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
                 <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
                 <!-- ... -->
             </AdaptationSet>
             <AdaptationSet mimeType="video/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp2"/>
                 <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
                 <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
                 <!-- ... -->
             </AdaptationSet>
             <AdaptationSet mimeType="audio/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
                 <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp1"/>
                 <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
                 <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
                 <!-- ... -->
             </AdaptationSet>
             <AdaptationSet mimeType="audio/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
                 <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp2"/>



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                  <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
                  <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
                  <!-- ... -->
            </AdaptationSet>
       </Period>
       <!-- ... -->
 </MPD>


G.9 Example for usage of Event Messaging
In the following MPD example, two types of Events are added. In the Event stream with
@schemeIdUri="urn:org:example:xscte3", time-synchronous events are added to the
program. The events have a presentation time and a presentation duration. In addition, one
Representation carries the MPD validity expiry information in an Inband event stream and an ad break
information for ad insertion (assuming ANSI/SCTE 35 fields are used to represent the ad break
parameters). The 'emsg' box may contain information as follows:
scheme_id_uri             = "urn:org:example:xscte35"
value                     = 0x0602
timescale                 = 1000
presentation_time_delta   = 8000
event_duration            = 0xFFFFFFFF
id                        = 12356789
message_data[] =
                     <metadata label="Ad Insertion Trigger"
                         type="http://www.example.com/schemas/xscte35"
                         namespace="xscte35"
                         xmlns:xscte35="http://www.example.com/schemas/xscte35">
                         <xscte35:signal>
                             <id name="segmentEventId" value="1" />
                             <time name="start" value="10" />
                             <time name="end" value="20" />
                         </xscte35:signal>
                     </metadata>



G.10 Example for MPD Adaptation Set Linking
This example shows how to describe MPD Adaptation Set Linking scheme as defined in subclause 5.8.5.9.
In this example, main video is the server-based mosaic channel as described in ISO/IEC TR 23009-3.
The screen position in main video and MPD linking for each mosaic video are described by SRD scheme
and MPD Adaptation Set Linking scheme in the separate Adaptation Set(s).
 <MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="dynamic"
       minimumUpdatePeriod="PT2S"
       timeShiftBufferDepth="PT30M"
       availabilityStartTime="2011-12-25T12:30:00"
       minBufferTime="PT4S"




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      profiles="urn:mpeg:dash:profile:isoff-live:2011"
      publishTime="2011-12-25T12:30:00">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <Period id="1">
          <EventStream schemeIdUri="urn:uuid:XYZY" timescale="1000" value="call">
                <Event presentationTime="0" duration="10000" id="0" messageData="+ 1 800 10101010"/>
                <Event presentationTime="20000" duration="10000" id="1" messageData="+ 1 800
10101011"/>
                <Event presentationTime="40000" duration="10000" id="2" messageData="+ 1 800
10101012"/>
                <Event presentationTime="60000" duration="10000" id="3" messageData="+ 1 800
10101013"/>
          </EventStream>
          <!-- Video -->
          <AdaptationSet
                mimeType="video/mp4"
                codecs="avc1.4D401F"
                frameRate="30000/1001"
                segmentAlignment="true"
                startWithSAP="1">
                <BaseURL>video/</BaseURL>
            <SegmentTemplate timescale="90000" initialization="$Bandwidth%/init.mp4v"
media="$Bandwidth%/$Time$.mp4v">
                     <SegmentTimeline>
                           <S t="0" d="180180" r="432"/>
                     </SegmentTimeline>
                </SegmentTemplate>
                <Representation id="v0" width="320" height="240" bandwidth="250000"/>
                <Representation id="v1" width="640" height="480" bandwidth="500000"/>
                <Representation id="v2" width="960" height="720" bandwidth="1000000"/>
          </AdaptationSet>
          <!-- English Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en" segmentAlignment="0"
startWithSAP="1">
            <SegmentTemplate timescale="48000" initialization="audio/en/init.mp4a"
media="audio/en/$Time$.mp4a">
                     <SegmentTimeline>
                           <S t="0" d="96000" r="432"/>
                     </SegmentTimeline>
                </SegmentTemplate>




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                  <Representation id="a0" bandwidth="64000">
                 <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012"
 value="1"></InbandEventStream>
                 <InbandEventStream schemeIdUri="urn:org:example:event"
 value="avail"></InbandEventStream>
                  </Representation>
            </AdaptationSet>
            <!-- French Audio -->
         <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr" segmentAlignment="0"
 startWithSAP="1">
             <SegmentTemplate timescale="48000" initialization="audio/fr/init.mp4a"
 media="audio/fr/$Time$.mp4a">
                       <SegmentTimeline>
                            <S t="0" d="96000" r="432"/>
                       </SegmentTimeline>
                  </SegmentTemplate>
                  <Representation id="b0" bandwidth="64000" />
            </AdaptationSet>
       </Period>
 </MPD>


G.11 Remote Element Entity
 <!--Single content continuing at the period boundary.-->
 <MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-
 instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 minBufferTime="PT1.500000S" type="static" mediaPresentationDuration="PT704S"
 profiles="urn:mpeg:dash:profile:isoff-live:2011">
       <Period id="0" duration="PT250S">
         <AssetIdentifier schemeIdUri="urn:org:dashif:asset-id:2013"
 value="md:cid:EIDR:10.5240%2f0EFB-02CD-126E-8092-1E49-W"/>
         <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
 maxFrameRate="24" par="16:9">
             <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
 height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="980104">
                 <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
 duration="24576" media="BBB_720_1M_video_$Number$.mp4" startNumber="1"
 initialization="BBB_720_1M_video_init.mp4"/>
                  </Representation>
             <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
 height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1950145">
                 <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
 duration="24576" media="BBB_720_2M_video_$Number$.mp4" startNumber="1"
 initialization="BBB_720_2M_video_init.mp4"/>
                  </Representation>
             <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
 height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3893089">




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                <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_4M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_4M_video_init.mp4"/>
                </Representation>
          </AdaptationSet>
          <AdaptationSet segmentAlignment="true">
            <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
audioSamplingRate="48000" startWithSAP="1" bandwidth="33434">
                <AudioChannelConfiguration
schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2"/>
                <SegmentTemplate timescale="48000" duration="94175"
media="BBB_32k_$Number$.mp4" startNumber="1" initialization="BBB_32k_init.mp4"/>
                </Representation>
          </AdaptationSet>
      </Period>
    <Period xlink:href="example_G11_remote.period.xml" xlink:actuate="onRequest"
xmlns:xlink="http://www.w3.org/1999/xlink"/>
      <Period id="2" duration="PT344S">
        <AssetIdentifier schemeIdUri="urn:org:dashif:asset-id:2013"
value="md:cid:EIDR:10.5240%2f0EFB-02CD-126E-8092-1E49-W"/>
        <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
maxFrameRate="24" par="16:9">
            <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="980104">
                <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
duration="24576" media="BBB_720_1M_video_$Number$.mp4" startNumber="126"
initialization="BBB_720_1M_video_init.mp4"/>
                </Representation>
            <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1950145">
                <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
duration="24576" media="BBB_720_2M_video_$Number$.mp4" startNumber="126"
initialization="BBB_720_2M_video_init.mp4"/>
                </Representation>
            <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3893089">
                <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
duration="24576" media="BBB_720_4M_video_$Number$.mp4" startNumber="126"
initialization="BBB_720_4M_video_init.mp4"/>
                </Representation>
          </AdaptationSet>
          <AdaptationSet segmentAlignment="true">
            <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
audioSamplingRate="48000" startWithSAP="1" bandwidth="33434">
                <AudioChannelConfiguration
schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2"/>
                <SegmentTemplate timescale="48000" presentationTimeOffset="11964416"
duration="94175" media="BBB_32k_$Number$.mp4" startNumber="126"
initialization="BBB_32k_init.mp4"/>




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                  </Representation>
            </AdaptationSet>
       </Period>
 </MPD>


Content of remote period element:
 <Period id="1" duration="PT110S" start="PT250S" xmlns="urn:mpeg:dash:schema:mpd:2011">
   <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720" maxFrameRate="24"
 par="16:9">
     <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
 height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="927434">
       <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
 media="ED_720_1M_MPEG2_video_$Number$.mp4" startNumber="1"
 initialization="ED_720_1M_MPEG2_video_init.mp4" />
       </Representation>
     <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
 height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1865663">
       <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
 media="ED_720_2M_MPEG2_video_$Number$.mp4" startNumber="1"
 initialization="ED_720_2M_MPEG2_video_init.mp4" />
       </Representation>
     <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
 height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3750115">
       <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
 media="ED_720_4M_MPEG2_video_$Number$.mp4" startNumber="1"
 initialization="ED_720_4M_MPEG2_video_init.mp4" />
       </Representation>
    </AdaptationSet>
    <AdaptationSet segmentAlignment="true">
     <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
 audioSamplingRate="48000" startWithSAP="1" bandwidth="33026">
       <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="2" />
       <SegmentTemplate timescale="48000" duration="239615" media="ED_MPEG2_32k_$Number$.mp4"
 startNumber="1" initialization="ED_MPEG2_32k_init.mp4" />
       </Representation>
    </AdaptationSet>
 </Period>


NOTE: The      example    code              is    available     at:    https://standards.iso.org/iso-iec/23009/-1/ed-4/en
(example_G11_remote.period.xml).




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G.12 Directory Limit Support in Segment Template Based Delivery
In certain cases, if Segments are stored in directories and Segments, then the directory limit may be
reached. For example, consider a 9 hour asset with 2 second Segment duration with server directory limit
of 1 000 files. This VOD asset will result in 16 200 segments. With a server directory limit of 1 000 files
per directory on the server, this would require 17 directories to store the segments.
Segment Templates can only be changed at Period boundaries. However, by using Period continuity, this
issue can be solved in order to ensure continuous playout across Periods. Assuming a directory limit of
1 000 files, the following may be done:
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 type="dynamic" minimumUpdatePeriod="PT10S"
 timeShiftBufferDepth="PT600S"
 minBufferTime="PT2S"
 profiles="urn:mpeg:dash:profile:isoff-main:2011"
 publishTime="2014-10-17T17:17:05Z"
 availabilityStartTime="2014-10-17T17:17:05Z">
   <Period id="1" start="PT0S">
      <BaseURL> http://example.com/1/</BaseURL>
 <SegmentTemplate media="./$RepresentationID$/$Number$.m4s" initialization="$RepresentationID$-
 init.mp4"/>
      <!-- Video -->
     <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.A1.80.L93.B0"
 segmentAlignment="true" startWithSAP="1">
         <SegmentTemplate timescale="25" duration="25"/>
        <Representation id="v2048" bandwidth="2048000"/>
        <Representation id="v1024" bandwidth="1024000"/>
        <Representation id="v512" bandwidth="512000"/>
        <Representation id="v128" bandwidth="128000"/>
      </AdaptationSet>
      <!-- Audio -->
     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2" segmentAlignment="true"
 startWithSAP="1" bitstreamSwitching="true">
         <SegmentTemplate timescale="20" duration="20"/>
        <Representation id="a128" bandwidth="128000"/>
         <Representation id="a64" bandwidth="64000"/>
      </AdaptationSet>
   </Period>
   <Period id="2" start="PT1000S">
      <BaseURL> http://example.com/2/</BaseURL>
 <SegmentTemplate media="./$RepresentationID$/$Number$.m4s" initialization="$RepresentationID$-
 init.mp4"/>




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       <!-- Video -->
     <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.A1.80.L93.B0"
 segmentAlignment="true" startWithSAP="1">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:period-continuity:2015" value="1"/>
          <SegmentTemplate timescale="25" duration="25" presentationTimeOffset="25000"/>
          <Representation id="v2048" bandwidth="2048000"/>
          <Representation id="v1024" bandwidth="1024000"/>
          <Representation id="v512" bandwidth="512000"/>
          <Representation id="v128" bandwidth="128000"/>
       </AdaptationSet>
       <!-- Audio -->
     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2" segmentAlignment="true"
 startWithSAP="1" bitstreamSwitching="true">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:period-continuity:2015" value="1"/>
          <SegmentTemplate timescale="20" duration="20" presentationTimeOffset="20000"/>
          <Representation id="a128" bandwidth="128000"/>
          <Representation id="a64" bandwidth="64000"/>
     </AdaptationSet>
    </Period>
 </MPD>


G.13 Data URLs
In order to minimize the http requests at startup or at Period boundaries, data URLs allow inclusion of
small data items as "immediate" data, as if it had been included externally. A server side example
processing for adding for example Initialization Segments is as follows:
— traverse the MPD tree, propagate templated initialization segment URLs (if any) down the MPD levels
  (Period, AdaptationSet) to the Representation level (only for the first Period).

— resolve the template (if any) potentially using BaseURL elements (if any), download the resolved IS
  and add a SegmentTemplate element with a "data:" URL scheme whose content is the base64
  encoded IS.

— For example, assume the following MPD part:

 <MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 mediaPresentationDuration="PT3256S"
 minBufferTime="PT1.500000S" profiles="urn:mpeg:dash:profile:isoff-ext-live:2014">
       <Period>
         <AdaptationSet startWithSAP="2" segmentAlignment="true" id="1" sar="1:1"
 mimeType="video/mp4">
                  <InbandEventStream schemeIdUri="tag:rdmedia.bbc.co.uk,2014:events/ballposition"
 value="1"/>
                  <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                  <BaseURL>avc3-events/</BaseURL>




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             <SegmentTemplate startNumber="1" timescale="1000" duration="3840"
 media="$RepresentationID$/$Number%06d$.m4s" initialization="$RepresentationID$/IS.mp4"/>
             <Representation id="960x540p50" codecs="avc3.64001f" height="540" width="960"
 frameRate="50" scanType="progressive" bandwidth="2814440"/>
             <Representation id="192x108p6_25" codecs="avc3.42c015" height="108" width="192"
 frameRate="25/4" scanType="progressive" bandwidth="31368"/>
          </AdaptationSet>
      </Period>
 </MPD>


This may be modified to move the templated @initialization attribute from the
AdaptationSet.SegmentTemplate element to each Representation.SegmentTemplate
element and the information from equivalent ISs is included. The resulting MPD looks as follows:
 <MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 mediaPresentationDuration="PT3256S"
 minBufferTime="PT1.500000S" profiles="urn:mpeg:dash:profile:isoff-ext-live:2014">
      <Period>
         <AdaptationSet id="1" segmentAlignment="true" sar="1:1" mimeType="video/mp4"
 startWithSAP="2" maxPlayoutRate="1">
                 <InbandEventStream schemeIdUri="tag:rdmedia.bbc.co.uk,2014:events/ballposition"
 value="1"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <BaseURL>avc3-events/</BaseURL>
             <SegmentTemplate media="$RepresentationID$/$Number%06d$.m4s" timescale="1000"
 duration="3840" startNumber="1"/>
             <Representation id="960x540p50" bandwidth="2814440" width="960" height="540"
 frameRate="50" codecs="avc3.64001f" maxPlayoutRate="1" scanType="progressive">
                 <SegmentTemplate
 initialization="data:video/mp4;base64,AAAAHGZ0eXBpc282AAAAAWF2YzFpc29tZGFzaAAAAldtb292...AAAAAAA
 AAAAAAAAQc3RjbwAAAAAAAAAA"/>
                 </Representation>
             <Representation id="192x108p6_25" bandwidth="31368" width="192" height="108"
 frameRate="25" codecs="avc3.42c015" maxPlayoutRate="1" scanType="progressive">
                 <SegmentTemplate
 initialization="data:video/mp4;base64,AAAAHGZ0eXBpc282AAAAAWF2YzFpc29tZGFzaAAAAlNtb292...AAAAAAA
 AABBzdHNjAAAAAAAAAAAAAAAUc3RzegAAAAAAAAAAAAAAAAAAABBzdGNvAAAAAAAAAAA="/>
                 </Representation>
          </AdaptationSet>
      </Period>
 </MPD>




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G.14 Example Live MPD with Timing Information
The following MPD shows the use of the UTCTiming element and the LeapSecondInformation
element in a Live service including MPD update events.

 <MPD type="dynamic" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 profiles="urn:mpeg:dash:profile:isoff-ext-live:2014" minBufferTime="PT1.143S"
 maxSegmentDuration="PT3.84S" minimumUpdatePeriod="PT1H" timeShiftBufferDepth="PT2M"
 availabilityStartTime="2019-03-24T21:20:00Z" publishTime="2019-03-24T20:44:33.540Z">
       <Period id="first" start="PT0S">
         <AdaptationSet startWithSAP="2" segmentAlignment="true" par="16:9" id="1"
 contentType="video" mimeType="video/mp4" >
                  <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"/>
                  <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
             <SegmentTemplate startNumber="404547501" presentationTimeOffset="310692480000"
 timescale="200" duration="768" media="$RepresentationID$/$Number%06d$.m4s"
 initialization="$RepresentationID$/IS.mp4" />
             <Representation id="1280x720p50" codecs="avc3.640020" height="720" width="1280"
 frameRate="50" bandwidth="5447392" scanType="progressive" />
            </AdaptationSet>
         <AdaptationSet startWithSAP="2" segmentAlignment="true" id="6" codecs="mp4a.40.2"
 audioSamplingRate="48000" contentType="audio" lang="eng" mimeType="audio/mp4" >
             <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="6"/>
                  <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"/>
                  <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
             <SegmentTemplate startNumber="404547501" presentationTimeOffset="74566195200000"
 timescale="48000" duration="184320" media="$RepresentationID$/$Number%06d$.m4s"
 initialization="$RepresentationID$/IS.mp4" />
                  <Representation id="320kbps-5_1" bandwidth="319520" />
            </AdaptationSet>
       </Period>
     <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="https://example.com/iso"/>
     <LeapSecondInformation availabilityStartLeapOffset="0" nextAvailabilityStartLeapOffset="1"
 nextLeapChangeTime="2020-01-01T00:00:00Z"/>
 </MPD>


G.15 Example MPD for Preselection Descriptor
This subclause introduces a simple example of using the Preselection Descriptor to define two audio
experiences. The first audio experience is the combination of English dialogue with the Music and Effects.
The second audio experience is the combination of Spanish dialogue with the Music and Effects.

 <MPD
  xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
  xmlns="urn:mpeg:dash:schema:mpd:2011"
  xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"




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 type="dynamic"
 availabilityStartTime="2018-12-20T06:04:22Z"
 publishTime="2018-12-20T06:04:22Z"
 minimumUpdatePeriod="PT2S"
 mediaPresentationDuration="PT0H4M9.708S"
 minBufferTime="PT4S"
 profiles="urn:mpeg:dash:profile:isoff-live:2011">
 <Period id="1" start="PT0S">
      <!-- Video -->
      <AdaptationSet id="1" mimeType="video/mp4" segmentAlignment="true" startWithSAP="1">
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">
          <SegmentTimeline>
             <S t="0" d="12000" r="154"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation          id="1"       bandwidth="3732256"             codecs="hev1.1.6.L120.90"                width="1920"
height="1080"/>
      </AdaptationSet>
      <!-- Audio (M&E) -->
      <AdaptationSet        id="2"       mimeType="audio/mp4"            codecs="mhm2.0x0C"            segmentAlignment="true"
startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016" value="1,2 3"/>
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016" value="2,2 4"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4" initialization="audio0.mp4">
          <SegmentTimeline>
             <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="2" bandwidth="132669" audioSamplingRate="48000"/>
      </AdaptationSet>
      <!-- Audio (English) -->
      <AdaptationSet             id="3"            mimeType="audio/mp4"                 lang="en"             codecs="mhm2.0x0C"
segmentAlignment="true" startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SegmentTemplate timescale="48000" media="audio1_$Number$.mp4" initialization="audio1.mp4">
          <SegmentTimeline>
             <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="3" bandwidth="32494" audioSamplingRate="48000"/>
      </AdaptationSet>
      <!-- Audio (Spanish) -->




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       <AdaptationSet             id="4"           mimeType="audio/mp4"                lang="es"            codecs="mhm2.0x0C"
 segmentAlignment="true" startWithSAP="1">
          <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
          <SegmentTemplate timescale="48000" media="audio2_$Number$.mp4" initialization="audio2.mp4">
            <SegmentTimeline>
               <S t="0" d="90112" r="133"/>
            </SegmentTimeline>
          </SegmentTemplate>
          <Representation id="4" bandwidth="32494" audioSamplingRate="48000"/>
       </AdaptationSet>
   </Period>
 </MPD>


G.16 Example MPD for Preselection Element
This subclause introduces a simple example of using the Preselection Element to define two audio
experiences. The first audio experience is the combination of English dialogue with the Music and Effects.
The second audio experience is the combination of Spanish dialogue with the Music and Effects.

 <MPD
   xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
   xmlns="urn:mpeg:dash:schema:mpd:2011"
   xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
   type="dynamic"
   availabilityStartTime="2018-12-20T06:04:22Z"
   publishTime="2018-12-20T06:04:22Z"
   minimumUpdatePeriod="PT2S"
   mediaPresentationDuration="PT0H4M9.708S"
   minBufferTime="PT4S"
   profiles="urn:mpeg:dash:profile:isoff-live:2011">
   <Period id="1" start="PT0S">
       <!-- Video -->
       <AdaptationSet id="1" mimeType="video/mp4" segmentAlignment="true" startWithSAP="1">
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
          <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">
            <SegmentTimeline>
               <S t="0" d="12000" r="154"/>
            </SegmentTimeline>
          </SegmentTemplate>
       <Representation id="1" bandwidth="3732256" codecs="hev1.1.6.L120.90" width="1920"
 height="1080"/>
       </AdaptationSet>
       <!-- Audio (M&E) -->




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      <AdaptationSet id="2" mimeType="audio/mp4" segmentAlignment="true" startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
      <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4"
initialization="audio0.mp4">
          <SegmentTimeline>
             <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="2" bandwidth="132669" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
      </AdaptationSet>
      <!-- Audio (English) -->
    <AdaptationSet id="3" mimeType="audio/mp4" lang="en" segmentAlignment="true"
startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
      <SegmentTemplate timescale="48000" media="audio1_$Number$.mp4"
initialization="audio1.mp4">
          <SegmentTimeline>
             <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="3" bandwidth="32494" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
      </AdaptationSet>
      <!-- Audio (Spanish) -->
    <AdaptationSet id="4" mimeType="audio/mp4" lang="es" segmentAlignment="true"
startWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
      <SegmentTemplate timescale="48000" media="audio2_$Number$.mp4"
initialization="audio2.mp4">
          <SegmentTimeline>
             <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="4" bandwidth="32825" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
      </AdaptationSet>
      <!-- Preselections -->
      <Preselection id="1" tag="1" lang="en" preselectionComponents="2 3">
      <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
value="2"/>
        <Label id="1">Main English</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
      </Preselection>
      <Preselection id="2" tag="2" lang="es" preselectionComponents="2 4">
      <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
value="2"/>




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          <Label id="1">Main Spanish</Label>
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
       </Preselection>
   </Period>
 </MPD>


G.17 Example MPD for Preselection Element using ContentComponent
This subclause introduces a simple example of using the Preselection Element to define two audio
experiences that are multiplexed at the file-container level. Three audio components are delivered in a
single Representation and described by ContentComponent elements. The first audio experience is
the combination of English dialogue with the Music and Effects. The second audio experience is the
combination of Spanish dialogue with the Music and Effects.

 <MPD
   xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
   xmlns="urn:mpeg:dash:schema:mpd:2011"
   xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
   type="dynamic"
   availabilityStartTime="2018-12-20T06:04:22Z"
   publishTime="2018-12-20T06:04:22Z"
   minimumUpdatePeriod="PT2S"
   mediaPresentationDuration="PT0H4M9.708S"
   minBufferTime="PT4S"
   profiles="urn:mpeg:dash:profile:isoff-live:2011">
   <Period id="1" start="PT0S">
       <!-- Video -->
     <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.1.6.L120.90" segmentAlignment="true"
 startWithSAP="1">
          <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">
            <SegmentTimeline>
               <S t="0" d="12000" r="154"/>
            </SegmentTimeline>
          </SegmentTemplate>
          <Representation id="1" bandwidth="3732256" width="1920" height="1080"/>
       </AdaptationSet>
       <!-- Audio -->
     <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2,mp4a.40.2,mp4a.40.2"
 segmentAlignment="true" startWithSAP="1">
          <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
          <ContentComponent id="3">
            <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
          </ContentComponent>
          <ContentComponent id="4" lang="en">




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          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        </ContentComponent>
        <ContentComponent id="5" lang="es">
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
        </ContentComponent>
       <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4"
 initialization="audio0.mp4">
          <SegmentTimeline>
              <S t="0" d="90112" r="133"/>
          </SegmentTimeline>
        </SegmentTemplate>
        <Representation id="2" bandwidth="132669" audioSamplingRate="48000"/>
      </AdaptationSet>
      <!-- Preselections -->
      <Preselection id="1" tag="1" lang="en" preselectionComponents="3 4">
       <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
        <Label id="1">Main English</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
      </Preselection>
      <Preselection id="2" tag="2" lang="es" preselectionComponents="3 5">
       <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
        <Label id="1">Main Spanish</Label>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
      </Preselection>
  </Period>
 </MPD>


G.18 Example MPD for Low Latency Streaming
This subclause introduces a simple example of using the ServiceDescription element to control latency
for a subset of clients as well as the usage of the Leap Second Information and Producer Reference Time.

 <MPD type="dynamic" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
 profiles="urn:mpeg:dash:profile:isoff-ext-live:2014" minBufferTime="PT1.143S"
 maxSegmentDuration="PT3.84S" minimumUpdatePeriod="PT1H" timeShiftBufferDepth="PT2M"
 availabilityStartTime="2019-08-06T13:31:00Z" publishTime="2019-08-06T13:31:00Z">
      <ServiceDescription id="0">
          <Scope schemeIdUri="tag:example.com,082019:lowlatencyclients" value="2"/>
          <Latency min="4800" max="34800" target="6800" referenceId="7"/>
          <PlaybackRate min="0.96" max="1.04"/>




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       </ServiceDescription>
       <Period id="first" start="PT0S">
         <AdaptationSet startWithSAP="2" segmentAlignment="true" par="16:9" id="1"
 contentType="video" mimeType="video/mp4" >
                  <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1" />
             <ProducerReferenceTime id="7" wallClockTime="2019-08-06T13:44:12Z"
 presentationTime="158400">
                 <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="https://example.com/iso"/>
                  </ProducerReferenceTime>
                  <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
             <SegmentTemplate startNumber="404547501" presentationTimeOffset="310692480000"
 timescale="200" duration="768" media="$RepresentationID$/$Number%06d$.m4s"
 initialization="$RepresentationID$/IS.mp4" availabilityTimeOffset="2.88"
 availabilityTimeComplete="false"/>

             <Representation id="1280x720p50" codecs="avc3.640020" height="720" width="1280"
 frameRate="50" bandwidth="5447392" scanType="progressive" />
            </AdaptationSet>
         <AdaptationSet startWithSAP="2" segmentAlignment="true" id="6" codecs="mp4a.40.2"
 audioSamplingRate="48000" contentType="audio" lang="eng" mimeType="audio/mp4" >
             <AudioChannelConfiguration
 schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_configuration:2011" value="6"/>
                  <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"/>

                  <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
             <SegmentTemplate startNumber="404547501" presentationTimeOffset="74566195200000"
 timescale="48000" duration="184320" media="$RepresentationID$/$Number%06d$.m4s"
 initialization="$RepresentationID$/IS.mp4" availabilityTimeOffset="2.88"
 availabilityTimeComplete="false" />
                  <Representation id="320kbps-5_1" bandwidth="319520" />
            </AdaptationSet>
       </Period>

     <UTCTiming schemeIdUri="urn:mpeg:dash:utc:http-xsdate:2014"
 value="https://example.com/iso"/>
       <LeapSecondInformation availabilityStartLeapOffset="37"/>
 </MPD>




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                                                    Annex H
                                                  (normative)
                                       Spatial Relationship Description



H.1 Spatial Relationship Description (SRD) scheme
The SRD scheme allows Media Presentation Description authors to express spatial relationships between
Spatial Objects. A Spatial Object is represented by either an Adaptation Set or a Sub-Representation. As
an example, a spatial relationship may express that a video represents a spatial part of another full-frame
video (e.g. a region of interest, or a tile).
The SupplementalProperty and/or EssentialProperty descriptors with @schemeIdUri
equal to "urn:mpeg:dash:srd:2014” and “urn:mpeg:dash:srd:dynamic:2016" may be used
to provide spatial relationship information associated to the containing Spatial Object. SRD information
shall be contained exclusively in these two MPD elements (AdaptationSet and
SubRepresentation).
To preserve the compatibility with legacy clients, MPD shall use SupplementalProperty and
EssentialProperty in such a way that at least one Representation can be interpreted by legacy
clients after discarding the element containing EssentialProperty.
NOTE       Sub-Representation level SRDs can be used to represent Spatial Objects in one Representation such as
HEVC tiling streams. In that case, SRD descriptors can be present at Adaptation Set as well as Sub-Representation
levels.


H.2 SRD @value syntax
H.2.1 General

The @value of the SupplementalProperty or EssentialProperty elements using the SRD
scheme is a comma-separated list of values for SRD parameters.
When @value is not present, the SRD does not express any spatial relationship information at all and
can be ignored.
H.2.2 Common parameters

The source_id parameter provides a unique identifier, within the Period, for the source of the content.
It implicitly defines a coordinate system associated to this source. This coordinate system uses an
arbitrary origin (0; 0); the x-axis is oriented from left to right and the y-axis from top to bottom. All SRD
sharing the same source_id value have the same origin and axes orientations. Spatial relationships for
Spatial Objects using SRD with different source_id values are undefined.
For a given source_id value, a reference space is defined, corresponding to the rectangular region
encompassing the entire source content, whose top-left corner is at the origin of the coordinate system.
The total_width and total_height values in a SRD provide the size of this reference space
expressed in arbitrary units.
      NOTE 1     There can be no Spatial Object in the MPD that covers the entire source of the content, e.g. when the
      entire source content is represented by two separate videos.




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MPD authors can express, using the spatial_set_id parameter, that some Spatial Objects, within a
given source_id, have a particular spatial relationship. For instance, an MPD author may group all
Adaptation Sets corresponding to tiles at a same resolution level. This way, the spatial_set_id
parameter may be used by the DASH Client to quickly select spatially related Spatial Objects. When there
are two or more groups of full-frame videos which consist of one or more Spatial Objects with the same
total_width and total_height value, different values of spatial_set_id may be used to
distinguish the groups of full-frame video.
     NOTE 2       ISO/IEC TR 23009-3 gives concrete examples showing how to use the spatial_set_id.

H.2.3 Specific parameters for static spatial description

For expressing static description within the scope of the Period, the following Scheme Identifier is used
"urn:mpeg:dash:srd:2014".
The object_x and object_y parameters (respectively object_width and object_height)
express 2D positions (respectively 2D sizes) of the associated Spatial Object in the coordinate system
associated to the source. The values of the object_x, object_y, object_width, and
total_height parameters are relative to the values of the total_width and total_height
parameters, as defined above. Positions (object_x, object_y) and sizes (object_width,
object_height) of SRD sharing the same source_id value may be compared after taking into
account the size of the reference space, i.e. after the object_x and object_width values are divided
by the total_width value and the object_y and object_height values divided by the
total_height value of their respective descriptors.
     NOTE      Different total_width and total_height values can be used in different descriptors to
     provide positions and sizes information in different units.


 Table H.1 — EssentialProperty@value and/or SupplementalProperty@value attributes
                              for the static SRD scheme

   EssentialProperty@value or
  SupplementalProperty@value                         Use                                 Description
                  parameter
 source_id                                            M      non-negative integer in decimal representation providing
                                                             the identifier for the source of the content
 object_x                                             M      non-negative integer in decimal representation expressing
                                                             the horizontal position of the top-left corner of the Spatial
                                                             Object in arbitrary units
 object_y                                             M      non-negative integer in decimal representation expressing
                                                             the vertical position of the top-left corner of the Spatial
                                                             Object in arbitrary units
 object_width                                         M      non-negative integer in decimal representation expressing
                                                             the width of the Spatial Object in arbitrary units
 object_height                                        M      non-negative integer in decimal representation expressing
                                                             the height of the Spatial Object in arbitrary units
 total_width                                          O      optional non-negative integer in decimal representation
                                                             expressing the width of the reference space in arbitrary
                                                             units.
                                                             At each Period and for a given source_id value, the
                                                             following rules apply:




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  EssentialProperty@value or
 SupplementalProperty@value                          Use                                   Description
                parameter
                                                              —     There shall be at least one descriptor providing a value
                                                                    for the total_width parameter.
                                                              —     If two or more descriptors provide different
                                                                    total_width values, all other descriptors shall
                                                                    explicitly provide the value of total_width.
                                                              —     If the total_width value is provided in only one
                                                                    descriptor, all other descriptors are assumed to use
                                                                    that total_width value.
                                                              —     The value of total_width shall be such that, for
                                                                    each descriptor using this value of total_width,
                                                                    the sum of object_x and object_width is
                                                                    smaller or equal to total_width.

                                                              When the value total_width is present, the value
                                                              total_height shall be present.

 total_height                                         O       optional non-negative integer in decimal representation
                                                              expressing the height of the reference space in arbitrary
                                                              units.
                                                              At each Period and for a given source_id value, the
                                                              following rules apply:
                                                              — There shall be at least one descriptor providing a value
                                                                   for the total_height parameter.
                                                              —     If two or more descriptors provide different
                                                                    total_height values, all other descriptors shall
                                                                    explicitly provide the value of total_height.
                                                              —     If the total_height value is provided in only one
                                                                    descriptor, all other descriptors are assumed to use
                                                                    that total_height value.
                                                              —     The value of total_height shall be such that, for
                                                                    each descriptor using this value of total_height,
                                                                    the sum of object_y and object_height is
                                                                    smaller or equal to total_height.

                                                              When the value total_height is present, the value
                                                              total_width shall be present.

 spatial_set_id                                       O       optional non-negative integer in decimal representation
                                                              providing an identifier for a group of Spatial Object.
                                                              When not present, the Spatial Object associated to this
                                                              descriptor does not belong to any spatial set and no spatial
                                                              set information is given.
                                                              When the value of spatial_set_id is present, the value
                                                              of total_width and total_height shall be present.
 Key
 M=Mandatory, O=Optional




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The syntax for the value field of the static spatial relationship description shall follow the STATIC-SRD-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:
          STATIC-SRD-VALUE = source_id "," object_x "," object_y ","
          object_width "," object_height [ "," total_width [ ","
          total_height [ "," spatial_set_id ]]]


          source_id = DECIMAL_DIGITS
          object_x = DECIMAL_DIGITS
          object_y = DECIMAL_DIGITS
          object_width = DECIMAL_DIGITS
          object_height = DECIMAL_DIGITS
          total_width = DECIMAL_DIGITS
          total_height = DECIMAL_DIGITS
          spatial_set_id = DECIMAL_DIGITS


          DECIMAL_DIGITS = 1*DIGIT

H.2.4 Specific parameters for dynamic spatial description

For expressing dynamic description within the scope of the Period, the following Scheme Identifier is
used "urn:mpeg:dash:srd:dynamic:2016".
In the case the Spatial Object moves within the reference space, the coordinates of the Spatial Object are
time dependent and thus cannot be expressed as static values in a SRD. As a result, the SRD does not
provide directly the coordinates and size as in the static case but instead specifies the @id attribute of
the metadata Representation that provides the coordinates and size of the Spatial Object. This @id
attribute value is signalled in the coordinate_id parameter.
Examples of such scenarios include director#s view, object tracking view, person tracking view in video
conference applications, etc. For instance, the MPD author may offer two Spatial Objects, providing a wide
angle view and a close-up view of the same scene of a sport event. The close-up view follows the action
of the most popular athlete. But to ensure a satisfying Quality of Experience for the end-user, it is essential
to describe the position of the close-up view with respect to the wide angle view at any point in time of
the media content. This way, the end-user application can seamlessly switch from one video to another
providing a smooth zooming in and out transition for the end-user.




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Table H.2 — EssentialProperty@value and/or SupplementalProperty@value attributes
                            for the dynamic SRD scheme

 EssentialProperty@value or
 SupplementalProperty@valu                          Use                                    Description
         e parameter
 source_id                                           M      non-negative integer in decimal representation providing the
                                                            identifier for the source of the content
 coordinate_id                                       M      specifies the @id attribute of the Representation that
                                                            provides the 2D coordinates of the Spatial Object as timed
                                                            metadata track according to ISO/IEC 23001-10.
 spatial_set_id                                       O     optional non-negative integer in decimal representation
                                                            providing an identifier for a group of Spatial Object.
                                                            When not present, the Spatial Object associated to this
                                                            descriptor does not belong to any spatial set and no spatial
                                                            set information is given.
 Key
 M=Mandatory, O=Optional


The coordinates and size of a moving Spatial Object shall be provided by a Representation offering a 2D
Cartesian coordinate track '2dcc' as defined in ISO/IEC 23001-10. The @associationId attribute of
this metadata Representation shall contain the value of the attribute @id of the Representation
containing the moving Spatial Object. In addition, the @associationType attribute of this metadata
Representation shall be set to 'cdsc'. See H.3.3 for examples.
The mapping between the '2dcc' sample parameters and the SRD parameters as defined in Table H.3
shall apply in order to determine the coordinates and size of a Spatial Object whose coordinates and size
is provided as '2dcc' metadata Representation.

       Table H.3 — Mapping between the '2dcc' sample parameters and the SRD parameters

           2D Cartesian Coordinates Sample
                                                                                            SRD parameters
                 (ISO/IEC 23001-10)
                        top_left_x                                                              object_x
                        top_left_y                                                              object_y
                            width                                                           object_width
                           height                                                          object_height
                   reference_width                                                           total_width
                  reference_height                                                          total_height

      NOTE        The 2D Cartesian Coordinates Sample is a generic sample providing the position and size of a
      rectangle, hence the more generic naming of these parameters compared to the SRD parameter#s names in
      ISO/IEC 23009-1.




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The syntax for the value field of the dynamic spatial relationship description shall follow the DYNAMIC-
SRD-VALUE as defined in the following ABNF notation according to IETF RFC 5234:
          DYNAMIC-SRD-VALUE                  =      source_id            ","       coordinate_id                  [   ","
          spatial_set_id ]


          source_id = DECIMAL_DIGITS
          coordinate_id = STRING
          spatial_set_id = DECIMAL_DIGITS


          DECIMAL_DIGITS = 1*DIGIT
          STRING = *VCHAR

H.3 Examples
All examples documented in this Annex are provided at https://standards.iso.org/iso-iec/23009/-1/ed-
4/en with the following file naming convention referring to H.3

     <subsection>:example-H<subsection>.mpd

H.3.1 Zoomed video

This subclause provides a simple example of a static presentation with 2 videos, one video representing
a zoomed part of the other video. The Media Presentation complies with the ISO Base media file format
On Demand profile as defined in subclause 8.3.
 <MPD
    xmlns="urn:mpeg:dash:schema:mpd:2011"
    xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
    xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
    type="static"
    mediaPresentationDuration="PT10S"
    minBufferTime="PT1S"
    profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">




    <ProgramInformation>
       <Title>Example of a DASH Media Presentation Description using Spatial Relationship Description
 to indicate that a video is a zoomed part of another</Title>
    </ProgramInformation>



    <Period>
       <!-- Panorama Video -->
       <AdaptationSet                         segmentAlignment="true"                            subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">




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          <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,3,3,3,3"/>
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
         <Representation id="1" mimeType="video/mp4" codecs="avc1.42c033" width="1920" height="1080"
 bandwidth="1055223" startWithSAP="1">
            <BaseURL> panorama_video.mp4</BaseURL>
            <SegmentBase indexRangeExact="true" indexRange="839-990"/>
          </Representation>
      </AdaptationSet>
      <!-- Zoomed Video -->
      <AdaptationSet                           segmentAlignment="true"                               subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,1,1,1,3,3"/>
           <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
       <Representation id="2" mimeType="video/mp4" codecs="avc1.42c028" width="1920" height="1080"
 bandwidth="769458" startWithSAP="1">
            <BaseURL> zoomed_video.mp4</BaseURL>
            <SegmentBase indexRangeExact="true" indexRange="838-989"/>
          </Representation>
      </AdaptationSet>
   </Period>
 </MPD>



H.3.2 Tiled video

This subclause provides a simple example of a static presentation of a video available in different
resolutions and of tiles of that video also available in different resolutions. The Media Presentation
complies with the ISO Base media file format On Demand profile as defined in subclause 8.3.
  <MPD
   xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
   xmlns="urn:mpeg:dash:schema:mpd:2011"
   xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
   type="dynamic"
   availabilityStartTime="2018-12-20T06:04:22Z"
   publishTime="2018-12-20T06:04:22Z"
   minimumUpdatePeriod="PT2S"
   mediaPresentationDuration="PT0H4M9.708S"
   minBufferTime="PT4S"
   profiles="urn:mpeg:dash:profile:isoff-live:2011">
   <Period id="1" start="PT0S">
       <!-- Video -->
       <AdaptationSet id="1" mimeType="video/mp4" segmentAlignment="true" startWithSAP="1">
           <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
           <SegmentTemplate timescale="5994" media="video_$Number$.mp4" initialization="video.mp4">




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              <SegmentTimeline>
                <S t="0" d="12000" r="154"/>
              </SegmentTimeline>
           </SegmentTemplate>
         <Representation id="1" bandwidth="3732256" codecs="hev1.1.6.L120.90" width="1920"
   height="1080"/>
        </AdaptationSet>
        <!-- Audio (M&E) -->
        <AdaptationSet id="2" mimeType="audio/mp4" segmentAlignment="true" startWithSAP="1">
           <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
         <SegmentTemplate timescale="48000" media="audio0_$Number$.mp4"
   initialization="audio0.mp4">
              <SegmentTimeline>
                <S t="0" d="90112" r="133"/>
              </SegmentTimeline>
           </SegmentTemplate>
           <Representation id="2" bandwidth="132669" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
        </AdaptationSet>
        <!-- Audio (English) -->
       <AdaptationSet id="3" mimeType="audio/mp4" lang="en" segmentAlignment="true"
   startWithSAP="1">
           <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
         <SegmentTemplate timescale="48000" media="audio1_$Number$.mp4"
   initialization="audio1.mp4">
              <SegmentTimeline>
                <S t="0" d="90112" r="133"/>
              </SegmentTimeline>
           </SegmentTemplate>
           <Representation id="3" bandwidth="32494" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
        </AdaptationSet>
        <!-- Audio (Spanish) -->
       <AdaptationSet id="4" mimeType="audio/mp4" lang="es" segmentAlignment="true"
   startWithSAP="1">
           <EssentialProperty schemeIdUri="urn:mpeg:dash:preselection:2016"/>
         <SegmentTemplate timescale="48000" media="audio2_$Number$.mp4"
   initialization="audio2.mp4">
              <SegmentTimeline>
                <S t="0" d="90112" r="133"/>
              </SegmentTimeline>
           </SegmentTemplate>
           <Representation id="4" bandwidth="32825" codecs="mhm2.0xC0" audioSamplingRate="48000"/>
        </AdaptationSet>
        <!-- Preselections -->




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       <Preselection id="1" tag="1" lang="en" preselectionComponents="2 3">
       <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
          <Label id="1">Main English</Label>
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
       </Preselection>
       <Preselection id="2" tag="2" lang="es" preselectionComponents="2 4">
       <AudioChannelConfiguration schemeIdUri="urn:mpeg:mpegB:cicp:ChannelConfiguration"
 value="2"/>
          <Label id="1">Main Spanish</Label>
          <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
       </Preselection>
  </Period>
 </MPD>
<MPD
  xmlns="urn:mpeg:dash:schema:mpd:2011"
  xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
  xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
  type="static"
  mediaPresentationDuration="PT10S"
  minBufferTime="PT1S"
  profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
  <ProgramInformation>
    <Title>Example of a DASH Media Presentation Description using Spatial Relationship
Description to indicate tiles of a video</Title>
  </ProgramInformation>
  <Period>
      <!-- Main Video -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,2,2,2,2"/>
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
      <Representation id="1" mimeType="video/mp4" codecs="avc1.42c01e" width="640" height="360"
bandwidth="226597" startWithSAP="1">
          <BaseURL> full_video_small.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="837-988"/>
        </Representation>
      <Representation id="2" mimeType="video/mp4" codecs="avc1.42c01f" width="1280" height="720"
bandwidth="553833" startWithSAP="1">
          <BaseURL> full_video_hd.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="838-989"/>
        </Representation>
      <Representation id="3" mimeType="video/mp4" codecs="avc1.42c033" width="3840"
height="2160" bandwidth="1055223" startWithSAP="1">




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            <BaseURL> full_video_4k.mp4</BaseURL>
            <SegmentBase indexRangeExact="true" indexRange="839-990"/>
          </Representation>
       </AdaptationSet>
       <!-- Tile 1 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,1,1,2,2"/>
           <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
      <Representation id="4" mimeType="video/mp4" codecs="avc1.42c00d" width="640" height="360"
 bandwidth="218284" startWithSAP="1">
            <BaseURL> tile1_video_small.mp4</BaseURL>
            <SegmentBase indexRangeExact="true" indexRange="837-988"/>
          </Representation>
       <Representation id="5" mimeType="video/mp4" codecs="avc1.42c01f" width="1280" height="720"
 bandwidth="525609" startWithSAP="1">
            <BaseURL> tile1_video_hd.mp4</BaseURL>
            <SegmentBase indexRangeExact="true" indexRange="838-989"/>
          </Representation>
       <Representation id="6" mimeType="video/mp4" codecs="avc1.42c028" width="1920"
 height="1080" bandwidth="769514" startWithSAP="1">
            <BaseURL> tile1_video_fullhd.mp4</BaseURL>
            <SegmentBase indexRangeExact="true" indexRange="839-990"/>
          </Representation>
       </AdaptationSet>
       <!-- Tile 2 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,0,1,1,2,2"/>
       </AdaptationSet>
       <!-- Tile 3 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,1,1,1,2,2"/>
       </AdaptationSet>
       <!-- Tile 4 -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
          <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,1,1,1,2,2"/>
       </AdaptationSet>
    </Period>
 </MPD>




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H.3.3 Tiled panorama with moving Region-of-Interest

This subclause provides a simple example of a video moving within a panorama composed of two
adjacent videos. The Media Presentation complies with the ISO Base media file format On Demand profile
as defined in subclause 8.3.
 <MPD
   xmlns="urn:mpeg:dash:schema:mpd:2011"
   xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
   xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
   type="static"
   mediaPresentationDuration="PT10S"
   minBufferTime="PT1S"
   profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
   <Period>
      <!-- Tiled Panorama (2 full HD video next to each other) -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
        value="1, 0, 0, 1920, 1080, 3840, 1080, 0"/>
       <Representation id="left_panorama" mimeType="video/mp4" codecs="avc1.42c01e"
 bandwidth="5000000" width="1920" height="1080">
           <BaseURL>left_panorama.mp4</BaseURL>
        </Representation>
      </AdaptationSet>
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
        value="1, 1920, 0, 1920, 1080, 3840, 1080, 0"/>
       <Representation id="right_panorama" mimeType="video/mp4" codecs="avc1.42c01e"
 bandwidth="5000000" width="1920" height="1080">
           <BaseURL>right_panorama.mp4</BaseURL>
        </Representation>
      </AdaptationSet>
      <!-- Moving Region-of-Interest -->
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">
        <EssentialProperty schemeIdUri="urn:mpeg:dash:srd:2016"
          value="1, roi-coordinates"/>
       <Representation id="zoomed" mimeType="video/mp4" codecs="avc1.42c01e" bandwidth="5000000"
 width="1920" height="1080">
           <BaseURL>zoomed_part.mp4</BaseURL>
        </Representation>
      </AdaptationSet>
     <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
 subsegmentStartsWithSAP="1">



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       <Representation id="roi-coordinates" associationId="zoomed" associationType="cdsc"
 codecs="2dcc" bandwidth="100">
            <BaseURL>roi_coordinates.mp4</BaseURL>
          </Representation>
       </AdaptationSet>
    </Period>
 </MPD>




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                                                Annex I
                                              (normative)
                                 Flexible Insertion of URL Parameters



I.1 General
This Annex describes how it is possible to configure URL parameters of media segment URLs, in a similar
fashion to the URL template mechanism. The core specification of DASH already allows building media
segment URLs containing static URL parameters. This Annex aims at providing more flexibility and
dynamicity in the way URL parameters are inserted.
Parameters are instantiated — a name-value pair is constructed by the client. Then parameters are
output — an instantiated key-value pair is written to either query parameters or headers, depending on
the output mode.
The mechanism described in this Annex allows several methods of instantiation:
— "Inheritance" from MPD URL parameters when the MPD is delivered over HTTP, i.e. extraction of one
  or more key-value pairs from the query string of the URL used to fetch MPD.

— Just-in-time server-side instantiation using the XLink mechanism.

— Header instantiation: given a header name, the parameter value is the value of the header.

— Client-side computation — specific feedback (uniquely identified by URN) is expected from the client
  side.

There are two output modes described by this Annex:
— Query parameters: parameters are written as key-value pairs in HTTP GET requests issued by the
  DASH Client.

— HTTP header: parameters are written as a list of key-value pairs in a DASH-specific HTTP header.

Flexible insertion of URL parameters is signalled through the use of EssentialProperty or
SupplementalProperty descriptors, with @schemeIdUri values defined below:
— Baseline     segment URL   parametrization     scheme        identified     by     URN
  "urn:mpeg:dash:urlparam:2014" and described in I.2. This scheme applies only to requests
  for media segments.

— Extended parametrization scheme applying to requests for media segments, MPD, XLink and callback
  events, and is a superset of the baseline scheme. This scheme is identified by URN
  "urn:mpeg:dash:urlparam:2016" and described in I.3.




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I.2 Segment URL parametrization
I.2.1 General

Flexible insertion of URL parameters is signalled through the use of EssentialProperty or
SupplementalProperty           descriptors,       with      @schemeIdUri      equal    to
"urn:mpeg:dash:urlparam:2014".
A child element up:UrlQueryInfo shall be present in these descriptors, defined within the
"urn:mpeg:dash:schema:urlparam:2014" namespace. The namespace prefix should be “up:”.
As defined by this specification, each of these descriptors may be present at the MPD, Adaptation Set or
at the Representation level. Only SupplementalProperty descriptor may be present at the Period
level. When insertion of URL parameters is required for a Period, EssentialProperty descriptors
shall be inserted in all Adaptation Sets of that Period. At most one descriptor shall be present at each
level.
When the insertion of URL parameters requires scheme-dependent computation, one or several
additional EssentialProperty or SupplementalProperty descriptors shall be present. These
descriptors shall carry an appropriate @schemeIdUri attribute referencing the scheme to be used, and
provide sufficient information to appropriately compute the required URL parameters (see I.2.4.2).
Support of these schemes is not in the scope of this specification.
The initial part of the XML schema of the URL Query Information is provided below, including namespace
and other definitions. Specific types, elements and attributes are introduced in the remainder of this
subclause. The complete normative URL Query Information schema is provided at
https://standards.iso.org/iso-iec/23009/-1/ed-4/en (DASH-MPD-UP.xsd). In case
of inconsistencies, this schema takes precedence both over the XML syntax snippets provided in this
clause and all prose text in this document.
Implementors are supported by additional files available at: https://standards.iso.org/iso-
iec/23009/-1/ed-4/en. These files include the schema as well as all examples provided in this
annex.
 <xs:schema xmlns:xs="http://www.w3.org/2001/XMLSchema"
 xmlns:xlink="http://www.w3.org/1999/xlink" xmlns="urn:mpeg:dash:schema:urlparam:2014"
 targetNamespace="urn:mpeg:dash:schema:urlparam:2014" elementFormDefault="qualified"
 attributeFormDefault="unqualified">
 <xs:import namespace="http://www.w3.org/1999/xlink" schemaLocation="
 http://www.w3.org/1999/xlink.xsd"/>
 <xs:element name="UrlQueryInfo" type="UrlQueryInfoType"/>
 ...
 </xs:schema>


I.2.2 URL Query Information

I.2.2.1     Overview

The UrlQueryInfo element describes how to build a URL query string, which is used in the media
segments URLs building process.
This query string can come from one of the three sources below:
— The URL of the MPD when the @useMPDUrlQuery is set;

— The @queryString attribute when present;


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— The @queryString attribute, after any XLink resolution in case @xlink:href is present.

The @queryTemplate attribute describes which URL parameters contained in the query string are used
in the media segment URL building process, as well as the order of these parameters.
The semantics of the attributes and elements for the URL Query Information provided in I.2.2.2, Table I.1.
The XML syntax of the URL Query Information is provided in I.2.2.3.
I.2.2.2      Semantics

                                  Table I.1 — Semantics of UrlQueryInfo element

      Element or Attribute Name                       Use                                      Description
      UrlQueryInfo                                                  provides URL query string information
           @queryTemplate                         O (string)        provides URL parameters template information
                                                                    This string shall contain one or more
                                                                    $<ParamIdentifier>$ template identifiers, as
                                                                    listed in Table I.2. These template identifiers are to be
                                                                    replaced to build a query string (see I.2.3). If
                                                                    $<ParamIdentifier>$ is not in Table I.2, it will be replaced
                                                                    with an empty string. If the template has an opening $
                                                                    without a matching closing $, the result is undefined, and
                                                                    the client will act as if it did not understand the
                                                                    EssentialProperty#s scheme.
                                                                    When selection of URL parameters is enabled through the
                                                                    use of $query:param$ template identifiers, URL
                                                                    parameters shall be defined as name=value pairs
                                                                    separated by &, as defined by W3C HTML 4.01
                                                                    Specification (section on Forms#Form submission).
           @useMPDUrlQuery                         O (bool)         indicates that the URL parameters of the MPD URL are
                                                                    used in the construction of media segment URLs.
                                                   default:
                                                   false            This attribute may only be present when the MPD is
                                                                    delivered over HTTP, and defaults to "false" when the
                                                                    MPD is not delivered over HTTP.
                                                                    If @queryString is present and the value of this
                                                                    attribute is "true", concatenation of MPD parameter
                                                                    string and @queryString shall be used for
                                                                    constructing the query string of media segment URLs.
                                                                    NOTE Simple parameter signalling can be used
                                                                    ("a=X&b=Y"), as well as scheme-dependent signalling
                                                                    ("a=$urn:XYZ$&b=$urn:ABC$").
                                                                    When scheme-dependent signalling is used, the scheme
                                                                    shall be inserted between two enclosing $ characters. See
                                                                    I.2.3.3 for further details.
                                                                    When UrlQueryInfo element is present at more than
                                                                    ole level of the hierarchical data model (e.g. MPD and
                                                                    Period), there shall be at most one UrlQueryInfo
                                                                    element for which @useMPDUrlQuery is true within
                                                                    this hierarchy.
                                                                    See I.2.3.3 for further details.




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     Element or Attribute Name                     Use                                     Description
          @queryString                         O (string)       provides a query string to be used in the construction of
                                                                media segment URLs.
                                                                NOTE Simple parameter signalling can be used
                                                                ("a=X&b=Y"), as well as scheme-dependent signalling
                                                                ("a=$urn:XYZ$&b=$urn:ABC$").
                                                                When scheme-dependent signalling is used, the scheme
                                                                shall be inserted between two enclosing $ characters.See
                                                                I.2.3.3 for further details.
          @xlink:href                               O           specifies a reference to a remote UrlQueryInfo
                                                                element
          @xlink:actuate                           OD           specifies the processing instructions, which can be either
                                                                "onLoad" or "onRequest".
                                                 default:
                                              onReques          This attribute shall not be present if the @xlink:href
                                                 t              attribute is not present.
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.

                                           Table I.2 — Parameter identifiers

                       $<ParamIdentifier>$                          Substitution parameter
                     $$                              Is an escape sequence, i.e. "$$" is replaced with a
                                                     single "$".
                     $querypart$                     This identifier is substituted with the query part
                                                     of the computed query string (referred to as
                                                     initialQueryString in I.2.3). This identifier shall
                                                     not appear more than once in the template string,
                                                     and shall not be mixed with other identifiers
                                                     (e.g. $query:<param>$ below).
                                                     The query part starts after the "?" sign and lasts
                                                     until the "#" sign
                     $query:<param>$                 This identifier is substituted with the value of the
                                                     <param> parameter if this parameter is present
                                                     in the query part of the computed query string
                                                     (referred to as initialQueryString in I.2.3). If same
                                                     <param> value appears more than once in the
                                                     query string, the last value will be used. If
                                                     <param> is not present, the empty string will be
                                                     used.
                                                     When this parameter selection is used, URL
                                                     parameters shall be inserted in the query part of
                                                     the URL as name=value pairs separated by the
                                                     "&" symbol, according to W3C HTML 4.01
                                                     specification (section on Forms#Form
                                                     submission)



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I.2.2.3      XML Syntax

 <xs:complexType name="UrlQueryInfoType">
      <xs:sequence>
             <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
      </xs:sequence>
   <xs:attribute name="queryTemplate" type="xs:string"/>
   <xs:attribute name="useMPDUrlQuery" type="xs:boolean"/>
   <xs:attribute name="queryString" type="xs:string"/>
   <xs:attribute ref="xlink:href"/>
   <xs:attribute ref="xlink:actuate" default="onRequest"/>
   <xs:attribute ref="xlink:type" fixed="simple"/>
   <xs:attribute ref="xlink:show" fixed="embed"/>
   <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
I.2.3 Modified template-based segment URL construction, according to UrlQueryInfo element

I.2.3.1      General

When signalized through an appropriate descriptor, containing a UrlQueryInfo element, the following
media segment URL building process is performed.
The process is defined in the following steps:
1) If this UrlQueryInfo element is a remote element, it is dereferenced. This process is defined in
   subclause 5.5.

2) Initial query string (referred to as initialQueryString) is derived. This process is described in I.2.3.2.

3) Final query string (referred to as finalQueryString) is computed, according to @queryTemplate and
   initialQueryString. This process is described in I.2.3.3.

4) Final query string (finalQueryString) is processed to build media segment URLs. This process is
   described in I.2.3.4.

I.2.3.2      Computation of an initial query string (initialQueryString)

The initial query string initialQueryString is constructed by concatenating the query strings, if present
and available, coming from the MPD URL (if @useMPDUrlQuery is set to "true") and @queryString
(possibly after dereferencing). If @useMPDUrlQuery is set to "true" and @queryString if present,
initialQueryString shall be a concatenation of query string from the MPD and @queryString string, in
this order.
When multiple strings are appended together, an "&" symbol shall be inserted at the start of the second
and following strings to be appended.
I.2.3.3      Computation of a final query string (finalQueryString)

A final query string finalQueryString is then computed by substituting URL parameters templates present
in @queryTemplate by their values provided in initialQueryString, according to Table I.2.




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When two or more occurrences of URL query descriptors exist within an MPD, the finalQueryString string
used at the Representation level is a concatenation of the corresponding URL query strings of the
occurrences in their orders of appearance in the MPD hierarchy. The query coming from the MPD URL is
appended first. Thus, for each representation the concatenation shall be computed as a concatenation of
Representation-level query string with (in this order) AdaptationSet-level string, Period-level query
string and, lastly, MPD-level query string.
Simple parameter signalling may be used (@queryString="a=X&b=Y"), as well as scheme-dependent
signalling (@queryString="a=$urn:XYZ$&b=$urn:ABC$"). In the latter case, the client needs to
be aware of the provided schemes, and has to compute appropriate values for them. Further, in this case,
additional EssentialProperty or SupplementalProperty descriptors, at the same level as the
query descriptor, shall be present to reflect that scheme-dependent signalling is used and required to be
supported by the client. These descriptors shall have the @schemeIdUri attribute set to the same value
as used in the URL parameter insertion description (i.e. to "urn:XYZ" or "urn:ABC" in the above
example). Support of these specific schemes is out of the scope of this specification.
A straightforward implementation of the process would do the following:
1) Create a parameter table out of concatenated initialQueryString. The latter is an #&#-
   separated list of <param>=<value> strings, and each <param>=<value> string is converted into
   a single entry in the parameter table. E.g., for a string "param0=42" in initialQueryString we
   will have parameter["param0"]=42. If a string "param0=42" is followed by a string
   "param0=43" later in initialQueryString, then parameter["param0"]=43. If <param>
   is a URN, then <value> is computed by the client (and is an empty string otherwise).

2) Search for the "$query:" substring in the @queryTemplate attribute. For each appearance of
   this substring, the characters till the first #$# character are the parameter name (<param> in our
   notation). Substitute the complete $query<param>$ string (including the opening and the closing
   #$#          characters)            with          parameter[<param>].              E.g.      given
   @queryTemplate="p0=$query:param0", and given parameter["param0"]=43 the result
   would be finalQueryString="p0=43".

I.2.3.4     Modified media segment URLs building process

The computed final query string finalQueryString is then concatenated to media Segment URLs.
If the original media segment URL does not contain any query (as defined in IETF RFC 3986), an "?"
character shall be inserted accordingly between the original media segment URL and the finalQueryString
when performing this concatenation.
If the original media segment URL already contains a query (as defined in IETF RFC 3986), an "&"
character shall be inserted between the original media segment URL and the finalQueryString when
performing this concatenation.
When Annex E is used together with flexible insertion of URL query parameters, processing of URL query
parameters descriptors shall occur first, followed by Annex E byte range requests building process.
I.2.4 Examples

I.2.4.1     Example 1

Here, the intent is to re-use the URL parameters of the MPD URL in the media segments URLs.
Assuming DASH MPD is accessible at:
http://www.example.com/dash/urlparam1.mpd?token=1234&ip=1.2.3.4




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1) Computation of an initial query string

      initialQueryString="token=1234&ip=1.2.3.4"

2) Computation of a final query

      finalQueryString="token=1234&ip=1.2.3.4"

 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd
 urn:mpeg:dash:schema:urlparam:2014 DASH-MPD-UP.xsd"
 type="static" mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
        <Period>
             <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
 maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
                   <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
                         <up:UrlQueryInfo queryTemplate="$querypart$" useMPDUrlQuery="true"/>
                   </EssentialProperty>
                   <SegmentTemplate duration="2" startNumber="1"
 media="video_$Number$_$Bandwidth$bps.mp4"/>
                   <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720"
 frameRate="25" sar="1:1" bandwidth="3000000"/>
                   <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25"
 sar="1:1" bandwidth="1500000"/>
             </AdaptationSet>
        </Period>
 </MPD>



3) Modified media segment URLs building process

 http://www.example.com/dash/video_1_3000000bps.mp4?token=1234&ip=1.2.3.4

 http://www.example.com/dash/video_2_3000000bps.mp4?token=1234&ip=1.2.3.4

 http://www.example.com/dash/video_3_3000000bps.mp4?token=1234&ip=1.2.3.4

I.2.4.2      Example 2

Here, the intent is to dynamically compute some URL parameters before adding them to the media
segments URLs.
Assuming DASH MPD is accessible through http://www.example.com/dash/urlparam2.mpd, and that
http://www.example.com/dash/xlinked.mpd contains the following UrlQueryInfo element:




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 <MPD xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance" xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd
 urn:mpeg:dash:schema:urlparam:2014 DASH-MPD-UP.xsd" type="static"
 mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
       <Period>
         <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
 maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
             <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
                 <up:UrlQueryInfo xlink:href="http://www.example.com/dash/xlinked.mpd"
 xlink:actuate="onRequest" xmlns:xlink="http://www.w3.org/1999/xlink"/>
                  </EssentialProperty>
             <SegmentTemplate duration="2" startNumber="1"
 media="video_$Number$_$Bandwidth$bps.mp4"/>
             <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720"
 frameRate="25" sar="1:1" bandwidth="3000000"/>
             <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25"
 sar="1:1" bandwidth="1500000"/>
            </AdaptationSet>
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
             <up:UrlQueryInfo xmlns:up="urn:mpeg:dash:schema:urlparam:2014"
 queryTemplate="$querypart$" queryString="param=justintimecomputedvalue"/>
            </SupplementalProperty>
       </Period>
 </MPD>
1) Computation of an initial query string (computed on request, according to xlink:actuate):

     initialQueryString="param=justintimecomputedvalue"

2) Computation of an final query string

     finalQueryString="param=justintimecomputedvalue"

3) Modified media segment URLs building process

     http://www.example.com/dash/video_1_3000000bps.mp4?param=justintimecom
     putedvalue

     http://www.example.com/dash/video_2_3000000bps.mp4?param=justintimecom
     putedvalue

     http://www.example.com/dash/video_3_3000000bps.mp4?param=justintimecom
     putedvalue

I.2.4.3     Example 3

Here the intent is asking the client for some feedback through URL parameters (GPS location here).
Assuming DASH MPD is accessible at:




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http://www.example.com/dash/urlparam3.mpd?pd=$urn:example:gps$,                 and                                                   that
"urn:example:gps" informs the client that it should insert its GPS coordinates.
A SupplementalProperty descriptor with @schemeIdUri equal to "urn:example:gps" is
added to the MPD to indicate that the computation of URL parameters depends on an externally defined
scheme.
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd
 urn:mpeg:dash:schema:urlparam:2014 DASH-MPD-UP.xsd"
 type="static"                        mediaPresentationDuration="PT3256S"                                 minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
        <Period>
 <AdaptationSet        mimeType="video/mp4"            segmentAlignment="true"             startWithSAP="1"         maxWidth="1280"
 maxHeight="720" maxFrameRate="25" par="16:9">
   <SupplementalProperty                                                       schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
       <up:UrlQueryInfo queryTemplate="$querypart$" useMPDUrlQuery="true"/>
   </SupplementalProperty>
   <SupplementalProperty schemeIdUri="urn:example:gps"/>
   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
   <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25" sar="1:1"
 bandwidth="3000000"/>
   <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25" sar="1:1"
 bandwidth="1500000"/>
 </AdaptationSet>
        </Period>
 </MPD>
1) Computation of an initial query string:

      initialQueryString="pd=$urn:example:gps$"

2) Computation of a final query

      finalQueryString="pd=$urn:example::gps$"

3) Modified media segment URLs building process

      http://www.example.com/dash/video_1_3000000bps.mp4?pd=computedGPSlocat
      ion

      http://www.example.com/dash/video_2_3000000bps.mp4?pd=computedGPSlocat
      ion

      http://www.example.com/dash/video_3_3000000bps.mp4?pd=computedGPSlocat
      ion




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In this particular example, the client needs to be aware of the process to compute and provide GPS
location. How to achieve this is not part of DASH specification.
I.2.4.4     Example 4

Same example as example 1, except that only one single URL parameter is used.
Assuming DASH MPD is accessible at:
http://www.example.com/dash/urlparam4.mpd?token=1234&ip=1.2.3.4
 <MPD
 xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
 xmlns="urn:mpeg:dash:schema:mpd:2011"
 xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd
 urn:mpeg:dash:schema:urlparam:2014 DASH-MPD-UP.xsd"
 type="static" mediaPresentationDuration="PT3256S" minBufferTime="PT1.2S"
 profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">
        <Period>
 <AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1" maxWidth="1280"
 maxHeight="720" maxFrameRate="25" par="16:9">
    <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014"
 xmlns:up="urn:mpeg:dash:schema:urlparam:2014">
       <up:UrlQueryInfo queryTemplate="token=$query:token$" useMPDUrlQuery="true"/>
    </EssentialProperty>
    <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
    </SegmentTemplate>
    <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
 sar="1:1" bandwidth="3000000"/>
    <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25" sar="1:1"
 bandwidth="1500000"/>
 </AdaptationSet>
        </Period>
 </MPD>
1) Computation of an initial query string

     initialQueryString="token=1234&ip=1.2.3.4"

2) Computation of a final query string

     finalQueryString="token=1234"

3) Modified media segment URLs building process

     http://www.example.com/dash/video_1_3000000bps.mp4?token=1234

     http://www.example.com/dash/video_2_3000000bps.mp4?token=1234

     http://www.example.com/dash/video_3_3000000bps.mp4?token=1234




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I.3 Extended HTTP GET request parametrization
I.3.1 General

Extended parametrization scheme provides a superset of the capabilities of the baseline segment-only
scheme     described    in    I.2   above.     This     scheme       is     identified    by    URN
"urn:mpeg:dash:urlparam:2016".
The scheme extends the baseline scheme described in I.2 in the following ways:
— Parameters may be selectively embedded in MPD, XLink and callback requests, in addition to
  segment requests;

— Parameters may be instantiated from designated HTTP headers (from HTTP response);

— Parameters defined using the ExtHttpHeaderParameter element will be embedded into a
  custom HTTP header and not into the URL.

The scheme uses two elements, ExtUrlQueryInfo and ExtHttpHeaderInfo, both of which are
extensions of UrlQueryInfoType type defined in I.2.
The extended scheme is a functional modification of the one defined in I.2. For simplicity purposes the
complete extended mechanism is provided in I.3.4.
I.3.2 Semantics

                          Table I.3 — Semantics of ExtendedUrlInfoType element

           Element or Attribute Name                               Use                               Description
      ExtendedUrlInfoType                                                        provides information for derivation of
                                                                                 parameter string. This is an extension of
                                                                                 UrlQueryInfoType element defined in
                                                                                 Table I.1.
       @includeInRequests                                           OD           specifies which HTTP GET requests shall
                                                                                 carry parameters. Value is a white spaced
                                                                (default:
                                                                                 concatenated list of the following keys:
                                                               "segment")
                                                                                 1) "segment" (all segment requests)",

                                                                                 2)    "xlink" (all XLink resolution requests),

                                                                                 3)    "mpd" (all MPD requests),

                                                                                 4)    "callback" (all requests triggered by
                                                                                       DASH callback events),

                                                                                 5)    "chaining" (requests for chained-to
                                                                                       MPDs,

                                                                                 6)    "fallback" (requests for the alternative
                                                                                       MPDs.

                                                                                 Default value is "segment", i.e. parameters
                                                                                 will be only sent with segment requests




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            Element or Attribute Name                            Use                              Description
                                                                              NOTE Depending on the actual element
                                                                              used, parameter output goes either to query
                                                                              parameters (for ExtUrlQueryInfo) or
                                                                              HTTP headers (for
                                                                              ExtHttpHeaderInfo)
        @headerParamSource                                        OD          specifies HTTP responses from which HTTP
                                                                              header values, identified by the template
                                                              (default:
                                                                              $header:header-name$, should be extracted
                                                             "segment")
                                                                              from. Value is a white spaced concatenated
                                                                              list of the following keys :
                                                                              1) "segment" (all segment requests)",

                                                                              2)    "xlink" (all XLink resolution requests),

                                                                              3)    "mpd" (all MPD requests),

                                                                              4)    "callback" (all requests triggered by
                                                                                    DASH callback events).

                                                                              Default value: empty string (no header
                                                                              parameters inspected)
                                                                              If this attribute is present then: (a)
                                                                              @queryTemplate attribute shall be
                                                                              present and shall contain the
                                                                              $header:<header-name>$ identifier, and (b)
                                                                              neither @useMPDUrlQuery nor
                                                                              @queryString attribute shall be present.
        @sameOriginOnly                                           OD          specifies that parameters must only be sent
                                                                              to the same origin they were instantiated
                                                                              from. In case of HTTP headers as source, the
                                                                              origin is defined as the origin of the HTTP
                                                                              request identified by the attribute
                                                                              @headerParamSource. In case the
                                                                              parameters are instantiated from the MPD or
                                                                              from the MPD URL, the origin is defined in
                                                                              both case by the MPD URL.
                                                                              Two origins are the same as defined by
                                                                              IETF RFC 6454, i.e. same scheme/host/port
                                                                              triple (see 5. Comparing Origins)
                                                                              Default value: false (no origin restrictions)
 Key
 For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory.
 For elements: <minOccurs>...<maxOccurs> (N=unbounded)
 The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
 <minOccurs=0>.
 Elements are bold; attributes are non-bold and preceded with an @.

The following identifiers are defined, in addition to the ones defined in Table I.2




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                                              Table I.4 — Parameter identifiers

 $<ParamIdentifier>$                             Substitution parameter
 $header:<header-name>$                          This identifier is substituted with the latest received value of the header-
                                                 name HTTP header in the HTTP responses indicated by the
                                                 @headerParamSource attribute.
I.3.3 XML Syntax

 <xs:element name="ExtUrlQueryInfo" type="ExtendedUrlInfoType"/>
 <xs:element name="ExtHttpHeaderInfo" type="ExtendedUrlInfoType"/>
 <xs:complexType name="ExtendedUrlInfoType">
      <xs:complexContent>
          <xs:extension base="UrlQueryInfoType">
              <xs:attribute name="includeInRequests" type="xs:string" default="segment"/>
              <xs:attribute name="headerParamSource" type="xs:string" default=""/>
              <xs:attribute name="sameOriginOnly"                     type="xs:boolean" default="false"/>
       </xs:extension>
      </xs:complexContent>
 </xs:complexType>
I.3.4 Extended parameter generation

I.3.4.1      Theory of operation

HTTP(S) requests issued by a DASH Client may belong to one of the following types:
— MPD request to the MPD URL (e.g. as specified in MPD.Location).

— XLink dereferencing request to URL specified in the @xlink:href attribute.

— Segment request.

— Callback request to URL specified in a DASH callback event (inband or MPD).

Parameter generation based on elements of type ExtendedUrlInfoType is defined in the following
steps:
1) If this ExtendedUrlInfoType element is a remote element, it is dereferenced. This process is
   defined in subclause 5.5.

2) Initial query string (referred to as initialQueryString) is derived. This process is described in I.3.4.2.

3) Final query string (referred to as finalQueryString) is computed, according to @queryTemplate and
   initialQueryString. This process is described in I.3.4.3.

4) Final query string (finalQueryString) is processed to build HTTP requests. This process is described
   in I.3.5.

I.3.4.2      Computation of an initial query string (initialQueryString)

The initial query string initialQueryString is constructed by concatenating the query strings for the same
type of request. One of the following ways of initialQueryString construction shall be used:




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1) If @useMPDUrlQuery is "true", the query part of MPD URL shall be used as
   initialQueryString. If @queryString is also present, initialQueryString is a
   concatenation of the query part of MPD URL and @queryString, in this order.

2) If @headerParamSource is present and non-empty, initialQueryString shall consist of
   <header-name>=<value> pairs where <header-name> is the HTTP response header given in
   the @queryTemplate by the $header:<header-name>$ substitution parameter. The inspected
   responses are of the types appearing in @headerParamSource.

3) Otherwise the value of initialQueryString is given by @queryString.

When multiple strings are appended together, an "&" symbol shall be inserted at the start of the second
and following strings to be appended.
I.3.4.3     Computation of a final query string (finalQueryString)

A final query string finalQueryString is then computed by substituting URL parameter identifiers present
in @queryTemplate by their values provided in initialQueryString, according to Tables I.2 and I.4. The
process itself is equivalent to the one in described in I.2.3.2, with a notable addition of the
$header:<header-name>$ identifier.
When two or more occurrences of element of type ExtendedUrlInfoType exist within an MPD, the
finalQueryString used at each level is a concatenation of the corresponding at the current and all upper
levels of the hierarchical data model. For example, let us assume that a ExtUrlQueryInfo element is
present at both Period and MPD levels, the Period has the @xlink:href attribute and both the
MPD.ExtUrlQueryInfo@includeInRequests                                                                and
Period.ExtUrlQueryInfo@includeInRequests contain the string "xlink". In this case,
initialQueryString for the dereferencing will be a concatenation of finalQueryString from
MPD.ExtUrlQueryInfo and Period.ExtUrlQueryInfo in this order.
A straightforward implementation of the process would do the following:
1) Create a parameter table out of concatenated initialQueryString as defined in step 1 in I.2.3.2.

2) Replace the "$query:<param>" substrings with parameter[<header-name>] as described in
   step 2 in I.2.3.2.

3) Replace $header:<header-name>$ substring with parameter[<header-name>].

I.3.5 Extended Parameter Output

In case ExtUrlQueryInfo element is used, the computed final query string finalQueryString is
concatenated to media Segment URLs (same process as in I.2.3.3). Percent encoding (per IETF RFC 3986)
may be needed as a last step of URL construction
In case ExtHttpHeaderInfo element is used, the output shall appear in a custom HTTP request header
in the following way:
1) Each "&" (ampersand) character in finalQueryString shall be replaced with a ", " (comma
   followed by space) string.

2) The resulting string is written as a value of a custom HTTP header MPEG-DASH-Param.




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                                                    Annex J
                                                 (informative)
                                           Open GOP resolution change


A scheme is defined to be used with a                                          Supplemental           Property        Descriptor         as
"urn:mpeg:dash:resolutionSwitching:2016".
It indicates which Representations allow for a seamless resolution switching at the start of any Segment
starting with a SAP type in the range of 1 to 3, inclusive.
If present, the descriptor shall only be placed on Adaptation Set or Representation level in the MPD
hierarchy.
@value of the supplemental property descriptor is a white space separated list of two values as specified
in Table J.1.
           Table J.1 — SupplementalProperty@value attributes resolutionSwitching:2016

   SupplementalProperty
                                                  Use                                      Description
      @value parameter
  switchableTo                                     M          specifies all Representations with representation switch
                                                              points specified with RandomAccess with @type equal
                                                              to "open", with Media Segment starting with SAP of type
                                                              3, or with Media Subsegment starting with SAP of type 3 for
                                                              which the Representation contains additional media stream
                                                              to switch to, as a comma-separated list of values of @id
                                                              attributes of these Representations.
  switchingMimeType                                M          specifies, as a comma-separated list of values, the MIME
                                                              type of the concatenation of the Initialization Segment, if
                                                              present, and some consecutive Media (Sub)Segments in the
                                                              Representation and some consecutive Media
                                                              (Sub)Segments that start with a representation switch point
                                                              as defined above and belong to the Representation pointed
                                                              by the respective list item within switchableTo.
                                                              NOTE The Representation contains a media stream
                                                              conforming to @mimeType and additionally one or more
                                                              media streams conforming to switchingMimeType
                                                              that are only intended for switching to another
                                                              representation, as indicated by switchableTo.
  Key
  M=Mandatory, O=Optional
The resolution switching descriptor shall not be present unless all access units in a segment N with
presentation time within [TEPT, TDEC) is constrained in such a way that they only depend on access units
of segment N or segment N-1.
      NOTE        If a Representation is changed at segment N, where this descriptor is present, it might be necessary
      to decode an additional media stream during segment N-1 different to the one conforming to the @codecs
      attribute indicated at the "switch-from" representation, which presence is indicated by the presence of
      switchingMimeType, in order to be able to decode all access units preceding the first SAP (i.e. in the
      interval [TEPT,TDEC)) of segment N of the "switch-to" Representation.




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                                                           Annex K
                                                         (normative)

                                            DASH Service Description



K.1 General
This annex defines the ISO/IEC 23009-1 DASH Service Description. In the DASH model as described in
this document, the DASH Client has significant control over the algorithms and user perception for a
DASH service. The DASH Client may for example decide on the applied rate adaptation algorithm, the
buffer strategy, the buffer duration and the resulting latency and channel access times. However, by
leaving all decisions to the client, this may result inconsistent behavior as different client
implementations may for example chose different strategies and therefore, as an example, one may
observe significantly different latencies for the same service on different clients.

A DASH Client may be embedded in an application that controls the usage of the client for the proper
playback of the service. DASH Client libraries and applications may provide APIs to control the playback.
However, there are weaknesses to such an approach as the application and DASH Client then use
proprietary APIs.

Hence, this annex defines the following:

          a service description reference model providing an overview of the normative aspects defined in
          this annex (in K.2);
          the semantics of the service description and the associated parameters to describe the service (in
          K.3). This is defined as an abstract set of APIs that can be used by the application, regardless of
          how the application received this information;
          the mapping of the semantics to DASH MPD (in K.4) as one option to provide the service
          parameters. This permits that application-independent DASH services can be provided in a
          consistent manner;
          some example client implementation usage guidelines on how these parameters may be used (in
          K.5).

The usage of the service description information may be left to client implementations, but it may also be
the case that application standards formulate stronger requirements on the client in order to fulfil such
service parameters. Service Descriptions can also be scoped for specific clients, for example those
implementing specific rules, or clients in specific environments.

The normative aspects of this annex include the definition of specific service parameters in K.3 as well as
the carriage of these parameters in the MPD in K.4.


K.2 DASH Client model with Service Description
Figure K.1 shows an extended client model that includes the ability to provide explicit service description
information to the DASH access client. The information might originate from the service provider and can
be delivered by application-defined signalling, can be generated in the application or can be delivered by
the MPD as defined in K.4.




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                                         Selection Logic


                  MPD Selection metadata                Selected Adaptation Sets

          MPD
                                                                       MPEG Format
                                          DASH access                                               Media                       Media
                                                                       media + timing
                                            engine                                                  engine                      output
      Segment data                                                    Playback Control


               Service Description

                                                Event + timing             Event
                                                                         Processing
                 Media Streaming Application


              Figure K.1 Extended Client Model with service description (shown in red)

K.3 Semantics of DASH Service Description
K.3.1 General

This subclause provides the general service description definitions.
The semantics follow the principle of the metrics definition using an abstract syntax. Items in this abstract
syntax have one of the following primitive types (Integer, Real, Boolean, Enum, String) or one of
the following compound types:

       $ Objects: an unordered sequence of (key, value) pairs, where the key always has string type
         and is unique within the sequence.
       $ List: an ordered list of items.
Where lists are defined, the name 'entry' is used to define the format of each entry, but since lists contain
unnamed entries, this name would not appear in any concrete syntax.

Each service description is defined as a named list of entries that logically contains the service description
information. When and how this information is delivered and how it is updated is out of scope of this
clause.

K.3.2 Service Latency

Table K.1 defines the service description parameters for the service latency.




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                                               Table K.1 — Service Latency
  Parameter                                               Type                 Description

  ReferenceID                                             Integer              Defines the ID of the Producer Reference
                                                                               Time element in the MPD against which
                                                                               the latency is measured, if more than one
                                                                               is present.
  TargetLatency                                           Integer              The service provider’s preferred
                                                                               presentation latency in milliseconds
                                                                               compared to the producer reference
                                                                               time. Indicates a content provider’s
                                                                               desire for the content to be presented as
                                                                               close to the indicated latency as is
                                                                               possible given the player’s capabilities
                                                                               and observations.

                                                                               This attribute may express a latency that
                                                                               is only achievable by low-latency players
                                                                               under favourable network conditions
  MaximumLatency                                          Integer              The service provider’s indication about
                                                                               the maximum presentation latency in
                                                                               milliseconds. Indicates a content
                                                                               provider’s desire for the content not to be
                                                                               presented if the latency exceeds the
                                                                               maximum latency.
  MinimumLatency                                          Integer              The service provider’s indication about
                                                                               minimum presentation latency in
                                                                               milliseconds for example to avoid
                                                                               inconsistencies with second screen
                                                                               applications, overlays, etc.
               QualityType                                URI                  Defines the interpretation of the value of
                                                                               Quality. If not present, the quality is
                                                                               considered in linear scale.

               Entry                                      Object               A list of latency and quality pairs.
                       Latency                            Integer              A latency value for the service in
                                                                               milliseconds.
                       Quality                            Integer              The quality of the service at the above
                                                                               latency with 0 being the lowest and 100
                                                                               being the highest.



K.3.3 Playback Rate

Table K.2 defines the service description parameters for non-nominal playback rate. The keys in
Table K.2 shall be used to refer to the non-nominal playback rate as defined in Table K.2.




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                                                Table K.2 — Playback Rate
 Key                                          Type                        Description

 MaxPlaybackRate                              Real                        The maximum playback rate that the content
                                                                          provider indicates is appropriate for the
                                                                          purposes of automatically adjusting playback
                                                                          latency and buffer occupancy during normal
                                                                          playback, where 1.0 is normal playback
                                                                          speed.
 MinPlaybackRate                              Real                        The minimum playback rate that the content
                                                                          provider indicates is appropriate for the
                                                                          purposes of automatically adjusting playback
                                                                          latency and buffer occupancy during normal
                                                                          playback, where 1.0 is normal playback
                                                                          speed.



K.3.4 Operating Quality

Table K.3 defines the service description parameters for operational quality. The keys in Table K.3 shall
be used to refer to the operating quality as defined in Table K.3.

                                             Table K.3 — Operating Quality
   Key                                          Type                   Description

   MediaType                                    string                 Defines the media type for which these quality
                                                                       parameters apply. They type can be

                                                                                 video: applies to video
                                                                                 audio: applies to audio
                                                                                 any: applies to any media type

   MinQualityRanking                            Integer                Minimum quality ranking value desired
                                                                       through this presentation for the above
                                                                       MediaType. This is the smallest desired value
                                                                       for the @qualityRanking attribute for the
                                                                       selected Representations to be played by the
                                                                       DASH Client during regular playback.
   MaxQualityRanking                            Integer                Maximum quality ranking value desired
                                                                       through this presentation for the above
                                                                       MediaType. This is the largest desired value
                                                                       for the @qualityRanking attribute for the
                                                                       Representations to be played by the DASH
                                                                       Client during regular playback.
   TargetQualityRanking                         Integer                Quality ranking value desired through this
                                                                       presentation for the above MediaType. This is
                                                                       the target value for the @qualityRanking




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    Key                                          Type                 Description

                                                                      attribute for the Representations to be played
                                                                      by the DASH Client during regular playback.
    QualityRankingType                           URL                  Defines the interpretation of the value of
                                                                      @qualityRanking attribute. If not present,
                                                                      the quality is considered in linear scale.
    MaxQualityDifference                         Integer              Maximum       quality    difference      value
                                                                      recommended by the content author for the
                                                                      presentation for the above MediaType. This is
                                                                      the recommended maximum difference
                                                                      between @qualityRanking attributes for
                                                                      Representations being played concurrently.
                                                                      This    is     typically    applicable     for
                                                                      Representations that are picked from
                                                                      Adaptation Sets within one Preselection.



K.3.5 Operating Bandwidth

Table K.4 defines the service description parameters for operating bandwidth. The keys in Table K.4 shall
be used to refer to the operating bandwidth as defined in Table K.3.

                                           Table K.4 — Operating Bandwidth
    Key                                          Type                 Description

    MediaType                                    string               Defines the media type for which the
                                                                      bandwidth parameters apply. They type can
                                                                      be

                                                                                video: applies to video
                                                                                audio: applies to audio
                                                                                any: applies to any media type
                                                                                individually
                                                                                all: applies to aggregation of all
                                                                                media types
    MinBandwidth                                 Integer              Minimum bandwidth value desired through
                                                                      this presentation for the above MediaType.
                                                                      This is the smallest desired aggregated value
                                                                      for the @bandwidth attribute for all
                                                                      Representations of this media type to be
                                                                      played concurrently by the DASH Client during
                                                                      regular playback.




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   Key                                            Type                 Description
   MaxBandwidth                                   Integer              Maximum bandwidth value desired through
                                                                       this presentation for the above MediaType.
                                                                       This is the largest desired aggregated value for
                                                                       the     @bandwidth        attribute   for     all
                                                                       Representations of this media type to be
                                                                       played concurrently by the DASH Client during
                                                                       regular playback.
   TargetBandwidth                                Integer              Target bandwidth value desired through this
                                                                       presentation for the above MediaType. This is
                                                                       the largest desired aggregated value for the
                                                                       @bandwidth          attribute     for      all
                                                                       Representations of this media type to be
                                                                       played concurrently by the DASH Client during
                                                                       regular playback.




K.4 MPD Carriage of DASH Service Description
K.4.1 Description

This clause provides the mapping of the service description in to the MPD. The service description may
be scoped to a specific client or to an operational mode of the client. This can be expressed by using a
Scope descriptor that is defined by the application.

It is the service provider's responsibility to ensure that the service description is not contradicting in
itself and can be used by clients, for example minimum, target and maximum latency should be in non
decreasing order. Service descriptions with inconsistent or unachievable settings are expected to be
ignored by the client.

The semantics of the attributes and elements within a ServiceDescription element are provided in
subclause K.4.2.1, Table K.5. The XML syntax of the ServiceDescription element is provided in
subclause K.4.3.

K.4.2 Semantics

K.4.2.1 General

                        Table K.5 — Semantics of ServiceDescription element
 Element or Attribute Name                   Use         Description

      ServiceDescription                                 Service Description

         @id                                  M          specifies a unique identifier for this Service Description.
                                                         The attribute shall be a unique unsigned integer value
                                                         amongst ServiceDescription elements in the scope
                                                         of the MPD.




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 Element or Attribute Name                   Use          Description

           Scope                            0…N           specifies the scope of the Service Description. If present,
                                                          this Service Description only targets DASH Clients
                                                          identified by this Scope descriptor. DASH Clients not in
                                                          scope, i.e. not recognizing any of the scope descriptor
                                                          elements, are expected to ignore this service description.
                                                          If no Scope element is present, the Service Description
                                                          applies to all clients.

           Latency                          0…N           specifies the latency targets for the service. The details
                                                          are provided in subclause K.4.2.2, Table K.6.

           PlaybackRate                     0…N           specifies the playback rate targets for the service. The
                                                          details are provided in subclause K.4.2.3, Table K.7.

           OperatingQuality                 0…N           specifies the operating quality targets for the service.
                                                          The details are provided in subclause K.4.2.4, Table K.8.

           OperatingBandwidth               0…N           specifies the operating quality targets for the service.
                                                          The details are provided in subclause K.4.2.5, Table K.9.

 Key
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory,
      F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional"
      and <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in
 italics bold referring to those taken from the Base type that has been extended by this type.



K.4.2.2 Latency
                                    Table K.6 — Semantics of Latency element
 Element or Attribute Name                          Use          Description
        Latency                                                  See subclause K.3.2.
           @referenceId                              CM          See referenceID in Table K.1.
           @target                                   O           See TargetLatency in Table K.1.
           @max                                      O           See MaximumLatency in Table K.1.
           @min                                      O           See MinimumLatency in Table K.1.
           QualityLatency                          0…N           A comma-separated list of white space separated latency
                                                                 and quality pair values according to Table K.1.
               @type                                 O           Defines the QualityType according to Table K.1.
 Key
       For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory,
       F=fixed.
       For elements: <minOccurs>...<maxOccurs> (N=unbounded)
       The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
       <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.




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K.4.2.3 Playback Rate

                                Table K.7 — Semantics of PlaybackRate element
 Element or Attribute Name                             Use          Description
        PlaybackRate                                                See subclause K.3.2.
           @max                                         O           See maxPlaybackRate in Table K.2.
           @min                                         O           See minPlaybackRate in Table K.2.
 Key
      For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory,
      F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.
K.4.2.4 Operating Quality

                                Table K.8 — Semantics of OperatingQuality element
 Element or Attribute Name                            Use         Description
        OperatingQuality                                          See subclause K.3.2.
           @mediaType                                 OD          See MediaType in Table K.3.
                                                    Default:
                                                    'any'
           @min                                        O          See MinQualityRanking in Table K.3.
           @max                                        O          See MaxQualityRanking in Table K.3.
           @target                                     O          See TargetQualityRanking in Table K.3.
           @type                                       O          See QualityRankingType in Table K.3.
           @maxQualityDifference                       O          See MaxQualityDifference in Table K.3.
 Key
       For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed.
       For elements: <minOccurs>...<maxOccurs> (N=unbounded)
       The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
       <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.
K.4.2.5 Operating Bandwidth




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                            Table K.9 — Semantics of OperatingBandwidth element
 Element or Attribute Name                           Use         Description
        OperatingBandwidth                                       See subclause K.3.2.
           @mediaType                                OD          See MediaType in Table K.4.
                                                   Default:
                                                   'all'
           @min                                       O          See MinBandwidth in Table K.4.
           @max                                       O          See MaxBandwidth in Table K.4.
           @target                                    O          See TargetBandwidth in Table K.4.
 Key
       For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed.
      For elements: <minOccurs>...<maxOccurs> (N=unbounded)
      The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
      <minOccurs=0>
 Elements are bold; attributes are non-bold and preceded with an @, List of elements and attributes is in italics bold
 referring to those taken from the Base type that has been extended by this type.
K.4.3 Syntax

K.4.3.1 General

 <!-- Service Description -->
 <xs:complexType name="ServiceDescriptionType">
       <xs:sequence>
            <xs:element name="Scope" type="DescriptorType" minOccurs="0" maxOccurs="unbounded"/>
            <xs:element name="Latency" type="LatencyType" minOccurs="0" maxOccurs="unbounded"/>
         <xs:element name="PlaybackRate" type="PlaybackRateType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="OperatingQuality" type="OperatingQualityType" minOccurs="0"
 maxOccurs="unbounded"/>
         <xs:element name="OperatingBandwidth" type="OperatingBandwidthType" minOccurs="0"
 maxOccurs="unbounded"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="id" type="xs:unsignedInt"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
K.4.3.2 Latency

 <!-- Service Description Latency -->
 <xs:complexType name="LatencyType">
       <xs:sequence>
         <xs:element name="QualityLatency" type="UIntPairsWithIDType" minOccurs="0"
 maxOccurs="unbounded"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0" maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="referenceId" type="xs:unsignedInt"/>
       <xs:attribute name="target" type="xs:unsignedInt"/>



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      <xs:attribute name="max" type="xs:unsignedInt"/>
      <xs:attribute name="min" type="xs:unsignedInt"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
 <!-- UInt Pairs With ID -->
 <xs:complexType name="UIntPairsWithIDType">
      <xs:simpleContent>
          <xs:extension base="UIntVectorType">
                <xs:attribute name="type" type="xs:anyURI"/>
                <xs:anyAttribute namespace="##other" processContents="lax"/>
          </xs:extension>
      </xs:simpleContent>
K.4.3.3 Playback Rate

 <!-- Service Description Playback Rate -->
 <xs:complexType name="PlaybackRateType">
      <xs:attribute name="max" type="xs:double"/>
      <xs:attribute name="min" type="xs:double"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>
K.4.3.4 Operating Quality

 <!-- Service Description Operating Quality -->
 <xs:complexType name="OperatingQualityType">
      <xs:attribute name="mediaType" default="any">
          <xs:simpleType>
                <xs:restriction base="xs:string">
                      <xs:enumeration value="video"/>
                      <xs:enumeration value="audio"/>
                      <xs:enumeration value="any"/>
                </xs:restriction>
          </xs:simpleType>
      </xs:attribute>
      <xs:attribute name="min" type="xs:unsignedInt"/>
      <xs:attribute name="max" type="xs:unsignedInt"/>
      <xs:attribute name="target" type="xs:unsignedInt"/>
      <xs:attribute name="type" type="xs:anyURI"/>
      <xs:attribute name="maxDifference" type="xs:unsignedInt"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>




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K.4.3.5       Operating Bandwidth
 <!-- Service Description Operating Bandwidth -->
 <xs:complexType name="OperatingBandwidthType">
       <xs:attribute name="mediaType" default="all">
            <xs:simpleType>
                  <xs:restriction base="xs:string">
                       <xs:enumeration value="video"/>
                       <xs:enumeration value="audio"/>
                       <xs:enumeration value="any"/>
                       <xs:enumeration value="all"/>
                  </xs:restriction>
            </xs:simpleType>
       </xs:attribute>
       <xs:attribute name="min" type="xs:unsignedInt"/>
       <xs:attribute name="max" type="xs:unsignedInt"/>
       <xs:attribute name="target" type="xs:unsignedInt"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
 </xs:complexType>


K.5 Example Client Usage
This clause provides some information on how a DASH Client may use the information in the service
description.

If the DASH Client is informed of a target latency by the TargetLatency parameter and it identifies
that the Media Presentation carries the producer reference time with considered type, the DASH Client
attempts to present the sample with a specific media time at a wall-clock time that is the sum of provided
wall-clock time and the target latency.

The DASH Client may monitor the playback continuously and may adapt the playback rate in the
boundaries permitted by the playback rate parameters to catchup to the latency.

The DASH Client may adjust its playback to maintain quality and bandwidth used between the minimum
and maximum quality and minimum and maximum bandwidth parameters, if provided.




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